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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

Infrastructure Services Luxembourg S.A.R.L.
and Energia Termosolar B.V.,

                     Petitioners,

       v.                                      Civil Action No. _______________

Kingdom of Spain,

                     Respondent.


                            Petition to Enforce Arbitral Award




                                    EXHIBIT 1
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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

Infrastructure Services Luxembourg S.A.R.L.
and Energia Termosolar B.V.,

                     Petitioners,

       v.                                     Civil Action No. _______________

Kingdom of Spain,

                     Respondent.


    Declaration of Matthew S. Rozen in Support of Petition to Enforce Arbitral Award




                                    EXHIBIT A
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(elCSID
                                      INTERNATIONAL CENTRE FOR SETTLEMENT OF INVESTMENT DISPUTES

                                                      1818 H STREET, NW I WASHINGTON, DC 20433 I USA
                                                      TELEPHONE (202) 458 1534 I FACSIMILE (202) 522 2615
                                                                            WWW.WORLDBANK.ORG/ICSID




                                    CERTIFICATE




                ANTIN INFRASTRUCTURE SERVICES LUXEMBOURG S.A.R.L. AND
                           ANTIN ENERGIA TERMOSOLAR B.V.

                                               v.

                                      KINGDOM OF SPAIN



                                  (ICSID CASE No. ARB/13/31)




      I hereby certify that the attached document is a true copy of the English version of the
Tribunal's Award dated June 15, 2018, which was rendered in the English and Spanish languages.

       Certified copies of the Award were first dispatched to the Parties on June 15, 2018.
Therefore, pursuant to Article 49( 1) of the Convention on the Settlement of Investment Disputes
between States and Nationals of Other States, the Award is deemed to have been rendered on June
15,2018.




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                                                                                   .. Q.




                                                    Secretary-General




Washington, D.C., July 11, 2018
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INTERNATIONAL CENTRE FOR SETTLEMENT OF INVESTMENT DISPUTES

                           WASHINGTON D.C.



                  In the arbitration proceeding between



    ANTIN INFRASTRUCTURE SERVICES LUXEMBOURG S.a.r.l. and
               ANTIN ENERGIA TERMOSOLAR B.V.



                                   V.




                      THE KINGDOM OF SPAIN




                     ICSID CASE No. ARB/ 13/31 .




                                 Award




                        Members of the Tribunal

               Mr. J. Christopher Thomas QC, Arbitrator
               Prof. Francisco Orrego Vicuna, Arbitrator
                      Dr. Eduardo Zuleta, President


                       Secretary of the Tribunal:

                            Natali Sequeira


              Date of dispatch to the Parties: 15 June 2018
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                               REPRESENTATION OF THE PARTIES



Representing Antin Infrastructure Services    Representing the Kingdom of Spain:
Luxembourg S. a. r. l. and
Antin Energia Termosolar B. V.:

Ms. Judith Gill QC                            Mr. Diego Santacruz Descartin
Ms. Marie Stoyanov                            Mr. Antolin Fernandez Antuna
Ms. Virginia_ Allan                           Mr. Javier Torres Gella
Mr. Ignacio Madalena                          Ms. Monica Moraleda Saceda
Ms. Lauren Lindsay                            Ms. Amaia Rivas Kortazar
Ms. Naomi Briercliffe                         Ms. Elena Ofioro Sainz
Mr. Tomasz Hara                               Mr. Roberto Fernandez Castilla
Ms. Stephanie Hawes                           Ms. Patricia Froehlingsdorf Nicolas
Allen & Overy LLP                             Mr. Yago Fernandez Badia
One Bishops Square
London El 6AD                                  Abogacia General del Estado
United Kingdom                                 Ministry of Justice of the Government of Spain
                                               Calle Ayala 5
Mr. Jeffrey Sullivan                           28001, Madrid
Gibson Dunn & Crutcher LLP                     Spain
2-4 Temple Ave
London EC4Y OHB
United Kingdom
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                                   DEFINED TERMS



2001 Renewables Directive    Directive 2001/77/EC "on the Promotion of Electricity Produced
                             from Renewable Energy Sources in the Internal Electricity
                             Market."
2005-2010 Plan               Plan for the Promotion of Renewable Energies in Spain 2005-
                             2010.
2009 EU Directive            Directive 2009/28/EC "on the promotion and use of energy from
                             renewable sources and amending and subsequently repealing
                             Directives 2001/77/EC and 2003/30/EC."
2012 Judgements              Spanish Supreme Court judgements issued in 2012 establishing
                             that the remuneration regime applicable to RE producers could
                             be validly modified, in accordance with the principle of
                             reasonable return.
ACS                          Actividades de Construcci6n y Servicios, S.A.
Adjusted NPV                 The adjusted net present value of the reasonably expected cash
                             flows of the Andasol Plants.
Alatec                       Alatec Ingenieros Consultores y Arquitectos.
Alatec Report                Report prepared by Alatec, titled "Technical Evaluation of the
                             Solar Thermal Plants with Parabolic Trough Collectors, Property
                             of ACS/Cobra in Spain", dated 15 March 2011.
Altermia                     Altermia Asesores Tecnicos, S.L.
Altermia Report             Report prepared by Altermia, titled "Independent Technical
                            Analysis -Technical Due Diligence of Three Thermosolar
                            Projects in Spain", dated 7 July 2011.
Andasol Companies           Andasol-1 Central Termosolar UNO S.A. and Andasol-2 Central
                            Termosolar DOS S.A.
Andasol Plants              The Andasol-1 Plant and the Andasol-2 Plant.
Andasol-1 Plant             A 49.9 MW CSP plant in Granada owned by Andasol-1 SA.
Andasol-1 SA                Andasol-1 Central Termosolar UNO S.A.
Andasol-2 Plant             A 49.9 MW CSP plant in Granada owned by Andasol-2 SA.
Andasol-2 SA                Andasol-2 Central Termosolar DOSS.A.
Antin                       Antin Infrastructure Services Luxembourg S.a.r.l. and Antin
                            Energia Termosolar B.V.
Antin Fund 1                Antin Infrastructure Partners (AIP) FPCI.
Antin IP                    Antin Infrastructure Partners S.A.S.
Antin Luxembourg            Antin Infrastructure Services Luxembourg S.a. r.l.



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Antin Termosolar               Antin Energia Termosolar B.V.
Arbitration Rules              IC SID Rules of Procedure for Arbitration Proceedings.
Art/Arts.                      Article/Articles.
BaseNPV                        Base Net Present Value.
BDO Quantum Report I           Expert Report ofBDO, titled "Expert economic-financial report
                               on ANTIN and solar power plants", dated 30 July 2015.
BDO Quantum Report II          Expert Report of BDO, titled Expert rejoinder report to Brattle's
                               "Rebuttal Report: Financial Damages to ANTIN", dated 29
                               February 2016.
BDO Regulatory Report I        Expert Report ofBDO, titled "Economic and financial analysis
                               of incentives to the solar thermal energy sector", dated 30 July
                               2015.
BDO Regulatory Report II       Expert Report ofBDO, titled "Rejoinder Expert Report in
                               response to the Brattle report 'Rebuttal Report: Changes to the
                               Regulation of Concentrated Solar Power Installations in Spain'",
                               dated 29 February 2016.
Bolafia WS I                   Witness Statement of Mr. Mauricio Bolafia of28 November
                               2014.
Brattle                        The Brattle Group.
Brattle Quantum Report I       Expert Report ofBrattle, titled "Financial Damages to Antin",
                               dated 28 November 2014.
Brattle Quantum Report II      Expert Report of Brattle, titled "Rebuttal Report: Financial
                               Damages to Antin", dated 18 December 2015.
Brattle Regulatory Report I    Expert Report ofBrattle, titled "Changes to the Regulation of
                               Concentrated Solar Power Installations in Spain", dated 28
                               November 2014.
Brattle Regulatory Report II   Expert Report ofBrattle, titled "Rebuttal Report: Changes to the
                               Regulation of Concentrated Solar Power Installations in Spain",
                               dated 18 December 2015.
Centre                         International Centre for Settlement of Investment Disputes.
Charter                        The European Energy Charter.
CJEU                           Court of Justice of the European Union.
Claimants                      Antin Infrastructure Services Luxembourg S.a. r.l. and Antin
                               Energia Tennosolar B.V.
Claimants' Memorial            Claimants' Memorial submitted on 28 November 2014.
Claimants' Rejoinder           Claimants' Rejoinder on Jurisdiction, submitted on 15 April
                               2016.




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Claimants' Reply             Claimants' Reply on the Merits and Counter-Memorial on
                             Jurisdiction, submitted on 18 December 2015.
CNE                          "Comisi6n Nacional de Energia", the Spanish National Energy
                             Commission.
Commission                   European Commission.
Commission's First           European Commission's Application for Leave to Intervene as a
Application                  Non-Disputing Party, submitted on 14 November 2014.
Commission's Second          European Commission's Application for Leave to Intervene as a
Application                  Non-Disputing Party, submitted on 9 December 2015.
Cooling-Off Period           The three-month negotiation period that must elapse before an
                             investor can submit a claim to arbitration under Article 26 ECT.
CPI                          Consumer Price Index.
CPI Formula                 The mechanism set forth in Article 44(1) RD 661/2007 for
                            updating the FIT pursuant to the CPI.
CPI-PI                      The CPI at constant taxes excluding unprocessed foods and
                            energy products.
CPI-PI Fonnula              The mechanism set forth in RDL 2/2013 for updating
                            remunerations, rates and premiums for electricity sector
                            activities in accordance with the CPI at constant taxes excluding
                            unprocessed foods and energy products.
Crosbie WS I                Witness Statement of Mr. Mark Crosbie of28 November 2014.
CSP                         Concentrated solar power.
DCF                         Discounted cash flow.
December 2009 Judgements    Spanish Supreme Court judgements of 3 December 2009, 9
                            December 2009 and 9 December 2009.
Disputed Measures           Jointly, Law 15/2012, RDL 2/2013, RDL 9/2013, Law 24/2013,
                            RD 413/2014, Ministerial Order IET/1045/2014.
ECT                         Energy Charter Treaty.
EEC                         European Economic Community.
EU                          European Union.
EUR                         Euros.
FET                         Fair and Equitable Treatment.
Final Equity Value          The Adjusted NPV minus the net present value of the debt held
                            by the Andasol Companies.
FIT                         Feed-in-tariff mechanism provided in RD 661/2007.
Fixed Tariff                Type of FIT offered under RD 661/2007 in the form of a
                            regulated tariff.


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Further Measures         Jointly, Law 24/2013, RD 413/2014, Ministerial Order
                         IET/1045/2014 and Ministerial Order IET/1882/2014.
GBP                      British Pound Sterling.
Hearing                  Hearing on Jurisdiction and the Merits was held at Paris, France
                         from 19 October 2016 to 25 October 2016.
Herbert Smith            Herbert Smith Freehills (Madrid).
HS Report                Due diligence report issued by Herbert Smith on 25 March
                         2011, analysing the regulatory framework for CSP plants in
                         Spain.
HTF                      Heat transfer fluid.
ICSID                     International Centre for Settlement oflnvestment Disputes.
ICSID Convention          Convention on the Settlement oflnvestment Disputes between
                          States and Nationals of Other States.
IDAE                     Instituto para la Diversificaci6n y Ahorro de la Energia.
ILC Articles              The International Commission's Articles on the Responsibility
                          of States for Internationally Wrongful Acts.
Initial Measures          Jointly, Law 15/2012, RDL 2/2013 and RDL 9/2013.
Intra-EU dispute         Dispute between an investor from the EU and a Member State of
                         the EU.
Intra-EU investment       Investment made by an investor from the EU in the territory of
                          the EU.
July 2010 Agreement      An agreement entered into between the Ministry and the CSP
                         and wind industry associations, contemplating amendments to
                         the SES regulatory framework.
Law 24/2013               Law 24 of 2013, enacted on 26 December 2013, regulating the
                          Spanish electrical sector.
Law 54/1997               Law 54 of 1997 of27 November 1997, on the Electric Power
                          Sector, published on 28 November 1997.
Limited Partners          The 35 Limited Partners that invested in Antin Fund 1.
Mancini Report            Expert Report of Dr. Thomas R. Mancini ofTRMancini Solar
                          Consulting, dated 18 December 2015.
May 2007 Press Release    Press release dated 25 May 2007, announcing RD 661/2007,
                          establishing that "The Government prioritizes profitability and
                          stability in the new Royal Decree on renewable energy and
                          combined heat and power".
Ministerial Order         Order IET/1045/2014 enacted on June 2014, establishing certain
IET/1045/2014             aspects of the economic regime applicable to the different RE
                          installations.



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Ministerial Order             Order IET/1882/2014 enacted on October 2014, for calculating
IET/1882/2014                 the power attributable to the use of fuels in establishing
                              thermoelectric solar installations.
Ministry                      Spanish Ministry oflndustry, Tourism and Commerce.
NCMC                          Comisi6n Nacional de las Mercados y la Competencia, the
                              Spanish National Commission on Markets and Competition.
New Regime                    The regulatory regime applicable to RE producers in Spain after
                              the introduction of the Disputed Measures, comprised ofRDL
                              9/2013, RD 413/2014 and Ministerial Order IET/1045/2014.
Ordinary Regime               The regulatory regime applicable to conventional sources of
                              energy production in the Spanish Electrical System, by
                              opposition to the Special Regime applicable to renewable energy
                              generators.
Parties                       Collectively, the Claimants and the Respondent.
Poyry                        Poyry Management Consulting.
Poyry's First Report         Report issued by Poyry, titled "Current State and Future Trends
                             of Solar Power in Spain: An ILEX Energy Report to RREEF
                             Infrastructure" in March 2011.
Poyry's Second Report        Report issued by Poyry, titled "Spanish Electricity Tariff Deficit
                             -A Note from Poyry Management Consulting to RREEF", 11
                             May 2011.
Premium                      A type of FIT provided under RD 661/2007 consisting of a fixed
                             premium payment over and above the price received in the
                             market, subject to caps and floors.
Pre-RD 661/2007 Judgements   Spanish Supreme Court Judgements of 15 December 2005, 25
                             October 2006, 20 March 2007 and 9 October 2007.
PV                           Photovoltaic.
RAB                          Regulatory Asset Base.
RAIPRE                       "Registro Administrativo de Instalaciones de Producci6n en
                             Regimen Especial", the Administrative Registry of Production
                             Facilities under the Special Regime.
RD                           Royal Decree.
RD 2818/1998                 Royal Decree 2818 of 1998, enacted on 23 December 1998.
RD 413/2014                  Roya Decree 413 of 2014, enacted on 6 June 2014, regulating
                             the activity of electrical energy production from renewable
                             energy, waste or co-generation sources.
RD 436/2004                  Royal Decree 436 of 2004, enacted on 12 March 2004.
RDL                          Royal Decree Law.




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RDL 9/2013                 Royal Decree Law 9/2013, enacted on 12 July 2013, by which
                           urgent measures are adopted to guarantee the financial stability
                           of the electricity system.
RE                         Renewable energy.
REIO                       Regional Economic Integration Organization
Request for Arbitration    Claimants' Request for Arbitration, dated 29 October 2013.
Request for Bifurcation    Respondent's Request for Bifurcation, submitted on 30 January
                           2015.
Respondent                 The Kingdom of Spain.
Respondent's Counter-      Respondent's Counter-Memorial on the Merits and Memorial on
Memorial                   Jurisdiction, submitted on 31 July 2015.
Respondent's Rejoinder     Respondent's Rejoinder on the Merits and Reply on Jurisdiction,
                           submitted on 1 March 2016.
                           NOTE: the numbers of paragraphs between the Spanish
                           (original) version of Respondent's Rejoinder and the English
                           translation differ. For purposes of the English version of the
                           Award, the Tribunal uses the paragraphs of the English
                           (translation) of the Respondent's Rejoinder.
RREEF                       RREEF Infrastructure (G.P.) Limited.
Servert Report              Expert report of Servert Engineering: "Andasol 1 and 2 CSP
                            plants. Lifetime analysis and gas use in CSP plants with
                            storage", dated 28 February 2016, prepared by the Engineer Dr.
                            Jorge Servert.
SES                         Spanish Electrical System.
Spain                       The Kingdom of Spain.
Special Payment             Payment granted to RE producers under the New Regime.
Special Regime              Regulatory regime applicable to electricity production facilities
                            ofless than 50 MW which generated electricity from non-
                            consumable renewable energy resources.
Tariff Deficit              The shortfall of revenues arising in the SES when the income of
                            the system is smaller than its costs.
TFEU                        Treaty on the Functioning of the European Union.
Treaty                      Energy Charter Treaty.
TVPEE                       Tax on the value of the production of electrical energy,
                            introduced by Law 15/2012.
USD                         United States Dollars.

VCLT                        Vienna Convention on the Law of Treaties of23 May 1969.



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                                             CASES




ADC Affiliate Limited and ADC & ADMC Management Limited v. The Republic ofHungary, ICSID
Case No. ARB/03/16, Award, 2 October 2006 ("ADC v. Hungary (Award)"), Legal Authority CL-
0002.

AES Summit Generation Limited and AES-Tisza Eromii Kft. v. The Republic of Hungary, ICSID
Case No. ARB/07/22, Award, 23 September 2010 ("AES v. Hungary (Award)"), Legal Authority
RL-0032.

AES Summit Generation Limited and AES-Tisza Eromii Kft. v. The Republic of Hungary, ICSID
Case No. ARB/07/22, Decision on Annulment, 29 June 2012 ("AES v. Hungary (Decision on
Annulment)"), Legal Authority RL-0036.

Alps Finance and Trade AG v. The Slovak Republic, UNCITRAL, Award, 5 March 2011 ("Alps
Finance v. The Slovak Republic (Award)"), Legal Authority CL-0094.

Amco Asia Corporation and others v. Republic ofIndonesia, IC SID Case No. ARB/81/1, Award, 20
November 1984 ("Amco v. Indonesia (Award)"), Legal Authority CL-0129.

Anatolie Stati, Gabriel Stati, Ascom Group SA and Terra Raf Trans Traiding Ltd v. The Republic of
Kazakhstan. SCC, Decision, 19 December 2013 ("Stati et al. v. Kazakhstan (Decision)"), Legal
Authorities RL-0017 and CL-0005 .

Antoine Goetz and others v. The Republic of Burundi, ICSID Case No. ARB/95/3, Award, 10
February 1999 ("Goetz v. Burundi (Award)"), Legal Authority CL-0092.

Arbitration regarding the Iron Rhine ("Jjzeren Rijn ") Railway (Belgium/Netherlands), Award, 24
May 2005 ("Iron Rhine") Legal Authority CL-0195.

Asian Agricultural Products Ltd. (AAPL) v. The Republic of Sri Lanka, Award, ICSID Case No.
ARB/87/3, 27 June 1990 ("AAPL v. Sri Lanka (Award)"), Legal Authority CL-0130.

Attanasio Group v. Commune di Carbognano Judgment of the European Court of Justice, 11 March
2010, Issue C-384, [2010] ECR-I-2055 ("Attanasio Group v. Commune di Carbognano
(Judgment)") Exhibit R-0013.

Azurix Corp. v. The Argentine Republic, ICSID Case No. ARB/01/12, Decision on Jurisdiction of 8
December 2003 ("Azurix v. Argentina (Decision on Jurisdiction)"), Legal Authority CL-0095.

Azurix Corp. v. The Argentine Republic, ICSID Case No. ARB/01 /12, Award, 14 July 2006 ("Azurix
v. Argentina (Award)"), Legal Authority CL-0006.

Azurix Corp. v. Th e Argentine Republic, ICSID Case No. ARB/01/12, Decision of the Annulment
Committee, 1 September 2009 ("Azurix v. Argentina (Annulment)", Legal Authority RL-0060.

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Biwater Gauff(Tanzania) Limitedv. The United Republic a/Tanzania, ICSID Case No. ARB/05/22,
Award, 24 July 2008 ("Biwater Gauffv. Tanzania (Award)"), Legal Authority CL-0097.

Camuzzi International SA. v. The Argentine Republic, ICSD Case No. ARB/03/2, Decision on
Jurisdiction, 11 May 2005 ("Camuzzi v. Argentina (Decision on Jurisdiction)"), Legal Authority CL-
0134.

Case Concerning the Factory at Chorz6w, PCIJ Rep, Series A, No. 17, Judgment, 13 September
1928 ("Factory at Chorz6w (Judgment)"), Legal Authority CL-0010.

Charanne B. V. and Construction Investments SA.R.L. v. Kingdom of Spain, SCC 062/2012, Final
Award, 21 January 2016 ("Charanne v. Spain (Final Award)"), Legal Authority RL-0055.

CMS Gas Transmission Company v. The Argentine Republic, ICSID Case No. ARB/01/8, Award,
12 May 2005 ("CMS v. Argentina (Award)"), Legal Authority CL-0016.

CMS Gas Transmission Company v. The Argentine Republic, ICSID Case No. ARB/01/8, Decision
of the Ad Hoc Committee on the Application for Annulment of the Argentine Republic, 25
September 2007 ("CMS v. Argentina (Annulment)"), Legal Authority RL-0040.

Compania de Aguas del Aconquija SA. and Vivendi Universal SA. v. The Argentine Republic,
ICSID Case No. ARB/97/3, Award, 20 August 2007 ("Vivendi v. Argentina (Award)"), Legal
Authority CL-0018.

Compania def Desarrollo de Santa Elena SA. v. Republic ofCosta Rica, ICSID Case No. ARB/96/1,
Award, 17 February 2000 ("Santa Elena v. Costa Rica (Award)"), Legal Authority CL-0017.

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Opinion of Judge Charles N. Brower, 15 August 2012 ("Daimler v. Argentina (Dissenting
Opinion)"), Legal Authority CL-0141.

Daimler Financial Services AG v. The Argentine Republic, ICSID Case No. ARB/05/1, Award, 22
August 2012 ("Daimler v. Argentina (Award)"), Legal Authority CL-0140.

Eastern Sugar B. V. v. The Czech Republic, SCC Case No. 088/2004, Partial Award, 27 March 2007
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ECE Projektmanagement Internal GmbH and other v. The Czech Republic, PCA Case No. 2010-5,
Award, 19 September 2013 ("ECE v. Czech Republic (Award)"), Legal Authority RL-0031.

EDF (Services) Limited v. Romania, ICSID Case No. ARB/05/13, Award, 8 October 2009, ( "EDF
v. Romania (Award) "), Legal Authority RL-0034.

Eiser Infrastructure Limited and Energia Solar Luxembourg Sa r.l. v. Kingdom of Spain, ICSID
Case No. ARB/13/36, Award, 4 May 2017, ("Eiser v. Spain (Award)"), Legal Authority CL-0201.

Elcogas, SA. v. Administraci6n del Estado and Iberdrola, SA., Case C-275/13, Official Journal of
the European Union Series C 16, 19.1.2015, 22 October 2014 ("Elcogas"), Exhibit R-0045.

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Applicable Law and Liability, 30 November 2012, ("Electrabel v. Hungary (Decision on
Jurisdiction, Applicable Law and Liability)"), Legal Authority CL-0024.

El Paso Energy International Company v. The Argentine Republic, ICSID Case No. ARB/03/15,
Award, 31 October 2011 ("El Paso v. Argentina (Award)"), Legal Authority CL-0022.

Emilio Agustin Maffezini v. Kingdom of Spain, ICSID Case No. ARB/97/7, Award, 13 November
2000 ("Maffezini v. Spain (Award)"), Legal Authority CL-0023.

EnCana Corporation v. Republic of Ecuador, LCIA Case No. UN 3481, Award, 3 February 2006
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ARB/01/3. Decision on Jurisdiction, 14 January 2004 ("Enron v. Argentina (Decision on
Jurisdiction)"), Legal Authority CL-0194.

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 ARB/01/3, Award, 22 May 2007 ("Enron v. Argentina (Award)''.), Legal Authority CL-0025.

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("Ethyl Corporation v. Canada (Award on Jurisdiction)"), Legal Authority CL-0105.

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Arbitrability and Suspension, 26 October 2010 ("Eureka v. The Slovak Republic (Award on
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No. 2010-17, Award on Jurisdiction, 22 October 2012 ("EURAMv. The Slovak Republic (Award on
Jurisdiction)"), Legal Authority CL-0143.

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Case No. 2011-17, Award, 31 January 2014 ("Guaracachi v. Bolivia (Award)"), Legal Authority
RL-0007.

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Hoc Committee on Annulment, 5 June 2007 ("Soufraki v. United Arab Emirates (Annulment)"),
Legal Authority RL-0062.

loannis Kardassopoulos v. Georgia, ICSID Case No. ARB/05/18, Decision on jurisdiction, 6 July
2007 ("Kardassopoulos v. Georgia (Decision on Jurisdiction)"), Legal Authority RL-0015.

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lsolux Netherlands B. V. v. Kingdom ofSpain (SCC Case V2013/153), Award, 17 July 2016 ("lsolux
v. Spain (Award)"), Legal Authority RL-0080.


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Jurisdiction, 30 April 2010 ("Jan Oostergetel v. The Slovak Republic (Decision on Jurisdiction)"),
Legal Authority CL-0110.

Joseph C. Lemire v. Ukraine, ICSID Case No. ARB/06/18, Award, 28 March 2011 ("Lemire v.
Ukraine (Award)"), Legal Authority CL-0032.

Joy Mining Machinery Limited v. The Arab Republic of Egypt, ICSID Case No. ARB/03/11,
Decision on Jurisdiction, 6 August 2004 ("Joy Mining v. Egypt (Decision on Jurisdiction)'\ Legal
Authority RL-0044.

Khan Resources Inc. , Khan Resources B. V., and Cauc Holding Company Ltd. v. The Government of
Mongolia, UNCITRAL, Award on Merits, 2 March 2015 ("Khan Resources v. Mongolia (Award on
the Merits)"), Legal Authority CL-0146.

Libananco Holdings Co. Limited v. Republic of Turkey, ICSID Case No. ARB/06/8, Award,2
September 2011 ("Libananco v. Turkey (Award)"), Legal Authority RL-0014.

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Republic, ICSID Case No. ARB/02/1, Decision on Liability, 3 October 2006 ("LG&E v. Argentina
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No. ARB/07/14, Award (excerpts only), 22 June 2010 ("Liman Caspian Oil v. Kazakhstan
(Award)''), Legal Authority CL-0035.

Mamidoil Jetoil Greek Petroleum Products Societe Anonyme SA. v. Republic of Albania, ICSID
Case No. ARB/11/24, Award, 30 March 2015 ("Mamidoil v. Albania (Award)"), Legal Authority
RL-0033.

Marvin Roy Feldman Karpa v. The United Mexican States, ICSID Case No. ARB (AF)/99/1, Award,
16 December 2002 ("Feldman v. Mexico (Award)"), Legal Authority RL-0030.

Mohammad Ammar Al-Bahloul v. the Republic of Tajikistan, SCC Case No. V (064/2008), Partial
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Jurisdiction and Liability)"), Legal Authority RL-0016.

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Award of the 8 June 2010 ("Al-Bahloul v. Ta;ikistan (Final Award)"), Legal Authority CL-0147.

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November 2010 ("Nations Energy v. Panama (Award)"), Legal Authority RL-0072.

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Ventures v. Romania (Award)"), Legal Authority RL-0038.

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Award on Jurisdiction, 22 April 2010 ("Nova Scotia v. Venezuela (Award on Jurisdiction)"), Legal
Authority CL-0148.

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UN 3467, Final Award, 1 July 2004 ("Occidental v. Ecuador (Final Award)"), Legal Authority CL-
0042.

Occidental Petroleum Corporation and Occidental Exploration and Production Company v.
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1991 ("Opinion 1/91"), Exhibit R-0014.

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Plama Consortium Limited v. Republic of Bulgaria, ICSID Case No. ARB/03/24, Decision on
Jurisdiction 8 February 2005 ("Plama v. Bulgaria (Decision on Jurisdiction)"), Legal Authority RL-
0013.

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9 April 2015 ("Postova v. Hellenic Republic (Award)"), Legal Authority RL-0061.

PSEG Global Inc. and Kanya Ilgin Elektrik Oretim v Ticaret Limited Sirketi v. The Republic of
Turkey, ICSID Case No. ARB/02/5, Award, 19 January 2007 ("PSEG v. Turkey (Award)"), Legal
Authority CL-0045.

Renta 4 S. V.S.A, Ahorro Corporaci6n Emergentes F.I., Ahorro Corporaci6n Eurofondo F.I., Rovime
Inversiones SICAV S.A., Quasar de Valors SICAV S.A., Orgor de Va/ores SICAV S.A., GB! 9000
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(Award)"), Legal Authority CL-0152.

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Kingdom ofSpain, IC SID Case No. ARB/13/30, Decision on Jurisdiction, 6 June 2016 ("RREEF v.
Spain (Decision on Jurisdiction)"), Legal Authority CL-0200.

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Jurisdiction and Recommendation on Provisional Measures, 21 March 2007 ("Saipem v. Bangladesh
(Decision on Jurisdiction and Recommendation on Provisional Measures)"), Legal Authority RL-
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Merits, 17 March 2006, ,r 307 ("Saluka v. Czech Republic (Partial Award)"), Legal Authority CL-
0049.

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Arbitral Award, 15 March 1963 ("Sapphire International Petroleum Ltd. v. National Iranian Oil
Co. (Award)"), Legal Authority CL-0154.

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September 2007 ("Sempra v. Argentina (Award)"), Legal Authority CL-0052.

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("Siemens v. Argentina (Award)"), Legal Authority CL-0054.

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18 July 2013 ("ST-AD v. Bulgaria (Award on Jurisdiction)"), Legal Authority RL-0006.

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Republic, ICSID Case No. ARB/03/19, and AWG Group Ltd v. The Argentine Republic, UNCITRAL,
Decision on Liability, 30 July 2010 ("AWG v. Argentina (Decision on Liability)"), Legal Authority
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Tecnicas Medioambientales Teemed S.A. v. The United Mexican States, ICSID Case No. ARB
(AF)/00/2, Award, 29 May 2003 ("Tecmedv. Mexico (Award)"), Legal Authority CL-0055.

Teinver S.A., Transportes de Cercanias S.A. and Autobuses Urbanos de! Sur S.A. v. The Argentine
Republic, ICSID Case No. ARB/09/1, Decision on Jurisdiction, 21 December 2012 ("Teinver v.
Argentina (Decision on Jurisdiction)"), Legal Authority CL-0161.

Total S.A. v. The Argentine Republic, ICSID Case No. ARB/04/01, Decision on Liability, 27
December 2010 ("Total v. Argentina (Decision on Liability)"), Legal Authority RL-0037.

The PV Investors v. The Kingdom of Spain, PCA Case No. 2012-14, Preliminary Award on
Jurisdiction, 13 October 2014 ("PV Investors v. Spain (Preliminary Award on Jurisdiction)"), Legal
AuthorityCL-0164.

Toto Costruzioni Generali Sp.A. v. Lebanese Republic, ICSID Case No. ARB/07/12, Award, 7 June
2012 ("Toto Costruzioni v. Lebanon (Award)"), Legal Authority RL-0035.

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The United States of America), WTO Appellate Body (WT/DS33/AB/R), 23 May 1997 ("US-
Measures Affecting Imports of Woven Wool Shirts and Blouses"), Legal Authority CL-0166.

Venezuela Holdings B. V. and others v. Bolivarian Republic of Venezuela, ICSID Case No.
ARB/07/27, Award, 9 October 2014 ("Mobil v. Venezuela (Award)"), Legal Authority RL-0077.

Wena Hotels Limited v. Arab Republic of Egypt, ICSID Case No. ARB/98/4, Award, 8 December
2000 ("Wena Hotels v. Egypt (Award)"), Legal Authority CL-0058.

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November 2011 ("White Industries v. India (Final Award)"), Legal Authority RL-0029.


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Yukos Universal Limited (Isle of Man) v. The Russian Federation, PCA Case No. 227, Interim
Award on Jurisdiction and Admissibility, 30 November 2009 ("Yukos v. Russia (Interim Award on
Jurisdiction and Admissibility"), Legal Authority CL-0121.

Yukos Universal Limited (Isle ofMan) v. Russian Federation, PCA Case No. AA 227, Final Award,
18 July 2014 ("Yukos v. Russia (Final Award)"), Legal Authority CL-0168.




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I.       INTRODUCTION AND PARTIES

1.       This case concerns a dispute submitted to the International Centre for Settlement of
         Investment Disputes ("IC SID" or the "Centre") on the basis of the Energy Charter Treaty
         ("ECT" or "Treaty") which entered into force with respect to Spain, Luxembourg and the
         Netherlands on 16 April 1998, and the Convention on the Settlement of Investment
         Disputes between States and Nationals of Other States, which entered into force on 14
         October 1966 (the "ICSID Convention").

2.       The claimants are Antin Infrastructure Services Luxembourg S.a.r.1. ("Antin
         Luxembourg"), a company incorporated on 22 March 2011 under the laws of Luxembourg
         and Antin Energia Termosolar B.V. ("Antin Termosolar"), a company incorporated on 27
         June 2011, under the laws of the Netherlands (together, the "Claimants"). Antin
         Termosolar is directly and wholly-owned by Antin Luxembourg. Antin Luxembourg and
         Antin Termosolar are the two entities used by Antin Infrastructure Partners (AIP) FPCI
         (the "Antin Fund 1"), a French professional private equity investment fund (fonds
         professionnel de capital investissement), to carry out investments in the Spanish renewable
         energy sector. 1

3.       The Respondent is the Kingdom of Spain ("Spain" or the "Respondent").

4.       The Claimants and the Respondent are collectively referred to as the "Parties." The Parties'
         representatives and their addresses are listed above on page (i).

5.       The dispute relates to measures undertaken by the Respondent in the renewable energy
         sector and the alleged breaches of its obligations under the ECT and international law with
         respect to the Claimants and their investments.

II.      PROCEDURAL HISTORY

6.       On 1 November 2013, ICSID received from the Claimants a Request for Arbitration dated
         29 October 2013 (the "Request for Arbitration").

7.       On 22 November 2013, the Secretary-General of ICSID registered the Request for
         Arbitration in accordance with Article 36(3) of the ICSID Convention and notified the
         Parties of the registration. In the notice of registration, the Secretary-General invited the
         Parties to proceed to constitute an arbitral tribunal as soon as possible in accordance with




1
      Claimants' Memorial, ~ 2.


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      Rule 7(d) ofICSID's Rules of Procedure for the Institution of Conciliation and Arbitration
      Proceedings.

8.    In the absence of an agreement between the Parties on the method of constituting the
      Tribunal, the Tribunal was constituted in accordance with the procedure set forth in
      Article 37(2)(b) of the ICSID Convention.

9.    The Tribunal is composed of Professor Francisco Orrego Vicuna, a national of Chile,
      appointed by the Claimants on 14 February 2014; Mr. J. Christopher Thomas QC, a
      national of Canada, appointed by the Respondent on 26 February 2014, and Dr. Eduardo
      Zuleta Jaramillo, a national of Colombia, President of the Tribunal, appointed by the
      Chairman of the IC SID Administrative Council on 1 August 2014 in accordance with
      Article 38 of the ICSID Convention.

10.   On 7 August 2014, the Secretary-General, in accordance with Rule 6(1) of the ICSID Rules
      of Procedure for Arbitration Proceedings (the "Arbitration Rules"), notified the Parties that
      all three arbitrators had accepted their appointments and that the Tribunal was therefore
      deemed to have been constituted on that date. Ms. Natali Sequeira, ICSID Legal Counsel,
      was designated to serve as Secretary of the Tribunal.

11.   In accordance with IC SID Arbitration Rule 13(1 ), the Tribunal held a first session with the
      Parties on 23 September 2014 at the World Bank offices in Paris.

12.   On 6 October 2014, the Tribunal issued Procedural Order No. 1 recording the agreement
      of the Parties on procedural matters and the decisions of the Tribunal on disputed issues.
      Procedural Order No. 1 provides, inter alia, that the applicable Arbitration Rules would be
      those in force as of 10 April 2006, that the procedural languages would be English and
      Spanish, and that the place of proceeding would be Washington D.C., United States of
      America. Procedural Order No. 1 also provided different procedural scenarios and agreed
      timetables as well as the number, sequence and dates of pleadings. These timetables were
      included in Annex A of Procedural Order No. 1.

13.   On 28 November 2014, the Claimants filed their Memorial ("Claimants' Memorial") with
      accompanying documentation.

14.   On 30 January 2015, the Respondent filed a Request for Bifurcation to address the
      objections to jurisdictions as a preliminary question ("Request for Bifurcation").

15.   On 16 February 2015, the Claimants filed their Observations to Respondent' s Request for
      Bifurcation.




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16.   On 2 March 2015, the Tribunal rendered its "Decision on Respondent's Request for
      Bifurcation", rejecting Respondent's request to address the objections to jurisdiction as a
      preliminary question, joining the preliminary objections to the merits and confirming the
      procedural timetable.

17.   On 31 July 2015, the Respondent filed its Counter-Memorial on the Merits and Memorial
      on Jurisdiction ("Respondent's Counter-Memorial"), with accompanying documentation.
      On the same date, the Parties informed the Tribunal of their agreement to amend the
      procedural timetable for the document production phase of the arbitration. The Parties
      agreed that the remaining dates of the procedural timetable would remain as scheduled.
      The Tribunal approved the amended timetable on 3 August 2017.

18.   On 29 September 2015, in accordance with the agreed procedural timetable, the Parties
      submitted their respective document production requests to the Tribunal.

19.   On 14 October 2015, the Tribunal issued Procedural Order No. 2, addressing the Parties'
      respective requests for document production and confirming the agreed procedural
      timetable for the following stages. In Section III of Procedural Order No. 2, the Tribunal
      requested the Respondent to provide the Tribunal with the documents corresponding to the
      Claimants' document production requests under Categories 29 and 30 and indicated that it
      would "decide on the production of such documents after receiving and reviewing the
      aforesaid documents in camera."

20.   Pursuant to the Tribunal's instructions, on 28 October 2015, the Respondent provided the
      Tribunal with digital copies of the requested documents.

21.   On 6 November 2014, the Tribunal issued Procedural Order No. 3, dealing with the
      Claimants' document production requests under Categories 29 and 30.

22.   On 18 December 2015, the Claimants submitted their Reply on the Merits and Counter-
      Memorial on Jurisdiction ("Claimants' Reply") along with supporting documents.

23.   On 21 December 2015, the Parties agreed an extension (until 1 March 2016) for the filing
      of the Respondent's Rejoinder on the Merits and Reply on Jurisdiction, as well as an
      extension (until 15 April 2015) for the filing of the Claimants' Rejoinder on Jurisdiction.

24.   On 23 December 2015, the Respondent sought the Tribunal's authorization to adduce six
      exhibits submitted in the context of the present proceeding, in the arbitration Eiser
      Infrastructure Limited and Energia Solar Luxembourg S.a r.l. v. Kingdom ofSpain (ICSID
      Case No. ARB/13/36) ("Eiser v. Spain").




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25.   On 7 January 2016, the Claimants objected to the Respondent's request on the grounds that
      five out of six of the requested exhibits were confidential and commercially sensitive in
      nature.

26.   On 28 January 2016, the Tribunal issued Procedural Order No. 4 deciding on the
      Respondent's request and the Parties' submissions on confidentiality of the six exhibits.
      The Tribunal further requested the Claimants to inform the Tribunal on or before 2
      February 2016 whether they had obtained consent to submit Exhibit C-0092 in this
      arbitration, and if not, the reasons therefore.

27.   On 2 February 2016, Claimants confirmed that they had obtained the consent to submit the
      referred as Exhibit C-0092 in this arbitration and sought an order from the Tribunal
      declaring its confidentiality. In Procedural Order No. 5, dated 5 February 2016, the
      Tribunal declared the relevant document confidential.

28.   On 1 March 2016, the Respondent filed its Rejoinder on the Merits and Reply on
      Jurisdiction ("Respondent's Rejoinder").

29.   On 15 April 2016, the Claimants filed their Rejoinder on Jurisdiction ("Claimants'
      Rejoinder").

30.   On 19 July 2016, the Claimants requested leave from the Tribunal to submit additional
      documents to the record in this arbitration, and to correct a document and some data that
      they had previously filed. On 26 July 2016, the Respondent replied to the Claimants'
      request and also sought authorization to submit additional documents. On 2 August 2016,
      the Claimants replied to the Respondent's request. On 8 August 2016, the Tribunal issued
      Procedural Order No. 6 deciding on both Parties' requests.

31.   On 12 September 2016, the President and the Secretary of the Tribunal held a pre-hearing
      organizational telephone conference with the Parties.

32.   On 15 September 2016, the Tribunal issued Procedural Order No. 7 reflecting the Parties'
      agreements and the Tribunal's decisions on procedural matters concerning the organization
      and logistical arrangements of the hearing.

33.   The Hearing on Jurisdiction and the Merits was held at Paris, France from 19 October 2016
      to 25 October 2016 ("Hearing"). The following persons were present at the Hearing:




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     Tribunal:
     Dr. Eduardo Zuleta Jaramillo     President
     Prof. Francisco Orrego Vicufia   Co-Arbitrator
     Mr. J. Christopher Thomas QC     Co-Arbitrator


     ICSID Secretariat:
     Ms. Natali Sequeira              Secretary of the Tribunal


     For the Claimants:
     Counsel:
     Ms. Judith Gill QC               Allen & Overy LLP
     Mr. Jeffrey Sullivan             Allen & Overy LLP (Now Gibson Dunn &
                                      Crutcher LLP)
     Ms. Marie Stoyanov               Allen & Overy LLP
     Ms. Naomi Briercliffe            Allen & Overy LLP
     Mr. Tomasz Hara                  Allen & Overy LLP
     Ms. Stephanie Hawes              Allen & Overy LLP
     Mr. Jack Busby                   Allen & Overy LLP
     Ms. Karolina Latasz              Allen & Overy LLP

     Parties
     Mr. Stephane Ifker                   Antin Infrastructure Partners
     Mr. Ashkan Karimi                    Antin Infrastructure Partners

     Witnesses
     Mr.Mark Crosbie                      Antin Infrastructure Partners
     Mr. Mauricio Bolafia                 Antin Infrastructure Partners

     Experts
     Mr. Richard Caldwell                 The Brattle Group
     Mr. Carlos Lapuerta                  The Brattle Group
     Mr. Jose Antonio Garcia              The Brattle Group
     Mr. John (Jack) Stirzaker            The Brattle Group
     Dr. Thomas R. Mancini                TRMancini Solar Consulting, LLC


     For the Respondent:


     Mr. Diego Santacruz Descartin        Ministry of Justice of the Government of Spain
     Mr. Javier Torres Gella              Ministry of Justice of the Government of Spain



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           Mr. Yago Fernandez Badia                        Ministry of Justice of the Government of Spain
           Mr. Antolin Fernandez Antufia                   Ministry of Justice of the Government of Spain
           Ms. Amaia Rivas Kortazar                        Ministry of Justice of the Government of Spain
           Ms. Elena Ofioro Sanz                           Ministry of Justice of the Government of Spain
           Mr. Arturo Fernandez                            IDAE
           Mr. Alfonso Olivas                              IDAE
           Ms. Raquel Vazquez                              IDAE

           Witness:
           Mr. Carlos Montoya                              IDAE

           Experts
           Mr. Eduardo Perez                               BDO
           Mr. Francisco Javier Espel                      BDO
           Mr. David Mitchell                              BDO
           Mr. Manuel A. Vargas                            BDO
           Ms. Susan Blower                                BDO
           Dr. Jorge Servert                               BDO


           Observer


           Ms. Emily Choo2                                 NUS Centre for International Law Practice
                                                           Fellow
           Court Reporters:


           Mr. Trevor McGowan                              The Court Reporter
           Mr. Leandro Iezzi                               D-REsteno
           Ms. Luciana Sosa                                D-REsteno


           Interpreters:


           Mr. Jesus Getan Bornn                           Independent
           Mr. Juan Maria Burdiel Perez                    Independent
           Ms. Amalia Thaler                               Independent




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    Ms. Chao's attendance as an observer was agreed by the Parties on 17 August 2016.



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34.   During the Hearing, the following persons were examined:

        1\1.r.l\1.arkCrosbie                     Antin Infrastructure Partners
        1\1.r. 1\1.auricio Bolafia               Antin Infrastructure Partners
        1\1.r. Carlos 1\1.ontoya                 IDAE
        Dr. Thomas R. 1\1.ancini                 TR 1\1.ancini Solar Consulting, LLC
        1\1.r. Richard Caldwell                  The Brattle Group
        1\1.r. Carlos Lapuerta                   The Brattle Group
        1\1.r. Jose Antonio Garcia               The Brattle Group
        1\1.r. David 1\1.itchell                 BOO
        1\1.r. Eduardo Perez                     BOO
        1\1.r. Francisco Javier Espel            BOO


35.   On 2 November 2016, the Tribunal issued Procedural Order No. 8 concerning post-hearing
      procedural matters.

36.   On 24 November 2016, the Respondent submitted a letter dated 18 November 2016,
      seeking authorization to add an additional legal authority to the record (namely, the award
      inlsolux Netherlands B. V. v. Kingdom ofSpain (SCC Case V2013/153) dated 17 July 2016
      ("Jsolux v. Spain"). On 25 November 2016 and 2 December 2016, the Claimants submitted
      observations on the Respondent's request. The Respondent submitted further observations
      on 29 November 2016 and 7 December 2016.

37.   On 30 November 2016, the Parties submitted agreed corrections to the Hearing transcripts.

38.   On 13 December 2016, the Tribunal issued Procedural Order No. 9 rejecting the
      Respondent's request of 24 November 2016 to introduce the award in Jsolux v. Spain as an
      additional legal authority to the record.

39.   The Parties filed post-Hearing briefs on 16 December 2016. Pursuant to Procedural Order
      No. 1, the Centre transmitted the Parties' post-Hearing briefs simultaneously to the
      Tribunal and to the other Party.

40.   The Claimants filed their Statement of Costs on 20 January 2017. On 24 January 2017, the
      Respondent requested an extension to file its Statement of Costs. By a communication of
      28 January 2017, the Tribunal granted such extension. The Respondent's Statement of
      Costs was filed on 31 January 2017. Pursuant to Procedural Order No. 1, the Centre
      transmitted both Parties' Statement of Costs simultaneously to the Tribunal and to the other
      Party on 31 January 2017.




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41.   By letter of 22 March 2017 the Claimants filed a letter informing the Tribunal and the
      Respondent that they had "recently entered into an agreement for the sale of their
      investments in the Andasol-1 and Andasol-2 CSP plants." The Claimants further indicated
      that "[t]he sale has not yet closed and is subject to certain conditions precedent, which are
      yet to be satisfied. As a result, the Claimants are presently unable to provide the Tribunal
      with the full details of the transaction. [ ... ]." The Claimants' letter further indicated that
      "[t]he transaction agreement expressly confirms that the Claimants' rights in respect of the
      arbitration are retained by them following the sale." The Claimants anticipated that all
      conditions would be satisfied, and the sale fully finalised, by the end of April or early May
      2017 and indicated that they would update the Tribunal once the sale was fully finalised.

42.   On 9 May 2017, the Claimants requested leave to introduce the award issued by the arbitral
      tribunal in Eiser v. Spain on 4 May 2017.

43.   On 12 May 2017, the Respondent indicated that it did not object to the addition into the
      record of the award in Eiser v. Spain. On 15 May 2017, the Tribunal admitted the award
      into the record and invited the Parties to submit a brief of no more than three pages
      commenting exclusively on the relevance, if any, of such award. The Claimants submitted
      their comments on 19 May 2017 and the Respondent did likewise on 24 May 2017.
      Pursuant to Procedural Order No. 1, the Centre transmitted both Parties' observations
      simultaneously to the Tribunal and to the other Party on 24 May 2017.

44.   On 29 June 2017, the Respondent informed the Tribunal that the award in Jsolux v. Spain
      had been released to the public domain, requested leave to add it to the record and submit
      comments. The Respondent further indicated that it wished to make further written
      submissions to the Tribunal concerning new relevant facts, in particular, recent
      developments concerning the electrical regulatory framework through "[p]ublic auctions."

45.   By communications of 5 and 21 July 2017 the Parties agreed on the introduction of the
      Isolux v. Spain award and other additional documents to the record. The Parties further
      agreed on making simultaneous written submission, addressing such award and all new
      documents by 26 July 2017. Pursuant to Procedural Order No. 1, the Centre transmitted
      both Parties' observations simultaneously to the Tribunal and to the other Party on 27 July
      2017.

46.   By letter of 1 August 2017 the Claimants informed that "the Claimants' sale of their
      investments in the Andasol-1 and Andasol-2 CSP plants has now closed. The assets were
      sold to Cubico Sustainable Investments Limited following the auction process organised
      by Mediobanca and the proceeds to Antin were EUR 7 5 .2 million (before locked-box
      interests)."



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47.   On 9 August 2017, the Respondent submitted its comments regarding the Claimants' letter
      of 1 August 2017. The Respondent noted that all documents pertaining to the transaction
      should be provided by the Claimants for the Tribunal to be able to assess the statements
      made in the Claimants' letter.

48.   By letter of 15 August 201 7 the Centre informed the Parties that Mrs. Mercedes Cordido-
      Freytes de Kurowski, ICSID Legal Counsel, would serve as Secretary of the Tribunal,
      replacing Mrs. Sequeira, a certain period of time.

49.   On 17 August 2017, the Claimants submitted an email concerning the Respondent's
      submission of 9 August. The Claimants rejected a specific assertion made by the
      Respondent and conveyed that they did not intend to make further submissions or provide
      further documents unless otherwise requested by the Tribunal.

50.   By email of 21 August 2017 the Tribunal informed that it did not intend to request any
      further submissions or documents at that time.

51.   On 23 November 2017, the Respondent requested leave from the Tribunal to file a decision
      from the European Commission (the "Commission") regarding the Spanish State Aid
      Framework for Renewable Sources.

52.   On 28 November 2017, the Claimants submitted their comments on the Respondent's
      request.

53.   By letter of 29 November 2017 the Tribunal denied the Respondent's request of 23
      November 2017.

54.   By letter of 16 January 2018, the Centre informed the Parties that Mrs. Sequeira had
      resumed her functions as Secretary of the Tribunal.

55.   The proceeding was closed on 26 February 2018.

56.   By letter of 7 March 2018, the Respondent filed an application under ICSID Arbitration
      Rule 38(2) requesting that the proceeding be reopened for the Respondent to submit (i) the
      Final Judgment of the Court of Justice of the European Union ("CJEU") of 6 March 2018
      in Slowakische Republik v. Achmea B V and (ii) the Commission's decision of 10 November
      2017 regarding the Spanish State Aid Framework for Renewable Sources.

57.   On 12 March 2018, the Claimants submitted their comments on the Respondent's request.

58.   By Procedural Order No. 10of16 April 2018, the Tribunal denied the Respondent's request
      of7 March 2018.



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III.   THE NON-DISPUTING PARTY APPLICATIONS

59.    On 14 November 2014, the European Commission filed an Application for Leave to
       Intervene as a Non-Disputing Party (the "Commission's First Application").

60.    On 5 December 2014, the Parties filed their observations on the Commission's First
       Application.

61.    On 15 December 2014, the Tribunal issued its "Decision on Application for Leave to
       Intervene as a Non-Disputing Party". The Tribunal found that the Commission's First
       Application was premature considering that the Respondent had not yet submitted its
       jurisdictional objections to the Tribunal and therefore dismissed the First Application
       without prejudice to the Commission's making a new request in due course.

62.    On 9 December 2015, the Commission submitted a Second Application for Leave to
       Intervene as a Non-Disputing Party pursuant to Arbitration Rule 37(2) (the "Commission's
       Second Application").

63.    On 21 December 2015, the Parties submitted their observations on the Commission's
       Second Application.

64.    On 5 February 2016, the Tribunal adopted its "Decision on the European Commission's
       Second Application for Leave to Intervene as a Non-Disputing Party". In its Decision, the
       Tribunal authorized the Commission to make a written submission by 1 March 2016, upon
       the submission of a written undertaking that it would comply with any decision on costs
       ordered by the Tribunal. The Decision further established that the written submission
       should be limited to 15 pages and be focused on the interpretation of European Union law
       regarding the issue of jurisdiction. The Tribunal denied the Commission access to the
       record of the arbitration, to the Parties' pleadings, and to any hearings. The Commission
       would have to bear its own costs for its participation as non-disputing party.

65.    On 5 February 2016, the Centre sent a communication to the Commission infonning it of
       the contents of the operative section of the Tribunal's Decision.

66.    On 18 February 2016, the Commission submitted a request for the Tribunal to alter the
       above-referenced Decision on the point of the costs undertaking. The Commission
       informed that it was not in a position to submit the required written undertaking on costs
       and requested the Tribunal to "reconsider its Decision on that point, and to drop the
       condition set out in paragraph 44, under (f)."

67.    On 18 February 2016, the Tribunal invited the Parties to submit their comments on the
       Commission's reconsideration request. On 22 February 2016, both Parties filed their


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           observations. On 26 February 2016, the Tribunal rejected the Commission's request for
           reconsideration and maintained its earlier decision of 5 February 2016.

68.        By letter of 29 February 2016, the Commission notified the Tribunal that it was not in a
           position to provide the costs undertaking and therefore informed the Tribunal that it would
           not file a written submission.

IV.        FACTUALBACKGROUND

69.        This dispute relates to certain measures undertaken by the Respondent in the renewable
           energy ("RE") sector and the alleged breaches of its obligations under the ECT and
           international law with respect to the Claimants and their investments.

70.        The investments made by the Claimants, as will be further addressed below, consisted of
           the acquisition of shareholding participations in Andasol-1 Plant and Andasol-2 Plant, two
           operational concentrated solar power ("CSP") plants located in Granada, southern Spain
           (together, the "Andasol Plants") in 2011.

71.        CSP technology has been in use since the 1980's and exploits sunlight with minimal
           environmental impact. It is a form of solar thermal technology, where energy from the sun
           is captured onto a liquid carrier fluid which heats a thermo-oil heat transfer fluid ("HTF")
           inside absorber tubes. The HTF converts water into steam by using a steam generator, or,
           alternatively, the heat is transferred into a thermal storage system for later use. The steam
           generated then drives a turbine, which in tum is connected to a generator that produces
           electricity. 3 The Andasol Plants use a parabolic-trough design, where solar radiation is
           concentrated on receptors by cylindrical-parabolic mirrors or collectors.

72.        CSP plants may also use fossil fuels in order to boost their power-generation capacity. By
           using natural gas, CSP plants increase their solar-to-electric conversion efficiency and the
           reliability of their production. This was the case of the Andasol Plants, which were
           equipped with three heaters and a liquefied natural gas reservoir to allow them to use
           natural gas in their electricity production. 4

73.        Since the Spanish Constitut1on of 1978, Spain has adopted four laws which govern the
           Spanish Electrical System ("SES"), with the aim of maintaining a unified and integrated
           electrical system. 5 The SES is composed of the generation, transmission, distribution and


3
        Claimants' Memorial, 155.
4
        See Bolafia WS I, 122.
5
    ·   Exhibit R-0041, Law 49/1984, 26 December 1984; Exhibit R-0044, Law 40/1994, 31 December 1994; Exhibit
        R-0042, Law 54/1997, 27 November 1997 ("Law 54/1997"); and Exhibit R-0043, Law 24/2013, 26 December
        2013.



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        supply of electricity, the consumers of electricity and the State's various regulating
        authorities.

74.     On 27 November 1997, Spain enacted Law 54/1997, partially opening up the electricity
        sector to competition (with both regulated and liberalised activities) and putting an end to
        the previous State-controlled system. This law established the overall legal framework for
        the electricity sector in Spain, including its governing principles. 6 In its preamble, Law
        54/1997 set out that it created

                  "an energy policy based on the gradual liberalisation of the market
                  compatible with the achievement of other objectives which also
                  belong to it, such as the improvement of energy efficiency, reduced
                  consumption and environmental protection. The special electricity
                  generation regime, the demand management programmes and, above
                  all, the promotion of renewable energy improve the way in which it
                  fits into our legal system."

75.    In order to encourage the production of energy from renewable sources, Law 54/1997
       distinguished between an "Ordinary Regime" applicable to conventional sources of energy
       production (such as coal-fired power plants) and a "Special Regime" applicable to
       electricity production facilities of less than 50MW which generated electricity from non-
       consumable renewable energy sources. Pursuant to Article 27 of Law 54/1997:

                  "1. Electrical energy production shall be approved for operation
                  under the special regime in the following cases, and when said
                  activity is carried out in power plants with an installed power
                  capacity_that does not exceed 50MW: [ ... ]

                  b) When used as a primary energy source, any of the no -consumable
                  renewable energy, biomass or any kind of biofuel, providing the
                  owner does not operate electricity production activities under the
                  ordinary regime. [ ... ]

                  2. Energy production under the special regime shall be governed by
                  its specific guidelines and, in matters not covered by them, general
                  applicable electrical production rules shall apply." 7

76.    Generation of energy, with the exception of the activity of generation under the Special
       Regime was specified to be a liberalised activity. 8·




6
    Exhibit C-0033, Law 54/1997, Article 1; Claimants' Memorial, ,r 83.
7
    Exhibit C-0033, Law 54/1997, Article 27.
8
    Respondent's Counter-Memorial, ,r 291; Claimants' Memorial, ,r 85 and footnote 106.


                                                       12
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77.      Spain explains that the reason for this double regime rests on the need to encourage energy
         production from certain sources in which "the price that they can get in the competitive
         generation market is insufficient to cover its installation costs with a reasonable return on
         investment, so that additional emoluments are required to be profitable." 9 It seems
         undisputed that due to their high investment costs, CSP power-generation projects require
         government-backed incentives to be cost-competitive with conventional energy projects. 10

78.      The application of the Special Regime was subjected to the fulfilment of a series of
         requirements. 11

79.      Law 54/1997 also provided for a "tasa de rentabilidad razonable" (a "reasonable rate of
         return") to energy producers. To that regard, Article 30(4) of Law 54/1997 stated the
         following:

                   "In order to establish premium quotas the following factors shall be
                   considered: the tension level of delivery to the grid, the actual
                   contribution to the improvement of the environment, to the saving on
                   primary energy and energy efficiency as well as the costs incurred
                   from investment, in order that reasonable rate of return may be
                   established related to the cost in assets on the capital market."
                   [Tribunal's Translation]

80.      The Parties disagree as to the meaning and legal consequences of the term "reasonable rate
         of return" in Law 54/1997 and as generally used in other regulations and policy statements,
         and by Spanish courts. 12

81.      In development of Law 54/1997, Spain enacted Royal Decree ("RD") 2818/1998 on the
         production of electrical energy by facilities supported by renewable energy, wastes and
         cogeneration resources. RD 2818/1998 provided for the possibility for RE generators to
         sell electricity under either a regulated tariff (some technologies did not have this option)
         or a premium paid over its wholesale market price. 13 It also provided for the periodical
         updating and review of tariffs and premiums applicable to RE producers. 14




9
      Respondent's Counter-Memorial, ,i 347, citing Exhibit R-0048, Jose Gimenez Cervantes, The legal system of
      renewable energies in Spain, in Treaty on Electric Sector Regulation, Vol I (2009), p. 314.
10
      See Claimants' Reply, ,i 61; Brattle Regulatory Report I, ,i,i 23-27.
11
      See Respondent's Counter-Memorial, ,i 349.
12
      See Respondent's Counter-Memorial, ,i,i 350-426; Claimants' Reply, ,i,i 178-259.
13
      Exhibit C-0052, RD 2818/ 1998, 23 December 1998 ("RD 2818/1998"), Articles 23-31; Claimants' Memorial, ,i
      89; Respondent's Counter-Memorial, ,i 381.
14
      Exhibit C-0052, RD 2818/1998, Articles 28 and 32; Claimants' Memorial, ,i 89; Respondent's Counter-
      Memorial, ,i 381.



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82.      The promotion and development of RE had also come to be an important goal for the
         European Union ("EU"). EU targets and objectives have been set by reference to the global
         objectives agreed in the Kyoto Protocol. In turn, the Spanish regulatory regime for
         renewables " ... must be understood within[ ... ] the policies of the European Union, both in
         the field of energy and the environment ... " 15 Spain does not dispute that the Special
         Regime for RE producers was introduced and also maintained based on the United Nations
         Framework Convention on Climate Change and the Kyoto Protocol.

83.      On 27 September 2001, the EU adopted Directive 2001/77/EC "on the Promotion of
        Electricity Produced from Renewable Energy Sources in the Internal Electricity Market"
        (the "2001 Renewables Directive"). The 2001 Renewables Directive recognized the need
        for public support in favour of RE sources, including mechanisms such as green
        certificates, investment aid, tax exemptions or reductions, tax refunds and direct price
        support schemes. 16 It further required EU Member States to take appropriate measures to
        meet targets on the reduction of emission of greenhouse gasses, as well as to increase the
        proportion of electricity produced using renewable resources and to set national indicative
        targets consistent with the global indicative target of 12% of gross domestic energy
        consumption from renewable sources by 2010. 17

84.     Moreover, the 2001 Renewables Directive required members to bring into force the laws,
        regulations and administrative provisions necessary to comply with the directive no later
        than 2003, 18 and to ensure that the charging of transmission and distribution fees did not
        discriminate against electricity from RE sources. 19 The targets set out in the 2001
        Renewables Directive for RE production and consumption became a key driver behind the
        Respondent's actions to encourage investments in RE projects. 20 Spain's indicative target
        was to draw 29.4% of its electricity from renewable sources by 2010. 21

85.     On 12 March 2004, the Respondent introduced RD 436/2004. 22 Spain intended to establish
        a lasting economic regime for RE facilities eligible under the Special Regime, through RD
        436/2004 (and later through RD 661/2007). 23 RD 436/2004 sought to unify the existing
        regulation developing Law 54/1997, particularly regarding the economic regime applicable


15
     Respondent's Counter-Memorial, '\I 337.
16
     Exhibit C-0018, Directive 2001/77 /EC, European Parliament and European Council, 27 September 2001 ("2001
     Renewables Directive"), Preamble (12) and (14).
17
     Exhibit C-0018, 2001 Renewables Directive, Preamble (1), (5) and (7) and Article 3.
18
     Exhibit C-0018, 2001 Renewables Directive, Article 9.
19
     Exhibit C-0018, 2001 Renewables Directive, Article 7(6).
2
 °   Claimants' Reply, '\164; Respondent's Rejoinder, '\I 267.
21
     Exhibit C-0018, 2001 Renewables Directive, Annex.
22
     Exhibit C-0059, RD 436/2004, 12 March 2004 ("RD 436/2004"), Article l(b).
23
     Respondent's Rejoinder, '\I 269.



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         to Special Regime producers. It also sought to promote investment in RE production by
         offering security and stability in the calculation of the compensation offered to Special
         Regime producers. 24 RD 436/2004 established the possibility for Special Regime
         producers to sell the energy produced either (i) at a regulated fixed tariff, or (ii) at market
         price plus a premium payment per unit of electricity. 25 The exact value of both the fixed
         tariff and the premium would be tied to market fluctuations and subject to ·change on an
         annual basis. 26

86.      RD 436/2004 further established that the tariffs, premiums and incentives provided therein
         would be reviewed and modified periodically. Also, tariffs, premiums, incentives and
         complements resulting from any such revisions would be applicable only to facilities
         commencing operations after the date of entry into force of the corresponding
         modifications. 27

87.      The Claimants explain that RD 436/2004 did not provide for a fixed level ofremuneration;
         rather, "the regulated tariff and premium it provided were calculated as a percentage of the
         yearly average tariff paid by all electricity consumers, which was itself set by reference to
         market prices". 28

88.      The Instituto para la Diversifzcaci6n y Ahorro de la Energia ("IDAE", for its acronym in
         Spanish), an advisory body to the Spanish Ministry of Industry, Tourism and Commerce
         (the "Ministry"), set out a series of recommendations to assist in further increasing
         investment in the RE sector in Spain through the Plan for the Promotion of Renewable
         Energies in Spain 2005-2010 (the "2005-2010 Plan"). 29 The 2005-2010 Plan states that RD
         436/2004 set out an economic framework sufficiently favourable for the development of
         the thermosolar electricity sector. 30 However, it limits the conditions for retribution by
         setting up a maximum of 200MW. It also expressly acknowledged that due to the
         technologies' low profitability, higher premiums were necessary to secure the
         sustainability to the project. It identified a series of economic, technological and normative

24
     Exhibit C-0059, RD 436/2004, Preamble ("The aim with this Royal Decree is that by the year 2010, close to one
     third of electricity demand will be covered by high energy efficient technologies and by renewable energies
     without any increase in the production cost of the electricity system compared to the forecasts used to set the tariff
     methodology in 2002. With this contribution of the special regime, it will be possible to reach the goal set out in
     the 1997 Electricity Act, i.e. to ensure that by the year 2010 renewable energy sources cover at least 12% of total
     energy demand in Spain.").
25
     Exhibit C-0059, RD 436/2004, Article 22.
26
     Exhibit C-0059, RD 436/2004, Articles 23 and 24.
27
     Exhibit C-0059, RD 436/2004, Article 40.
28
     Claimants' Memorial, ,i 110.
29
     Exhibit C-0039, Plan for the Promotion of Renewable Energies in Spain 2005-2010, August 2005 (the "2005-
     2010 Plan"); Exhibit C-0054, Ministry oflndustry, Tourism and Commerce & IDAE, "Summary of the Spanish
     Renewable Energy Plan 2005-2010", August 2005.
30
     .Exhibit C-0039, 2005-2010 Plan, Section 3.4.2.1.



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         barriers to developing thermoelectric projects, including the need for investment assistance
         or subsidies for early projects, little regulation for thermoelectric plants, and limitations on
         current premiums and tariff for plants within the 200MW threshold. 31

89.      On 23 June 2006, the Respondent introduced Royal Decree Law ("RDL") 7/2006, on the
         adoption of urgent measures for the energy sector. RD L 7/2006 provided that any revisions
         made by the Government to the medium tariff paid would not be applicable to the prices,
         premiums, incentives and tariffs granted to RE producers subject to the Special Regime,
         until the provisions of RDL 7/2006 were further regulated. 32 Additionally, RDL 7/2006
         amended Article 30 of Law 54/1997, in order to provide "priority access to transport and
         distribution networks" to the energy produced by producers subject to the Special
         Regime. 33 However, this priority of access was subject to the "maintenance and safety of
         such networks." 34

90.     Although the growth experienced as a result of the Special Regime had been considerable,
        the objectives sought were still far from being reached. 35 Specifically, there was a need to
        modify the compensation regime available to Special Regime producers to take into
        consideration certain variables that had not been considered by RD 436/2004, and de-link
        such compensation from the reference tariff used to date, as well as to regulate certain
        technical aspects and thus contribute to the growth of RE technologies. 36

91.     As a result, on 25 May 2007, RD 436/2004 was repealed and replaced by RD 661/2007.
        RD 661/2007 sought to develop the principles in Law 54/1997, "guaranteeing the owners
        of [Special Regime] facilities... a reasonable return on their investments, and the
        consumers of electricity an assignment of the costs attributable to the electricity system
        which is also reasonable." 37 Hence, RD 661/2007 sought to grant RE producers stability in
        time, allowing them to do medium and long-term planning while obtaining a sufficient and
        reasonable retum. 38 Moreover, by the adoption of RD 661/2007, the Respondent sought to
        achieve its national target set by the 2001 Renewables Directive. 39 In accordance with the
        Ministry's press release announcing RD 661/2007:



31
     Exhibit C-0039, 2005-2010 Plan, Section 3.4.2.7.
32
     Exhibit C-0063, RDL 7/2006, 23 June 2006 ("RDL 7/2006"), Second Transitory Disposition.
33
     Exhibit C-0063, RDL 7/2006, Article I, paragraph Twelve.
34
     Ibid.
35
     Exhibit C-0020, RD 661/2007, 25 May 2007 ("RD 661/2007"), Preamble.
36
     Exhibit C-0020, RD 661/2007, Preamble.
37
     Ibid.
38
     Exhibit C-0171, Press release announcing RD 661/2007, "The Government prioritises profitability and stability
     in new Royal Decree-Law on renewables and combined heat and power", 25 May 2007.
39
     Exhibit C-0020, RD 661/2007, Preamble.



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                    "The aim of this Royal Decree is to increase remuneration for
                    facilities using newer technologies, such as biomass and solar-
                    thermal, in order to comply with targets outlined under the [2005-
                    2010 Plan] and those agreed upon between Spain and the European
                    Union. As these renewable energy technologies are developed,
                    renewable energy shall cover 12% of Spain's energy needs by 2010.
                    [ ... ] With regard to technologies in need of a boost in view of their
                    limited development, such as biogas or solar-thermoelectric,
                    profitability shall rise to 8% for facilities that choose to supply
                    distributors and between 7% and 11 % return for those participating
                    in the wholesale market. Tariffs shall be reviewed every 4 years,
                    taking into account compliance with the established targets. Such a
                    revision shall allow for adjustments to be made to the tariff in virtue
                    of new costs and the level of compliance with the targets. Future tariff
                    revisions shall not be applied to existing facilities. This guarantees
                    legal certainty for the electricity producer and stability for the sector,
                    thereby favouring development. [ ... ] " 40

92.      Article 2 of RD 661/2007 provided that the Special Regime would be applicable to
         "facilities which employ any non-consumable renewable energies, biomass, or any type of
         biofuels, as their primary energy, upon condition that the owner does not carry out any
         production activity under the ordinary regime." 41

93.      RD 661/2007 established a fixed tariff or premium system where Special Regime
         producers could sell electricity, subject to certain floors and caps, either a) selling
         electricity to the system through the transportation or distribution grid, receiving in
         exchange a regulated tariff, fixed for all the programming periods, expressed in Euro cents
         per kilowatt/hour ("Fixed Tariff'), or b) selling the electricity in the electric energy
         production market, in which case, the sale price of the electricity would be the price
         obtained in the organized market or the price freely negotiated by the owner or
         representative of the facility, supplemented, where applicable, by a premium in Euro cents
         per kilowatt/hour ("Premium"). 42 The choice between these two options of feed-in-tariff
         mechanisms provided in RD 661/2007 ("FIT") applied for a one-year term. For
         technologies such as CSP, the Premium option was subject to lower and upper thresholds.
         According to the Claimants, generators were incentivised to opt for the Premium option,
         since the Fixed Tariff had been set close to the floor level of the Premium. 43

94.      Additionally, RD 661/2007 offered the following features:


40
      Exhibit C-0171, Press release announcing RD 661 /2007, "The Government prioritises profitability and stability
      in new Royal Decree-Law on renewables and combined heat and power", 25 May 2007.
41
      Exhibit C-0020, RD 661/2007, Article 2.l(b).
42
      Exhibit C-0020, RD 661 /2007, Article 24.1.
43
      Claimants' Memorial, 11126 and 138.



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         (a)   Article 14 provided that definitive registration with the Administrative Registry of
               Production Facilities under the Special Regime (the "RAIPRE" for its acronym in
               Spanish), administered by the Ministry, was a necessary condition for a facility to be
               subject to the Special Regime benefits under RD 661/2007;

        (b)    Article 17(e) granted priority of access and priority of dispatch to the electric grid to
               RE producers over conventional energy producers, under the terms set forth in
               Annex XI of RD 661/2007;

        (c)    Article 2( 1)(b) allowed RE production facilities subject to the Special Regime to use
               fuels for generation of electricity, insofar as the electricity produced by such fuels
               did not exceed 12% of the total production, if the facility sold energy through the
               Fixed Tariff option, or 15%, if the facility sold energy through the Premium option;

        (d)    Article 22 provided that the tariffs and premiums established in RD 661/2007 could
               be revised if Spain reached certain volumes of RE installed capacity, but such
               revision would not be applicable to those facilities already registered with the
               RAIPRE prior to such date;

        (e)    Article 36 established fixed tariffs and premiums that would be applicable for the
               entire operational lifetime of each facility;

        (f)    Article 44(1) provided that tariffs and premiums and the upper and lower limits
               would be adjusted by reference to fuel price indexes and to the Consumer Price Index
               ("CPI"); 44

95.     According to Article 44(3):

                  "During the year 201 O. on sight of the results of the monitoring
                  reports on the degree of fulfilment of the Renewable Energies Plan
                  (PER) 2005-2010, and of the Energy Efficiency and Savings Strategy
                  in Spain (E4), together with such new tar-gets as may be included in
                  the subsequent Renewable Energies Plan 2011-2020, there shall be a
                  review of the tariffs, premiums, supplements and lower and upper
                  limits defined in this Royal Decree with regard to the costs associated
                  with each of these technologies, the degree of participation of the
                  special regime in covering the demand and its impact upon the
                  technical and economic management of the system. and a reasonable
                  rate of profitability shall always be guaranteed with reference to the
                  cost of money in the capital markets. Subsequently a further re- view
                  shall be performed every four years, maintaining the same criteria as
                  previously. The revisions to the regulated tariff and the upper and

44
     Claimants' Memorial, 1139.


                                                   18
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                   lower limits indicated in this paragraph shall not affect facilities for
                   which the deed of commissioning shall have been granted prior to 1
                   January of the second year following the year in which the_revision
                   shall have been performed. " 45

96.      The Parties disagree as to the interpretation of Article 44(3) of RD 661/2007.

97.      After RD 661/2007 entered into force, the EU approved the 2009/28/EC Directive "on the
         promotion and use of energy from renewable sources and amending and subsequently
         repealing Directives 2001/77/EC and 2003/30/EC" on 23 April 2009 (the "2009 EU
         Directive"). After reaffirming the EU's commitment to the promotion of RE, this Directive
         established the objective that by 2020 the EU would seek to obtain 20% of its total energy
         consumption requirements from RE sources.

98.      Meanwhile, between 2007 and 2009 Spain prepared and displayed several promotional
         materials, including brochures and presentations, where it touched upon the stability of its
         investment framework and the incentives provided by RD 661 /2007. 46

99.      Spain explains that costs of the SES and the electricity bill for Spanish consumers have
         grown exponentially since 2003. 47 Spain further argues that despite raising tolls and
         charges permanently over the years, a growing tariff deficit has arisen from the difference
         between the regulated tariffs set by the Government and paid by consumers and the real
         costs associated with said tariffs (the "Tariff Deficit"). 48 Thus, in the midst of the global
         financial crisis, which severely affected Spain's finances, the Respondent enacted
         RDL 6/2009, intended to address such TariffDeficit. 49 RDL 6/2009 established maximum
         tariff deficit limits for the years 2009, 2010, 2011, and 2012, and provided that the Tariff
         Deficit should be eliminated by 2013. so

100. Additionally, in order to limit the number of facilities that would benefit from the Special
     Regime and to thus have a greater control over the costs borne by the SES, RDL 6/2009
     also introduced a pre-assignment process, requiring all RE facilities to register with the
     Pre-Assignment Register before registering with the RAIPRE. This was a mandatory
     requisite for facilities to be eligible for receiving the benefits granted under the Special
     Regime. 51 After having obtained the Pre-Assignment Register, the plant had a deadline of
45
      Exhibit C-0020, RD 661/2007, Article 44(3) [Tribunal's own translation].
46
      Claimants' Reply, 172; Respondent's Rejoinder, 1278; Claimants' Memorial, 11151-153; Exhibit C-0022, M.
      Garcia, "Opportunities in Renewable Energy in Spain", PowerPoint presentation published by the Spanish
      Ministry for Industry, Tourism and Commerce and lnvestlnSpain, November 2008.
47
      Respondent's Counter-Memorial, 11307-314.
48
      Exhibit C-0070, RDL 6/2009, 30 April 2009 ("RDL 6/2009"), Preamble; Claimants' Memorial, 1157.
49
      See Exhibit C-0088, RDL 14/2010, 24 December 2010 ("RDL14/2010"), Recital 1.
50
      Exhibit C-0070, RDL 6/2009, Article 1.
51
      Exhibit C-0070, RDL 6/2009, Preamble and Article 4.



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         36 months to be finally registered with the RAIPRE m order to benefit from the
         RD 661/2007 economic regime.

 101. As of 7 May 2009, date on which RDL 6/2009 was introduced, CSP facilities registered
      with the RAIPRE had a total installed capacity of 81 MW. 52 However, this was far from
      the 500 MW target set forth in RDL 661/2007. 53 Later, by 19 November 2009, 104
      registration requests representing 4.499 MW from CSP technology had been filed pursuant
      to RDL 6/2009, seeking to qualify under the Special Regime pursuant to RD 661/2007. 54
      Accepting such requests would result in a total installed capacity exceeding the objectives
      set forth in RD 661/2007 for the year 2010. The Government thus analysed the technical
      and economic impact that the entry into operation of an installed capacity significantly
      exceeding the established goal would have. 55 On 19 November 2009 the Government
      approved the progressive registration of all such new facilities with the Pre-Assignment
      Registry and with the RAIPRE, as well as their progressive entry into operation, until 1
      January 2014. 56

102. CSP and wind RE associations entered into discussions with the Ministry regarding future
     modifications to be made to the remuneration framework applicable to them. On July 2010,
     the Ministry issued a press release announcing that the parties had reached an agreement,
     including "short-term measures, which will allow the impact of the price of electricity from
     these technologies to be reduced, as well as long-term measures, which will guarantee
     future stability for both sectors." 57 This agreement (the "July 2010 Agreement") covered
     the following issues:

         (a)    The CSP plants waived access to the Premium option during their first year of
                operations.

         (b)    Qualifying CSP plants accepted the delaying of the date of commencing operations.




52
     Exhibit C-0073, Resolution of the Secretary of State for Energy, dated 19 November 2009, publishing the
     Agreement of the Council of Ministers, ordering the projects and installations presented to the Pre-Assignment
     Register for electricity generation installations set forth in Royal Decree Law 6/2009 (published on 24 November
     2009) ("19 November 2009 Resolution of the Secretary of State for Energy"), Section II.
53
     Exhibit C-0020, RDL 661 /2007, Article 37.
54
     Exhibit C-0073, 19 November 2009 Resolution of the Secretary of State for Energy, Section III.
55
     Exhibit C-0073 , 19 November 2009 Resolution of the Secretary of State for Energy, Section III.
56
     Exhibit C-0073, 19 November 2009 Resolution of the Secretary of State for Energy, Section V.
57
     Exhibit C-0074, Government of Spain, Ministry of Industry, Tourism and Commerce, Press Release: "The
     Ministry of Industry, Tourism and Commerce Reaches an Agreement with the Solar Thermal and Wind Power
     Sectors to Revise their Rate Structures", 2 July 2010 ("2 July 2010 Press Release").


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         (c)    The number of hours with a right to compensation above market prices .would be
                limited, in accordance with the provisions of the 2005-2010 Plan regarding
                calculation of the facilities' profitability.

l 03. The press release asserted that the measures agreed did not jeopardize the profitability of
      existing facilities and guaranteed that RE generation above the expected amount would
      benefit consumers and not compromise the system's economic sustainability. Likewise, it
      provided that the agreement reached entailed "the reinforcement of the visibility and
      stability of the regulation of these technologies in the future, guaranteeing the current
      incentives and rates of RD 661/2007 for the facilities in operation (and for those included
      in the [Pre-Assignment Registry]) starting in 2013." 58

104. On 19 November 2010, the Respondent introduced RD 1565/2010, which regulated and
     modified certain aspects related to electrical production under the Special Regime.
     RD 1565/2010 limited to 25 the number of years during which photovoltaic ("PV")
     installations would be subject to the regulated tariffs set forth in the RD 661/2007 regime. 59
     Importantly, RD 1565/2010 was only applicable to PV producers and did not refer to CSP
     or wind producers.

105. Spain then enacted RD 1614/2010 on 7 December 2010, regulating and modifying certain
     issues related to the production of energy from CSP and wind sources. RD 1614/2010 was
     intended to "resolve certain 'inefficiencies in the application of... RDL 6/2009," 60 in line
     with the July 2010 Agreement. Specifically, RD 1614/2010 limited the number of hours
     per year during which installations were entitled to payment under the FIT pursuant to
     RD 661/2010. 61 It further provided that CSP facilities would not be eligible for selling
     electricity under the Premium option during their first year of operation or during the first
     12 months after the entry into force of RD 1614/2010, if the plant had already obtained its
     final commissioning certificate. 62 However, during this first year, CSP installations were
     allowed to increase the percentage of electricity generated from secondary fuel, including
     gas, up to 15%, and still benefit from the Fixed Tariff for their entire electricity output. 63
     Article 4 of RD 1614/2010 expressly provided the following:

                   "For solar thermoelectric technology facilities that fall under RD
                   661/2007 [ ... ] revisions of tariffs, premiums and upper and lower
                   limits referred to by article 44.3 of the aforementioned Royal Decree,

58
      Exhibit C-0074, 2 July 2010 Press Release.
59
      Exhibit R-0067, RD 1565/2010, 19 November 2010 ("RD 1565/2010"), Article 1.10.
60
      Exhibit C-0023, RDL 1614/2010, 7 December 2010 ("RDL 1614/2010"), Preamble.
61
      Exhibit C-0023, RDL 1614/2010, Article 2.
62
      Exhibit C-0023, RDL 1614/2010, Article 3.
63
      Exhibit C-0023, RDL 1614/2010, Article 3.3 .



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                   shall not affect facilities registered definitively in the [RAIPRE] as
                   of 7 May 2009, nor those that were to have been registered in the
                   [Pre-Assignment Registry] under the fourth transitional provision of
                   RDL 6/2009 [ ... ], and that meet the obligation envisaged in its article
                   4.8, extended until 31 December 2013 for those facilities associated
                   to phase 4 envisaged in the Agreement of the Council of Ministers of
                   13 November 2009."

106. On 23 December 2010, Spain enacted RDL 14/2010 implementing measures which sought
     to address the Tariff Deficit and ensure the economic sustainability of the SES. 64 RDL
     14/2010 introduced cuts to the number of hours for which PV facilities would benefit from
     the tariffs of the RD 661/2007 Special Regime, 65 and created access tolls to be paid by
     producers (both from the Ordinary Regime and the Special Regime) and consumers for the
     use of the transportation and distribution grids, 66 A few days later, on 29 December 2010,
     Ministerial Order No. ITC /3353/2010 was passed which, inter alia, increased the lower
     and upper caps under the Premium option for CSP plants. 67

107. RDL 14/2010 was understood by PV producers as being a retroactive modification of the
     remuneration regime to which they were entitled. As a consequence, claims were filed
     before the Spanish Supreme Court, questioning the validity of RD 1565/2010 and RDL
      14/2010. 68 The Supreme Court issued a series of judgments rejecting such claims,
     establishing that the remuneration regime applicable to RE producers could be validly
     modified, in accordance with the principle ofreasonable return (the "2012 Judgments"). 69
     The Respondent considers these judgments to be a reiteration of the Supreme Court's
     jurisprudence on the limits and scope of the principle of reasonable return, which should
     have been taken into account by the Claimants when analysing the legal framework of their
     investment. 70 The Claimants argue that the 2012 Judgments are irrelevant to the CSP
     sector, and that the outcome of these judgments is irrelevant to assess the Claimants'
     expectations, since they made their investments in the Andasol Plants in June 2011.

108. The Parties generally disagree as to the relevance or the application of the Supreme Court's
     case law in connection with the claims submitted in this arbitration. The Respondent
     alleges that such case law is a fact that must be taken into account by the Tribunal as a

64
     Exhibit C-0088, RDL 14/2010, 23 December 2010 ("RDL 14/2010").
65
     Exhibit C-0088, RDL 14/2010, First Additional Provision.
66
     Exhibit C-0088, RDL 14/2010, Article 1.
67
     Exhibit C-0076, Ministerial Order ITC/3353/2010, 28 December 2010.
68
     See Claimants' Reply, ,i 239.
69   Exhibit R-0068, Judgments from the Third Chamber of the Supreme Court concerning various appeals brought
     between 20 December 2011 and 26 November 2012; Exhibit R-0069, Judgment of the Supreme Court of 12 April
     2012, EDJ 2012/65328; Exhibit R-0070, Judgment of the Supreme Court of 19 June 2012, EDJ 2012/124000
     (together, the "2012 Judgments"); See Respondent's Counter-Memorial, ,i,i 408-414.
70
     Respondent's Counter-Memorial, ,i 408.



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         fundamental element in determining the specific extent of investors' rights and obligations
         under Spanish law. 71 Consequently, it is an element that has to be considered in
         determining any legitimate expectations that the Claimants might have had. The Claimants
         argue to the contrary that the Supreme Court's case law cannot have been understood to
         override the clear and unambiguous statements made by Spain concerning the meaning of
         RD 661/2007 and RD 1614/2010. 72 They also assert that the fact that measures might be
         considered valid as a matter of Spanish law does not render the measures legal under
         international law and that, in any event, the Supreme Court judgments on which Spain
         relies do not support its arguments. 73

109. The Claimants first became aware of the Spanish conglomerate Actividades de
     Construcci6n y Servicios, S.A.'s ("ACS") intention to sell a large part of its RE generation
     assets in the autumn of2010. 74 Later, in February 2011, Antin was approached by RREEF
     Infrastructure (G.P.) Limited ("RREEF"), a company in the Deutsche Bank group, to
     consider a possible investment in certain assets owned by ACS. 75 The specific assets
     concerned were shares owned by ACS in the Spanish companies Andasol-1 Central
     Termosolar UNO S.A. andAndasol-2 Central Termosolar DOSS.A. (jointly, the "Andasol
     Companies"), each one of which owns and operates each of the Andasol-1 Plant and the
     Andasol-2 Plant. 76

110. Construction of the Andasol Plants, located in the province of Granada, southern Spain,
     were finished in 2008 and 2009. The Andasol-1 Plant received its final commissioning
     certificate on 25 November 2008 and registered with the RAIPRE on 24 April 2009, while
     the Andasol-2 Plant received its commissioning certificate on 5 June 2009 and registered
     with the RAIPRE on 22 December 2009. 77 The Andasol-2 Plant also registered with the
     Pre-Assigriment Registry and started selling energy within the 36 months following the
     date of notification of said registration. 78 The Andasol-1 Plant, however, did not have to
     register with the Pre-Assigriment Registry, since it was already in operation by the time
     RDL 6/2009 came into force. Spain does not dispute that, as a consequence, both Andasol



71
      Respondent's Rejoinder, ,r,r 311-317.
72
      Claimants' Reply, ,r 209.
73
      Claimants' Reply, ,r,r 210-214.
74
      Crosbie WS I, ,r 35; Bolafia WS I, ,r 20; Exhibit C-0077, Mediobanca Banca di Credito Finanziario S.p.A.,
      "Project Greco -Datapack", November 2010.
75
      Crosbie WS I, ,r 37; Bolan.a WS I, ,r 20.
76
      Exhibit C-0078, Antin Infrastructure Partners, internal PowerPoint presentation on "Project Green Giant - CSP
      opportunity", 9 March 2011, p. 3; Exhibit C-0090, Antin Infrastructure.Partners, internal PowerPoint presentation
      on "Project Greco - CSP Opportunity", 23 and 27 June 2011.
77
      Exhibit C-0008, RAIPRE Certificates for the Andasol-1 Plant and the Andasol-2 Plant.
78
      Exhibit C-0072, Pre-Assignment Registry Certificate for the Andasol-2 Plant.



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         Plants were qualified to receive Special Regime benefits under RD 661/2007 and RD
         1614/2010.

 111. Between March and June 2011, Antin and RREEF carried out a due diligence process
      regarding a potential investment in the Andasol Companies. In March 2011, the Antin
      Investment Committee discussed the investment opportunity and authorized a preliminary
      due diligence. 79 The Antin project team received contractual and financing documents, as
      well as due diligence reports provided by ACS, authored by Clifford Chance LLP,
      Deloitte S.L. and Alatec Ingenieros Consultores y Arquitectos ("Alatec"). 80

 112. The 9 March 2011 Antin Investment Committee meeting minutes note that:

                    "CSP technology was discussed. A more detailed presentation will
                    be made in subsequent IC. The technology emerged commercially in
                    the 1980s in California but few plants were built post 1990s. This
                    was because there is a high investment cost which requires state
                    support in the form of subsidies or tax breaks. In the 1990s, as a result
                    of low gas prices, there was a focus on building CCGTs to satisfy
                    electricity demands. CSP development has restarted in Spain and the
                    US as a result of government support schemes.

                    Spanish regulation for renewables has recently changed, in particular
                    affecting solar PV. The CSP sector is dominated by large Spanish
                    contractors and their association has negotiated changes to regulation
                    which did not have a significant negative impact on the projects (i.e.
                    fixed tariff for 2011 and limitation of hours of production). Spain is
                    a world leader in CSP and Spanish contractors are involved in
                    exporting their technology to many countries abroad. Therefore it is
                    expected that CSP will be more sheltered from regulatory change." 81

113. An Antin PowerPoint presentation also dated 9 March 2011 described the thermosolar
     regulation in Spain, and in regard to RD 1614/2010, stated that "in order to contribute to
     the economic sustainability of the system, the Government introduced temporary
     modifications to the remuneration framework" and that the "new Royal Decree 1614/2010
     prevents plants from choosing the market option during their first year of operation,"
     "[t]hey are forced to choose the regulated tariff option" and "[t]hose facilities with COD



79
     Exhibit C-0094, Antin Infrastructure Partners, Project Greco - Minutes of Investment Committee Meeting, 9
     March 2011; Exhibit C-0153, Antin Infrastructure Partners, Project Greco - Minutes of Investment Committee
     meeting, 17 March 2011.
80
     Exhibit C-0078, Antin Infrastructure Partners, internal Powerpoint presentation on "Project Green Giant - CSP
     Opportunity", 9 March 2011.
81
     Exhibit C-0094, Antin Infrastructure Partners, Project Greco - Minutes of Investment Committee Meeting, 9
     March 2011.


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         prior to December 9, 2010 will move on to the tariff option from January 1, 2011 until
         December 31, 2011. " 82

114. Later, in a 17 March 2011 Antin Investment Committee meeting, a due diligence budget
     was approved with the intention to "carry out a limited amount of market, technical and
     legal due diligence over a period of 2 weeks to provide ACS with a firmed up indicative
     offer subject to confirmatory due diligence." 83 The Antin Investment Committee thus
     approved the formation of a consortium with RREEF to potentially bid for the ACS' CSP
     plants, subject to discussion with RREEF.

115. The due diligence process carried out by Antin involved legal counsel (Herbert Smith
     .Freehills in Madrid ("Herbert Smith"), market analyst (Poyry Management Consulting
      ("Poyry"), financial advisors (Deutsche Bank and Lazard Limited) and technical experts
      (Altermia Asesores Tecnicos, S.L. ("Altennia"). 84 It was focused on the following:
      "Review of VDD (technical, legal, accounting & tax). Herbert Smith review of project
      contracts (EPC and P&M) and finance agreements. Altermia review of solar resource and
     production. " 85

116. Poyry submitted three reports: an "off the shelf' report in March of 2011 ("Poyry's First
     Report"), a market analysis focusing on Spain's Tariff Deficit in May 2011 ("Poyry's
     Second Report"), and a "capture price analysis" report for purposes of determining
     projections of market prices 86 Poyry's First Report analysed the differences between the
     PV and CSP sectors in Spain and the Tariff Deficit. Regarding RD 1614/2010, it concluded
     that "[t]he CSP industry has essentially remained unaffected, apart from the first year of
     operation with no real damage inflicted on its project economics", and that "[t]he major
     concern from the CSP industry is the absence of a regulatory framework beyond 2014,
     although given the lobbying power of the companies involved we feel that the industry is
     in a far safer position than PV. " 87



82
      Exhibit C-0078, Antin Infrastructure Partners, internal PowerPoint presentation on "Project Green Giant - CSP
      Opportunity", 9 March 2011.
83
      Exhibit C-0153, Antin Infrastructure Partners, Project Greco - Minutes of Investment Committee meeting, 17
      March 2011.
84
      Exhibit C-0085, Antin Infrastructure Partners, Project Greco - Minutes of Investment Committee Meeting, 13
      April 2011. See Claimants' Memorial, ,r 188.
85
      Exhibit C-0085, Antin Infrastructure Partners, Project Greco - Minutes oflnvestment Committee Meeting, 13
      April 2011.
86
      Exhibit C-0091, Poyry Management Consulting, "Current State and Future Trends of Solar Power in Spain: an
      ILEX Energy Report to RREEF Infrastructure", March 2011 ("Poyry March 2011 Report"); Exhibit C-0092,
      Poyry Management Consulting, "Spanish Electricity Tariff Deficit - A Note from Poyry Management Consulting
      to RREEF", 11 May 2011 ("Poyry May 2011 Report"); Exhibit C-0093, Poyry Management Consulting,
      "Capture Price Analysis for Andasol 1, Andasol 2 and Extresol 1 CSP Plants", May 2011.
87
      Exhibit C-0091, Poyry March 2011 Report, pp. 108-109.



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 117. Also, according to Poyry's First Report, considering the increase in Brent prices at the
      time, the political will to mitigate the impact of rising electricity costs to end-users would
      increase, potentially leading the Government to avoid introducing the required increases in
      third party access charges (these represent the tariff to access the electricity network, and
      form part of the electricity bill). The zero-tariff deficit would thus be unlikely to be met by
      2012, while in a realistic scenario such target would be met by 2014-2015 through yearly
      10% tariff to access increases. 88 Poyry then concluded that:

                    "If the zero tariff deficit target by end of 2012 is postponed, it will
                    open up the opportunity to more deficit generation. Considering the
                   ·Government behaviour, it is likely that future changes might be
                    implemented if considered needed. RDL 14/2010 is aimed at tackling
                    the lack of funds in the electricity system, reducing the revenue of
                    renewable generators as well as introducing additional revenue
                    sources (i.e., grid tolls). We feel that the Govermnent is in a position
                    to continue with the same energy policy, if considered a requirement,
                    including implementation of further reductions in remuneration to
                    renewables and non-renewable technologies." 89

118. Two months later, in Poyry's Second Report, it added that the trend was for subsidies in
     the electricity system to be reduced or disappear. For Poyry, the risk was being driven by
     the interaction of factors inherent to the SES and the power of different lobbying groups,
     noting that "[i]n this regard, CSP is quite a safe market place as major Spanish construction
     companies are involved in this business, which certainly implies a smaller risk exposure
     than other RES technologies." 90

119. Altennia's technical due diligence report of July 2011 states that the design criteria for the
     type of plants considered allowed for an average working lifespan of 30 years, providing
     preventative, predictive and corrective maintenance procedures were followed, in
     compliance with good engineering practice. 91 Altermia also covered the plants' thermal
     storage system and their use of natural gas. 92

120. Antin instructed Herbert Smith to analyse the regulatory regime for CSP plants. In its due
     diligence report dated 25 March 2011 (the" HS Report"), Herbert Smith stated that Article
     44(3) of RD 661/2007 provides that "reviews to the tariff and the caps and floors would
     only affect installations placed into operation after 1 January of the second year after the
     review", and that this provisions sets out the "untouchability of the regulated tariff and the

88
     Exhibit C-0091, Poyry March 2011 Report.
89
     Exhibit C-0091, Poyry March 2011 Report, p. 135.
90
     Exhibit C-0092, Poyry 1 I May 2011 Report, p. 8.
91
     Exhibit C-0036, Altennia Asesores Tecnicos, S.L., "Independent Technical Consultancy - Technical Due
     Diligence Report on Three (3) Solar Thermal Energy Plant Projects", 7 July 2011 ("Altermia July 2011 Report").
92
     Exhibit C-0036, Altermia July 2011 Report.


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        caps and floors." 93 It noted, however, that this provision mentions only the tariff and the
        caps and floors, not the premium. The Ministry of Industry has therefore interpreted RD
        661/2007 in meaning that it does not protect the premiums enjoyed by installations, and
        that future legislation could alter and reduce premiums without altering the tariff or the
        caps and floors. 94 In contrast, according to Herbert Smith, RD 1614/2010, "guarantees that
        the current premiums, tariffs and the floors and caps will not be modified" for installations
        that have either achieved definitive registration in the RAIPRE by 7 May 2009 or been
        registered in the RAIPRE.

121. The HS Report added that "the Supreme Court has, in three judgments [ ... ] expressly
     acknowledged the possibility of retroactively changing the remunerative regime applicable
     to electricity generation installations subject to the special regime, provided that this
     remains within the limits established by the LSE, i.e. provided that an investor is able to
     obtain a reasonable return on its investments, which would therefore not be in violation of
     legitimate confidence and legal protection [ ... ] ."95

122. However, according to the HS Report, "all the Supreme Court's case law in this regard has
     related to the wording of RD 661/2007, without taking into account the new elements
     introduced by RD 1614/2010. In effect, this more recent Royal Decree introduced
     substantial new elements, and for the first time acknowledges that the current premiums,
     tariffs and the upper and lower limits will not be modified for installations (i) that have
     achieved definitive registration in the [RAIPRE] by 7 May 2009, and (ii) registered in the
     [Pre-Assignment Registry]. " 96

123. The HS Report concluded that "the Government could (although highly improbable) in the
     future approve a new provision having the same (Royal Decree) or a higher rank (Act) to
     modify the protection currently afforded in RD 1614/2010. Nevertheless, precisely due to
     the explicit and strong protection contained in RD 1614/2010, in the unlikely event that the
     Government were to change the regulation to the detriment of the aforementioned
     installations, the owner of the installation would have a very strong case before the
     Courts."97




93
     Exhibit C-0096, Herbert Smith LLP Madrid, "Project Greco - Memorandum on the Legislative Changes in Spain
     Governing the Generation of Energy under the Special Regime, Particularly in Connection with Installations that
     use Thermal Processes to Transform Solar Energy into Electricity (Solar Thermal)", 25 March 2011 ("HS
     Report"), p. 3.
94
     Exhibit C-0096, HS Report, p. 4.
95
     Exhibit C-0096, HS Report, p. 10.
96
     Exhibit C-0096, HS Report, p. 11.
97
     Exhibit C-0096, HS Report, p. 12.


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 124. Spain takes issue with certain aspects of the HS Report, including its analysis of the effects
      and applicability of Supreme Court judgments. 98

 125. At the 13 April 2011 Antin Investment Committee meeting, Antin discussed the due
      diligence carried out thus far, and pointed to the following as some of the key investment
      considerations: the CSP plants were best in class and developed by the world leader in the
      sector; their storage capacity enabled the plants to be the only renewable producers able to
      provide dispatchable electricity; 99 the "[a]ttractive regulatory regime has been sheltered
      from any significant changes and benefits from the support and lobby power of major
      Spanish corporates," and there were "[s]table and predictable cash flows underpinned by
      floor and cap of market premium over pool electricity prices." 100 The transaction then
      under consideration concerned the sale of up to 100% of seven CSP plants, of which Antin
      would acquire two or three. At the time, the plants were "valued at a 15% IRR resulting in
      a l .7x-2.0x MoM" and an "[a]verage yield in the low-to mid-teens" 101 • It was further stated
      that:

                     "Spain has a tariff deficit as a result ofregulated electricity prices not
                     reflecting the actual cost of producing electricity. This deficit has
                     been accumulating over the past few years. The government has a
                     plan to reduce the tariff deficit to zero by 2013. The regulatory
                     changes in renewables last year were in part motivated by this desire
                     to reduce the tariff deficit. The project team will carry out a more in
                     depth analysis of the tariff deficit and its potential impact on CSP
                     plants during the next phase of the process.

                     The CSP sector has not been significantly affected by recent
                     regulatory changes (see slides 14 and 15). A key reason for this is the
                     involvement oflarge Spanish corporates in the sector and their lobby
                     power with the government. Additionally, Spain is a world leader in
                     CSP and it has become a very relevant export industry.

                     Further comfort on the future .stability of regulation would be
                     obtained from the involvement of major Spanish utilities. Today the
                     Spanish CSP market is dominated by large contractors, although

98    See Respondent's Counter-Memorial, ,r 695.
99
      Exhibit C-0085, Antin Infrastructure Partners, Project Greco - Minutes of Investment Committee Meeting, 13
      April 2011, p. 2. See Exhibit C-0084, Antin Infrastructure Partners, internal PowerPoint presentation on "Project
      Greco - CSP Opportunity", 13 April 2011, p. 9 ("CSP technology presents certain advantages over other
      renewable energies which make this technology more attractive to investors and more useful for the electricity
      system. - Energy storage allows CSP plants to be dispatchable and provide electricity during demand peaks
      (receiving therefore higher prices). - The steam turbine can produce electricity using gas, allowing the plants to
      provide electricity during demand peaks, cloudy days or during the night." [footnote omitted].
100
      Exhibit C-0085, Antin Infrastructure Partners, Project Greco - Minutes of Investment Committee Meeting, 13
      April 2011, p. 2.
101
      Exhibit C-0085, Antin Infrastructure Partners, Project Greco - Minutes of Investment Committee Meeting, 13
      April 2011, p. 3.


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                   some like Acciona could be considered a utility. Iberdrola owns an
                   operational plant and one that is pre-registered. The project team will
                   find out if they have further projects in the pipeline, underpinning
                   their support to the sector." 102

126. An Antin PowerPoint presentation also dated 13 April 2011 described the recent changes
     to the Spanish regulatory framework in RDL 1614/2010 stating that the "regulatory
     framework is now more robust against retroactive changes" and the "[l]imited impact of
     recent changes over thermo solar industry in Spain which clearly show the commitment
     and support of this technology by the Government (contrary to the PV sector)." 103

127. The Claimants met with certain Government officers as part of their due diligence process.
     On 20 May 2011 Mauricio Bolafia, an Antin partner, together with Mr. Francisco Cabeza
     (on behalf of RREEF), Herbert Smith and Lazard representatives, met with Mr. Miguel
     Vizcaino, head of the legal department at the Ministry. The Parties disagree as to the
     content and consequences of said meeting. The Claimants allege, based upon Mr. Bolafia's
     witness statement and an email prepared by him, that during the meeting Mr. Vizcaino
     confirmed that RD 1614/2010 provided a long-term, stable regulatory framework for CSP
     producers, specifically mentioning that any future changes would not affect the existing
     facilities, such as the Andasol Plants. 104 According to Mr. Bolafia's Statement, Mr.
     Vizcaino also affirmed that the Tariff Deficit was a manageable issue, and explained that
     the CSP and PV sectors were different since the former produces more electricity using
     less subsidies than the latter, which explained the retroactive changes affecting PV
     facilities. 105

128. An email sent by Mr. Cabeza after the meeting on 20 May 2010 included the following
     remarks: "[ c]onfirmation that the current decree provides a long term, stable regulatory
     framework for Termo Solar ("TS"). Obviously, this has to be taken with some caution
     ("nothing is written in marble") but any changes/adjustments in the future would not be to
     the detriment of current investors." 106

129. The email included, according to the Claimants, the following language that provided
     comfort: (i) Article 4 of RD 1614/2010, where "[a]lthough one can argue that the article
     could be changed by a new government in the future, [ .. . ] this would be very difficult from
102
      Exhibit C-0085, Antin Infrastructure Partners, Project Greco - Minutes of Investment Committee Meeting, 13
      April 2011, pp. 3-4.
103
      Exhibit C-0084, Antin Infrastructure Partners, internal PowerPoint presentation on "Project Greco - CSP
      Opportunity", 13 April 2011 , p. 21.
104
      Claimants' Memorial, ,r 213.
105
      Bolafia WS I, ,r,r 49-51.
106
      Exhibit C-0099, Email chain between Antin, RREEF, Lazard and Deutsche Bank Madrid, 20 May 2011;
      Claimants' Memorial, ,r 214. Mr. Bolafla explains that this email was drafted both by him and Mr. Cabeza
      immediately after the meeting. Bolafla WS I, ,r 51 .


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           a legal/litigation and reputational standpoint. The protection given under article 4 is unique
           in Spanish regulatory history, and TS is the only technology that has this kind of
           support" 107 ; (ii) the focus of the Ministry at the time was the PV sector, which is subject to
           regulatory changes in the short tenn; ·and (iii) other work-streams of the Ministry at the
           time included gas and transmission regulation, and there were no works on a future solar
           thermal decree. 108 The email (in its original English version) also mentions the Supreme
           Court doctrine on "reasonable return" and notes that the capital basis for a returns
           calculation is unclear, but Spanish courts recognize a legal protection for investors in
           regulated assets, which cannot be breached by the Govemment. 109

 130. The Respondent does not deny that the meeting took place. However; Spain argues that
      there is no evidence as to its contents, except for an email with subjective and ambiguous
      conclusions drawn by a meeting attendant. 110 Moreover, the Respondent points out that,
      even as per said email, Mr. Vizcaino explained that the Supreme Court had established the
      doctrine of reasonable return on investments, and that it could not be breached. 111 In any
      event, according to the Respondent, no commitments to petrify the legal system in the
      sense alleged by the Claimants could come from a public official, and no legitimate
      expectations could arise from an individual lacking the capacity or competence to fulfil
      them. 112

131. According to the Claimants, Mr. Bolafia also met with the General Secretary, the Chief
     Legal Advisor and the Assistant Director for Special Regimes of the Spanish National
     Energy Commission ("CNE", for its acronym in Spanish), on behalf of Antin on 25 May
     2011. According to the Claimants, the CNE confirmed during the meeting the information
     that had been previously provided by the Ministry, i.e. that the CSP sector was subject to
     a stable regulatory regime. 113 The Respondent alleges that there is no evidence on the
     content of such meeting and that, in any event, the opinions allegedly expressed therein by
     the CNE's officers were contrary to the official opinion expressed by the CNE in its report
     of7 March 2012. 114

132. At Antin Investment Committee meetings in June 2011, presentations made considered
     that there was strong Government support for the CSP sector, as evidenced from the recent
     regulatory changes and as communicated in meetings with the Ministry and the CNE. It

107
       Exhibit C-0099, Email chain between Antin, RREEF, Lazard and Deutsche Bank Madrid, 20 May 2011.
108
       Exhibit C-0099, Email chain between Antin, RREEF, Lazard and Deutsche Bank Madrid, 20 May 2011.
109
       Exhibit C-0099, Email chain between Antin, RREEF, Lazard and Deutsche Bank Madrid, 20 May 2011.
110
       Respondent's Counter-Memorial, ,i 697.
111
       Respondent's Counter-Memorial, ,i 70 I.
11 2
       Respondent's Counter-Memorial, ,i,i 703-708.
113
       Claimants' Memorial, ,i,i 211-217; Bolafia WS I, ,i 52.
114
       Respondent's Counter-Memorial, ,i 683; Respondent's Rejoinder, ,i,i 572-574.



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         was acknowledged that "[w]hilst changes to regulation can never be ruled out, the
         representatives met considered the CSP regulation review closed" and that changes to
         Article 54 of RD 1614/2010 for CSP would be very difficult from a legal, litigation or
         reputational standpoint, since the protection given under Article 4 is unique in Spanish
         regulatory history..1 15 The PowerPoint presentation also mentioned that in the May 2011
         meetings with the Ministry and the CNE it was discussed that there were significant
         differences between the PV and CSP sectors: PV plants were owned by thousands of small
         operators with no lobby power; the PV sector was involved in widespread fraud; and while
         in 2010 CSP plants generated 0.8% of electricity and received 3% of Special Regime
         subsidies, PV plants generated 7% of the electricity and received 3 7% of the Special
         Regime subsidies. 116 On RDL 1614/2010, it was noted that for the first time in Spanish RE
         regulation, the fixed tariff, premium, cap and floor could not be modified for CSP and
         wind, and therefore, a retroactive change was hard to implement as operators would have
         a much stronger case in court than before. 117

133. Additionally, the presentation noted that even though the Tariff Deficit existed prior to the
     widespread deployment of renewables, such tariff has grown significantly over the past
     few years in part due to the increasing contribution of Special Regime generators, and
     mainly the PV sector. 118 In order to reduce the Tariff Deficit, the Spanish government had
     announced temporary modifications to the Special Regime (mainly for the PV sector).
     However, alternatives which might be considered to deal with the Tariff Deficit included
     increasing third-party access charges (but there was a political reluctance to significantly
     increase electricity bills), reducing special regime subsidies, imposing a windfall profit tax
     on nuclear or hydroelectric energy producers or increasing the amount of tariff deficit to
     be securitised. 119

134. Antin asserts that, based upon the findings of its due diligence process, it decided to
     proceed with the investment in the Andasol Companies. Thus, on 27 June 2011 Antin
     Termosolar was incorporated and on 30 June 2011 a share purchase agreement was
     concluded, by which Antin Termosolar would acquire 45% of the issued share capital of
     the Andasol Companies. 120 The acquisition became effective on 31 August 2011 once the


115
      Exhibit C-0090.
116
      Exhibit C-0090, p. 8.
117
      Exhibit C-0090, p. 10.
118
      Exhibit C-0090, p. 104
119
      Exhibit C-0090, p. 15.
120
      Exhibit C-0100, Notarised Agreement for the Sale and Purchase of90% of the issued share capital of Andasol-1
      Central Termosolar Uno, S.A. and Andasol-2 Central Termosolar Dos, S.A. and the partial assignment of
      subordinated shareholder Joans between Proto Primo, B.V.; Antin Energia Termosolar, B.V.; Cobra Sistemas y
      Redes, S.A., Cobra Solar Del Sur, S.L.; and Cobra Gesti6n de Infraestructuras, S.A., 30June2011. See Claimants '
      Memorial, ,i,r 222-223.



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          conditions precedent in the share purchase agreement were met. 121 Antin Termosolar and
          REEFF also agreed to take on a proportionate share in the existing shareholders' loans and
          to an earn-out mechanism in favour of ACS, should the Andasol Plants sustain certain
          performance levels. 122

135. The Claimants explain that by 2010 and 2011 Spain was broadly in line with the target of
     sourcing 22.1 % of its electricity from renewable sources, and by 2012 with a total of 1,950
     MW, with about 2,300 MW in 2013, Spain had more CSP capacity than any other country
     in the world. 123

136. On 27 January 2012, a few months after the Claimants had completed their investment in
     the Andasol Companies, Spain enacted RDL 1/2012. This RDL suppressed the application
     of the economic incentives granted by the RD 661/2007 Special Regime (i.e. regulated
     tariffs, premiums and upper and lower limits) for RE production facilities that had not been
     registered with the Pre-Assignment Registry as of the date of entry into force of
     RDL 1/2012. 124 Additionally, RDL 1/2012 suspended registration of new facilities with
     the Pre-Assignment Registry. 125 However, the provisions of RDL 1/2012 were not made
     applicable to Special Regime facilities that had already completed registration with the
     RAIPRE, as was the case for the Andasol Plants.

137. On 27 January 2012, the Secretary of State for Energy wrote to the President of the CNE
     requesting that the CNE prepare a report on proposing regulatory measures to address the
     Tariff Deficit. 126 Some of the measures eventually proposed by the CNE included the
     "harmonisation" of the premium of solar thermoelectric energy, by way of reducing the
     premium of pre-registered CSP plants by 12%. In accordance with the report issued by the
     CNE in 2012, correcting the Premium in such a way that it maintains the principle of a
     reasonable return provided by law. 127

138. The Tariff Deficit was also addressed in the National Reform Programme of27 April 2012,
     which sets out a broad economic strategy to address the economic and financial crisis in
     Spain and the growing public debt. 128 Regarding the SES, the 2012 National Refonn
     Programme noted that there was an imbalance between the costs and the revenues of the

121
      See Claimants' Memorial, ,r 223.
122
      See Claimants' Memorial, ,r 223.
123
      Claimants' Memorial, ,r,r 226-228.
124
      Exhibit R-0079, RDL 1/2012, 27 January 2012 ("RDL 1/2012"), Articles 2 and 3.
125
      Exhibit R-0079, RDL 1/2012, Article 4.
126
      Exhibit R-0081, Copy of the letter from the Secretary of State for Energy, Ministry of Industry, Energy and
      Tourism, to the President ofCNE, 27 January 2012.
127
      Exhibit R-0083, CNE, "Report on the Spanish energy sector. Introduction and Executive Summary," p. 23.
128
      Exhibit R-0087, National Reform Programme, Kingdom of Spain, 27 April 2012 ("2012 National Reform
      Programme").


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         SES, the Government was committed to eliminating the tariff deficit by equally distributing
         amongst consumers and the public and private sectors the costs of the cost-reduction
         measures, and the Special Regime Premiums was identified as one of the most significant
         costs of the SES. 129 Such an energy reform was briefly mentioned in other documents or
         reports issued by the Government in 2012. 130

139. On 28 December 2012, Spain enacted Law 15/2012, introducing certain changes to the
     Special Regime applicable to CSP producers. Particularly, it added a new numeral to
     Article 30 of Law 54/1997, which provided the following:

                    "The electricity that is attributable to the use of a fuel in a generation
                    facility that uses as its primary energy any non-consumable
                    renewable energies shall not be subject to the premium economic
                    regime, other than in the case of hybrid facilities which use non-
                    consumable and consumable sources of renewable energy, in which
                    case the electricity attributable to the use of the consumable source
                    of renewable energy is subject to the bonified economic regime." 131

140. The above provision eliminated the application of the RD 661/2007 economic regime (and
     particularly the right to receive a FIT) to the electricity produced using fossil fuels (such
     as natural gas, in the Andasol Plants), starting as of 1 January 2013. 132 According to
     Claimants, this lead to a substantial reduction of the amount of electricity produced and a
     consequential reduction in the revenues of the Andasol Plants. 133

141. Law 15/2012 also created a tax on the value of the production of electrical energy (the
     "TVPEE"), imposed on the total revenue coming from the production and feeding of
     electricity into the national grid. The TVPEE, which amounts to 7% of such revenue, was
     made applicable to all energy producers, both conventional and renewable, including those
     subject to the Special Regime. 134 The Parties disagree as to the nature of the TVPEE: while
     the Respondent considers that it is a tax of general application under both Spanish law and
     international law, 135 the Claimants contend that, in practice, the TVPEE amounts to a




129
      Exhibit R-0087, 2012 National Reform Programme, p. 208.
130
      See Exhibit R-0128, Ministry of the Presidency, Secretariat of State for Communication "Six Months of
      Government: Reform and Growth", 9 July 2012, p. 30; Exhibit R-0129, Ministry of the Presidency, Secretariat
      of State for Communication, "The Reforms of the Spanish Government: determination against the crisis",
      September 2012, p. 18.
131
      Exhibit C-0024, Law 15/2012, 27 December 2012 ("Law 15/2012"), First Final Provision.
132
      Claimants' Memorial, ,r 236.
133
      Claimants' Memorial, ,r 238.
134
      Exhibit C-0024, Law 15/2012, Articles 1-8.
135
      Respondent's Counter-Memorial, ,r,r 178, 179, 192-194.


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          disguised tariff cut for RE installations and cannot be considered a bona fide taxation
          measure of general application. 136

 142. A month later, on 1 February 2013, Spain introduced RDL 2/2013, in order to reduce the
      costs of the Special Regime and hence avoid an increase in the access tolls paid by
      consumers. 137 For such purpose, through RDL 2/2013, Spain introduced several measures
      that are contested by the Claimants in these proceedings.

143. First, in accordance with its Article 1, with effect as ofl January 2013, all compensations,
     tariffs and premiums of the electrical system that were previously updated in accordance
     with the CPI -including those applicable to producers under the Special Regime- would
     now be updated in accordance with a CPI at constant tax rates, excluding unprocessed
     foods and energy products. 138

144. Second, under Article 2 ofRDL 2/2013, where Special Regime producers chose the market
     price plus Premium remuneration scheme, such Premium would be reduced to the amount
     of EUR 0.0 cent/kWh, for both existing and future facilities. The Claimants argue that, in
     practice, the Premium option for Special Regime producers was effectively eliminated. 139
     Those Special Regime facilities that up until that moment had opted to sell their energy
     under the Premium option would be deemed subject to the Fixed Tariff option as of 2
     February 2013 with effect from 1 January 2013, unless they notified the Government that
     they desired to opt for the Premium option, in which case such decision would be definitive
     and they would not be allowed to opt for the Fixed Tariff option subsequently. 140 Antin


136
      Claimants' Memorial, -ii 241.
137
      Exhibit C-0025, RDL 2/2013, 1 February 2013 ("RDL 2/2013"), Preamble ("In recent years, the growing
      evolution of the cost elements of the electricity system has given rise to the appearance of imbalances between
      said costs and the revenue obtained from regulated prices. In order to correct these imbalances, a series of urgent
      measures during 2012 were adopted which affected both elements. [ ... ]Data made public by the National Energy
      Commission in its report 35/2012, of20 December, concerning the proposal which established access fees as of
      1 January 2013 and tariffs and premiums for special regime facilities, made manifest the appearance of new
      deviations in the cost and revenue estimates caused by different factors, both for the closure of2012 and for 2013
      which, in the current economic context, would make it almost unfeasible to fund such costs with the electricity
      fees and the elements expected to derive from the General State Budget. To a great extent these deviations are
      due to a greater increase in the cost of the special regime on account of an increase in operating hours which was
      greater than expected, to an increase in remuneration values due to their being indexed to the Brent price, and to
      a decrease in revenue from fees due to a very marked fall in demand which was consolidated during this tax year.
      The alternative that was raised would be a new increase in the access fees paid by consumers of electricity. This
      measure would directly affect household economies and company competitiveness, both in a delicate situation
      given the current economic situation. Faced with this scenario and in order to palliate this problem, the
      Government has considered adopting certain urgent cost-reduction measures which avoid consumers having to
      bear a new burden, thereby contributing to their being able to also collaborate in the economic recovery through
      consumption and investment. [ ... ]").
138
      Exhibit C-0025, RDL 2/2013, Article 1.
139
      Claimants' Memorial, -ii 244.
140
      Exhibit C-0025, RDL 2/2013, Articles 2 and 3.



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             alleges that under such circumstances, no installation (including the Claimants') had any
             interest in opting for the Premium option. 141

    145. According to the Respondent, this measure was introduced in order to avoid an over-
         remuneration of Special Regime producers while guaranteeing them a reasonable rate of
         return, and preventing consumers from having to bear a new increase in the tariffs. 142 In
         any event, the Respondent argues, the effects of this measure disappeared with the
         adoption, a couple of months later, of the new subsidies model introduced by the global
         reform of the SES, initiated with Law 24/2013. 143 To the contrary, the Claimants argue that
         Spain's claim of over-remuneration is baseless, and constituted an abrupt and
         unprecedented departure from the RD 661/2007 basic legal :framework. 144

    146. On 26 April 2013, the Claimants sent a letter to the President of the Spanish Government,
         Mr. Mariano Rajoy, making reference to the changes to the legal regime applicable to CSP
         plants. Said measures included RDL 12/2012, Law 15/2012, Law 16/2012 and RDL
         2/2013. In that letter, the Claimants requested negotiations with the Spanish Government
         and reserved their right to submit their claims to international arbitration. 145 In response,
         on 7 May 2013, the Spanish Government requested the Claimants to submit their request
         for negotiations in Spanish. 146 On 15 May 2013, the Claimants complied with the
         Respondent's request. 147

    147. On 12 July 2013, Spain introduced RDL 9/2013 amending Law 54/1997. Claimants
         consider RDL 9/2013 a complete overhaul of the regulatory framework for the RE sector
         and to have "wiped out" the entire RD 661/2007 economic regime. 148 Specifically,
         Article 1 ofRDL 9/2013 amended Article 30(4) of RD 661/2007 in the following terms:

                        "4. Additionally, subject to the terms that the Council of Ministers
                        might adopt pursuant to Royal Decrees, in relation to the
                        remuneration for the generation of electricity calculated according to
                        market price, installations may receive a specific remuneration [the
                        Special Payment] composed of an amount per unit of installed
                        capacity. Such amount shall cover, as appropriate, the investment
                        costs of a standard installation that cannot be recovered through the

    141
          Claimants' Memorial, ,r 246.
    142
          Exhibit C-0025, RDL 2/2013, Preamble; Respondent's Counter-Memorial, ,r 523.
    143
          Respondent's Counter-Memorial, ,r 526 .
.
    144
          Claimants' Memorial, ,r,r 248-249; Claimants' Reply, ,r,r 320-323.
    145
          Exhibit C-0010, Letter from Allen & Overy LLP to President of the Spanish Government Mariano Rajoy Brey
          on behalf of the Claimants.
    146
          Exhibit C-0011, Letter from the Ministry of Industry, Energy and Tourism to Allen & Overy LLP.
    147
          Exhibit C-0012, Letter from Allen & Overy LLP to the Ministry of Industry, Energy and Tourism on behalf of
          the Claimants.
    148
          Claimants' Memorial, ,r,r 253-254.



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                    sale of energy, as well as an amount for the operation of the
                    installation to cover, as the case may be, the difference between
                    exploitation costs and the revenues obtained from the participation
                    of such a standard installation in the market.

                    For the calculation of that specific remuneration, the following
                    elements shall be considered, based on the installation's regulatory
                    useful life and by reference to the activities carried out by an efficient
                    and well administered business:

                    a) The standard revenues for the sale of the generated energy valued
                       at market price of production;

                    b) The standard exploitation costs; .

                    c) The standard value of the initial investment. [ ... ]

                    This remuneration regime shall not exceed the minimum required
                    level to cover the costs that are necessary for installations to compete
                    on an equal footing with the rest of the technologies in the market in
                    order to allow those installations to obtain a reasonable return, by
                    reference to the standard installation [ ... ]

                    Such reasonable return will be based on, before taxes, the average
                    returns in the secondary market of the State's ten-year bonds plus the
                    adequate differential.

                    The parameters of the remuneration regime can be revised every six
                    years." 149

148. Under amended Article 30(4), facilities under the Special Regime could only enjoy a
     payment additional to the market value of electricity (the "Special Payment"), rather than
     choosing between the Fixed Tariff and Premium options, which were eliminated.
     Moreover, the Special Payment (i) would be calculated by reference to the costs of a
     standard facility, as determined by the Government, and by reference to the activity carried
     out by an efficient and well managed business, and (ii) would in no case surpass the
     minimum level required for facilities to obtain a reasonable rate of return, based on the
     return on State bonds in the secondary market. Furthermore, the entire remuneration regime
     may be reviewed every six years.

149. Since RDL 9/2013 applies to both existing and new facilities, according to Antin, it
     modifies considerably the Special Regime to which CSP facilities, including the Andasol
     Plants, were subject prior to its entry into force. Its adoption gave rise to further protests
     by the Claimants, which on 30 July 2013 sent a letter to the President of the Spanish

149
      Exhibit C-0029, RDL 9/2013, 13 July 2013 ("RDL 9/2013"), Article 1.



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         Government asserting that RDL 9/2013 modified the regulatory framework applicable to
         Antin's investments and foreseen that such modifications would cause serious additional
                                °
         damages thereto. 15 Claimants thus reiterated their request to hold a meeting with the
         Government in order to discuss the dispute between the Parties. 151

150. Spain continued to adopt further amendments to the regulation of the electricity sector. On
     26 December 2013, the Respondent adopted Law 24/2013 which superseded Law 54/ 1997
     and formally eliminated the distinction between the Ordinary Regime and the Special
     Regime. 152 Thus, under the regime created by Law 24/2013, conventional and RE
     generators were now subject to equal conditions, being the latter entitled exclusively to the
     Special Payment created by RDL 9/2013. 153 It also eliminated RE installations' right of
     priority of grid access and priority of dispatch. 154 By the time both RDL 9/2013 and
     Law 24/2013 were adopted, Spain had not yet adopted a comprehensive regime on the
     legal and economic regime of RE installations. 155 For the following months, the Fixed
     Tariff continued to apply (but not the Premium, which had been removed by RDL 2/2013),
     and the payments received during such time would be discounted from any Special
     Payment to be received once such Special Payments were defined at some later date. 156

151. The Respondent began the implementation of Law 24/2013 on 6 June 2014 by introducing
     RD 413/2014, which regulated the production of electricity from renewable sources of
     energy, cogeneration and waste. RD 413/2014, however, did not set out the parameters of
     compensation for Standard Installations. Later, Ministerial Order IET/1045/2014, enacted
     on 20 June 2014 as the second measure implementing Law 24/2013, set out the
     remuneration parameters applicable to RE producers under the Law 24/2013 regime.
     Under Ministerial Order IET/1045/2014 the reasonable rate of return applicable to facilities
     existing prior to the entry into force ofRDL 9/2013 was set at 7.398%. 157



150
      Exhibit C-0013, Letter from Allen & Overy LLP to President of the Spanish Govermnent Mariano Rajoy Brey
      on behalf of the Claimants.
151
      Exhibit C-0013, Letter from Allen & Overy LLP to President of the Spanish Govermnent Mariano Rajoy Brey
      on behalf of the Claimants.
152
      Exhibit C-0030, Law 24/2013, 26 December 2013 ("Law 24/2013"), Article 6.
153
      Exhibit C-0030, Law 24/2013, Preamble.
154
      Exhibit C-0030, Law 24/2013, Article 26(1). See Exhibit C-0031, RD 413/2014, 6 June 2014 ("RD 413/2014"),
      Article 6.
155
      Exhibit C-0030, Law 24/2013, Third Final Provision ("on the proposal of the Ministry oflndustry, Energy and
      Tourism, the govermnent approved a royal decree regulating the legal and economic scheme for electricity
      production installations using renewable energy sources, cogeneration and waste-to-energy that had been
      recognized as being entitled to receive priority remuneration at the time of the coming into force of said Royal
      Decree Law").
156
      See Claimants' Memorial, ,r,r 260-261.
157
      Exhibit C-0032, Ministerial Order IET/1045/2014, 20 June 2014 ("Ministerial Order IET/1045/2014"), Annex
      III, Article 1.3.



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 152. Finally, on 14 October 2014, the Respondent introduced Ministerial Order IET/1882/2014,
      for calculating the electricity produced by solar installations attributable to the use of fossil
      fuels. As previously mentioned, pursuant to Law 15/2012, such electricity would not be
      subject to the Special Payment applicable to RE. Order IET/1882/2014 provided that it
      would apply to electricity produced from 1 January 2013, date of entry into force of
      Law 15/2012, and thus any payments received as premiums or tariffs since that date for
      electricity produced by using fossil fuels would have to be returned. 158

 153. According to the Claimants, under the new regime applicable to RE facilities, which
      includes the Andasol Plants, RE producers are entitled to obtain a Special Payment in
      addition to the market price of the electricity produced by them, rather than being able to
      choose between the Fixed Tariff and Premium options. CSP facilities are entitled to the
      Special Payment only during a regulatory useful life of 25 years, rather than for the entire
      operational life of the installations. Moreover, the Special Payment is calculated by
      reference to a standard facility, without considering the specific circumstances of each
      particular facility nor taking into account the costs incurred or investments made as a
      consequence oflocal laws or regulations. Finally, the Special Payment is intended to be no
      more than the minimum necessary to allow RE producers to obtain a reasonable rate of
      return, calculated at 7.398% for existing facilities.

154. As a consequence of the above, Claimants claim that the regulatory regime applicable to
     the Andasol Plants has changed considerably since the moment when Antin made its
     investment in the Andasol Companies. According to the Claimants, these changes have
     had significant harmful effects on the Andasol Companies, and thus on their
     investments. 159 In particular, according to the expert report submitted by the Claimants,
     Premium payments expected under RD 661/2007 considerably exceeded the Special
     Payments provided to RE producers under the new regime. 160 Additionally, according to
     the Claimants, their free cash flows and their equity cash flows were also sensibly
     reduced. 161 Thus, the Claimants intend to recover in this arbitration the damages they allege
     to have suffered as a consequence of the regulatory changes introduced by the Respondent.

V.       SUMMARY OF THE PARTIES' CLAIMS AND PRAYERS FOR RELIEF

155. The Claimants' request for relief as stated in the Claimants' Memorial (and reiterated in
     the Claimants' Reply) is as follows:



158
      Exhibit C-0105, Ministerial Order IET/1882/2014, 14 October 2014, First Transitory Provision.
159
      Claimants' Memorial,~ 291.
160
      Brattle Regulatory Report I,~ 135; Claimants' Memorial,~ 292.
161
      Brattle Quantum Report I,~ 73; Claimants' Memorial,~ 293.


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                    "537. For all of the foregoing reasons, the Claimants respectfully
                    request that the Tribunal enter an award in their favour and against
                    the Kingdom of Spain as follows:

                    (a) DECLARING that Spain has breached Article 10(1) of the ECT;
                    and

                    (b) ORDERING that Spain:

                    (i) provide full restitution to the Claimants by re-establishing the
                    situation which existed prior to Spain's breaches of the ECT, together
                    with compensation for all losses suffered before restitution; or

                    (ii) pay the Claimants compensation for all losses suffered as a result
                    of Spain's breaches of the ECT; and

                    in any event:

                    (iii) pay the Claimants pre-award interest at a rate of 2.07%
                    compounded monthly; and

                    (iv) pay post-award interest, compounded monthly at a rate to be
                    determined by the Tribunal on the amounts awarded until full
                    payment thereof; and

                    (v) pay the Claimants the costs of this arbitration on a full-indemnity
                    basis, including all expenses that the Claimants have incurred or will
                    incur in respect of the fees and expenses of the arbitrators, ICSID,
                    legal counsel, experts and consultants; and

                    (vi) any such other and further relief that the Tribunal shall deem just
                    and proper." 162

156. Additionally, the Claimants request the Tribunal to dismiss the Respondent's jurisdictional
     and admissibility objections and order that the Respondent bear the cost of bringing said
     ~bjections. 163

157. In tum, in its Rejoinder, the Respondent requests the Tribunal to:

                    "a) Declare its lacks of jurisdiction to hear the claims of the
                    Claimants, or if applicable their inadmissibility, in accordance with
                    what is set forth in section III of this Document, referring to
                    Jurisdictional Objections;




162
      Claimants' Memorial, ,i 537; Claimants' Reply, ,i 891.
163
      Claimants' Rejoinder, ,i 143.


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                     b) Secondarily, for the case that the Arbitral Tribunal decides that it
                     has jurisdiction to hear this dispute, that it dismiss all the claims of
                     the Claimants on the merits because the Kingdom of Spain has not
                     breached in any way the ECT, in accordance with what is stated in
                     paragraphs (A) and (B) of section IV of this Document, on the
                     substance of the matter;

                     c) Secondarily, that all rescionary claims of the Claimants are
                     dismissed inasmuch as the latter are not entitled to compensation in
                     accordance with what is set forth in paragraph (C) of section IV of
                     this document; and

                     d) Sentence the Claimants to pay all costs and expenses derived from
                     this arbitration, including ICSID administrative expenses,
                     arbitrators' fees, and the fees of the legal representatives of the
                     Kingdom of Spain, their experts and advisors, as well as any other
                     cost or expense that has been incurred, all of this including a
                     reasonable rate of interest from the date on which these costs are
                     incurred and the date of their actual payment." 164

VI.       APPLICABLE LAW

158. Claimants consider that the relevant provisions to determine the law that applies to the
     merits of this dispute are Article 42(1) of the ICSID Convention and Article 26(6) of the
     ECT, and that therefore the Tribunal shall decide the dispute in accordance with the rules
     of law agreed upon by the parties and, in the absence of such agreement, the Tribunal shall
     apply "the law of the Contracting State party to the dispute (including its rules on the
     conflict oflaws) and such rules of international law as may be applicable" (Article 42(1)
     of the ICSID Convention). 165

159. Claimants add that under Article 26(6) of the ECT, the parties have agreed the rules oflaw
     applicable to the merits of the dispute, and therefore the Tribunal shall decide the issues in
     dispute in accordance with the ECT and applicable rules and principles of international
     law. Therefore, the ECT is the primary source of law and where the ECT is silent, the
     Tribunal should apply customary international law and general principles of international
     law.166

160. Respondent does not seem to contest that the Tribunal shall decide based on the ECT and
     that the applicable law to the merits of the dispute is the one provided for under Article
     26(6) thereof. According to the Respondent, EU law, including the treaties creating the


164
      Respondent' s Rejoinder, ,i 992.
165
      Claimants' Memorial, ,i,i 339-340.
166
      Claimants' Memorial, ,i 342.


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         European Economic Community ("EEC") and the EU and allocating competences among
         European institutions and their member countries, EU's internal legislation, and decisions
         of the CJEU, constitute "applicable rules and principles of international law" for purposes
         of Article 26( 6). 167 The Tribunal refers to this contention in paragraph 223 et seq. of this
         Award. As to Spanish law, even though the Respondent invokes a series of domestic
         provisions and decisions of Spanish courts, it does so in the context of facts that the
         Claimants should have considered when making the investment and facts that the Tribunal
         should consider in making its decision, particularly as regards to the alleged legitimate
         expectations of the Claimants.

VII. JURISDICTION

161. The Respondent submitted the following objections to jurisdiction:

         (a)    The Tribunal lacks jurisdiction ratione personae: since the Claimants are nationals
                of EU Member States and the Respondent is a EU Member State, the Claimants are
                not investors "of another Contracting Party" under Article 26(1) of the ECT.
                Additionally, Luxembourg and the Netherlands, as well as Spain, were already
                members of the EU at the time they ratified the ECT; therefore, they could not
                "contract between them obligations within the internal Energy Market, harmonised
                by the EU." 168

         (b)    The Tribunal lacks jurisdiction ratione materiae since the Claimants do not own or
                control, directly or indirectly, the assets identified by them as their investment, and
                therefore the only protected investment under ECT Article 1(6) is the shareholding
                that Antin Termosolar owns in the Andasol Companies and the loans granted by it
                to the Andasol Companies.

         (c)    The Tribunal lacks jurisdiction ratione materiae to hear any claims related to the
                TVPEE, given that Spain did not grant its consent to arbitrate disputes regarding
                alleged violations ofECT Article 10(1) arising from tax measures.

         (d)    The Tribunal lacks jurisdiction to hear any claims related to Law 24/2013,
                RD 413/2014 and Ministerial Order IET/1045/2014, since the Claimants did not
                comply with the cooling-off period set forth in ECT Article 26.

162. In their Reply and in their Rejoinder, the Claimants submitted their arguments for rejecting
     these objections.


167
      See Respondent's Counter-Memorial, ,i,i 66-75.
168
      Respondent's Counter-Memorial, ,i 44.



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          A.      WHETHER THE TRIBUNAL LACKS JURISDICTION RAT/ONE PERSONAE



                    I.     Respondent's Position

163. Spain argues that the Claimants are not investors "of another Contracting Party", as
     required by Article 26( 1) of the ECT. 169

164. According to Article 26(1) of the ECT, the dispute submitted to arbitration must arise
     between "a Contracting Party" and an "investor of another Contracting Party." The
     Respondent argues that the ECT does not apply to a dispute between an investor from the
     EU and a Member State of the EU ("intra-EU dispute_"), in relation to an investment made
     in the territory of the EU ("intra-EU investment"). For purposes of the ECT, intra-EU
     investments cannot be considered foreign investments; this would be contrary to the
     context, object and purpose of the ECT and to EU law. In this case, Luxembourg and the
     Netherlands (countries of nationality of the Claimants), and the Respondent are Member
     States of the EU and also Contracting Parties to the ECT. 170

165. Furthermore, the Respondent claims that since Luxembourg, the Netherlands and Spain
     were Member States of the EU before ratifying the ECT, they could not acquire obligations
     related to the internal energy market amongst themselves, specifically those set out in
     Part III of the ECT. 171

166. According to the Respondent, the Claimants' investment within the internal electricity
     market of the EU grants the Claimants a specific and preferential protection over that
     conceded by the ECT. EU law is thus to be applied in preference to or prevailing over any
     other law - including the law of the ECT- and displacing other national or international
     provisions. Preferential application of EU law does not require proving that such other
     treaty is more or less favourable. 172 Spain further notes that there is no incompatibility
     between the ECT and EU law. 173

167. Spain alleges that the EU is an area of economic integration that includes in its rules
     relating to the internal market an integral system for the promotion and protection of intra-
     EU investments. 174 Energy policy forms part of the EU policies since before signing the
169
      Respondent's Counter-Memorial, ,i,i 41-44. See Request for Bifurcation,§ III.A.
170
      Respondent's Counter-Memorial, ,i,i 42-43.
171
      Respondent's Rejoinder, ,i 64.
172
      See Respondent's Rejoinder, ,i 62 ("EU Law is given preference over any other [system] that deals with regulating
      internal EU relations.").
173
      Respondent's Rejoinder, ,i 86.
174
      Respondent's Counter-Memorial, ,i 49. See Exhibit R-0001, "Consolidated versions of the Treaty on European
      Union and the Treaty on the Functioning of the European Union and the Charter of Fundamental Rights of the
      European Union, published in the Official Journal of the European Union 2012/C326/01-02), 26 October 2012


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         ECT. 175 Spain's promotion of investment in renewable energy is embedded within its
         obligations as an EU Member State, assumed so as to reach the objectives established by
         the EU Directives, including the protection of investors. 176 These Directives allowed Spain
         to encourage investments through the concession of public aids allowed by the EU, subject
         to certain limitations. The standard of EU protection forbids any type of regulation that
         dissuades an EU investor from establishing itself in a specific Member State. 177 Of note,
         the text of the ECT itself recognizes the EU's process of superior economic integration in
         its Article 25(2) and in the corresponding Declaration incorporated by the European
         Communities and their Member States in the ECT. 178

168. Furthermore, compliance by States with the EU legal system is guaranteed by the EU
     jurisdictional system, which has a monopoly on the final interpretation of EU law and
     which offers an appropriate forum for investors' claims whose rights are breached. 179 This
     investment promotion and protection system makes no distinction within the EU between
     EU investors from Member States, but only between EU investors and investors from other
     States. 180 The Claimants' statement that EU law does not grant investors a complete system
     of investment promotion and protection is foolhardy. Spain notes that the Claimants have
     not argued how the protection that investors receive through the EU judicial system could
     be less favourable for them or for their investments than the protection they would receive
     through arbitration. 181 It cannot be alleged that the rights granted to investors under the
     ECT are in addition to those granted to them by EU law. 182




      ("Treaty on the Functioning of the European Union"), Article 26 (defining "Internal Market" as an "area without
      internal frontiers in which the free movement of goods, persons, services and capital is ensured in accordance
      with the provisions of the Treaties").
175
      Respondent's Counter-Memorial, ,i 51.
176
      Respondent's Counter-Memorial, ,i 52.
177
      Respondent's Counter-Memorial, ,i 57. See Exhibit R-0013, Attanasio Group v. Commune di Carbognano
      (Judgement) ,i 43; Exhibit R-0001, Treaty on the Functioning of the European Union, Article 54.
178
      Respondent's Rejoinder, ,i,i 82, 121-124. See Legal Authority RL-0001, Energy Charter Secretariat, "The Energy
      Charter Treaty and Related Documents: A Legal Framework for International Energy Cooperation", September
      2004, Final Act of the European Energy Charter Conference, Declaration VI.5. ("[ ... ]The European Communities
      and their Member States further recall that: [ ... ]the application of Article 25 of the Energy Charter Treaty will
      allow only those derogations necessary to safeguard the preferential treatment resulting from the wider process of
      economic integration resulting from the Treaties establishing the European Communities.").
179
      Respondent's Counter-Memorial, ,i 54.
180
      Respondent's Counter-Memorial, ,i,i 55-56; Respondent's Rejoinder, ,i,i 129-131. See Respondent's Rejoinder, ,i
      130. Spain argues that "[i]fthe Claimants understand as 'foreign investments' under EU Law as those that come
      from outside the borders of the EU, they may be right (although not so much after the Treaty of Lisbon of 2007
      went into effect)."
181
      Respondent's Rejoinder, ,i 92.
182
      Respondent's Rejoinder, ,i,i 125-127.


                                                            43
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 169. Spain argues that, pursuant to the principle of primacy, the preferential application of the
      EU's protection system is reflected in the literality, context and purposes of the ECT. 183

170. The EU is a member of the ECT and the EU is the only Regional Economic Integration
     Organization ("REIO") which is a party to the ECT .184 The ECT thus recognized the special
     nature of the EU as an international organization and that certain matters governed by the
     ECT should be negotiated by the EU since its Member States do not have the competence
     to do so. This is reaffirmed by Article 36(7) on voting rights, since the EU and its Member
     States may not vote simultaneously, and each will vote within the scope of their own
     competences. 185 The Respondent explains that Article 25 of the ECT prevents the
     application of the intra-EU investment protection system to non-EU parties of the ECT via
     the most favoured nation clause. 186 This further supports the argument that the EU system
     is to be preferentially applied.

171. Moreover, pursuant to Article 26(6) of the ECT, EU law must be taken into account as
     applicable international law in disputes arising under the ECT. It is Spain's position that
     Article 26(6) of the ECT prevents an intra-EU investor from initiating arbitration
     proceedings against an EU Member State, since such possibility would go against EU law.
     Particularly, this Would be contrary to Article 344 of the Treaty on the Functioning of the
     European Union ("TFEU"), which prevents EU Member States from submitting
     controversies related to the interpretation or application of the EU treaties to dispute
     resolution procedures other than those foreseen therein. 187 According to the Respondent,
     "[a]dmitting the arbitration would mean that the Arbitral Tribunal would have to decide on
     the rights of the European investor in the Internal Market," 188 while the CJEU has flatly
     rejected such an interference in Opinion 1/91. 189

172. The Respondent alleges that, at the moment of signing the ECT, EU (then European
     Community) Member States could not undertake obligations between themselves
     surrounding the internal market, an area over which they had turned over their sovereignty
     to the European Community. The EU is a contracting party to the ECT precisely for this

183
      Respondent's Counter-Memorial, 158; Respondent's Rejoinder, 162.
184
      Respondent's Counter-Memorial, 1159-60. See Exhibit C-0001 , Energy Charter Secretariat, "The Energy Charter
      Treaty and Related Documents: A Legal Framework for International Energy Cooperation", September 2004,
      Article 1(3) (defining REIO as "an organization constituted by states to which they have transferred competence
      over certain matters a number of which are governed by this Treaty, including the authority to take decisions
      binding on them in respect of those matters"), and Article 1(10) (defining the "Area" of a REIO).
185
      Respondent' s Rejoinder, 1114.
186
      Respondent's Counter-Memorial, 1161-63.
187
      Respondent's Counter-Memorial, 1166-67. Exhibit R-0001, Treaty on the Functioning of the European Union,
      Article 344 ("Member States undertake not to submit a dispute concerning the interpretation or application of the
      Treaties to any method of settlement other than those provided for therein.").
188
      Respondent's Counter-Memorial, 168.
189
      Respondent's Counter-Memorial, 1169-72, making reference to Opinion 1/91 .


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         reason. Therefore EU Member States such as Spain, the Netherlands and Luxembourg
         could not bind themselves under Part III of the ECT, which includes Article 26 on
         settlement of disputes. 190 Hence, Article 26 of the ECT does not create obligations between
         EU Member States, and the only arbitration possible under the ECT, in a harmonious
         interpretation with EU law -as stated by the tribunal in Electrabel v. Hungary- is that
         between a non-EU investor and an EU Member State or between an EU investor and a non-
         EU Member State. 191

173. According to the Respondent, the object and purpose of the ECT confirms its interpretation
     on the impossibility of having an arbitration between an intra-EU investor and an EU
     Member State. 192

174. Also, "[u ]nderstanding that the intra EU controversies are included in the area of protection
     of the ECT [ ... ] would assume that the EU and its Member States, as determining actors,
     promoted the creation and conclusion of the ECT to cover an area, that of intra EU
     investments, that was being covered since many years, exhaustively and in a widely
     superior manner, through EU Law." Based on Articles 1 and 2 of the ECT, its preface, and
     Article 2 of the European Energy Charter, Spain argues that the fundamental purpose of
     the ECT was to create conditions throughout Europe that guarantee the principle of non-
     discrimination and market-oriented price formation. 193 The ECT intended to promote
     cooperation between Eastern Europe and the European Community following the fall of
     the Berlin Wall, without giving away Commission or CJEU competences. 194 The Treaties
     Constituting the European Communities, -signed 43 years (in the case of the Treaty
     Constituting the European Coal and Steel Community) and 3 7 years (in the case of the
     Treaties Constituting the European Economic Community and EURATOM) before the
     ECT-aimed at creating, within their respective scopes, a common market based on the
     principles of non-discrimination and market-oriented price formation, and thus, surpassed
     the aims of the ECT. 195 The Respondent argues that, if one is to compare the object and
     purpose of the ECT with the object and purpose of the EU Treaties ----especially the Treaty

190
      Respondent's Counter-Memorial, ,i 73. Respondent's Rejoinder, ,i,i 109-111.
191
      Respondent's Counter-Memorial, ,i 74. Respondent cites Electrabel v. Hungary (Decision on Jurisdiction,
      Applicable Law and Liability).
192
      Respondent's Counter-Memorial, ,i 79.
193
      Respondent's Counter-Memorial, ,i,i 76-79.
194
      Respondent's Counter-Memorial, ,i,i 76-80; Respondent's Rejoinder, ,i 735.
195
      Respondent refers to Legal Authority RL-0052, ECSC Treaty, Paris (1951) ("1951 Treaty of Paris"), Article 2
      ("to contribute, through the common market for coal and steel, to economic expansion, growth of employment
      and a rising standard ofliving."); Legal Authority RL-0053, EEC Treaty, Rome ("1957 Treaty of Rome") Article
      2, (regarding the objective of the European Economic Community, "The Community shall have as its task, by
      establishing a common market and progressively approximating the economic policies of member states, to
      promote throughout the community a harmonious development of economic activities, a continuous and balanced
      expansion, an increase in stability, an accelerated raising of the standard of living and closer relations between
      the states belonging to it.").                                                                                ·


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          of Lisbon- and applied Articles 30 and 59 of the Vienna Convention on the Law of
          Treaties ("VCLT"), the EU Treaties would prevail. 196 However, it notes that this exercise
          is proposed for dialectical purposes and to counter the Claimants' allegations. In Spain's
          position, there is no incompatibility b_etween the ECT and EU Law. 197

 175. Spain further alleges that the Commission, guardian of the EU Treaties and promoter of
      the negotiation of the ECT, further supports Spain's position. In the Commission's view,
      the ECT does not create obligations among EU Member States, but only between the EU
      and its Member States, on the one hand, and each of the other Contracting Parties, on the
      other. 198 Spain notes that the tribunal in Electrabel v. Hungary recognized the important
      role of the Commission regarding this subject matter 199 . Furthermore, the position of Spain
      and the Commission on the preferential application of EU law is confirmed by doctrine. 200

176. According to the Respondent, the Claimants have made a dialectical effort to deviate from
     EU law and claim the exclusive application of the ECT. However, the Claimants' argument
     is contradictory since "if we are to adhere exclusively to the ECT, the Claimants would not
     receive the protection that they claim pursuant to [the ECT]." 201 The ECT has not achieved
     its maximum objective of non-discrimination as regards the "making of Investments," as
     deduced from the first four sections of Article 10 of the ECT. After having made the
     investment, while the investor is guaranteed national treatment and most favoured nation
     treatment, an important exception applies. Article 10(8) of the ECT does not extend
     national treatment regarding aids or subsidies granted by the State to foreign investors, as
     they shall be reserved for the supplementary treaty described in Article 10(4), which has
     not yet been signed. 202 The amount claimed by the Claimants in this arbitration is a subsidy,
     whose classification as State aid is beyond dispute since the Judgement of the CJEU in
     Elcogas. 203

177. Spain responds to the Claimants' arguments regarding Article 26 of the ECT specifically
     noting that none of the articles of the ECT cited by the Respondent deprive the Tribunal of
     jurisdiction. According to Spain, Article 26 introduces a model of consent to restricted
     arbitration. 204 The dispute resolution mechanisms introduced by Article 26 of the ECT only


196
      Respondent's Rejoinder, ,r 85.
197
      Respondent's Rejoinder, ,r 86.
198
      Respondent's Counter-Memorial, ,r,r 81-84.
199
      Respondent's Counter-Memorial, ,r 86, making reference to Electrabel v. Hungary (Decision on Jurisdiction,
      Applicable Law and Liability).
200
      Respondent's Counter-Memorial, ,r,r 89-94, especially ,r 93.
201
      Respondent's Rejoinder, ,r 98.
202
      Respondent's Rejoinder, ,r 102.
203
      Respondent's Counter-Memorial, ,r 630.
204
      Respondent' s Rejoinder, ,r 108.


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         refer to disputes regarding the alleged breach of obligations in Part III of the ECT. Neither
         Spain, Luxembourg nor the Netherlands could acquire obligations under Part III of the
         ECT at the moment of signing the Treaty because at the time they did not have the
         competence to do so. Spain argues that this competence had been ceded to the European
         Communities and that not a single BIT was signed by EU Member States after entering the
         EU. 205 IfEU Member States could not acquire any obligations amongst themselves under
         Part III of the ECT, consequently, the dispute resolution mechanisms therein do not apply
         to intra-community disputes. 206 Furthermore, Article 26 of the ECT does not provide that
         arbitration is the only available dispute resolution mechanism, nor does it establish an order
         of preference between them - for instance, stating that arbitration is more favourable to an
         investor. 207

178. Also, regarding the "[p]reliminary observations on the relevance of previous awards and
     other legal precedents" as argued by the Claimants, Spain claims that the awards cited by
     the Claimants do not resolve the issues before the Tribunal in the present case. Not all
     awards are "subject to being extrapolated to the ECT," since "the ECT is a multilateral and
     mixed treaty, promoted by the former European Communities (now the EU) and signed by
     the EU as one more Contracting Party."208 Also, regarding the Decision on Jurisdiction,
     Applicable Law and Liability in Electrabel v. Hungary, the Respondent states that Hungary
     signed the ECT before having joined the EU. Therefore, Hungary, unlike Spain,
     Luxembourg and the Netherlands, was able to contract obligations under Part III of the
     ECT. Also, regarding the awards in PV Investors v. Spain and Charanne v. Spain, Spain
     claims that they both fail to consider the principle of primacy of EU law, which is the
     essential element of this jurisdictional objection. 209 Finally, regarding the Claimants'
     argument that there were matters resolved by awards in which the respondent State did not
     invoke the intra-community objection, Spain counters that in none of those cases the
     respondent State involved was already a member of the EU when signing the
     corresponding investment treaty. 210

179. In responding to the Claimants' argument that "it follows, on Spain's case, that the
     Claimants in this arbitration are deprived from protection under the ECT," 211 Spain notes
     that the Claimants do not need the protection offered by the ECT as they have a
     comprehensive system to protect their investment which is guaranteed by EU law.212 While

205
      Respondent's Rejoinder, 1109.
206
      See Respondent's Rejoinder, 164.
207
      Respondent's Rejoinder, 1 133.
208
      Respondent's Rejoinder, 169.
209
      Respondent's Rejoinder, 187.
210
      Respondent's Rejoinder, 188.
211
      Claimants' Reply, 1522.
212
      Respondent's Rejoinder, 1135.


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          a Japanese or Russian investor within the EU would be protected by the ECT in a case such
          as this, they would not be entitled to national treatment, to which the Claimants are entitled
          under EU law. 213

 180. Finally, Spain clarifies that it does not claim that an explicit or implicit disconnection
      clause exists. 214

181. In conclusion, the Respondent alleges that the Claimants fail to comply with the
     requirement set out in ECT Article 26( 1), since the dispute does not arise between a
     Contracting Party and investors from different Contracting Parties.

                    2.     Claimants' Position


182. The Claimants argue that each of the requirements in Article 26 of the ECT has been
     satisfied in the present case, since Spain is a "Contracting Party" to the ECT, and each of
     the Claimants is an "Investor of another Contracting Party." Spain signed the ECT on 17
     December 1994 and it entered into force with respect to Spain on 16 April 1998. 215 Also,
     pursuant to Article 1(7)(a)(ii) of the ECT an "Investor" of a Contracting Party is "a
     company or other organization organized in accordance with the law applicable in that
     Contracting Party." The Claimants are companies incorporated under the laws of
     Luxembourg and the Netherlands, each of which is a "Contracting Party" to the ECT. 216

183. The Claimants first respond to the Respondent's objection noting that every arbitral
     tribunal and national court that has considered the intra-EU objection, including where
     there have been submissions under the ECT, has rejected it. 217 Notably, three tribunals
     constituted under Article 26 of the ECT have rejected said objection in cases against Spain,
     concluding that intra-EU disputes are not excluded from their jurisdiction: PV Investors v.
     Spain, Charanne v. Spain, and RREEF v. Spain (Decision on Jurisdiction). 218 The tribunal
     in PV Investors v. Spain, for instance, concluded that intra-EU disputes are not excluded
     from the jurisdiction of an arbitral tribunal constituted under Article 26 of the ECT. 219 Two
     of the most recent decisions on the intra-EU issue involved the ECT and were brought
     against Spain, and both Electrabel v. Hungary and EDF v. Hungary, cases cited by Spain,



213
      Respondent's Rejoinder, ,i 136.
214
      Respondent's Rejoinder, ,i,i 142-143.
215
      Request for Arbitration, ,i 104.
216
      Request for Arbitration, iii! 105-106.
217
      Claimants' Rejoinder, ,i 14.
218
      Claimants' Rejoinder, ,i 14.
219
      Claimants' Reply, ,i 483.


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          were brought pursuant to the ECT. 220 There have been numerous ECT cases involving
          disputes between Member States and EU investors where no intra-EU objection was even
          raised by the respondent State, and not a single arbitral tribunal has found that it lacked
          jurisdiction due to the intra-EU nature of the dispute. 221

184. Contrary to Spain's allegation, the Claimants maintain that the energy sector is not an area
     where EU Member States have given over their sovereignty to the EU. Regulation of the
     energy sector is a shared competence under EU law. 222 Also, the Claimants note that the
     Disputed Measures are clearly national measures taken by Spain, and not at the insistence
     of or mandate of the EU.

185. Even if it is assumed that the two treaty regimes (the EU and the ECT) have the same
     subject matter, the ECT would take precedence over any conflicting provision of the EU
     founding treaties, based on Article 16 of the ECT and Articles 30 and 59 of the VCLT. 223
     Spain's argument entails that Article 26 of the ECT applies to an intra-EU dispute so long
     as either the home State of the claimant-investor or the respondent-host State was not a
     Member State at the time the ECT was signed and/or ratified, but that it does not apply to
     intra-EU disputes if both of the relevant States were Member States at the time the ECT
     was signed. The Claimants maintain that this position is absurd and that it would amount
     to impermissible discrimination. 224

186. Additionally, the ordinary meaning of the ECT demonstrates Spain's unconditional
     consent to arbitrate disputes with investors from Luxembourg and the Netherlands. First,
     Article 26(1) of the ECT conveys a clear meaning, and it cannot be construed in such a
     way as to deprive EU investors of the right to bring a claim against EU Member States
     under the ECT. 225 "In this arbitration, the First Claimant [Antin Luxembourg] is a company
     incorporated in Luxembourg and the Second Claimant [Antin Termosolar] is a company
     organised in accordance with the law applicable in the Netherlands. The First and Second
     Claimants have made investments in Spain. Both Luxembourg and the Netherlands are
     Contracting Parties to the ECT, as is Spain. The present dispute is therefore a dispute
     between a Contracting Party (Spain), and two investors, each from another Contracting
     Party (Luxembourg (the First Claimant) and the Netherlands (the Second Claimant))." 226



22
     ° Claimants' Rejoinder, ,i 16. See Exhibit C-0160, L E Peterson,"Intra-EU Treaty Claims Controversy: New
      Decisions and Developments in Claims Brought by EU Investors vs. Spain and Hungary", 24 December 2014.
221
      Claimants' Reply, ,i,i 487-489; Claimants' Rejoinder, ,i 14.
222
      Claimants' Reply, ,i,i 489-490.
223
      Claimants' Reply, ,i 492.
224
      Claimants' Reply, ,i 493.
225
      Claimants' Reply, ,i,i 498-501.
226
      Claimants' Reply, ,i 500.


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 187. The Claimants allege that it is difficult to see how the fact that Article 26 of the ECT
      provides for different dispute resolution mechanisms would assist Spain's case. 227 Article
      26 of the ECT leaves the choice between different dispute resolution mechanisms to the
      investor, but it also provides that each Contracting Party unconditionally consents to
      arbitration. 228

 188. Furthermore, the object and purpose of the ECT does not confirm Spain's interpretation of
      Article 26 of the ECT. Spain argues that permitting intra-EU arbitration would assume that
      the EU and its Member States promoted the creation of the ECT to cover an area (intra-EU
      investments) that had been covered for many years exhaustively and in a widely superior
      manner through EU law.

 189. The Claimants first indicate that "the fundamental objective of the ECT is to facilitate
      transactions and investments in the energy sector by reducing political and regulatory
      risks." 229 However, Spain unjustifiably adopts a narrower interpretation, claiming that the
      object of the ECT as being the promotion of East-West energy cooperation and the
      economic recovery of Eastern Europe, which would lead to sustaining the impossibility of
      intra-EU arbitrations. 230 The fact that the ECT initially promoted an East-West trade
      gateway does not alter the ordinary meaning of Article 26 of the ECT, and that as stated in
      the introduction of the treaty, the ECT is a "legally-binding multilateral instrument, the
      only one of its kind dealing specifically with inter-governmental cooperation in the energy
      sector."231 Spain also attaches significant interpretative weight to the European
      Commission's view of Article 26 of the ECT. The Claimants nonetheless allege that what
      matters is the intentions of the parties as expressed in the text, and the intention of one
      party to a treaty, on its own, is irrelevant to determining its proper interpretation. 23 2
      Moreover, various tribunals have found that most EU Member States do not support the
      European Commission's position. 233 Spain's intra-EU objection is premised on the false
      assumption that the tribunal must resort to supplementary means of interpretation of the
      ECT. Since the ordinary meaning of Article 26 of the ECT is clear and unambiguous, there
      is nothing that would justify resorting to such supplementary means.234



227
       Claimants' Rejoinder, ,r 34. See Respondent's Rejoinder, ,r 65.
228    Claimants' Rejoinder, ,r 34.
229
       Claimants' Reply, ,r 505. See Claimants' Memorial, §11.2.
23
  °    Claimants' Reply, ,r,r 503-506.
23 1
       Claimants' Reply, ,r 506; Exhibit C-0001, Energy Charter Secretariat, "The Energy Charter Treaty and Related
       Documents: A Legal Framework for International Energy Cooperation", September 2004, p. 13 .
232
       Claimants' Reply, ,r,r 507-509.
233
       Claimants' Reply, ,r,r 510-511. Claimants cite Jan Oostergetel v. The Slovak Republic (Decision on Jurisdiction),
       ,r,r 107-108; Eureka v. The Slovak Republic, (Award on Jurisdiction, Arbitrability and Suspension) ,r 161.
23 4
       Claimants ' Reply, ,r,r 512-513 .


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190. The Claimants also argue that even if it were permissible to interpret Article 26 of the ECT
     by looking into the intentions of the European Commission and certain Member States
     regarding EU law, there is nothing within the provisions of EU law that could be
     understood to override the rights granted in Article 26 of the ECT. The provisions of the
     ECT do not contradict EU law nor are the investor protections contained in the EU's
            Internal Market superior to those under the ECT. 235 The Claimants maintain that the EU
            system does not provide for a widely superior system to that of the ECT, as claimed by the
            Respondent. EU treaties cover a different subject matter, since investment protection under
            EU law is primarily focused on ensuring access to the market of other Member States,
            rather than providing a comprehensive system of promotion and protection of investments,
            as the ECT does. 236 The EU system does not provide recourse to investor-State resolution,
            nor does it allow an investor to bring claims for illegal governmental action against a
            foreign investment in an international arbitration (a neutral and independent forum).

191. Since the ECT grants EU investors rights that are different from and additional to those
     provided by EU law (and particularly the right of action through arbitration), rather than
     contradicting them, there is no inconsistency between the two systems. This has been
     recognized by certain tribunals, including the tribunals in Electrabel v. Hungary and
     Eastern Sugar v. Czech Republic. 237 Even ifthere were a contradiction, Article 26 of the
     ECT should be held to prevail due to the application of the principle of lex posterior238 and
     of Article 16 of the ECT. 239 To this regard, the fact that Article 26 of the ECT provides for
     other possible dispute resolution mechanisms is irrelevant, since it does not deprive an
     investor of its right to international arbitration. 240

192. According to the Claimants, EU law does not deprive the Tribunal of jurisdiction under the
     ECT. The protection of foreign investments is not part of the CJEU's competences and the
     pursuit of protection of investor rights as is sought in this arbitration is not an option under


235
         Claimants' Reply, 1 514.
236
         Claimants' Reply, 11515-516.
237
         Claimants' Reply, 1 517. Claimants cite Electrabel v. Hungary (Decision on Jurisdiction, Applicable Law and
         Liability), 14.166; Eastern Sugar v. The Czech Republic (Partial Award), 1165.
238
         Legal Authority CL-0090, Vienna Convention on the Law of Treaties, 1155 United Nations Treaty Series 331,
         23 May 1969 (entry into force 27 January 1980), Articles 30 and 59.
239
         Claimants' Rejoinder, 11 43-46. Exhibit C-0001, Energy Charter Secretariat, "The Energy Charter Treaty and
         Related Documents: A Legal Framework for International Energy Cooperation", September 2004, Article 16
         ("Relation to Other Agreements. Where two or more Contracting Parties have entered into a prior international
         agreement, or enter into a subsequent international agreement, whose terms in either case concern the subject
         matter of Part III or V of this Treaty, (1) nothing in Part III or V of this Treaty shall be construed to derogate from
         any provision of such terms of the other agreement or from any right to dispute resolution with respect thereto
         under that agreement; and (2) nothing in such terms of the other agreement shall be construed to derogate from
         any provision of Part III or V of this Treaty or from any right to dispute resolution with respect thereto under this
         Treaty, where any such provision is more favourable to the Investor or Investment.").
24
     °   Claimants' Rejoinder, 134.


                                                                 51
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          EU law. The CJEU itself has acknowledged that an international dispute settlement
          mechanism established by an international treaty to which the EU is a party is compatible
          with EU law, and decisions arising therefrom are binding on the CJEU. 241 It is only
          decisions on the distribution of competencies between the EU and its Member States, or
          on the legality of acts of European institutions, that are considered by the CJEU as falling
          within its exclusive jurisdiction. 242

193. Furthermore, Article 26(6) of the ECT, which provides that ECT disputes be decided in
     accordance with the ECT and "applicable rules and principles of international law", does
     not prevent an EU investor from bringing a claim against another EU Member State under
     the ECT. The Respondent relied on the tribunal on Electrabel v. Hungary, which stated
     that notwithstanding harmonization efforts, if the ECT and EU law remained incompatible,
     "EU law would prevail over the ECT's substantive protections and that the ECT could not
     apply inconsistently with EU law to such a national's claim against an EU Member State."
     However, the Claimants note that the findings of the tribunal in Electrabel v. Hungary on
     this regard were in respect of the law applicable to the merits, and not a matter of
     jurisdiction. The tribunal found that it had jurisdiction and dismissed the intra-EU
     objection.243 The Claimants' position is that the fact that EU law is part of international
     law bears no relevance to the question of jurisdiction. 244 In any event, Article 16 of the
     ECT makes clear that to the extent that the ECT and EU law are in conflict, the ECT
     prevails.

194. Spain maintains that Article 26 introduces a model of consent to restricted arbitration,
     limited by certain provisions of the ECT, namely Articles 1(2), 1(3), 16, 25 and 36(7). The
     Claimants respond arguing that the fact that the EU is a party recognized as a REIO under
     the ECT does not deprive investors of their rights under Article 26 nor does it imply that
     the EU system be preferentially applied. According to the Claimants, Articles 1(2), 1(3)
     and 1(10) of the ECT simply recognise the existence of REIOs amongst the ECT's
     Contracting Parties and identify the Area of the REIO that is a Contracting Party as
     meaning the Areas of the member states of such REI0. 245 It only ensures that claims can
     be brought against such REIO regarding disputes arising out of an investment made in the
     corresponding area. 246 In accordance with Articles 26( 6) and 1( 10) of the ECT, the relevant
     Area is that of the Contracting Party that is a party to the dispute, in this case, Spain. For
     instance, the tribunal in PV Investors v. Spain found that the relevant area, as is the case in


241
      The Claimants rely on Opinion 1/91.
242
      Claimants' Reply, ,i,i 518-519.
243
      Claimants' Reply, ,i 522.
244
      Claimants' Rejoinder, ,i 35.
245
      Claimants' Reply, ,i 526.
246
      Claimants' Reply, ,i,i 523-527.


                                                   52
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         the present dispute, is not the EU but the territory of Spain. 247 If the EU itself were the
         respondent, the relevant Area would be the entire EU Area. Also, the Claimants maintain
         that the simple reference to the existence of a regional organization that is also a party to
         the same multilateral treaty, as in the ECT, does not establish that the multilateral treaty
         does not apply within the regional organisation absent a disconnection clause. 248

195. In addition, Articles 16, 25 and 36(7) of the ECT in no way support Spain's argument that
     the EU system must be preferentially applied to the ECT, therefore depriving investors of
     the possibility of bringing claims under Article 26 of the ECT. 249

196. The ordinary meaning of Article 16 of the ECT provides that in the event of a conflict
     between the ECT and either a prior or subsequent international agreement, the provision
     more favourable to the investor shall apply. Article 26 of the ECT reflects a more
     favourable treatment since the ECT confers to investors a right of action, through
     arbitration, against the offending State. 250 The Claimants explain that they have brought
     their claims under the ECT because it depoliticises the dispute by removing it from the
     purview of Spain's national courts.

197. Regarding Article 25 of the ECT, the Claimants note that it indeed provides that the
     obligation to accord most-favoured nation treatment does not require a Contracting Party
     from an Economic Integration Area (EIA) to accord investors from outside the EIA the
     preferential treatment that may be applicable inside the EIA. Most-favoured-nation
     treatment does not oblige Member States to extend the rights of the Internal Market to
     investors from outside the EU. 251 Regarding the EU, Article 25 of the ECT protects against
     any claim that EU law advantages should be extended to non-EU investors. However,
     Article 25 of the ECT does not state that EU Investors cannot bring claims against Member
     States under Article 26 of the ECT, nor recognize the primacy of EU law. 252

198. Article 36(7) of the ECT is a procedural provision that purely relates to the voting
     procedure of ECT Contracting Parties in reference to the Energy Charter Conference, and
     in no way does the recognition of voting rights of a REIO support Spain's view that the
     EU system applies preferentially over the protection afforded by Article 26 of the ECT. 253


247
      Claimants' Rejoinder, ,i,i 25-26.
248
      Claimants' Reply, ,i 526.
249
      Claimants' Reply, ,i 528.
25
  °   Claimants' Rejoinder, ,i,i 20, 28-29.
251
      Claimants' Reply, ,i 529.
252
      Claimants' Rejoinder, ,i 30.
253
      Claimants' Reply, ,i 531. Exhibit C-0001, Energy Charter Secretariat, "The Energy Charter Treaty and Related
      Documents: A Legal Framework for International Energy Cooperation", September 2004, Article 36(7) ("[A
      REIO] shall, when voting, have a number of votes equal to the number of its member states which are Contracting


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          Article 36(7) does not concern the dispute-resolution procedure in Part V of the ECT. It
          merely provides, as Spain has accepted, that the EU and its Member States may not vote
          simultaneously. 254

199. There is no indication in the text of the ECT that the Contracting Parties have limited their
     consent to arbitration on the basis that some of the Contracting Parties belong to the same
     REIO, such as the EU. 255 On the contrary, Annexes ID and IA of the ECT, which provide
     certain specific exceptions to the consent of contracting parties to arbitration under Article
     26, include no provisions regarding such issue. 256 Hence, "a good faith interpretation of the
     ordinary meaning of Article 26 leads to the conclusion that there is no intra-EU exception
     to the Contracting Parties' 'unconditional consent' to arbitration." 257

200. The Claimants further argue that Article 344 of the TFEU is irrelevant to the present case
     since it does not prevent EU Member States from submitting disputes that are not related
     to EU law to other fora, nor does it prohibit the submission of disputes between other actors
     to a different method of settlement not contemplated in the EU treaties. 258 The Claimants
     maintain that Spain's argument confuses the concepts of substantive protections offered
     under EU law, applicable to the merits of a dispute under EU law, and the question of
     jurisdiction of the Tribunal. 259 Moreover, since there is no provision in any of the EU
     Treaties dealing with investor-State arbitration, Article 344 of the TFEU does not affect
     the operation of Article 26 of the ECT nor does it modify the States' consent under said
     article.

201. The Claimants note that this has been confirmed by investment tribunals, such as Eureka
     v. The Slovak Republic, EURAM v. The Slovak Republic, Electrabel v. Hungary and
                                     °
     Charanne v. Spain. 26 Furthermore, the Claimants maintain that Spain's argument that
     intra-EU investor-State arbitration is contrary to EU law is not contradicted by Opinion
      I /91 of the CJEU. The Claimants admit that the CJEU concluded that the creation of a
     European Economic Area court would violate the monopoly of the CJEU as it concerned
     judgments on the interpretation of EU treaties and the validity of decisions of EU organs


      Parties to this Treaty; provided that such an Organization shall not exercise its right to vote if its member states
      exercise theirs, and vice versa.").
254
      Claimants' Rejoinder, 132.
255
      Claimants' Rejoinder, 1130-32.
256
      Claimants' Reply, 1532.
257
      Claimants' Reply, 1532.
258
      Claimants' Reply, 1535; Claimants' Rejoinder, 137.
259
      Claimants' Reply, 1533.
 °
26
      Claimants' Reply, 1 536; Claimants' Rejoinder, 11 37-38; Electrabel v. Hungary (Decision on Jurisdiction,
      Applicable Law and Liability), 14.151; Eureka v. The Slovak Republic (Award on Jurisdiction, Arbitrability and
      Suspension), ff 134, 282; EURAM v. The Slovak Republic (Award on Jurisdiction), 1 255; Charanne v. Spain
      (Final Award), 11443-445.


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         and institutions. However, Opinion 1/91 did not deal with the interpretation of the rights
         of investors under the ECT. The Claimants also argue that their position is supported by
         the fact that arbitration is permissible even between EU Member States, as is shown by the
         Iron Rhine arbitration where the tribunal noted that although it had to consider EU law,
         this did not deprive it from ,its jurisdiction. 261

202. Article 344 of the TFEU, agreed in the 2009 Lisbon Treaty, cannot be considered a relevant
       instrument for interpreting Article 26 of the ECT according to Article 31(3)(a) of
       the VCLT, since it is not an agreement regarding the interpretation of the ECT, or the
       application of its provisions. 262 Article 344 cannot serve as subsequent practice under
       Article 31 (3)(b) of the VCLT as "it is not the practice followed 'in the application' of the
       ECT, nor does it establish the consent of all the Contracting Parties to the ECT regarding
     . its interpretation."263

203. Finally, the Claimants argue that the ECT contains no implicit or explicit disconnection
     clause concerning intra-EU disputes. This can be affirmed since (i) prior to the conclusion
     of the ECT, the EU had used disconnection clauses where they were intended to apply, (ii)
     the ECT contains disconnection clauses where they are intended to apply, as is the case
     regarding the Svalbard Treaty, 264 and (iii) given the ordinary meaning of Article 26 of the
     ECT, if such a clause had been intended, its inclusion would have been eminently
     necessary. 265 As Spain clarified its position in its Rejoinder, in that it does not hold to the
     existence of an express or implied disconnection clause, this is a point on which the Parties
     are in agreement. 266

                  3.       Tribunal 's Analysis


204. Respondent's objection to jurisdiction is based on Article 26 of the ECT, and specifically
     on the text related to disputes between "a Contracting Party and an Investor of another
     Contracting Party."

205. Article 26 provides as follows:

                       "( 1) Disputes between a Contracting Party and an Investor of another
                       Contracting Party relating to an Investment of the latter in the Area

261
      Claimants' Rejoinder,, 41.
262
      Claimants' Rejoinder,, 39.
263
      Claimants' Rejoinder,, 39.
264
      Exhibit C-0001, Energy Charter Secretariat, "The Energy Charter Treaty and Related Documents: A Legal
      Framework for International Energy Cooperation", September 2004, Annex 2 to the Final Act of the European
      Energy Charter Conference, "Decisions with respect to the Energy Charter Treaty", Item l.
265
      Claimants' Reply,,, 540-549.
266
      Claimants' Rejoinder, ,r 48.


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              of the former, which concern an alleged breach of an obligation of
              the former under Part III shall, if possible, be settled amicably.

              (2) If such disputes cannot be settled according to the provisions of
              paragraph (1) within a period of three months from the date on which
              either party to the dispute requested amicable settlement, the Investor
              party to the dispute may choose to submit it for resolution:

              (a) to the courts or administrative tribunals of the Contracting Party
              to the dispute;

              (b) in accordance with any applicable, previously agreed dispute
              settlement procedure; or

              (c) in accordance with the following paragraphs of this Article.

              (3) (a) Subject only to subparagraphs (b) and (c), each Contracting
              Party hereby gives its unconditional consent to the submission of a
              dispute to international arbitration or conciliation in accordance with
              the provisions of this Article. [ ... ]"

206. The aforesaid article must .be interpreted in accordance with the rules of the VCLT and
     particularly Articles 31 and 32 thereof which provide:

              "Article 31. General Rule oflnterpretation

              1. A treaty shall be interpreted in good faith in accordance with the
              ordinary meaning to be given to the terms of the treaty in their context
              and in the light of its object and purpose.

              2. The context for the purpose of the interpretation of a treaty shall
              comprise, in addition to the text, including its preamble and annexes:

              (a) Any agreement relating to the treaty which was made between all
              the parties in connexion with the conclusion of the treaty;

              (b) Any instrument which was made by one or more parties in
              connection with the conclusion of the treaty and accepted by the other
              parties as an instrument related to the treaty.

              3. There shall be taken into account, together with the context:

              (a) Any subsequent agreement between the parties regarding the
              interpretation of the treaty or the application of its provisions;

              (b) Any subsequent practice in the application of the treaty which
              establishes the agreement of the parties regarding its interpretation;




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                    ( c) Any relevant rules of international law applicable in the relations
                    between the parties.

                    [... ]

                    Article 32. Supplementary Means of Interpretation

                    Recourse may be had to supplementary means of interpretation,
                    including the preparatory work of the treaty and the circumstances of
                    its conclusion, in order to confirm the meaning resulting from the
                    application of article 31, or to determine the meaning when the
                    interpretation according to article 31:

                    (a) Leaves the meaning ambiguous or obscure; or

                    (b) Leads to a result which is manifestly absurd or unreasonable."

207. The rule of Article 31 VCLT is an integral single rule, i.e., the Tribunal should not analyse
     the text, context, object and purpose as separate elements of interpretation, but rather start
     with the ordinary meaning of the words of Article 26 in their context and considering the
     object and purpose of the Treaty. In addition, Article 32 is a subsidiary rule, applying to
     confirm an interpretation reached under Article 31 or where the interpretation according to
     Article 31 (a) leaves the meaning ambiguous or obscure; or (b) leads to a result which is
     manifestly absurd or unreasonable.

208. ECT Article 1(2) defines "Contracting Party" as "a state or Regional Economic Integration
     Organization which has consented to be bound by this Treaty and for which the Treaty is
     in force." 267 In tum, Article 1(7)(a)(ii) of the ECT defines "Investor" with respect to a
     Contracting Party as "a company or other organization organized in accordance with the
     law applicable in that Contracting Party." 268

209. Spain signed the ECT on 17 December 1994, ratified it on 11 December 1997, 269 and the
     ECT entered into force with respect to Spain on 16 April 1998. The ECT entered into force
     with respect to each of Luxembourg and the Netherlands on 16 April 1998, after
     Luxembourg signed the ECT on 17 December 1994 and ratified it on 7 February 1997, and
     the Netherlands signed the ECT on 17 December 1994 and ratified it on 11 December
     1997.


267
      Exhibit C-0001, Energy Charter Secretariat, "The Energy Charter Treaty and Related Documents: A Legal
      Framework for International Energy Cooperation", September 2004, Article 1(2).
268
      Exhibit C-0001, Energy Charter Secretariat, "The Energy Charter Treaty and Related Documents: A Legal
      Framework for International Energy Cooperation", September 2004, Article 1(7)(a)(ii).
269
      Exhibit C-0009, Instrument of Spain' s Ratification of the Energy Charter Treaty and the Energy Charter Protocol
      on Energy Efficiency and Related Environmental Aspects, published in the Spanish Official Gazette, 17 March
      1998.



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210. Spain is therefore a Contracting Party and both Luxembourg and the Netherlands, the
     States of nationality of the Claimants, satisfy the definition of Article 1(2) and are therefore
     Contracting Parties under the ECT. The Claimants are companies or organizations
     organized in accordance with the laws of the Netherlands and of Luxembourg and thus are
     investors of a Contracting Party under Article 1(7)(a)(ii).

211. The ECT's Article 10 imposes substantial obligations on each Contracting Party with
     respect to "Investors of other Contracting Parties" and their Investments and Article 13
     adds that "Investments of Investors of a Contracting Party in the Area of any other
     Contracting Party" shall not be nationalized or expropriated, unless certain requirements
     are met. 270 ECT Article 26 provides for the consent of the parties to arbitration of
     "[ d]isputes between a Contracting Party and an Investor of another Contracting Party
         [ ..• ]. ,,271


212. The ordinary meaning of the above texts, in their context, provide the Tribunal with
     jurisdiction to entertain claims against Spain (a Contracting Party) by investors of
     Luxembourg and the Netherlands (both a Contracting Party) related to "Investments" made
     by the Claimants in the Spanish RE sector.

213. However, the Respondent objects to the jurisdiction of this Tribunal arguing that an
     interpretation of the aforesaid Article 26 in the context of the ECT results in a limitation
     that would bar any claim by "Investors" of EU Member States against another EU Member
     State that is party to the ECT. In other words, the Respondent considers that the context of
     the ECT results in the exclusion of intra-EU investor-State disputes based on the ECT.

214. The Tribunal notes that this objection has already been presented by the Respondent and
     rejected by arbitral tribunals in three cases that the Parties included as legal authorities in
     this arbitration: Charanne v. Spain; 272 Isolux v. Spain; 273 and Eiser v. Spain. 274

215. The ECT does not include a limitation that provides for a wide exclusion such as the one
     alleged by the Respondent. Such an exclusion would have to be express and clear and the
     Tribunal is not persuaded that it results from an interpretation such as the one submitted
     by the Respondent. The Tribunal agrees with the Eiser v. Spain award in that:



270
      Exhibit C-0001, Energy Charter Secretariat, "The Energy Charter Treaty and Related Documents: A Legal
      Framework for International Energy Cooperation", September 2004, Article 2, 10, and 13.
271
      Exhibit C-0001, Energy Charter Secretariat, "The Energy Charter Treaty and Related Documents: A Legal
      Framework for International Energy Cooperation", September 2004, Article 26.
272
      See Charanne v. Spain (Final Award), ,r,r 424-438.
273
      See Jsolux v. Spain (Award), ,r,r 424-450.
274
      See Eiser v. Spain (Award), ,r,r 179-207.


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                    "It is a fundamental rule of international law that treaties are to be
                    interpreted in good faith. As a corollary, treaty makers should be
                    understood to carry out their function in good faith, and not to lay
                    traps for the unwary with hidden meanings and sweeping implied
                    exclusions. In this regard, the RREEF tribunal, in a case much like
                    the present, concluded that international law would require some
                    form of express warning to make such a broad exclusion evident:

                    '84. [ ... ] [W]hen the very essence of a treaty to which the EU is a
                    party is at issue, such as it would be for the ECT if the interpretation
                    proposed by the Respondent were correct, then precisely because the
                    EU is a party to the treaty a formal warning that EU law would
                    prevail over the treaty, such as that contained in a disconnection
                    clause, would have been required under international law.

                    85. This follows from the basic public international law principle of
                    pacta sunt servanda. If one or more parties to a treaty wish to exclude
                    the application of that treaty in certain respects or circumstances,
                    they must either make a reservation (excluded in the present case by
                    Article 46 of the ECT) or include an unequivocal disconnection
                    clause in the treaty itself. [ ... ]'. " 275

216. The ECT's purpose does not support the Respondent's interpretation. Article 2, captioned
     "Purpose of the Treaty," declares that "[t]his Treaty establishes a legal framework in order
     to promote long-term co-operation in the energy field, based on complementarities and
     mutual benefits, in accordance with the objectives and principles of the Charter." 276
     Nothing in this wording suggests the exclusion of claims by investors who are nationals of
     an EU Member State who is also a party to the ECT against another EU Member State.
     Moreover, such context does not call into question the ordinary meaning of Article 26.

217. As regards to the specific provisions of the ECT invoked by Spain to support its objection,
     the Tribunal is not persuaded that such provisions lead to the result of excluding a
     significant group of investors from the jurisdictional provisions of the ECT:

         (a)     It is true that the definition ofa REIO in Article 1(3)277 implies that a REIO's member
                 can transfer competence over some matters to the organization. However, there is
                 nothing in such provision that may be construed as the transfer of all competence by


275
      Eiser v. Spain (Award), ,r 186, quoting RREEF v. Spain (Decision on Jurisdiction), ,r,r 84-85 .
276
      Exhibit C-0001, Energy Charter Secretariat, "The Energy Charter Treaty and Related Documents: A Legal
      Framework for International Energy Cooperation", September 2004, Article 2.
277
      Exhibit C-0001, Energy Charter Secretariat, "The Energy Charter Treaty and Related Documents: A Legal
      Framework for International Energy Cooperation", September 2004, Article 1(3). ("Regional Economic
      Integration Organization' means an organization constituted by states to which they have transferred competence
      over certain matters a number of which are governed by this Treaty, including the authority to take decisions
      binding on them in respect of those matters.")


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                  EEC member countries over energy investments to the EEC when the ECT was
                  signed in 1994, and there is nothing that suggests that this position was
                  communicated to or accepted by other ECT Contracting Parties.

          (b)     It is also true that Article 36(7)278 could be said to recognize the possibility of divided
                  competence by giving a REIO votes equivalent to the number of its member States
                  when voting on matters over which it has competence. But this does not provide for
                  the particular allocation of competence that, according to the Respondent, existed at
                  the time of the ECT's conclusion, nor does it incorporate into the Treaty an exception
                  such as the one claimed by Spain or otherwise contradict the clear language of the
                  ECT.

          (c)     Article 25 indeed contains provisions that eliminate or prohibit discriminatory
                  treatment among members of an "Economic Integration Agreement" from the ECT' s
                  most-favoured nation obligations. But such provisions do not support the
                  Respondent's interpretation. The possibility that the parties have to agree on a regime
                  limiting discrimination among themselves does not prevent such parties from
                  agreeing to other obligations under a different treaty regime.

218. Moreover, the Tribunal considers that the fact that the EU is also a Contracting Party and
     a "Regional Economic International Organization" as defined in Articles 1(2) and 1(3) of
     the ECT does not bar the Tribunal's jurisdiction. Neither does the use of the terms "relating
     to an Investment of the latter in the Area of the former" in Article 26 of the ECT, nor the
     definition of "Area" in Article 1(10) of the Treaty. The ordinary meaning of Articles 1(2),
     1(3) and 1(10) recognize the existence of REIOs as possible Contracting Parties and
     identify that the "Area" of a REIO, such as the EU, to mean the "Areas of the member
     states of such [REI0]." 279 Under the terms of the ECT, a claim could thus be brought
     against a REIO, regarding a dispute arising out of an "Investment" made by an "Investor"
     in that REIO's defined "Area."

219. The simultaneous existence of Spain, the Netherlands and Luxembourg as Contracting
     Parties to the ECT, together with the EU, where each would have obligations under the
     Treaty, results from their separate ratifications of the Treaty. The act by which the EU


278
      Exhibit C-0001, Energy Charter Secretariat, "The Energy Charter Treaty and Related Documents: A Legal
      Framework for International Energy Cooperation", September 2004, Article 36(7). ("A Regional Economic
      Integration Organization shall, when voting, have a number of votes equal to the number of its member states
      which are Contracting Parties to this Treaty; provided that such an Organization shall not exercise its right to vote
      if its member states exercise theirs, and vice versa.")
279
      Exhibit C-0001 , Energy Charter Secretariat, "The Energy Charter Treaty and Related Documents: A Legal
      Framework for International Energy Cooperation", September 2004, Article 1(10). Furthermore, Article 36(7) of
      the ECT on the voting procedure ofECT Contracting Parties does not imply that EU law or the EU system applies
      in preference to the protection afforded by Article 26 of the ECT.


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         "gives its unconditional consent" to arbitration does not supersede or eliminate the specific
         consent granted by each sovereign EU Member State that is also a Contracting Party to the
         ECT.

220. The same applies to the understanding of the "Area" in which an "Investment" is made and
     relating to which a dispute arises. The Tribunal agrees with the following analysis
     articulated by the tribunal in PV Investors v. Spain:

                     "The phrase 'in the Area of the former [Contracting Party] in Article
                     26(1) of the ECT refers to the particular dispute initiated by the
                     investor. If the investor commences arbitration against a member
                     state of the EU (rather than against the EU itself), then 'Area' means
                     'with respect to a state that is a Contracting Party' the territory of that
                     particular member state, in accordance with the first sentence of
                     Article 1(10). In other words, the relevant area is that of the
                     Contracting Party that is party to the dispute. In this case, the relevant
                     Area is the territory of Spain (not of the EU), and thus the diversity
                     of area requirement is complied with where the investors are of a
                     Contracting Party other than Spain and the investment has been
                     carried out in the territory of Spain. The situation may be different
                     where the EU itself is a Respondent. In that case, 'with respect to a
                     [REIO]' (Article 1(10), second sentence), the relevant Area would be
                     the entire EU Area and the diversity of area requirement would have
                     to be satisfied with respect to that territory. This is, however, not the
                     scenario before the Tribunal."280

221. Therefore, the recognition that a REIO may have standing as a respondent under the terms
     of the ECT does not alter the entitlement of an "Investor" from Luxembourg (such as Antin
     Luxembourg) and/or an "Investor" from the Netherlands (such as Antin Termosolar), to
     bring claims against Spain regarding "Investments" made in the "Area" of Spain.

222. In connection with the Respondent's claim that the Claimants cannot invoke arbitration
     under the ECT Article 26 because both the Claimants and the Respondent are located
     within the geographical territory of the EU, which is itself party to the ECT and thus
     Claimants are not from the territory of another Contracting Party, 281 the Tribunal disagrees
     and recalls, as did the Charanne and Eiser tribunals, that:

                     "[ ... ] while the EU is a Contracting Party to the ECT, so too are its
                     Member States. '[A]lthough the EU is a party to the ECT, EU
                     Member States also remain contracting parties to the ECT. Both the
                     EU and [its] Member States can have legal standing as respondents
                     in a claim under the ECT.' Investors organized in accordance with

280
      PV Investors v. Spain (Preliminary Award on Jurisdiction), ,r,r 179-180.
281
      See Respondent's Counter-Memorial, ,r,r 66-75.



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                     the law of any Contracting Party satisfy Article 1(7)(a)(ii)'s literal
                     requirement to be an 'Investor' of a 'Contracting Party.' And, a
                     dispute involving such an Investor and another Contracting Party
                     regarding an Investment in that Contracting Party's 'Area' satisfies
                     the literal requirements for compulsory dispute settlement under ECT
                     Article 26(1) and (2).

                     Respondent's analysis, however, imposes an unstated limitation
                     upon any Investor hailing from an EU Member State. For
                     Respondent, such an Investor loses its national character and
                     becomes predominantly an Investor of the EU, because its home
                     country is also an EU Member State and subject to EU law.
                     Accordingly, the Investor and the putative respondent State are found
                     in the same "Area" - the area of the EU - so that the diversity
                     required by Article 26(1) and (2) does not exist.

                     A difficulty with this analysis is that it is not evident how there can
                     be an 'Investor of the EU' satisfying Article 1(7)(a)(ii) definition.
                     There is no trans-national body of European law regulating the
                     organization of business units, a matter that remains subject to
                     member countries' domestic law. Thus, within the framework of the
                     definition, there can be no 'EU Investors.' Investors exist only as
                     'Investors' of a 'Contracting Party.' 282

223. ECT Article 26(6), which defines the law to be applied in disputes between "Investors"
     and ECT Contracting Parties, provides that tribunals "shall decide the issues in dispute in
     accordance with this Treaty and applicable rules and principles of international law."283
     According to the Respondent, EU law, including the treaties creating the EEC and the EU
     and allocating competences among European institutions and their member countries, EU's
     internal legislation, and decisions of the CJEU, constitute applicable rules and principles
     ofinternational law for purposes of Article 26(6). 284 Further, pursuant to Articlf: 344 of the
     TFEU and mandatory principles of European law defined by the CJEU, only European
     courts, in particular, the CJEU, are competent to pass upon the meaning and content of
     European law. Therefore, according to the Respondent, the relevant principles of
     international law referred to in Article 26(6) do not allow this Tribunal to address the
     Claimants' claims, because EU law does not permit the existence of a mechanism for
     dispute resolution between EU investors and EU Member States other than that provided
     for under EU treaties. 285



282
      Eiser v. Spain (Award), ,i,i 194-196 (footnotes omitted), referring to Charanne v. Spain (Final Award), ,i 429.
283
      Exhibit C-0001, Energy Charter Secretariat, "The Energy Charter Treaty and Related Documents: A Legal
      Framework for International Energy Cooperation", September 2004, Article 26(6).
284
      See Respondent's Counter-Memorial, ,i,i 66-75.
285
      Respondent's Counter-Memorial, ,i 67.


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224. The Tribunal disagrees. First, the jurisdiction of this Tribunal derives from the express
     terms of a treaty -the ECT- that is binding under international law on the State parties
     thereof and on the EU. Second, the ECT is a multilateral treaty to which the EU itself is a
     party. 286 Third, the EU and each EU Member State granted its consent to submit to
     arbitration any claim against it. Fourth, nothing in the text, context, purpose and object of
     the ECT suggests that the inclusion of the reference to "rules and principles of international
     law" in the applicable law clause was intended to mean that the treaties creating the EEC
     and the EU and allocating competences among European institutions and their Member
     States, the EU's internal legislation, as subsequently interpreted by the CJEU, could be
     interpreted in a manner such that a development in the EU's acquis could be employed to
     undermine the prior consents to submit to arbitration under the ECT given by each of the
     EU Member States and the EU itself. The alleged problem of incompatibility between EU
     law and the ECT, if there is one, is to be sorted out by the EU and the EU States
     counterparties to the ECT.

225. Under Article 32 of the VCLT treaties are to be interpreted in good faith, and as mentioned
     by the Eiser tribunal "treaty makers should be understood to carry out their function in
     good faith, and not to lay traps for the unwary with hidden meanings and sweeping implied
     exclusions."287 If the arbitration clause, which is at the very heart of the Treaty to which
     the EU consented, were to exclude the variety of treaties and legislation mentioned by
     Spain, then the EU, which the Tribunal must assume acted in good faith when it negotiated
     and signed the ECT, would have, under international law, provided a formal warning, or
     an express exclusion or a reserve.

226. In sum, the Tribunal does not find anything within the provisions of EU law, as invoked
     and pleaded by Spain, that overrides the rights granted in Article 26 of the ECT regarding
     the settlement of disputes.

227. Central to Spain's argument is also Article 344 of the TFEU:

                    "Member States undertake not to submit a dispute concerning the
                    interpretation or application of the Treaties to any method of
                    settlement other than those provided for therein."

228. Relying on Opinion 1/91, Spain further argues that Article 344 of the TFEU would be
     infringed if intra-EU disputes were to be allowed. The Tribunal agrees with the Claimants
     in that the different concepts of substantive protections under EU law, which would apply



286
      The EU signed the Treaty on 17 December 1994, ratified it on 16 December 1997 and the ECT entered into force
      with respect to the EU on 16 April 1998.
287
      Eiser v. Spain (Award), ,i 186.



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         to the merits of a dispute brought under EU law, should not be confused with the
         jurisdiction of the Tribunal.

229. Finally, the Tribunal finds it relevant that Opinion 1/91 does not deal with the analysis of
     "Investors"' rights under the ECT, and that the present case, unlike Opinion 1/91, does not
     concern the validity of decisions of EU organs and institutions.

230. In conclusion, Spain made a standing offer to "Investors" of other "Contracting Parties" to
     settle disputes through international arbitration. The Claimants in this case, as "Investor[s]
     of another Contracting Party" accepted such an offer, and submitted their consent to
     arbitration, by filing their Request for Arbitration. The Tribunal thus rejects Spain's
     jurisdictional objection.

          B.     WHETHER THE TRIBUNAL HAS JURISDICTION OVER THE CLAIMS SUBMITTED BY

                 THE CLAIMANTS REGARDING THE "INTERESTS" IDENTIFIED AS PROTECTED

                 INVESTMENTS UNDER THE TREATY



                   1.     Respondent's Position

231. The Respondent claims that certain of the assets invoked by the Claimants as
     "Investments" should be excluded from this arbitration since they are not investments to
     the effect of Article 1(6) of the ECT.

232. Spain argues that the Claimants neither own nor control, directly or indirectly, certain
     assets identified as investments in their Memorial. Article 1(6) of the ECT requires that the
     asset which constitutes the investment be either owned or controlled, directly or indirectly,
     by an investor. According to the Respondent, when the ECT alludes to the term indirect
     ownership, it refers to the real and ultimate possession of the asset. 288

233 . In the case at hand, the Claimants argue that their investment consists of direct and indirect
      shareholding and debt interests in the Andasol Companies that own and operate the
      Andasol Plants, as well as interests in the said plants and claims to money, returns and
      rights conferred by RD 661/2007 and RD 1614/2010. 289 However, according to the
      Respondent, the only assets that qualify as investments under Article 1(6) of the ECT are
      Antin Termosolar's shareholdings in the Andasol Companies and the loans granted by
      Antin Termosolar to the Andasol Companies. 290

288
      Respondent's Counter-Memorial, ,i 99.
289
      Respondent's Counter-Memorial, ,i,i 100, 103.
290
      Respondent's Counter-Memorial, ,i,i 101-102.


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234. First, none of the other assets invoked are controlled by the Claimants, which are simple
     vehicle entities. Said control corresponds to Antin Fund 1 or Antin IP, none of which has
     brought a claim against the Respondent. 291

235. Second, Antin Luxembourg does not directly own the shares in the social capital of the
     Andasol Companies and the loans granted to the Andasol Companies, since possession of
     these assets is channelled indirectly through Antin Termosolar, while the rest of the assets
     are channelled through Antin Termosolar and the Andasol Companies. 292

236. Third, Antin Termosolar directly owns the shares in the Andasol Companies as well as the
     loans granted to these companies, but it does not have direct ownership over the interests
     in the plants and claims to money, returns and rights conferred by law, since said assets are
     owned by the Andasol Companies themselves. 293

237. Spain explains that the Claimants argue for the existence of an indirect ownership over
     many of the assets identified by them as their investment. 294 However, the existence of
     indirect ownership under the ECT can only be alleged by the real and ultimate owner, i.e.,
     the final beneficiary. This interpretation is consistent with previous decisions of tribunals
     regarding the denial of benefits clause contained in Article 17 of the ECT, since such
     decisions have accepted that "ownership" refers to the final beneficiary of the ownership
     chain. 295 Likewise, different tribunals have found that indirect ownership of assets under
     Article 1(6) of the ECT should be interpreted as referring to the final beneficiary. 296
     Considering the preparatory work of the ECT, signatory States to the ECT accepted the
     idea that indirect ownership refeITed to "actual ownership of assets, held through a chain
     of entities", which is clearly a reference to the final link in each chain of ownership. 297

238. The Respondent maintains that the indirect ownership of the assets identified by the
     Claimants as their investment belongs not to them but to the Limited· Partners, the final
     beneficiaries.298 Since Antin Luxembourg does not own either directly or indirectly any
     such assets, it does not have an "investment" under Article 1(6) of the ECT. The same
     conclusion applies to Antin Termosolar regarding the assets whose direct ownership

291
      Respondent's Counter-Memorial, ,i,i 103-104.
292
      Respondent's Counter-Memorial, ,i,i 106-108.
293
      Respondent's Counter-Memorial, ,i,i 106-110.
294
      Respondent's Counter-Memorial, ,i,i 106-111.
295
      Respondent's Counter-Memorial, ,i,i 115-118. Respondent cites Plama v. Bulgaria (Decision on Jurisdiction),
      ,i 170; and Libananco v. Turkey (Award), ,i 556.
296
      Respondent's Counter-Memorial, ,i,i 119-121. Respondent cites Kardassopoulos v. Georgia (Decision on
      Jurisdiction); Al-Bahloul v. Tajikistan (Partial Award on Jurisdiction and Liability); Stati et al. v. Kazakhstan
      (Decision).
297
      Respondent's Rejoinder, ,i,i 164-169.
298
      Respondent's Counter-Memorial, ,i 122; Respondent's Rejoinder, ,i 147.


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          corresponds to the Andasol Companies. Previous tribunals have held that shareholders of
          a company can claim for alleged damages caused to the value of their shares in a company,
          but not for damages caused to the assets of a company in which it has a shareholding. 299
          Therefore, this Tribunal only has jurisdiction to decide on the claims regarding the
          shareholding that Antin Termosolar owns in the Andasol Companies, and receivables from
          loans granted to the Andasol Companies by Antin Termosolar. 300

                   2.      Claimants ' Position

239. The Claimants submit they hold numerous direct and indirect interests that qualify as
     "Investments" under the ECT.

240. The Respondent argues that, regarding ownership, it is the Limited Partners making up the
     Fund that are the ultimate beneficial owners; and regarding control, it is Antin Fund 1 or
     Antin IP that control the Interests: consequently, the Claimants cannot bring forth such
     claims. 301

241. According to the Claimants, Spain's interpretation of indirect ownership under Article 1(6)
     ECT, pursuant to which intermediate companies such as the Claimants can never bring a
     claim under the ECT, goes beyond the ordinary meaning of the ECT and finds no support
     in the treaty's language.

242. First, the Claimants argue that they satisfy Article 1(6) by directly and indirectly owning
     the Interests.

243. Regarding both Antin Luxembourg and Antin Termosolar, it is clear that a shareholder's
     interest in a company comprises an interest in the assets of that company, including its
     rights under law, claims to money or economic performance. This is particularly true under
     Article 1(6)(b) of the ECT, which covers "every kind of asset", including those "owned or
     controlled directly or indirectly by an Investor", and including not only shares but also a
     company or business enterprise, returns and any right conferred by law. Therefore,
     according to the ordinary meaning of the ECT, Claimants' qualifying Investments under
     the ECT include both the indirect shareholding in the Andasol Companies and the share in
     the entire underlying business units, including the returns that the Andasol Companies were
     entitled to receive under the RD 661/2007 economic regime. 302


299
      Respondent's Rejoinder, ,i,i 155-162. Respondent cites Azurix v. Argentina (Annulment), ,i 109; ST-AD v.
      Bulgaria (Award on Jurisdiction), ,i,i 278 and 282; Postova v. Hellenic Republic (Award), ,i,i 229, 230 and 245 .
300
      Respondent's Counter-Memorial, ,i,i 122-125. See Request for Bifurcation, ,i,i 46-47.
301
      Claimants' Reply, ,i 554.
302
      Claimants' Reply, ,i,i 561-563; Claimants' Rejoinder, ,i,i 58-60.


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244. Previous tribunals have confinned this interpretation, in making no distinction between
     direct ownership rights of the shareholders and shareholders' indirect rights in the assets
     of the local company suffering the host-State measures, and also recognizing that a
     shareholder can have indirect investments in the underlying assets of a company. 303 Neither
     of the cases cited by Spain304 contradict this position. To the contrary, the tribunal in ST-
     AD v. Bulgaria expressly admitted that a foreign shareholder has standing to bring a treaty
     claim regarding measures which, although directed at the local company in which the
     shareholder holds shares, violate the relevant treaty and cause damage to the shareholder. 305
     The tribunal in Postova v. Hellenic Republic indicated that the claimant had no right to the
     assets of its subsidiary that qualified for protection under the BIT because it had based its
     claim solely on the government bond interests held by said subsidiary, rather than in its
     shareholding in it, situation that is clearly different from the case at hand. 306

245. The Claimants argue that Antin Luxembourg indirectly owns the Interests. Spain's
     suggestion that the indirect possessory link between Antin Luxembourg and the Interests
     somehow distorts the ownership chain and deprives it from the ability to claim in respect
     of the Interests makes no sense, since there is nothing in the wording of the ECT to suggest
     that ownership hinges on any "possessory" requirement, as Spain claims. In addition,
     Spain's suggestion that the existence of intermediary companies in the corporate chain
     deprives Antin Luxembourg of protection -unless it is the beneficial owner- is without
     merit and unsupported by the wording of the ECT. 307 Antin Luxembourg, the first
     Claimant, owns a 100% stake in Antin Termosolar, second Claimant, which in tum owns
     a 45% stake in the Andasol Companies (together with RREEF and ACS). The Andasol
     Companies own the Interests. It is therefore unclear to the Claimants in what way they
     have failed to establish the necessary "link" of ownership, as suggested by the Respondent.

246. The Claimants further argue that Antin Termosolar indirectly owns the Interests.
     According to Spain, Antin Termosolar can claim only regarding its shareholding in the
     Andasol Companies and the loans granted to them. However, the definition of investment
     under the ECT includes every kind of asset directly or indirectly owned or controlled,
     including returns and any rights conferred by law. Antin Termosolar does indirectly own




303
      Claimants' Reply,, 564; Claimants' Rejoinder,, 61. Claimants cite Azurix v Argentina (Decision on Jurisdiction),
      ,, 42-43; CMS v. Argentina (Annulment); Camuzzi v. Argentina (Decision on Jurisdiction); and Teinver v.
      Argentina (Decision on Jurisdiction).
304
      ST-AD v. Bulgaria (Award on Jurisdiction); Postova v. Hellenic Republic (Award).
305
      Claimants' Rejoinder,,, 64-66.
306
      Claimants' Rejoinder,,, 67-70.
307
      Claimants' Reply,,, 567-571.


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             a stake in the Interests, and the presence of the Andasol Companies between it and the
             Interests does not affect the establislunent of ownership for the purposes of the ECT. 308

247. There is nothing in the text of the ECT to support Spain's interpretation that the only
     relevant indirect owner who can qualify as an Investor under the ECT is the final
     beneficiary or the "last or actual holder". In Spain's argument, an investor must be a direct
     owner (here, the Andasol Companies) or an indirect owner, being the last link in the
     corporate chain (the Limited Partners).

248. However, Article 1(6) of the ECT expressly acknowledges that a qualifying investment
     can be either direct or indirect, with no mention of any ultimate owner requirement. Spain
     seeks to import words into the ECT. None of the five legal authorities cited by Spain in
     this regard support this view, and the fact that any indirect owner, regardless of its position
     in the chain of ownership, may qualify as an investor under the ECT, is uncontroversial. 309
     If Spain's argument were accepted, a corporate entity that indirectly owns an investment
     could never qualify as an investor under the ECT, since a natural person or a State will
     always be the ultimate beneficial owner. 310 Article 17(1) of the ECT further supports this
     position, since it contemplates the possibility that a claimant entity may not be the ultimate
     beneficial owner, limiting the protections offered by the ECT in those circumstances only
     to entities that are owned or controlled by an entity from a non-Contracting Party. 311

249. In any event, the Limited Partners could not be the proper claimants in this arbitration.
     Under French Law, Antin Fund 1 is a fonds commun de placement with no legal
     personality, but which is the legal owner of Antin's 45% stake in the Andasol companies,
     and thus the ultimate owner of the assets of the Andasol Companies. The Limited Partners
     are characterized under French Law as "unit-holders", and do not have ownership rights
     over the assets of Antin Fund 1. Since Antin Fund 1 has no legal personality, it is
     represented by Antin IP, a management company, which can defend the rights and interests
     of its unit-holders. Therefore, even though the Limited Partners have subscribed the units
     issued by the Fund, they do not have direct ownership rights nor control over the assets of
     Antin Fund 1. Also, if one were to adopt Spain' position, the chain of ownership would not
     stop at the Limited Partners; it would be necessary to peel all layers of ownership until the
     natural person or State at the top. 312




308
         Claimants' Reply, ,r,r 572-575.
309
         Claimants' Reply, ,r,r 580-584; Claimants' Rejoinder, ,r 78. Claimants cite Yukos v. Russia (Interim Award on
         Jurisdiction and Admissibility), ,r,r 41-44 and Appendix.
31
     °   Claimants' Reply, ,r 587.
311
         Claimants' Reply, ,r,r 588-591.
312
         Claimants' Reply, ,r,r 592-598.


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250. Second, the Claimants allege that they control the Interests.

251. The Claimants assert that they exercise control over the Interests, and in any event, Antin
     Fund 1 and Antin IP are not the proper claimants in this arbitration, as Spain implies.
     Moreover, the Claimants in this arbitration are bringing the claims on their behalf, and not
     on behalf of the Fund.

252. The Claimants maintain that the relevant test for control is the broad test set out in
     Understanding No. 3 of the Final Act of the European Energy Charter Conference, which
     is a question of fact to be determined on a case-by-case basis. The list of factors set out in
     Understanding 3 is not exhaustive, the demonstration of the capacity to control is sufficient
     to meet the test, and the Claimants meet such a test. 313

253. The Claimants have both the capacity to control and actually control the Interests, rather
     than being simple vehicle entities: both Claimants exercise influence over the management
     and operation of the Andasol Plants and make their own investment decisions taking into
     account the best corporate interests of each. 314 Moreover, Antin Fund 1, which Spain
     argues exercises control over the Interests, cannot bring a claim since it is not a separate
     legal person. Antin IP, its managing company, does exercise control over the "Interests",
     but this does not prevent other entities in the Antin structure from bringing a claim. 315

                    3.      Tribunal's Analysis


254. According to the Claimants, Antin Luxembourg and Antin Termosolar directly and
     indirectly own and control the "Interests", and therefore, the Tribunal has jurisdiction
     ratione materiae. Such "Interests" comprise: (a) direct and indirect shareholdings and debt
     interests in the Andasol Companies that own and operate the Andasol Plants (Article
     1(6)(b) of the ECT); (b) interests in the Andasol Plants (Article 1(6)(b) of the ECT); (c)
     claims to money (Article 1(6)(c) of the ECT); (d) returns (Article 1(6)(e) of the ECT); and
     ( e) rights conferred by law, including those conferred by RD 661/2007 and RD 1614/2010
     (Article 1(6)(±) of the ECT). 316

255. Spain has taken issue with the link between the Claimants and the "Interests" they have
     identified as being protected investments under the Treaty. The Respondent argues that the
     only investments for purposes of Article 1(6) of the ECT, and therefore, the only
     investments on which the Tribunal holds jurisdiction, consist of the shares on the Andasol


313
      Claimants'   Reply, ,r 604.
314
      Claimants'   Reply, ,r,r 602-609.
315
      Claimants'   Reply, ,r,r 610-613.
316
      Claimants'   Memorial, ,r 320.


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          Companies owned by Antin Termosolar and the receivables from loans granted to the
          Andasol Companies by Antin Termosolar. 317

256. Spain does not dispute:

          (a)     that Antin Termosolar may bring a claim for any deterioration in the value of its
                  shares as a result of the Disputed Measures or for the loss of value of the receivables
                  from loans granted by Antin Termosolar to the Andasol Companies;

          (b)    that the Interests for which the Claimants advance their claims in this arbitration fall
                 under the non-exhaustive categories of assets listed in Article 1(6) of the ECT, or
                 that these qualify as investments under Article 25 of the ICSID Convention; and

          ( c)   that the investment is "associated with an Economic Activity in the Energy
                 Sector. " 318

257. Article 1(6) of the ECT provides:

                     "(6) "Investment" means every kind of asset, owned or controlled
                     directly or indirectly by an Investor and includes:

                     (a) tangible and intangible, and movable and immovable, property,
                     and any property rights such as leases, mortgages, liens, and pledges;

                     (b) a company or business enterprise, or shares, stock, or other forms
                     of equity participation in a company or business enterprise, and
                     bonds and other debt of a company or business enterprise;

                     (c) claims to money and claims to performance pursuant to contract
                     having an economic value and associated with an Investment;

                     ( d) Intellectual Property;

                     (e) Returns;

                     (f) any right conferred by law or contract or by virtue of any licences
                     and permits granted pursuant to law to undertake any Economic
                     Activity in the Energy Sector."

258. Article 26(1) of the ECT on the settlement of disputes between an Investor and a
     Contracting Party also requires that such a dispute be "relating to an Investment of the


317
      Respondent's Counter-Memorial, ,r,r 122-125. See Request for Bifurcation, ,r,r 46-47; Respondent's Rejoinder, ,r,r
      146, 152.
318
      See Exhibit C-0001, Energy Charter Secretariat, "The Energy Charter Treaty and Related Documents: A Legal
      Framework for International Energy Cooperation", September 2004, Articles 1(4), 1(5) and 1(6).



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         latter in the Area of the former, which concern an alleged breach of an obligation of the
         [Contracting Party] under Part III." 319

259. The Tribunal recalls that, according to Article 31 of the VCLT, a treaty is to be interpreted
     in good faith in accordance with the ordinary meaning to be given to its terms in their
     context and in the light of its object and purpose.

260. Based on the terms of Article 1(6) of the ECT, the Investment must be either: (i) owned by
     the Investor, directly or indirectly; or (ii) controlled by the Investor, directly or
     indirectly. 320

261. It is common ground between the Parties that Antin Luxembourg owns 100% of the shares
     in Antin Termosolar, Antin Termosolar in tum owns 45% of the shares in each of the two
     Andasol Companies -the remainder of the shareholdings of the Andasol Companies are
     owned by RREEF (45%) and ACS (10% )-, and the Andasol Companies own and operate
     RE power-generation facilities in Spain. 321 Since Antin Termosolar directly owns 45% 'of
     the shares in the Andasol Companies, Antin Luxembourg -owner of 100% of the shares
     of Antin Termosolar- owns or controls such shares in the Andasol Companies
     indirectly. 322 The same analysis applies to Antin Termosolar's debt interests for loans
     granted to the Andasol Companies: these are directly owned by Antin Termosolar, and
     indirectly by Antin Luxembourg. 323




319
      Exhibit C-0001, Energy Charter Secretariat, "The Energy Charter Treaty and Related Documents: A Legal
      Framework for International Energy Cooperation", September 2004, Article 26(1).
320
      See Respondent's Counter-Memorial, ,r 98.
321
      Exhibit C-0100, Notarised Agreement for the Sale and Purchase of 90% of the issued share capital of Andasol-1
      Central Termosolar Uno, S.A. and Andasol-2 Central Termosolar Dos, S.A. and the partial assignment of
      subordinated shareholder loans between Proto Primo, B.VV.; Antin Energia Termosolar, B.V.; Cobra Sistemas y
      Redes, S.A., Cobra Solar Del Sur, S.L.; and Cobra Gesti6n de Infraestructuras, S.A., 31 August 2011; Exhibit C-
      0204, Register of Shareholders in Antin Energia Termosolar B.V., 27 June 2011; Exhibit C-0206, Register of
      Shareholders in Andasol-1 S.A., 31 August 2011; Exhibit C-0207, Register of Shareholders in Andasol-2 SA, 31
      August 2011. See Exhibit C-0259, Updated corporate structure pertaining to Claimants' investments, 27
      November 2015. See also Claimants' Memorial, ,r 223 ("Antin's investments in the Andasol Companies were
      formalised by a share purchase agreement, executed on 30 June 2011, with Antin BV and RREEF each acquiring
      45% of the issued share capital of the Andasol Companies (the SP A). Both investors also agreed to take a
      proportionate share in the existing shareholders' loans. Finally, RREEF and Antin agreed to an earn-out
      mechanism in favour of ACS, should the Andasol Plants sustain certain performance levels. This acquisition
      became effective on 31 August 2011, once the conditions precedent set out in the SP A were completed.").
322
      See Al-Bahloul v. Tajikistan (Partial Award on Jurisdiction and Liability), ,r,r 141-146.
323
      See Exhibit C-0100, Notarised Agreement for the Sale and Purchase of 90% of the issued share capital of
      Andasol-1 Central Termosolar Uno, S.A. and Andasol-2 Central Termosolar Dos, S.A. and the partial assignment
      of subordinated shareholder loans between Proto Primo, B. VV.; Antin Energia Termosolar, B.V.; Cobra Sistemas
      y Redes, S.A., Cobra Solar Del Sur, S.L.; and Cobra Gesti6n de Infraestructuras, S.A., 31 August 2011; Exhibit
      C-0204, Register of Shareholders in Antin Energia Termosolar B.V., 27 June 2011 and Exhibit C-0210,
      Resolutions of the Board of Directors of Antin Infrastructure Services Luxembourg, 30 March 2012.


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262. There is nothing in the text or context of the ECT that supports Spain's position. Article
     6( 1) refers to direct or indirect control or ownership, but nowhere in its text or in the context
     of the ECT is there a requirement that only the real and ultimate owner or beneficiary may
     submit claims to arbitration.

263 . Spain's seeks support for its proposed concept of "indirect ownership" in the preparatory
      works of the ECT, and particularly in the preparatory work of a Sub-Group of the ECT. 324
      The Tribunal is not persuaded by Spain's allegations.

264. First, the preparatory works, under Article 32 of the VCLT, constitute a subsidiary means
     of interpretation that serves to confirm the meaning resulting from the application of
     Article 31 or to determine the meaning when the interpretation according to Article 31
     (a) leaves the meaning ambiguous or obscure; or (b) leads to a result which is manifestly
     absurd or unreasonable. There is nothing resulting from the application ofVCLT Article 31
     to the interpretation of Article 6(1) of the Treaty that suggests that only the ultimate
     shareholder can claim in respect of the investment, much less obscurity or ambiguity in
     Article 6(1) that requires resorting to the subsidiary means of interpretation of VCLT
     Article 32.

265. Second, the Contracting States, contrary to the suggestion of the ECT Sub-Group, 325
     decided that it was not necessary to include a definition of indirect ownership. Thus, even
     if the preparatory works were to be considered for the purposes of the interpretative
     exercise as Spain proposes, they suggest that the Contracting States considered the
     definition oflnvestor, and the concept of indirect ownership or control, as finally reflected
     in the ECT, to be sufficiently clear.

266. Therefore, there is nothing in the ECT that requires the Tribunal to perform an analysis of
     "indirect possession" up until the last "possessory stage," to find such "real and ultimate
     owner."326 Furthermore, nothing in the ECT suggests that the presence of intermediary
     companies in the corporate chain between Antin Luxembourg and the Andasol Companies
     deprives Antin Luxembourg of protection.

267. Spain has further argued that the Claimants may not bring claims in this arbitration for
     alleged damages caused to the assets of a company (i.e., interests in the Andasol Plants,
     claims to money, returns and rights allegedly conferred by RD 661/2007 and
     RD 1614/2010). 327 According to Spain there is a "lack of jurisdiction ratione materiae of
     the Arbitral Tribunal to hear the Claimants' claim for alleged damages to the renewable

324
      See Respondent's Rejoinder, 1168.
325
      Respondent's Rejoinder, 1168.
326
      See Respondent's Counter-Memorial, 1115.
327
      Respondent's Rejoinder, 11153-156.


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      energy production plants, given that the legitimation for such claim corresponds
      exclusively to the Spanish companies that own these production plants [... ]." 328

268. According to Spain, the Tribunal's jurisdiction is limited to the direct ownership of shares
     and loans by Antin Termosolar in the Andasol Companies and therefore the assets of the
     Andasol Companies should be excluded from this arbitration because they are not
     investments protected by the ECT.

269. The Tribunal recalls that the definition of"Investment" under ECT Article 1(6)(b) covers
     "every kind of asset owned or controlled directly or indirectly by an Investor," and includes
     "shares;" "a company" or "business enterprise;" "Returns," and "any right conferred by
     law."

270. Spain does not seem to dispute that Antin Luxembourg indirectly owns shares in the
     Andasol Companies and that Antin Termosolar directly owns shares and loans in the
     Andasol Companies. 329 Therefore, under the ordinary meaning of the ECT, Antin
     Luxembourg has an investment consisting of an indirect shareholding in the Andasol
     Companies and Antin Termosolar has an investment consisting of a direct shareholding in
     the Andasol Companies and a direct interest in the loans to the Andasol Companies. It is
     by reason of such shareholding (direct and indirect) that Claimants are claiming an Interest
     in the Andasol Companies, 330 in other words, the Claimants are claiming "damages caused
     to the value of their shareholding interests in the Andasol Companies." 331

271. Spain does not contest the decisions of different arbitral tribunals invoked by the Claimants
     and that support their position, but relies instead on the decisions of the tribunals in ST-AD
     v. Bulgaria and Postova v. Hellenic Republic to support its allegation that claims for the
     so called "reflective losses" by shareholders are not permitted under investment treaties.
     The Tribunal disagrees. In the ST-AD case the tribunal held that although the rights of a
     subsidiary are not the same as the rights of the parent company, the latter is entitled to bring
     claims under the treaty for actions directed at the subsidiary and affecting the assets of the
     subsidiary that cause loss to the value of the shares held by the claimant parent company. 332
     Ultimately, the ST-AD tribunal found that it lacked jurisdiction ratione temporis and
     jurisdiction ratione voluntatis, 333 not jurisdiction ratione materiae. In the Postova case the
     tribunal declared that an investor had not made an investment because the investor based
     its claim not on its shareholding in the corresponding company, but rather on an alleged

328
    Respondent's Rejoinder, § III.B.
329
    See Respondent's Counter-Memorial, 11106 and 109.
33
  ° Claimants' Memorial, 11477-478; Brattle Quantum Report I, 112.
331
    Claimants' Rejoinder, 18.
332
    ST-AD v. Bulgaria (Award on Jurisdiction), 11282, 312.
333
    ST-AD v. Bulgaria (Award on Jurisdiction), 11312 and 431.



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          direct interest on the asset itself. 334 The facts of the two cases are thus substantially different
          from the case before this Tribunal and do not support Spain's objection.

272. Finally, the Respondent claims that Article 17(1) of the ECT on the denial of benefits
     supports its view that only an "Investor" that is the last link in the possessory chain qualifies
     for protection under the ECT.

273. Article 17(1) provides that the benefits of the ECT are to be denied to a legal entity if that
     entity is owned or controlled by nationals of a "third state." Therefore, Article 17(1 ), on
     the one hand, confirms that a claimant entity need not be the ultimate beneficial owner,
     and on the other hand, denies the protection to claimant entities that are owned or controlled
     by an entity from a non-Contracting Party. The provision contains no limitation on claims
     brought by intermediary companies that are owned or controlled by "Investors" of
     Contracting Parties.

274. The Claimants have sought restitution of the legal and regulatory regime under which they
     made their investments. In the alternative, the Claimants seek damages "for the lost fair
     market value of their investments, comprised of lost historical and future cash flows": 335
     first, compensation in the form of Antin's share of the extra cash flows Antin's CSP plants
     would have generated up until 20 June 2014; 336 second, looking forward from 20 June
     2014, compensation on the reduction of the fair market value of Antin's investments in




334
      Postova v. Hellenic Republic (Award), ,i 246.
335
      Claimants' Memorial, ,i 477.
336
      Claimants' Memorial, ,i,i 504, 506 ("This first step uses the full benefit of hindsight. Starting at 20 June 2014,
      Brattle looks back to the commencement of the Disputed Measures in December 2012, and calculates the cash
      flows accruing to the Claimants under both the But For and the Actual scenarios. [ ... ] Applying the above
      assumptions to Brattle's financial model quantifies the difference in the total lost cash flows to the Andasol Plants
      as EUR 25 million. Antin's portion of those lost cash flows is EUR 11 million (based on Antin's percentage
      shareholding in the Andasol Companies."); Brattle Quantum Report I, ,i,i 14-15 ("Step I uses full hindsight and,
      looking back from June 2014, compares But For and Actual cash flows from the inception of the Disputed
      Measures in December 2012, cumulating the differences over time. [ ... ] The analysis relies on historical operating
      and financial data for each of Antin's CSP assets, and then computes the extra cash flow the plants would have
      enjoyed assuming a continuation of the Original Regulatory Regime, including continued electricity production
      with gas. In the absence of the Disputed Measures, Antin's CSP plants would have generated additional cash
      flows of EUR 25 million between December 2012 and June 2014. Antin's share of the extra cash flow would have
      amounted to EUR 11 million.").


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         CSP assets; 337 and third, pre-award and post-award interest on amounts due. 338 While the
         matters of liability and any damages for breach will be dealt with below, with respect to
         the foregoing jurisdictional objections to the application of the ECT, the Tribunal
         concludes that the Claimants have standing under the Treaty to bring claims in respect of
         Spain's measures which, although directed at the Andasol Companies and its assets,
         allegedly caused losses to the Claimants.

275. The Tribunal thus rejects Spain's objections.

         C.      WHETHER THERE IS A LACK OF JURISDICTION TO HEAR ALLEGED VIOLATIONS

                 ARISING FROM THE         TVPEE


                   I.      Respondent's Position


276. Spain submits an objection to the Tribunal's jurisdiction on the Claimants claims in respect
     of the TVPEE. The Claimants argue that the adoption of the TVPEE amounts to a breach
     of Article 10(1) of the ECT. However, Article 21(1) of the ECT establishes that "nothing
     in this Treaty shall create rights or impose obligations with respect to Taxation Measures
     of the Contracting Parties" (the "taxation carve-out") and provides an exhaustive list of
     exceptions to this general principle that does not include Article 10(1) of the ECT.
     Consequently, according to the Respondent, Article 10(1) of the ECT imposes no
     obligations to Contracting Parties regarding taxation measures. 339

277. Spain further argues that, under Article 26 of the ECT, it has only consented to submit
     disputes to arbitration related to alleged breaches of Part III of the Treaty. While Article
     10 is included in of Part III of the Treaty, no obligations arise under Article 10(1) regarding
     taxation measures, and therefore there is no obligation which would have allegedly been

337
      Claimants' Memorial, ,i 507 ("In this second step, Brattle forecasts the 'reasonably expected cash flows of each
      of Antin's CSP assets. There are four main components or sub-steps to Brattle's DCF model. For each component,
      Brattle calculates a value for (a) the But For scenario; (b) the Actual scenario; and (c) the difference between the
      But For and the Actuai scenarios. The last figure represents the impact of the Disputed Measures on Antin's
      investments."); Brattle Quantum Report I, ,i,i 16, 21 ("Step 2 looks forward from June 2014 to estimate the fair
      market value of Antin's investments. We develop a financial model that forecasts the reasonably expected cash
      flows of Antin's CSP assets under the But For and Actual scenarios. The But For scenario assumes the continued
      application of the Original Regulatory Regime under RD 661/2007. The Actual scenario reflects the "mid-stream
      switch" described in the Regulatory Report, introduced by RDL 9/2013, RD 413/2014 and the Ministerial Order
      of June 20, 2014. [ ... ]We conclude that in the Actual world the alleged violations reduced the fair market value
      of Antin's financial interests in CSP assets by a further EUR 155 million as at June 2014, relative to their value
      under the But For scenario and the continued application of the Original Regulatory Regime.").
338
      Claimants' Memorial, ,i 528; Brattle Quantum Report I, ,i 22 ("Step 3 recognises that Antin would not receive
      payment for damages until sometime after June 2014. The analysis accounts for the delay in compensation by
      adding pre-award interest to our June 2014 damages estimates[ ... ].").
339
      Respondent's Counter-Memorial, ,i,i 146-154.


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           breached by Spain through the introduction of any taxation measures, and particularly the
           TVPEE. Consequently, Spain has not granted its consent to arbitration in respect of any
           dispute related to the alleged breach of Article 10( 1) of the ECT arising from the
           introduction of the TVPEE. 340

278. Taxation measures are defined in Article 21(7)(a) of the ECT as including any provisions
     relating to taxes of the domestic law of the Contracting Party. According to Spain, whether
     a provision relates to taxes should be determined in accordance with the national law of
     the corresponding Contracting Party, as may be derived from the wording of Article
     21 (7)(a)(l) of the ECT. Certain terms of international treaties may be defined in accordance
     with national law, as it has been recognized by previous tribunals 341 and doctrine, as well
     as by double taxation agreements concluded by Spain with the Netherlands and
     Luxembourg, which can be used to interpret the ECT in accordance with Article 31(3)(c)
     of the VCLT. 342 Also, it could be argued that a determination on the nature of a taxation
     measure should be adopted in accordance with international law, pursuant to Article 26(6)
     of the ECT. Although Spain believes the first approach to be correct (taking into account
     Spanish domestic law), both lead to the conclusion that the TVPEE is a tax measure, since
     (i) Law 15/2012 is part of the national legislation of Spain and (ii) the provisions of Law
     15/2012 regarding the TVPEE are provisions on taxes. 343 The latter is true both according
     to national law and to intemational law. 344

279. Under domestic law, there is no doubt that the TVPEE is a direct tax over the production
     and incorporation of electrical energy in the SES. 345 This has been ratified by the Spanish
     Constitutional Court and is clearly established in Article 1 ("Nature") of Law 15/2012.346
     The Institute of Accounting and Account Audits has also recognized the taxable nature of
     the TVPEE, explaining that it is an expense fiscally deductible from the Corporations Tax,
     which has been confirmed by the Spanish General Directorate of Taxes. 347 The relevance
     of these statements is undisputable, as stated by the ad hoc committee in Soufraki v. United
     Arab Emirates (Annulment). 348

280. Likewise, according to Spain, there is no doubt that the TVPEE is a tax from the
     perspective of international law. This is a question of the legal operation of the measure,

340
       Respondent's Counter-Memorial, ,r,r 229-233.
34 1
       Citing Saipem v. Bangladesh (Decision on Jurisdiction and Recommendation on Provisional Measures), ,r 82.
342
       Respondent's Counter-Memorial, ,r,r 159-168.
343
       Respondent's Counter-Memorial, ,r,r 169-172.
344
       Respondent's Counter-Memorial, ,r,r 176-177; Respondent's Rejoinder, ,r 178.
345
       Hearing Tr., Day 1, 8:11-9:5.
346
       Respondent's Counter-Memorial, ,r,r 178-179, 187-191.
347
       Respondent's Rejoinder, ,r,r 182-187.
348
       Soufraki v. United Arab Emirates (Annulment), ,r 97.


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         rather than its economic effect. Other tribunals have set out the characteristics of a tax as
         follows: (i) it is established by law, (ii) said law imposes an obligation on a category of
         people, and (iii) this obligation entails payment of money to the State for public
         purposes. 349 These elements are all present in the case of the TVPEE. 350 Additionally, the
         European Commission has ratified the taxable nature of the TVPEE and its conformity
         with EU law. 351

281. Spain further argues that it is not appropriate to carry out any additional examination on
     the TVPEE, as sought by the Claimants. First, the good faith analysis carried out by the
     tribunal in Yukos v. Russia (Award) 352 is not applicable in this case. Such analysis was
     carried out due to extraordinary circumstances not present in the case at hand, namely that
     the alleged taxation measures pursued a purpose entirely unrelated to obtaining revenue
     for the State, such as the destruction of a company or the elimination of a political
     opponent. 353 According to the Respondent, as opposed to the Yukos arbitration, in this case,
     the Parties' dispute concerns a law of general application and not specific actions for tax
     collection and inspection -freezing and liquidation of assets- carried out by the Russian
     tax administration in respect of one specific taxpayer. 354

282. Second, the analysis proposed by the Claimants entails an examination of the economic
     effects of the tax rather than its legal operation, which was discarded by the tribunal in
     EnCana v. Ecuador. 355

283. In any event, even if such an analysis were to be carried out, the TVPEE is a bona fide
     taxation measure. 356 First, it applies to all energy producers, both conventional and
     renewable, without any distinction, and it cannot be argued that it is not a bona fide measure
     because it grants equal treatment to all without including tax benefits for renewable
     producers. 357 In this sense, the Spanish Constitutional Court stated that the Spanish
     Constitution does not grant a right to unequal regulatory treatment and that the generalized
     application of the TVPEE corresponds to a valid' choice made by the legislator, which has
     a wide margin for establishing and configuring the tax. 358 Besides, the fact that TVPEE is

349
      Respondent's Counter-Memorial, 'l['I[ 198-201; Hearing Tr., Day I, 12: 11-13:15.
350
      Respondent's Counter-Memorial, 'l['I[ 202-216.
351
      Respondent's Counter-Memorial, 'l['I[ 217-227; Respondent's Rejoinder, 'l['I[ 189-195; Hearing Tr., Day 1, 9:6-
      11 :20.
352
      Yukos v. Russia (Final Award), 'I[ 1407.
353
      Hearing, Day I, Tr. 15: 1-10. Spain further argues that 83% of the revenue going into the Andasol plants actually
      come from subsidies granted by the Spanish State.
354
      Hearing, Day 1, Tr. 14:14-23.
355
      Respondent's Rejoinder, 'l['I[ 198-203: Hearing, Day 1, Tr. 15:11-18. See EnCana v. Ecuador (Award), 'I[ 142.
356
      Hearing, Day 1, Tr. 14:2 et seq.                                                            .
357
      Hearing, Day 1, Tr. 15:23-16:6.
358
      Respondent' s Rejoinder, 'l['I[ 207-216.



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           established for all electric power generation facilities, regardless of the technology used, is
           linked to the environmental nature of the tax, as laid down in the preamble to
           Law 15/2012. 359

284. Second, the TVPEE does not discriminate against RE producers. 360 Law 15/2012 grants
     the same treatment to all TVPEE taxpayers, whether they are renewable or conventional
     energy producers. 361 Since the TPVEE is one of the costs remunerated to renewable
     producers through the regulated regime applicable to them, the economic effect of the
     TVPEE on said producers is neutralized. 362 The specific remuneration set for renewable
     producers allows them to recover certain costs that, unlike conventional producers, they
     cannot recover in the market, including the TVPEE. 363

285. Third, the objective of the TVPEE is to raise revenue for the Spanish State for public
     purposes. Said revenue is integrated into the General Budgets of the State and an amount
     equivalent to the estimated annual revenue arising from the taxes included in Law 15/2012,
     included the TVPEE, is allocated to financing the costs of the electricity system concerning
     the promotion of renewable energy. 364 Law 15/2012 also created other taxes, for instance,
     on nuclear energy producers. An amount equivalent to that levy is also assigned to finance
     the costs of the RE system. However, the Claimants are not arguing that those taxes on
     nuclear energy producers are not bonafide. 365

                    2.      Claimants' Position

286. The Claimants allege that the taxation carve-out set out in Article 21 of the ECT does not
     apply if the challenged measure is not a bona fide tax. Therefore, the Tribunal must
     determine whether the TVPEE contained in Law 15/2012 is a bona fide tax or whether it
     is a measure implemented under the guise of taxation. This assessment requires a factual
     enquiry. 366

287. According to the Claimants, Spain implemented the TVPEE as part of a series of measures
     designed to strip away and dismantle the incentive regime upon which the Claimants were
     induced to invest. It was a backdoor tariff cut labelled as a tax to scale back even further
     the incentives provided for under RD 661/2007, in breach of Spain's obligations under the

359
       Respondent's Rejoinder, ,i,i 217-219.
360
       Respondent's Rejoinder, ,i,i 221-223.
36 1
       Respondent's Rejoinder, ,i,i 224-227; Hearing, Day 1, Tr. 16: 7-1 3.
362
       Hearing, Day 1, Tr. 17:1-18.
363
       Respondent's Rejoinder, ,i,i 228-234.
364
       Respondent's Rejoinder, ,i,i 235-240 and footnote 92.
365
       Hearing, Day 1, Tr. 19: 16-23.
366
       Claimants' Reply, ,i 614.


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          ECT, and has had an unfair direct economic impact on installations that qualified under the
          RD 661/2007 economic regime. 367

288. The requirement that taxation measures be bona fide follows from the principle of good
     faith, reflected in Article 26 of the VCLT. It follows from this principle that Spain cannot
     avoid liability by framing a measure as a tax and then pointing to the literal wording of the
     carve-out in a manner that amounts to an abuse of rights, calculated to frustrate the object
     and purpose of the Treaty. 368 One of the objects and purpose of the ECT is to ensure that
     qualifying foreign investors are accorded FET. Hence, Spain must not use its tax powers
     to frustrate the rights of the Claimants to FET by stripping away their rights in a way
     calculated to fall within the taxation carve-out of the ECT. 369 It was not the object or
     purpose of Article 21 of the ECT to enable States to frame their conducts under the guise
     of taxation measures in order to achieve an unlawful end with impunity.370 As a
     consequence, the taxation carve-out only applies concerning bona fide taxation measures.

289. Good faith obliges States not to violate the requirement of consistency, linked to the
     principle of estoppel, and therefore, when seeking to avail itself of an exemption in an
     international investment agreement, a State must not act in a way that is manifestly
     inconsistent nor flout the principle of estoppel. Likewise, a State cannot implement a
     measure with a declared purpose that is in fact malafide in nature. As applied to the present
     case, this principle entails that Spain cannot benefit from its own inconsistencies by making
     specific commitments to investors and then implementing a disguised tariff cut to avoid
     honouring those commitments and investor protections under the ECT. 37 1

290. Determining whether a taxation measure is bona fide must be inferred from the conduct of
     the State and determined on the balance of probabilities. Therefore, it is necessary to look
     behind the State's labelling of a measure as a tax, as determined in the Yukos v. Russia
     case. 372 Here, the Claimants argue that they are not making factual comparisons between
     the specific conduct of Russia, as referenced in the Yukos arbitration; rather, the Claimants'
     case is that the Yukos v. Russia tribunal analysis of the taxation carve-out under the ECT
     and its finding that a tax must be bona fide applies generally.373 The Tribunal must
     determine whether the implementation of the TVPEE is "more consistent , with" the

367
       Claimants' Reply, 1616.
368
       Claimants' Reply, 11 619-623.
369
       Claimants' Reply, 1625.
37
  °    Claimants' Reply, 11624-629. Claimants cite Yukos v. Russia (Final Award), 1 1407.
37 1
       Claimants' Reply, 11 630-636. Claimants cite Saluka v. Czech Republic (Partial Award), 1 307; Nova Scotia v.
       Venezuela (Award on Jurisdiction), 1 141; Phoenix v. The Czech Republic (Award), 1 107, citing Hersch
       Lauterpacht, Development of International Law by the International Court, London, 1958, p. 164; Daimler v.
       Argentina (Dissenting Opinion), 1 7; and Daimler v. Argentina (A ward), 1 173 and footnote 317 .
372
       Yukos v. Russia (Final Award), 1514.
373
       Claimants' Rejoinder, 193.


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          conclusion that it forms part of a scheme to deprive the Claimants of the rights they were
          granted under RD 661/2007 and RD 1614/2010, despite the stabilization provisions
          included therein. Moreover, where, as in this case, there is prima fac;ie evidence that the
          TVPEE is arbitrary or wherever Spain's explanation for the measure is inconsistent or.
          contradictory, the Tribunal may draw inferences in favour of the Claimants, and the burden
          of proof switches to the respondent State to provide rational explanation for its conduct. 374

291. In the present case, it is apparent from Spain's conduct that the TVPEE is not a bona fide
     tax, but a measure designed to strip away the rights of the Claimants' installations under
     the RD 661/2007 regulatory regime. 375

292. First, the Government's conduct reveals that the TVPEE was intended as a tariff cut. By
     applying the so-called "tax" to all revenues generated by the plants, the measure would be
     equivalent to a tariff cut or a reduction in the amount of incentives RE installations were
     entitled to, since (i) RE generators operate in a regulated environment where most of the
     revenues were fixed by the Government, and therefore they had no chance but to absorb
     the decrease in those revenues as a result of the levy, since they cannot pass it on to
     consumers as conventional producers can, 376 and (ii) in all cases, the taxable basis would
     be higher for RE installations, requiring them to pay a higher cost per MWh produced
     compared to ordinary installations. Therefore, the TVPEE has a discriminatory effect on
     RE producers when compared to conventional producers. 377

293 . It is not true, as Spain argues, that the economic effect of the TVPEE on renewable
      producers is neutralized because the TVPEE is one of the operating costs taken into account
      in calculating the specific remuneration for such renewable producers under the New
      Regime. The Claimants have suffered extensive losses as a result of both the TVPEE and
      the New Regime, and the fact that the damages caused by the TVPEE alone are now
      subsumed within the greater damage caused by the New Regime does not mean the
      Claimants did not suffer losses as a result of the former. 378

294. These concerns were raised several times by the Claimants to the Government, 379 which
     through several comments acknowledged that the TVPEE was designed as a means to cut
     the incentives it had committed to provide under RD 661/2007 and 1614/2010, since it was



374
      Claimants' Reply, ,i,i 637-643. Claimants cite Feldman v. Mexico (Award), ,i,i 177 and 178; US - Measures
      Affecting Imports of Woven Wool Shirts and Blouses, p. 14; AAPL v. Sri Lanka (Award), ,i 56.
375
      Claimants' Reply, ,i 644.
376
      Claimants' Rejoinder, ,i,i 98-102.
377
      Claimants' Reply, ,i,i 647-649.
378
      Claiinants' Rejoinder, ,i,i 103-104.
379
      Claimants' Reply, ,i,i 650, 652.


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           conscious the same result could be achieved by cutting the applicable tariffs. 380 Moreover,
           the measure was implemented at a time in which Spain was already facing several claims
           under the ECT arising from its retroactive cuts to RD 661/2007 and concerning RDL
           14/2010. 381 Therefore, Spain was on notice that further changes affecting international
           investors were likely to provoke additional ECT claims. In this context, it may be inferred
           that the TVPEE was framed as a tax with the purpose of avoiding liability for breaching
           investors' rights under the ECT and does not constitute a bona fide taxation measure.
           Consequently, Spain cannot avail itself of the taxation exemption at Article 21 of the
           ECT.382

295. Second, the malafide nature of the TVPEE is further evident for two reasons. On the one
     hand, it goes against its proffered aim, i.e., to harmonize the tax system with a more
     efficient and respectful use of energy resources with the environment and stability, as it
     disproportionately impacts RE installations by its design, intending to cut the FIT
     specifically designed to increase investment in the RE sector in Spain. This is evidenced
     by the fact that (i) Spain considered no other alternative for achieving the alleged purpose,
     (ii) Spain did not even consider the potential negative effects of the measure over RE
     installations, (iii) the set tax rate was arbitrary and unsupported, and (iv) the TVPEE was
     intended to be predominantly financed by RE installations, even though these installations
     produce less than half of the electricity generated and sold to the market by the Ordinary
     Regime. This shows that the TVPEE targeted the premiums and incentives that the
     Government had committed to pay to RE installations. This discrimination is in direct
     contradiction to Government commitments that induced foreign investors to invest, a
     situation that the ECT tax carve-out was not intended to permit. 383

296. Spain alleges that the objective of the TVPEE is to raise revenue for the State, included in
     the General Budgets of the State, for public purposes. However, this fact on its own does
     not mean it qualifies as a bona fide measure. 384 The money raised by the TVPEE is directed
     to reduce the costs of RE incentives in the electricity system and increase the income of
     said electricity system rather than to encourage the development of RE, and thus it achieves
     the same result as a tariff cut. 385 The fact that Law 15/2012 also introduced two other taxes
     on nuclear fuel and radioactive waste is irrelevant to this regard. 386


38
     ° Claimants' Reply, 'if'if.653-655.
381
       Claimants' Reply, 'if 656. Claimants cite PV Investors v. Spain (Preliminary Award on Jurisdiction); Charanne v.
       Spain (Final A ward).
382
       Claimants' Reply, 'i['i[ 657-660.
383
       Claimants' Reply, 'i['i[ 662-674.
384
       Claimants' Rejoinder, 'i['i[ I 05-106.
385
       Claimants' Reply, 'i['i[ 675-677; Claimants' Rejoinder, 'i['i[ 107-109.
386
       Claimants' Reply, 'i['i[ 678-680.



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297. Third, the TVPEE is not an isolated measure, but part of a chain of connected legislative
     measures that deprived the Claimants of the rights to which the Andasol Plants were
     entitled under RD 661/2007. These included the deprivation to the Andasol Companies of
     their right to receive a FIT for the electricity produced using natural gas, the elimination of
     the Premium and the change in inflation adjustments established under RD 661/2007, the
     dismantling of the entire RD 661/2007 regime and an 11-month transitory period of
     uncertainty before the establishment of the economic parameters under the New Regime
     in June.2014. 387 All of these measures were adopted despite repeated assurances by Spain
     that the Andasol Plants would be entitled to the benefit of the.RD 661/2007 tariffs for their
     operational lifetime. 388 This factual context must be considered in analysing whether a tax
     measure amounts to a breach of a treaty obligation, as clarified by previous tribunals. 389

298. Finally, it is necessary to clarify that a State's labelling of a measure as a tax under its
      domestic law or in accordance with international law, is not determinative as to whether
                                                                                             °
      Article 21 of the ECT is applicable, as stated by previous tribunals. 39 Compliance with
      domestic law is also irrelevant to this regard, since a State cannot rely on its own law to
      evade international liability. Therefore, the ruling of the Spanish Constitutional Court, on
      which Spain seeks to rely, and that determined that the TVPEE does not discriminate RE
      producers, is irrelevant. So is the annulment decision in Soufraki v. United Arab
    . Emirates. 391 There, the ad hoc committee analysed whether the nationality of the claimant
      was determined on the basis of national, rather than international law, which is a
      completely different context from the one in the case at hand. 392

299. Likewise, the characterisation of a measure as a tax in accordance with international law
     is in no way determinative as to whether the taxation carve-out is applicable.393 The
     European Commission decision relied on by Spain is also irrelevant, since said decision
     did not examine the nature of the TVPEE as a tax nor ratified its conformity with EU law. 394
     Consequently, the Claimants' claim regarding the TVPEE falls within the Tribunal's
     jurisdiction.




387
      Claimants' Reply,,, 681-684.
388
      Claimants' Rejoinder,, 94.
389
      Renta 4 v. Russia (Award), , 181.
390
      Claimants' Reply,,, 687-692. Claimants cite Yukos v. Russia (Final Award),, 1433 ; Renta 4 v. Russia (Award),
      , 179.
391
      Soufraki v. United Arab Emirates (Annulment),, 97.
392
      Claimants' Rejoinder,,, 86-87.
393
      Claimants' Reply,,, 695-696; Claimants' Rejoinder,,, 88-89.
394
      Claimants' Rejoinder,,, 90-91.


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                   3.      Tribunal's Analysis


300. Spain has advanced an objection to the Tribunal's jurisdiction to decide the Claimants'
          claims in respect of the TVPEE. According to the Respondent, given the taxation carve-
          out in Article 21 of the ECT, Article 10(1) of the ECT does not apply to taxation measures.

301. The Claimants allege that Spain breached its obligation to accord FET to their investments
          under Article 10(1) of the ECT, in part, by adopting the TVPEE introduced by
          Law 15/2012. According to the Claimants, the ECT indeed gives rise to obligations
          concerning non-bona fide taxation measures; the taxation carve-out in the Treaty does not
          apply if the challenged measure is not a bona fide tax.

302. Law 15/2012, which applies from 1 January 2013, imposed a 7% levy on the income of all
          electricity produced and fed into the national grid during a calendar year. 395

303. The Claimants consider that this is a back-door tariff cut to the RD 661/2007 economic
          regime because the levy applies on all revenues of the Andasol Plants, which come from
          the FIT, rather than on their profits. Therefore, by taxing all revenues, "the Government
          simply cut the tariff." 39.6 According to the Claimants, the measure is more akin to Spain
          unilaterally imposing a royalty on gross income. The purpose of the TVPEE was to obtain
          additional resources from generators in order to "balance the budget" of the Electricity
          System. 397 The Claimants argue that the Minister of Industry, Energy and Tourism
          expressly acknowledged that Spain could have reached the same result through a direct cut
          to FITs, but chose instead to do so by means of the levy. 398 The Government's conduct
          would thus reveal that the TVPEE was intended as ·a tariff cut, notwithstanding the fact
          that it was labelled and presented as a tax.

304. The Claimants also allege that the TVPEE is not a bona fide taxation measure, and that it
          is part of a chain of connected legislative measures that deprived the Claimants of the rights
          to which the Andasol Plants were entitled under RD 661/2007. 399 The TVPEE achieves
          the opposite of its official aim -"harmoni[ sing] [the] tax system with a more efficient and
          respectful use of energy resources with the environment and sustainability.-" 400 Instead,
          it unfairly targets and has a disproportionally impact on RE installations.401 Contrary to

395
       Exhibit C-0024, Law 15/2012, Articles 6-8.
396
       Claimants' Memorial, ,r 242.
397
       Claimants' Memorial, ,r 24l(c). See Exhibit C-0024, Law 15/2012, Preamble, Part II.
398
       Claimants' Observations on the Eiser Award, ,r 12. See Exhibit C-0106, Patricia Carmona & Javier Mesones,
       Interview with the Minister oflndustry, Energy and Tourism, La Gaceta, 14 October 2012.
399
       See Claimants' Reply, ,r,r 683-686.
400
       Exhibit C-0217, Regulatory Dossier of Law 17/2012, Memoria, 14 September 2012, p.1.
40 1
       The Claimants argue that the 7% Levy was intended to be predominantly financed by RE installations, even
       though these produce less than half of the electricity that is generated and sold to be market by the Ordinary


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          what has been argued by Spain, the effect of the TVPEE is not neutralised: 402 "[t]he fact
          that the damages suffered by the [TVPEE] alone are now subsumed within the greater
          damage caused by the New Regime (as one of the costs that is covered by the Special
          Payment) does not mean that the Claimants did not suffer losses as a result of the
          [TVPEE]."403 According to the Claimants, the measure constitutes a cut to the FIT, which
          was an incentive especially designed to increase investment in the RE sector in Spain and
          which, according to the Claimants, the government had committed not to modify for the
          lifetime of the investments. 404 The funds from the TVPEE pay for the cost of RE incentives.
          The Claimants argue that a measure that does the opposite of what it claims to achieve is
          not only arbitrary, but malafide. 405

305. Central to Spain's jurisdictional objection are Articles 21 and 10 of the ECT. In accordance
          with Article 21(1) of the Treaty:

                     "TAXATION

                     (1) Except as otherwise provided in this Article, nothing in this
                     Treaty shall create rights or impose obligations with respect to
                     Taxation Measures of the Contracting Parties. In the event of any
                     inconsistency between this Article and any other provision of the
                     Treaty, this Article shall prevail to the extent of the inconsistency."

306. Although the term "Taxation Measures" is not comprehensively defined in the Treaty,
     paragraph (7)(a) of Article 21 notes that "Taxation Measures" "include":

                     "(i) any provision relating to taxes of the domestic law of the
                     Contracting Party or of a political subdivision thereof or a local
                     authority therein; and (ii) any provision relating to taxes of any
                     convention for the avoidance of double taxation or of any other




      Regime. Also, Special Regime installations, such as the Andasol Plants, cannot pass on part of the 7% Levy to
      consumers since their revenues are fixed by the Government. Ordinary Regime installations may raise the price
      at which electricity is sold to the market, thereby increasing revenues. See Claimants' Rejoinder, ,r,r 98-100. See
      also Exhibit R-0144, Documentation relating to pilot proceedings 5526-13-TAXU conducted by the European
      Commission regarding the TVPEE, Report submitted by . the Spanish Ministry of Finance, and Public
      Administration, 17 February 2014, p. 32 ("Renewable energy generators cannot pass through the [7% Levy] to
      the market, because they may not determine the price they receive in exchange for the energy produced and
      incorporated into the grid, but a premium which is regulated." [Claimants' translation]).
402
      Respondent's Rejoinder, ,r,r 228-233. Spain argues that the 7% Levy is one of the RE producers' operating costs,
      that are taken into account in calculating their specific remuneration.
403
      Claimants' Rejoinder, ,r 104.
404
      See Claimants' Reply, ,r,r 666, 668.
405
      Claimants' Reply, ,r 668.


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                     international agreement or arrangement by which the Contracting
                     Party is bound." 406

307. Spain argues that, by virtue of Article 26 of the ECT, it has only consented to submit
     disputes to arbitration related to alleged breaches of obligations derived from Part III of
     the Treaty. According to the Respondent, Article 10( 1) of the ECT -although included in
     Part III of the Treaty- does not generate obligations regarding "Taxation Measures" of
     the Contracting Parties, and only paragraphs (2) and (7) of Article 10 would apply to such
     measures. Spain goes on to conclude that no obligation arises froin Article 10(1) in respect
     of taxation measures, particularly through the introduction of the 7% Levy; and that
     therefore, Spain has not given its consent to refer the dispute regarding the 7% Levy to
     arbitration. 407

308. The Claimants maintain that Spain's position that "it is 'not possible' to have breached
     Article 10(1) through the implementation of the [TVPEE] because it has 'not given it[ s]
     consent to submit this controversy to arbitration"' is incorrect and no issue of consent
     arises. 408

309. Whether or not it is characterized as an issue of consent, the Claimants concede that if the
     measure meets the bona fides requirement for which they contend, it will qualify as a
     "Taxation Measure" under Article 21 of the ECT and will fall outside of the scope of
     application of the ECT. As noted by the tribunal in Plama v. Bulgaria, and quoted by Spain
     in its Counter-Memorial:

                     "[ ... ] Article 21 of the ECT specifically excludes from the scope of
                     the ECT' s protections taxation measures of a Contracting State, with
                     certain exceptions [ ... ]." 409 ·

310. In this arbitration, the Claimants allege that Spain has breached the FET treatment
     protection, included in Article 10(1) of the ECT. The Claimants have not submitted claims
     under Articles 10(2) and 10(7), or 13 of the ECT. This is of importance, since Article 21




406
      Exhibit C-0001, Energy Charter Secretariat, "The Energy Charter Treaty and Related Documents: A Legal
      Framework for International Energy Cooperation", September 2004, Article 21 (7)( a).
407
      Respondent's Counter-Memorial, ,r,r 229-233.
408
      Claimants' Reply, ,r 615. See Respondent's Counter-Memorial, ,r 127.
409
      Plama v. Bulgaria (Award), ,r 266. See Legal Authority RL-0018, The Energy Charter Treaty: A Reader's Guide,
      Energy Charter Secretariat, p. 39 ("Article 21 excludes taxation matters, in principle, from the scope of application
      of the agreement.").



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           of the Treaty is a "multi-layered exceptions mechanism" 410 which provides for certain
           claw-backs to the taxation carve-out. 411

 311. The Tribunal must therefore determine whether the TVPEE is a taxation measure which
      falls under the carve-out to the ECT provided for in Article 21 ( 1) of the Treaty.

 312. There is no doubt that the TVPEE is a tax under Spanish Law. Law 15/2012, which
      introduced the TVPEE, is a domestic law adopted by the Congress of Spain.412 Article 1 of
      Law 15/2012 expressly states that "[t ]he tax on the value of the production of electricity is
      a levy of a direct and real nature [ ... ]" which applies throughout Spain. 413 Even, the
      Claimants concede that the TVPEE falls within the "literal" definition of the word "tax." 414
      However, they argue that "Spain's labelling of a measure as a 'tax' cannot deprive
      investors of protection under the ECT" and that "[i]f it were otherwise, then any taxation
      measure by a State -no matter how egregiously abusive in nature- would be exempt
      under the ECT."415 The Tribunal concludes that the fact that the TVPEE is a tax under
      Spanish law (and not merely the labelling of any type of State measure) is confirmed by
      the manner in which the 7% Levy is accrued, declared and paid, and by statements of the
      General Directorate of Taxes and the Institute of Accounting and Account Audits. 416

313. The Claimants also accept that the TVPEE meets the three-prong test advanced by Spain
     regarding the characteristics of a tax under international law: (i) that the tax be laid-down
     by law; (ii) that such law imposes an obligation on a class of people; and (iii) that such
     obligation involves paying money to the State for public purposes. 417 It is the Claimants'
     argument that this is not sufficient for the purposes of this dispute.

314. In this respect, the Claimants contend that the TVPEE, which bears the characteristics of a
     tax at international law, is nevertheless not a bona fide taxation measure. The Tribunal
     considers that if a measure bears the hallmarks of a tax under the applicable domestic law
     and under the general approach taken by international law, it is very likely that the measure

410
       Legal Authority CL-0188, U. E. Ozgiir, Taxation of Foreign Investments under Iritemational Law: Article 21 of
       the Energy Charter Treaty in Context, (Energy Charter Secretariat, 2015), 1 June 2015, p. 52.
411
       Exhibit C-0001, Energy Charter Secretariat, "The Energy Charter Treaty and Related Documents: A Legal
       Framework for International Energy Cooperation", September 2004, Article 21 (2), (3), (4) and (5).
412
       See Exhibit R-0020, Spanish Constitution, Articles 66 and 133.
41 3
       Exhibit C-0024, Law 15/2012 of27 December 2012, Articles 1 and 2 [translation submitted by the Claimants].
       See Exhibit R-0021, Law 58/2003, General Taxation, 17 December 2003, Article 2 (defining the concept, the
       purposes and classification of taxes).
414
       Claimants ' Rejoinder, ,r 83.
4 15
       Claimants' Rejoinder, ,r 89(c).
41 6
       Exhibit R-0031, Response of the General Directorate of Taxes to Consultation V3371-14, 23 December 2014.
       Exhibit R-0028, Consultation No. 1 ofBOICAC 94, June 2013 . See Respondent's Counter-Memorial, ,r,r 181-
       186.
41 7
       Claimants' Rejoinder, ,r 89.


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          will be excluded by operation of ECT Article 21. However, in exceptional circumstances
          a measure that bears such hallmarks could not benefit from the taxation exclusion if a
          claimant is able to demonstrate a lack of good faith on the part of the respondent.

315. While Spain considers that it is not appropriate to carry out the additional examination on
     the TVPEE as alleged by the Claimants, 418 it argues further that even if the Tribunal did
     so, the Tribunal would be bound to find that the TVPEE is a bona fide taxation measure.

316. As accepted by Spain at the Hearing -specifically in the context of this jurisdictional
     objection-, "Article 26(6) of the ECT makes it compulsory upon arbitral tribunals to hear
     cases not just under the ECT but taking into account also the rest of intemational law." 419
     As such, in application of the general principle of good faith, parties are not allowed to
     abuse their rights. The Tribunal recalls the words of Hersch Lauterpacht, quoted in Phoenix
     v. The Czech Republic:

                   "There is no right, howeyer well established, which could not, in
                   some circumstances, be refused recognition on the ground that it has
                   been abused."420

317. It is well established in international law that at an abuse of right claim is subjected to a
     high threshold of proof. The Tribunal must therefore determine if the TVPEE was adopted
     by Spain with the precise aim of abusing its rights under the ECT, by strategically creating
     the TVPEE to curtail the investors' alleged rights under the Treaty, in a manner that
     abusively sought to employ the taxation exclusion. Here, the Tribunal finds that the
     Claimants' evidence is lacking.

318. The Claimants point especially to the explanatory statements to a 2012 draft bill
     introducing the levy, 421 to communications sent by RE generators and investors to the
     Spanish government and to certain statements made by Mr. Jose Manuel Soria, the Spanish
     Minister of Industry, Energy and Commerce, as government conduct revealing that the
     TVPEE is not a bona fide measure.

319. The Tribunal, however, does not find it to be even a close call that, on the totality of the
     evidence before it, the TVPEE forms part of a "scheme" to deprive the Claimants of their
     rights while precluding the Tribunal from examining the measure by way of Article 21 of
     the ECT. Minister Soria's interview to La Gaceta shows that the Spanish government
     considered adopting a series of general measures to the energy sector, and that it opted to

418
       Respondent's Rejoinder, 11 199-200, 203 .
419
       Hearing Tr. Day 1, 11:24-12:2.
420
       Legal Authority CL-0149, Phoenix v. The Czech Republic (Award), 1 107, quoting Hersch Lauterpacht,
       Development oflntemational Law by the International Court, London, 1958, p. 164.
42 1
       Exhibit C-0218, Draft bill on tax measures for sustainable Energy, 28 September 2012.


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          first introduce taxation measures to address the deficit in the Electric System, and then it
          would introduce certain regulatory changes. 422 These statements by Minister Soria are not
          evidence that "Spain was intent on stripping away the rights afforded under the Original
          Regime and implementing a tariff cut," as argued by the Claimants. 423

320. The Tribunal considers that Law 15/2012 and the TVPEE specifically is not merely a
     measure labelled as a taxation measure, but rather plainly it is a tax of general application
     to all companies in the RE and conventional energy sector, in the pursuit of a public
     purpose identified and pursued by the Respondent. As set out by the Secretariat of the ECT:

                      "The issue of taxation has great significance both for the private
                      economic agents in the energy sector and the involved states. While
                      foreign companies have a keen interest that they are not fiscally
                      discriminated, host countries may wish to retain some discretion
                      concerning their tax treatment." 424 [Emphasis added]

321. For the TVPEE, Spain has deemed it appropriate to apply as tax base the amount due by
     the tax payer for the production of electricity and its incorporation into the electricity
     system, measured at power station bus bars. As explained by Spain at the Hearing, the
     TVPEE taxes "the income of the conventional and renewable producers for producing
     energy and feeding it into the system." 425 It is not uncommon for a State to tax income
     received for carrying out an economic activity. And, as is the case with any income tax,
     the greater the income, the greater the levy.

322. The Tribunal finds it appropriate to contrast the facts of the present case with the
     "extraordinary circumstances" found by the tribunal in Yukos v. Russia, where "the State
     apparatus decided to take advantage of [the investors'] vulnerability[ ... ] by launching a
     full assault on Yukos and its beneficial owners in order to bankrupt Yukos and appropriate
     its assets while, at the same time, removing Mr. Khodorkovsky from the political arena." 426
     In contrast to the Yukos tribunal's findings on the facts before it, there is evidence on the
     record of this arbitration showing that Law 15/2012 and the taxation measures it introduced
     were designed with a general public purpose, rather than with the aim of employing a tax
     for the entirely unrelated purpose of destroying the Claimants' investments. 427 The strong


422
      See Exhibit C-0106, P. Carmona. & J. Mesones, Interview with the Minister of Industry, Energy and Tourism,
      La Gaceta, 12 October 2012.
423
      Claimants' Reply,, 654.
424
      Legal Authority RL-0018, The Energy Charter Treaty: A Reader's Guide, Energy Charter Secretariat (Energy
      Charter Secretariat, 2002), p. 38.
425
      Hearing, Day I, Tr. 18:3-6.
426
      Yukos. v. Russia, (Final Award) ,, 1404, 1407.
427
      To quote the claimants' contention expressly accepted by the tribunal in Yukos v. Russia, (Final Award) , 1431:
      "[ ... ] actions that are taken only 'under the guise' of taxation, but in reality aim to achieve an entirely unrelated


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         contrast with the facts before the Yukos tribunal which led it to reject that respondent's
         invocation of ECT Article 21 serves to show that there is simply nothing on the record of
         the present case that provides any evidence of abuse of right.

323. Based on the reasons set forth above, the Tribunal accepts Spain's jurisdictional objection
     regarding the Claimants' claims based on the TVPEE.

          D.     WHETHER THE REQUIREMENTS OF THE COOLING-OFF PERIOD WERE MET



                   I.     Respondent's Position


324. According to the Respondent, the Claimants failed to request an amicable solution from
     Spain or to observe the three-month cooling-off period, as required by Article 26 of the
     ECT, in relation with Law 24/2013, RD 413/2014, Ministerial Order IET/1045/2014 and
     Ministerial Order IET/1882/2014. 428 Therefore, the Tribunal lacks jurisdiction to hear any
     claims regarding these measures. 429

325. Article 26(1) of the ECT requires investors to attempt to settle any dispute amicably for a
     period of three months, starting from the date of request of amicable settlement, before
     submitting such dispute to arbitration. Thus, under the ECT, Contracting States have only
     consented to resort to arbitration once amicable resolution has been requested and after the
     three-months period has elapsed without reaching a resolution to the dispute. Failing to
     meet these circumstances excludes jurisdiction of the Tribunal to hear the dispute. 430
     According to Spain, this issue is a matter of jurisdiction, and not a matter of
     admissibility. 431

326. The Claimants sent letters to the President of the Spanish Government on 26 April 2013
     and 30 July 2013, requesting a friendly solution regarding potential disputes arising out of

      purpose (such as the destruction of a company or the elimination of a political opponent)" are not shielded by
      ECT Article 21.
428
      Respondent's Rejoinder, ,i,i 243, 257. Spain argues that it had not previously mentioned the Tribunal's lack of
      jurisdiction regarding Ministerial Order IET/1882/2014 in Respondent's Counter-Memorial because the
      Claimants had not listed it as a disputed measure in the Claimants' Memorial. Respondent's Rejoinder, ,i 253 ("It
      is in their Reply on Jurisdiction that the Claimants extended the dispute to include Ministerial Order
      IET/1882/2014. Therefore, this is the first procedure step available for the Kingdom of Spain to extend its
      arguments regarding the lack of communication of the dispute and observance of the cooling off period to include
      Ministerial Order IET/1882/2014.").
429
      Respondent's Counter-Memorial, ,i,i 235-236.
430
      Respondent's Counter-Memorial, ,i,i 237-240. Respondent refers to Enron v. Argentina (Decision on Jurisdiction),
      ,i 88; Guaracachi v. Bolivia (Award), ,i,i 388-391; Goetz v. Burundi (Award), as referenced in The Oxford
      Handbook ofInternational Investment Law, Muchlinski, Ortino and Schreuer, Oxford University Press, pp. 845 -
      846.
431
      Respondent's Rejoinder, ,i,i 254-256.


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          Law 15/2012 and RDL 2/2013, and RDL 9/2013, respectively. However, Law 24/2013,
          RD 413/2014 and Ministerial Order IET/1045/2014 Gointly, the "Further Measures") were
          all enacted after the remission of such letters, and no request of amicable settlement was
          ever submitted to the Government regarding these measures. 432 Consequently, Spain has
          not granted its consent to arbitration over disputes related to said measures, and the
          Tribunal lacks jurisdiction to hear any claims related thereto.

327. Spain alleges that the Further Measures "cannot be considered to be part of a single dispute
     between the parties"433 According to Spain, Law 24/2013 is a law of the same hierarchy as
     RDL 9/2013, its purpose is much broader than that of RDL 9/2013, and the Claimants'
     allegation that Law 24/2013 was issued to develop and confirm RDL 9/2013 is incorrect. 434
     RD 413/2014 is a regulation issued by the executive branch, developing Law 24/2013, and
     Ministerial Order IET/1045/2014, also a regulation issued by the executive branch,
     complements RD 413/2014. 435 The Claimants' reading of Article 26 of the ECT makes it
     "useless" because it leaves the subject matter of the arbitration indefinitely open regarding
     any regulation issued after RD 661/2007. 436

328. Spain argues, in the alternative, that such claims are inadmissible. 437 Furthermore, Article
     26 of the ECT requires the communication of the dispute and the observance of the cooling-
     off period regardless ofthe belief of its usefulness. 438

                   2.     Claimants ' Position


329. The Claimants allege that they complied with the three-month negotiating period under
     ECT Article 26(1) before exercising their right to pursue remedies through arbitration by
     serving their Request for Arbitration on 29 October 2013. 439

330. According to the Claimants, Spain's preliminary objection has no merit for three reasons.

331. First, the Claimants have complied with the cooling-off period because all the Disputed
     Measures, including the Further Measures, are part of a single ongoing dispute between
     the Parties regarding Spain's failure to honour its commitments to the Claimants in relation



432
      Respondent's Counter-Memorial, ,i,i 244-257.
433
      Respondent's Rejoinder, ,i 246.
434
      Respondent's Rejoinder, ,i,i 247-248.
435
      Respondent's Rejoinder, ,i,i 249-250.
436
      Respondent's Rejoinder, ,i 25 I .
437
      Respondent's Rejoinder, ,i 258.
438
      Respondent's Rejoinder, ,i 255.
439
      Request for Arbitration, ,i I 16.



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          to RD 661/2007 and RD 1614/2010. This single on-going dispute has already been notified
          to Spain, and the cooling-off period has expired without settlement.

332. Spain adopted a series of measures (Law 15/2012, RDL 2/2013 and RDL 9/2013) between
     December 2012 and July 2013 (the "Initial Measures"). The Claimants put Spain on notice
     of the present dispute by letters dated 26 April 2013 and 30 July 2013 and filed their
     Request for Arbitration on 29 October 2013. 440

333. Although RDL 9/2013 completely withdrew the RD 661/2007 regime, it only established
     a transitory regime and did not set out the specific economic parameters that would be
     applied to the Claimants' investments going forward. 441 The further legislation that set such
     parameters, i.e., Law 24/2013, RD 413/2014, Ministerial Order IET/1045/2014 and
     Ministerial Order IET/1882/2014-the Further Measures- were adopted after the
     Claimants put Spain on notice of the present dispute and after they had filed the Request
     for Arbitration. Both the Initial Measures and the Further Measures constitute a series of
     related measures that rolled back and eventually withdrew the economic incentives of the
     RD 661/2007 regime, and the fact that Spain issued further legislation defining the
     parameters of the New Regime after the dispute was notified does not create a jurisdictional
     (or even admissibility) hurdle that would shield Spain from responsibility for its illegal
     acts. 442

334. According to the Claimants, it cannot be disputed that the Further Measures are
     supplemental to RDL 9/2013. Both RDL 9/2013 and Law 24/2013 required implementing
     legislation and the Further Measures fulfilled those requirements, as recognized by Spain
     itself. 443 In fact, Ministerial Order IET/1045/2014, which completed the New Regime,
     refers explicitly to RDL 9/2013 and the Government's task of establishing a new legal and
     economic framework, clarifying that this new framework would apply retroactively to the
     date of RDL 9/2013. 444 Moreover, the Claimants clearly stated in both letters sent to the
     Government and in their Request for Arbitration that they would include in this arbitration
     any additional measures implemented against the CSP sector concerned with overhauling
     the regime laid down by RD 661/2007 .445 There are further several other references in each
     of the Further Measures that demonstrate how these measures are clearly inter-linked
     between them and related to RDL 9/2013. 446


44
     ° Claimants' Reply, ,r,r 699-700.
441
       Claimants'   Rejoinder, ,r 117.
442
       Claimants'   Reply, ,r,r700-701.
443
       Claimants'   Reply, ,r,r 702-703.
444
       Claimants'   Rejoinder, ,r 113.
445
       Claimants'   Reply, ,r,r 704-706.
446
       Claimants'   Rejoinder, ,r,r 118-124.


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 335. The Claimants further argue that their approach does not result in an open-ended arbitration
      which would leave Spain defenceless against new claims. This dispute concerns
      exclusively measures adopted by Spain as part of its decision to scale back and withdraw
      the RD 661/2007 regime, which were already announced in RDL 9/2013. That the
      Disputed Measures have been implemented over a long period of time is of Spain's own
      doing, and this cannot be a relevant criterion in determining the admissibility of the claims.
      Spain's argument is thus tantamount to saying that it would prefer the Claimants to
      commence a new arbitration for each new measure, which is absurd. 447

336. Numerous previous tribunals have held that where measures introduced by a host State
     after the investor has requested arbitration are within the scope of the dispute outlined in
     the request for arbitration, compliance with cooling-off periods is rendered moot. 448 In
     those cases, further measures adopted by the respondent States after the request of
     arbitration was submitted were considered to be new elements of a same ongoing
     dispute. 449 That is exactly the case at hand.

337. In any event, even if the Tribunal considers that the Claimants should have complied with
     an additional cooling-off period, Spain's objection would still fail, since the negotiations
     would be futile. As stated by tribunals in previous arbitrations, non-compliance with a
     cooling-off period would not justify refusing to hear the dispute, since such periods should
     not be misused to obstruct arbitration proceedings. 450

338. In the case at hand, Spain has provided no indication that it is even willing to engage in
     amicable settlement discussions with the Claimants. On the contrary, since the Claimants
     filed their Request for Arbitration, Spain has continued to adopt further harmful measures
     against the Claimants, causing additional losses to their investments. Hence, the futility of
     any negotiations is self-evident. In any event, even if the Tribunal were to take the filing
     of the Memorial as the relevant date for the first notification of a dispute regarding the
     Further Measures, the cooling-off period has long expired and there is no reason to dismiss
     any claims on that basis. 451

339. In addition, the Claimants maintain that even if the Tribunal does not agree with the
     previous arguments, it should nonetheless accept jurisdiction, since the cooling-off period
     objection goes to the admissibility of claims relating to the Further Measures rather than

447
       Claimants' Rejoinder, 11128-133.
448
       Claimants refer to Ethyl Corporation v. Canada (Award on Jurisdiction); Pope & Talbot v. Canada (Award on
       Jurisdiction); Enron v. Argentina (Decision on Jurisdiction).
449
       Claimants' Reply, 11709-712; Claimants' Rejoinder, 1127.
45
  °    Claimants' Reply, 11713-716, referring to Biwater Gauffv. Tanzania (Award), 1343; Alps Finance v. The Slovak
       Republic (Award), 11201-204, citing Muchlinski, Ortino and Schreuer, The Oxford Handbook of International
       Investment Law (Oxford University Press, 2008), pp. 845-846.
45 1
       Claimants' Reply, 1718.



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         to the Tribunal's jurisdiction or competence to rule on those claims. This is supported by
         (i) the ordinary meaning of Article 25 of the ICSID Convention, (ii) several investment-
         treaty decisions, and (iii) the rationale of cooling-off periods, which is to facilitate
         settlements, not obstruct arbitrations. 452

340. Spain's position that compliance with a cooling-off period is a precondition to consent
     which failure precludes jurisdiction is not the prevailing view. 453 The three authorities
     relied on by Spain to support such position do not advance its case, since they concern
     specific factual situations that cannot be generalized and do not represent the current state
         of investment-treaty jurisprudence. 454 Moreover, Spain's interpretation is not supported by
         Article 26(3) of the ECT, which makes it clear that consent to arbitration is not predicated
         on compliance with the cooling-off period. 455 Therefore, failure to comply with this period
         is not a jurisdictional hurdle.

                    3.      Tribunal 's Analysis


341. Spain's preliminary objection deals with the requirement set out in Article 26 of the ECT
     that an investor and the Contracting Party to the Treaty attempt to reach a settlement of the
     dispute amicably for a period of three months, prior to having the dispute submitted to
     arbitration.

342. According to Article 26 of the ECT:

                      "(I) Disputes between a Contracting Party and an Investor of another
                      Contracting Party relating to an Investment of the latter in the Area
                      of the former, which concern an alleged breach of an obligation of
                      the former under Part III shall, if possible, be settled amicably.

                      (2) If such disputes cannot be settled according to the provisions of
                      paragraph ( 1) within a period of three months from the date on which
                      either party to the dispute requested amicable ~ettlement, the Investor
                      party to the dispute may choose to submit it f6r resolution:

                      (a) to the courts or administrative tribunals of the Contracting Party
                      to the dispute;

                      (b) in accordance with any applicable, previously agreed dispute
                      settlement procedure; or


452
      Claimants'   Reply,~[ 720.
453
      Claimants'   Reply, iJiJ721-723.
454
      Claimants'   Reply, ,i,i 724-725.
455
      Claimants'   Rejoinder, ,i 138.


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                    (c) in accordance with the following paragraphs of this Article.

                    (3) (a) Subject only to subparagraphs (b) and (c), each Contracting
                    Party hereby gives its unconditional consent to the submission of a
                    dispute to international arbitration or conciliation in accordance with
                    the provisions of this Article. [... ]"456

343. The Parties do not dispute that the Claimants sent two communications to Spain, dated 26
     April 2013 and 30 July 2013, requesting negotiations with an aim ofreaching an amicable
     settlement, nor that such letters refer to the Initial Measures.

344. Indeed, in their 26 April 2013 letter, the Claimants stated that their investments "were made
     in accordance with, and in reliance on, [RD 661/2007]." 457 The Claimants alleged that the
     Spanish Government had made numerous changes to the legal regime for CSP plants,
     including, but not limited to RDL 12/2012, Law 15/2012, Law 16/2012 and RDL 2/2013,
     and that "[t]hese and other measures taken by Spain substantially alter the legal framework
     for the investments that Antin has made in the Spanish CSP sector."458 Such actions,
     according to the Claimants, are not in compliance with the ECT. 459

345. In the Claimants' letter dated 30 July 2013, they referred to RDL 9/2013 issued on 14 July
     2013, describing it as a further measure which results in greater uncertainty, and which
     constitutes an additional breach of the ECT, aggravates the dispute, and is expected to
     cause further material harm to the Claimants' investments. 460 Both the April and July 2013
     letters expressly requested that negotiations be carried out with a view to reaching an
     amicable resolution to the dispute.

346. Of note, the Claimants' allegation that Spain has not responded to their request to
     commence negotiations has not been challenged by the Respondent. Indeed, the Claimants'
     30 July 2013 letter informs that as of that date, the Claimants had not received any response




456
      Exhibit C-0001, Energy Charter Secretariat, "The Energy Charter Treaty and Related Documents: A Legal
      Framework for International Energy Cooperation", September 2004, Article 26.
457
      Exhibit C-0010, Letter from Allen & Overy LLP to President of the Spanish Government Mariano Rajoy Brey
      on behalf of the Claimants, 26 April 2013, p. I.
458
      Exhibit C-0010, Letter from Allen & Overy LLP to President of the Spanish Government Mariano Rajoy Brey
      on behalf of the Claimants, 26 April 2013, p. I.
459
      Exhibit C-0010, Letter from Allen & Overy LLP to President of the Spanish Government Mariano Rajoy Brey
      on behalfofthe Claimants, 26 April 2013, pp. 1-2.
460
      Exhibit C-0013, Letter from Allen & Overy LLP to President of the Spanish Government Mariano Rajoy Brey
      on behalfofthe Claimants, 30 July 2013, p. I.



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         to their previous letter. 461 Spain only replied to the 26 April 2013 letter requesting that the
         Claimants submit the letter in Spanish. 462

347. Spain objects to the Tribunal's jurisdiction -or to the admissibility of the claims, in the
     alternative- arguing that the following measures -the Further Measures- were not
     submitted for negotiation by the Claimants:

         (a)    Law 24/2013, adopted on 26 December 2013, and published in the BOE on 27
                December 2013;

         (b)    RD 413/2014, adopted on 6 June 2014, and published in the BOE on 10 June 2014;

         (c)    Ministerial Order IET/1045/2014, adopted on 16 June 2014, and published in the
                BOE on 20 June 2014; and

         (d)    Ministerial Order IET/1882/2014, adopted on 14 October 2014, and published in the
                BOE on 16 October 2014.

348. Spain also argues that requesting the amicable settlement and waiting for the expiry of the
     term of the cooling-off period is a precondition for consent. In the alternative, it requests
     that the Tribunal decide that the claims regarding the Further Measures be declared
     inadmissible.

349. The Claimants respond by stating that: (i) they have complied with the cooling-off period,
     since the Further Measures are part of a series of measures implemented by Spain and
     which form part of one single dispute; (ii) further attempts to settle would be futile, and in
     such circumstances, compliance with the cooling-off period would be unnecessary; and
     (iii) in arty event, the non-compliance with the cooling-off period does not prevent the
     Tribunal from exercising jurisdiction of a dispute, as this is a procedural and not a
     jurisdictional requirement.

350. The Tribunal finds that the Claimants' 26 April 2013 and 30 July 2013 letters calling for
     negotiations describe the dispute between the Parties as one concerning Spain's alleged
     breach of its obligations under the ECT, where after the Claimants made their investments
     in accordance with, and in reliance on, RD 661/2007, Spain made numerous changes to the
     legal regime for CSP plants, substantially altering the legal framework for their
     investments. These measures, according to the Claimants, have caused serious and

461
      Exhibit C-0013, Letter from Allen & Overy LLP to President of the Spanish Government Mariano Rajoy Brey
      on behalf of the Claimants, 30 July 2013, p. I.
462
      Exhibit C-0011 Letter from the Ministry oflndustry, Energy and Tourism to Allen & Overy LLP. See Exhibit
      C-0013, Letter from Allen & Overy LLP to President of the Spanish Government Mariano Rajoy Brey on behalf
      of the Claimants, 30 July 2013.



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          substantial harm to their investments. The Tribunal's reading of the Claimants' description
          of the dispute in their 26 April 2013 and 30 July 2013 letters is in line with the Claimants'
          characterization of the dispute in the arbitration: "Spain's failure to honour its
          commitments under RD 661/2007 and RD 1614/2010 that constitutes a breach of the
          ECT."463

351. The Tribunal is thus tasked with determining whether the dispute, as communicated to
     Spain, and for which the Claimants sought an amicable settlement, could be seen to include
     both the Initial Measures and the Further Measures. The Claimants maintain in this respect
     that the Initial Measures and the Further Measures constitute a series of related measures
     that rolled back and ultimately withdrew the economic incentives upon which the
     investments were made, specifically RD 661/2007.

352. The Claimants state that they invested in Spain in reliance of the regime established in
     RD 661/2007, which was strengthened by RD 1614/2010. The Initial Measures which,
     according to the Claimants, scaled-back and ultimately withdrew such an economic regime
     consist on Law 15/2012 (which would include limitations to the RD 661/2007 regime in
     the form of a tariff deficit), RDL 2/2013 (which would scale back the FITs in the RD
     661/2007 regime even further), and RDL 9/2013 (applying "urgent measures [ .. .] to
     guarantee the financial stability of the electricity system," and which would have
     overhauled completely the RD 661/2007 economic regime for present and future
     installations). 464 Notably, RDL 9/2013 repealed RD 661/2007 in its entirety and directed
     the Government, through the Ministry to adopt a new legal and economic regulation for
     renewable energy production facilities. 465 This new regime for renewables was soon to
     come, and RD 661/2007 continued to apply in a transitory manner until such new
     regulation was approved. The Claimants indeed pointed out in their Request for Arbitration
     that "[t]he New Regime under RDL 9/2013 is to be implemented" and that "[t]hese
     implementing measures are currently the subject oflegislative debate." 466

353. The Tribunal considers that this objection by the Respondent must be rejected.

354. First, the Respondent itself acknowledges the inseparable relationship between the Initial
     Measures and the Further Measures. It is undisputed that Law 24/2013 further developed
     the principles set out in RDL 9/2013. It is true that Law 24/2013 is much broader than
     RDL 9/2013, but Law 24/2013 repealed and replaced sections of RDL 9/2013. In tum,
     RD 413/2014 developed Law 24/2013 467 and Ministerial Order IET/1045/2014 itself

463
      Claimants' Reply, ,r 701.
464
      Claimants' Reply, ,r 700.
465
      Exhibit R-0091, RDL 9/2013, Single Repealing Provision, and First Final Provision, p. 52127.
466
      Request for Arbitration, ,r 93.
467
      Respondent's Rejoinder, ,r 249.



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         complements RD 413/2014. 468 None of these measures could thus be considered as
         separate, much less as unrelated to the others.

355. Second, the dispute submitted by the Claimants for purposes of exhausting the cooling off
     period refer to "Spain's failure to honour its commitments under RD 661/2007 and RD
     1614/2010 that constitutes a breach of the ECT. " 469 The Further Measures introduced
     additional changes to the RD 661/2007 and RD 1614/2010 regime and therefore, are clearly
     related to the dispute submitted by the Claimants.

356. Third, Spain did not respond to the letters filed by the Claimants (except to request that the
     letters be submitted in Spanish, which the Claimants did), and therefore the Respondent
     could not claim that a cooling off period should have been exhausted with each measure,
     when its lack of response suggests that such exhaustion would have been futile.

357. The Tribunal thus finds that the Initial Measures and the Further Measures are part of a
     single, on-going dispute between the Parties, as communicated by the Claimants in their
     26 April 2013 and 30 July 2013 letters. The Request for Arbitration was submitted well
     after the negotiation period provided for in the Treaty had expired. Consequently, the
     Tribunal does not find it necessary to address in its decision the remainder of the arguments
     raised by the Parties, including whether the cooling-off period is a jurisdictional or a
     procedural requirement.

358. In conclusion, the Claimants complied with the requirements set out in Article 26 of the
     ECT in respect of requesting the initiation of negotiations regarding the dispute, and the
     expiry of the three-month cooling-off period prior to commencing the arbitration.

VIII. MERITS OF THE CLAIMS

         A.     CLAIMANTS' POSITION


359. The Claimants allege that they invested approximately EUR 139.5 million in the Spanish
     RE sector, based on the expectation that their CSP plants would generate regular and
     sustainable income that would allow the Claimants to service their debt and obtain a return
     on their investment. However, contrary to these expectations, Spain adopted various
     wrongful measures that have caused substantial losses to the Claimants' investments in




468
      Respondent's Rejoinder,, 250.
469
      Claimants' Reply,, 701.


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          Spain, due to the fundamental alteration of the applicable legal and regulatory :framework
          in reliance upon which said investments were made. 470

360. Consequently, according to the Claimants, Spain's measures violate Article 10(1) of the
     ECT, namely (i) the obligation to accord FET to the Claimants' investments, (ii) the
     obligation not to impair by unreasonable or discriminatory measures the management,
     maintenance, use, enjoyment or disposal of the Claimants' investments, and (iii) the
     obligation to observe obligations it had entered into with the Claimants or their
     investments. 471

                   I.     Spain's violation of the FET standard


361. The FET standard in the ECT is an independent and autonomous standard, which is
     additional to the international minimum standard under customary international law. 472
     When interpreted in accordance with the ordinary meaning of its terms, in their context
     and in light of the object and purpose of the treaty, it may be concluded that the FET
     standard is an absolute standard and, in its analysis, the Tribunal should consider whether
     Spain's conduct was conducive to the provision of a stable, transparent legal :framework
     for foreign investments in the energy sector. Because of the specific long-term nature of
     energy investments, this article imposes a high level of protection. 473 This interpretative
     approach is well established in arbitral practice. 474

362. Regarding the application of the FET standard, the preferred method in arbitral practice
     has been the evaluation of the State's conduct against non-cumulative criteria including
     (i) whether the host State breached the investor's reasonable and legitimate expectations
     when the investment was made; (ii) whether the State failed to provide a stable and
     predictable legal and business :framework in relation to the investment; (iii) whether the
     State's conduct was transparent; (iv) whether the State acted in an arbitrary and
     unreasonable manner; and (v) whether the actions of the State were disproportionate. 475
     Bad faith from the host State is not required in order to find a breach of the FET standard,
     and good faith on the State's part does not excuse such breach. 476


47
     ° Claimants' Memorial,,, 376-378.
471
      Claimants' Memorial,, 379.
472
      Claimants' Memorial,,, 383-384; Claimants cite Liman Caspian Oil v Kazakhstan (Award),, 263.
473
      Claimants' Memorial, ,, 385-388.
474
      Claimants' Memorial,,, 389-391. Claimants cite Tecmedv. Mexico (Award),, 156; MTD v. Chile,, 113; Saluka
      v. Czech Republic (Partial Award), , 286; Azurix v. Argentina (Decision on Jurisdiction), , 360; Siemens v.
      Argentina (Award),, 290; Kardassopoulos v. Georgia (Decision on Jurisdiction),,, 430-433 .
475
      Claimants' Memorial, , 392.
476
      Claimants' Memorial,, 393.


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                     a.     Breach ofAntin's legitimate expectations

              (i)    Antin's legitimate expectations under the ECT

363. Spain breached Antin's legitimate expectations on the application and stability of the
     RD 661 /2007 regime. The protection of such legitimate expectations, and particularly the
     obligation to provide for the stability of the legal and business framework on which an
     investor reasonably relied upon making its investment, is a central feature of the FET
     obligation. 477 This is particularly true in the energy sector where, as in the present case, a
     substantial amount of capital is usually committed at the outset so as to generate a long-
     term retum. 478

364. Hence, Spain cannot alter the regulatory framework applicable to the Claimants'
     investments in ways that would be unfair, umeasonable and inequitable, including by
     undermining Antin's legitimate expectations, based on the legal framework at the time of
     the investment and on any undertakings made implicitly or explicitly by the host State.
     Particularly, Spain cannot dispense with the entire legal framework it has put in place in
     order to attract investments into its renewable sector and is instead required to honour its
     commitments with respect to foreign investors. 479

365. The State's conduct, which may contribute to the creation of a reasonable expectation and
     upon which an investor is entitled to rely, may take the form of the legal framework in
     relation to, or surrounding, the investment. 480 In the case at hand, Antin's expectations were
     twofold. First, at the time it made its investments, Antin expected that the Andasol plants
     would be subject to the FIT regime for their entire operational life, since they complied
     with all applicable registration requirements. 481 Spain's undertakings to this regard were
     sufficiently specific to generate legitimate expectations, since (i) it provided stabilization
     commitments in Article 4 of RD 1614/2010 for CSP plants and (ii) repeatedly confirmed
     (including specific representations addressed to Antin in face-to-face meetings) that its
     intention was for the FIT to apply for the lifetime of the plants without any retroactive
     changes. 482

366. Second, Antin expected that any future changes to RD 661/2007 would only apply to new
     installations, while existing installations would remain unaffected. Spain had expressly

477
     Claimants' Memorial, ,r,r 395-396; 398-400. Claimants cite CMS v. Argentina (Award), ,r 274; Occidental v.
     Ecuador (Final Award), ,r 183; LG&E v. Argentina (Decision on Liability), ,r 131; PSEG v. Turkey (Award), ,r
     250.
478
     Claimants' Memorial, ,r 401. Claimants cite Plama v. Bulgaria (Award), ,r 173.
479
     Claimants' Memorial, ,r,r 395-397. Claimants cite ADC v. Hungary (Award), ,r,r 423-424.
48
   ° Claimants' Memorial, ,r,r 402-403.
481
     Claimants' Memorial, ,r,r 404-405.
482
     Claimants' Reply, ,r 81.



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          made such stability commitment in Article 44(3) of RD 661/2007 and later confirmed this
          interpretation by issuing RD 1578/2008, which introduced reductions of tariffs payable to
          PV installations, but only to those that did not qualify for FITs under RD 661/2007. 483
          Article 4 of RD 1614/2010 further reinforced these stability commitments, and the
          Claimants' expectations were enhanced by specific assurances by Spain's public officials
          that the economic regime would not be changed to the detriment of existing CSP
          installations. 484

367. Legitimate expectations are to be assessed at the time of the investment, rather than based
     on ex-post interpretations. 485 Spain was aware that the stability and predictability of the
     regulatory regime was essential to attract the investments it needed in order to develop its
     RE sector, and the Ministry had made clear that "stability" meant that new legislation
     should not be applied retroactively. 486 Spain did not make any warning to investors that
     they could face future tariff cuts if the Government changed its mind regarding what it
     considered to be "reasonable profitability."487 In this sense, Article 44(3) of RD 661/2007
     clearly provided for the non-modification of the FIT regime for facilities that had already
     obtained their start-up certificate as of the date of any future reforms. 488

368. Moreover, Article 4 of RD 1614/2010 specifically established that no tariff reviews would
     apply to CSP facilities that had obtained definitive registration with the RAIPRE on or
     before 7 May 2009, nor to any facilities that at the time of entry into force ofRDL 6/2009
     met the requirements for registration with the Pre-Assignment Registry and were
     effectively registered in the RAIPRE on or before 31 December 2013. The Andasol Plants
     met such requirements, since they were both registered with the RAIPRE by 22 December
     2009. 489

369. RD 1614/2010 was the direct result of an agreement between the CSP sector and the
     Ministry (the July 2010 Agreement), as expressly confirmed by the Government, and was
     thus seen by many investors, including the Claimants, as strengthening the stability of the
     regime for CSP plants. This was especially important given the important retroactive
     regulatory changes that had been adopted by Spain affecting PV facilities. 490 Moreover,
     RD 1614/2010 offered stronger stabilization commitments than RD 661/2007, as expressly
     recognized by the Ministry by extending such stabilization commitments to the Premium

483
      Claimants' Reply, 1183-84.
484
      Claimants' Memoriai, 11406-409.
485
      Claimants' Reply, 179.
486
      Claimants' Reply, 187, 267.
487
      Claimants' Reply, 188.
488
      Claimants' Reply, 1189-90.
4 9
 8    Claimants' Reply, 1 93.
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49
      Claimants' Memorial, 11 18; 161-163; Claimants' Reply, 1194-97.


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         option. 491 Therefore, the Claimants legitimately expected that the FIT would apply for the
         entire operational life of the Andasol Plants. 492

370. Spain alleges that there was no stabilization clause under Spanish law. However, Spain
     provides no logical alternative interpretation to Article 4 of RD 1614/2010. Spain also
     contends that the Claimants could not have legitimately expected the freezing of the
     regulatory regime. However, the Claimants recognize that Spain had the possibility to
     amend the regulatory regime, but honouring the commitments made to existing
     investors. 493

371. However, the Claimants' expectations were not limited to the applicability of the FIT. The
     Claimants also expected (i) to be allowed to use natural gas in combination with solar
     energy; (ii) that the FIT would be updated annually in accordance with a CPI adjustment;
     and (iii) that the Andasol Plants would enjoy priority of dispatch for the electricity
     produced. 494

372. First, regarding the use of natural gas in combination with solar energy, it is clear that,
     contrary to Spain's allegations, Article 2 of RD 661/2007 allowed the production of
     electricity under the Special Regime through natural gas. EU law context, including the
     definition of "electricity produced from renewable energy sources" under the 2001
     Renewables Directive, does not serve to exclude the existence of legitimate expectations
     on the use of gas as expressly set out in RD 661/2007. 495 Likewise, contrary to Spain's
     allegations, RD 661/2007 does not contain any limitations regarding the circumstances on
     which CSP plants could bum natural gas, 496 and there was no indication at the time that the
     incentive allowing for the use of natural gas while enjoying the FIT would be limited in
     time. Had there been such a limitation, the Claimants would have acquired differently-
     equipped plants. 497

373. Spain alleges that, as a result of their due diligence analysis, the Claimants' knew that the
     right to use natural gas could be withdrawn. However, none of the arguments set forth by
     Spain demonstrate that Spain had any expectation different than that some gas usage,
     around the percentages set out in the regulation applicable at the time, would always be
     permitted for existing plants. 498 Moreover, Spain's position regarding the Claimants'

491
      Claimants' Reply, ,r,r 99-100.
492
      Claimants' Reply, ,r 102.
493
      Claimants' Reply, ,r,r 280-283.
494
      Claimants' Reply, ,r 103.
495
      Claimants' Reply, ,r,r 105-106.
496
      Claimants' Reply, ,r 108.
497
      Claimants' Reply, ,r 110.
498
      Claimants' Reply, ,r,r 111-113.


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          legitimate expectation on the use of natural gas is entirely inconsistent with the
          Government's public statements, which make clear that this was one of the strong
          incentives that the RD 661/2007 regime provided. 499

3 74. Second, Article 44(1) of RD 661/2007 established a mechanism to update the FIT pursuant
      to the CPI (the "CPI Formula"). This mechanism applied to all facilities, regardless of the
      date on which they started operations. 500 Spain suggests that the Claimants should have
      known that there could be a change to the CPI Formula, based upon a Supreme Court
      decision from 2015, which therefore could not have been the basis for the Claimants'
      expectations at the time the investments were made. In any event, Spain's arguments are
      irrelevant since Spain's measures changing the CPI Formula only affected the
      remuneration that the Andasol Plants received before Spain approved RDL 9/2013; under
      the New Regime, remuneration is not subject to update in accordance with any CPI-related
      formula. 501

375. Third, the Andasol Companies enjoyed pnonty of access to the transmission and
     distribution network, pursuant to RDL 7/2006, as well as priority of dispatch, pursuant to
     RD 661/2007. Spain admits that the right to priority of dispatch was part of the original
     regime under which the Claimants made their investments, but it is uncertain whether the
     Andasol Plants would continue to enjoy such priority under the New Regime. 502

376. Antin specifically relied upon the abovementioned guarante'es and representations
     provided for in the legislation, together with the additional assurances made by Spanish
     public officials. In this sense, prior to investing in the Andasol Plants, the Claimants
     rigorously analysed the associated risks by means of a thorough due diligence process. 503
     This process included an analysis of the legal, technical and market issues surrounding the
     investment. 504

377. First, the legal analysis included an assessment carried out by Herbert Smith and the
     meetings held directly by Antin with Government representatives. As concerns Herbert
     Smith, its assessment concluded with a legal memorandum which, although not creating
     the Claimants' expectations regarding the regulatory regime applicable to CSP generation,
     did demonstrate the reasonableness of such expectations. 505 This memorandum did not



499
      Claimants' Reply,   ,r 115.
50
  ° Claimants' Memorial, ,r 139.
501
      Claimants'   Reply, ,r,r I 17-118.
502
      Claimants'   Reply, ,r 119.
503
      Claimants'   Reply, ,r,r 122-127.
504
      Claimants'   Memorial, ,r 189.
505
      Claimants'   Reply, ,r,r 130-133.


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            overlook the importance of the principle of reasonable return, but rather adequately
            understood the unprecedented level of protection offered by Article 4 of RD 1614/2010. 506

378. Regarding the meetings held directly by Antin with Government representatives, Spain
     made direct representations to Antin reinforcing its legitimate expectations during two
     meetings: one with Miguel Vizcaino, head of the legal department at the Ministry on 20
     May 2011, and one with the General Secretary, the Chief Legal Advisor and the Assistant
     Director for Special Regimes of the CNE, on 25 May 2011. 507

379. During the first of such meetings, Mr. Vizcaino confirmed that RD 1614/2010 provided a
     long-term, stable regulatory framework for CSP, specifically mentioning that any future
     changes would not affect existing facilities, such as the Andasol Plants. He also mentioned
     that CSP facilities produced more electricity than the PV sector while using less subsidies,
     which explained the retroactive changes affecting PV installations. 508

380. The discussions held in this meeting are reflected in an email that clearly recorded the
     representations made therein, and there has been no misrepresentation by the Claimants as
     to what they were told there (i.e., that the regulatory regime applicable to CSP plants was
     stable). Further, it is clear that legitimate expectations may arise therefrom, since the
     meeting was formal, the assurances given were definitive and unambiguous and they
     confirmed the representations included in RD 661/2007 and RD 1614/2010. 509 Even if
     Mr. Vizcaino was not authorized under Spanish law to make binding representations, this
     does not allow for the denial of the Claimants' legitimate expectations. 510 The Claimants
     do not allege that Mr. Vizcaino committed to "petrification" of the Spanish legal system,
     but rather that he expressly reassured the Claimants that any changes to the CSP regulatory
     regime would not be retroactive. 511

381. In the second meeting held with Government representatives, the CNE confirmed what
     Mr. Vizcaino had said, i.e. that there was a stable regulatory regime in place for the CSP
     sector. 512 It is undisputed that this meeting took place, and it is absurd to suggest that the
     Claimants cannot derive any legitimate expectations from what was said in that meeting




506
         Claimants'   Reply, ,r,r 134-137.
507
         Claimants'   Memorial, ,r 211 ; Claimants' Reply, ,r 143.
508
         Claimants'   Memorial, ,r 213 .
509
         Claimants'   Memorial, ,r 214; Claimants' Reply, ,r,r 146-153.
51
     °   Claimants'   Reply, ,r,r 159-161.
511
         Claimants'   Reply, ,r 163.
512
         Claimants'   Memorial, ,r 216.


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          because it contradicted the CNE report of7 March 2012, since the investment decision was
          made in June 2011. 513

382. Second, Antin's market analysis was conducted by Poyry. 514 The reports issued by Poyry
     concluded, among others, that (i) the CSP industry was in a far safer position than the PV
     industry; and (ii) the Spanish Tariff Deficit was not the result of the development of the
     RE sector in Spain, since it already existed in 2007, and it could be managed without the
     need to make retroactive changes to the RD 661/2007 economic regime for existing
     facilities. Thus, such reports concluded that CSP was quite a safe market place to invest
     in. 515 They did not, however, suggest (and Claimants do not argue) that Spain could not
     change the regulatory regime applicable to CSP, but rather that it would not change such
     regime for existing facilities. 516

383. And Third, Antin's technical analysis was conducted by Altermia, with the help of the
     University of Seville and the Centro Nacional de Energias Renovables (CENER). Thanks
     to this analysis, Antin gained confidence in the CSP technology and in the Andasol Plants,
     concluding that they would be running efficiently. Antin was particularly interested in (i)
     the thermal storage system that allowed the Andasol Plants to produce dispatchable
     electricity, and (ii) the possibility of supplementing electricity production by using natural
     gas.s11

384. Thus, as a result of its due diligence process, Antin obtained certain guarantees and
     representation in which absence it would not have invested in the Spanish CSP sector.
     Antin's expectations on the continued\application of the RD 661/2007 economic regime
     were perfectly legitimate for several reasons: 518

         (a)       The FIT which Antin relied on had been offered under a royal decree that provided
                   the specific applicable tariffs.

         (b)       The RD 661/2007 regime was part of a wider international and domestic policy that
                   sought to develop RE power-generation infrastructure, under which .Spain had
                   actively encouraged investment in RE projects.




513   Claimants'   Reply, ,r,r 164-167.
514
      Claimants'   Memorial, ,r 193.
515
      Claimants'   Memorial, ,r,r 194-196.
516
      Claimants'   Reply, ,r,r 138-142.
517
      Claimants'   Memorial, ,r,r 190-192.
518
      Claimants'   Memorial, ,r,r 410-412.


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         (c)    Antin conducted a thorough due diligence process that confirmed that its investments
                would be subject to the RD 661/2007 economic regime for the entire operational
                lifetime of the facilities.

         (d)    The FIT was sufficiently attractive to encourage the necessary investments in RE
                projects, which would not have been possible without it.

         (e)    RE power-generation projects raise debt project financing to fund part of their
                investments, and the RD 661/2007 regime encouraged such debts, since lenders
                could rely on the fact that the underlying assets would generate sufficiently high,
                predictable and stable revenue streams.

         (f)    Spain continued to encourage investments in CSP during 2008 and 2009, confirming
                that its expectations on the application and stability of the RD 661/2007 regime were
                consistent with those of Antin.

         (g)    At a time when the PV sector was being hit by tariff cuts, RD 1614/2010 was
                adopted, guaranteeing the CSP sector would not be affected.

         (h)    At the time Antin was finalizing its investments, Spain gave specific oral
                commitments to it that the RD 661/2007 regime would not be altered. 519

385. Additionally, contrary to Spain's allegations, the Claimants' investment in the Andasol
     Plants is by no means speculative: the price paid was not unusually high, the level of returns
     expected by Antin was not out of the ordinary, the lead-time for the investment was
     determined by the provisions of the Antin Fund 1 bylaws and the project did not have an
     unusually high-risk level.

386. Finally, Spain submits that it has made no specific commitments favouring the Claimants,
     and that the regulatory framework could not create a legitimate expectation on the future
     immutability of the regime. However, Spain did make specific undertakings regarding the
     application of the FIT for the lifetime of the plants without any retroactive changes, in both
     RD 661/2007 and RD 1614/2010, and repeatedly confirmed these intentions. Spain
     deliberately offered a favourable, long-term economic regime that enabled capital-
     intensive investments where the upfront capital costs are significant and can only be
     recovered in the long-term, and its withdrawal is inconsistent with the object and purpose
     of the ECT. 520 In this sense, several tribunals have determined that legitimate expectations




519
      Claimants' Memorial, ,r,r 410-412; Claimants' Reply, ,r 121.
 °
52
      Claimants' Reply, ,r,r 284-288.


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          may arise from the legal and regulatory framework, as was the case at hand, even if there
          is no direct and specific undertaking in a contract between the State and the investor. 521

                 (ii)    The principle ofreasonable return does not support Spain's case

3 87. Spain's defence is built upon the concept of "reasonable return", arguing that the Claimants
      ought to have been aware that the Government could change and entirely withdraw the RD
      661/2007 regime as long as a reasonable return was guaranteed. However, the majority of
      Spain's arguments are an ex post and novel interpretation of the key statutory provisions
      and core elements of the Spanish regulatory framework, developed solely for the purposes
      of evading international responsibility. 522

388. Spain's position on this regard is based on a misinterpretation of Article 30(4) of Law
     54/1997 and the regulation that implemented it. This article did not define the concept of
     reasonable return nor did it limit an RE producer's entitlement to a reasonable return, but
     rather served as a basis for the Government to set out the specific remuneration that would
     provide a reasonable return through further regulation, which it did through RD 436/2004
     and RD 661/2007. 523 The RD 661/2007 regime guaranteed a particular FIT, which the New
     Regime did not respect, rather than a reasonable return on a fixed cost target, 524 and the
     Claimants could hardly have relied on anything other than the precise FIT set in the
     applicable regulation in order to understand the concept of "reasonable return." 525

389. In this sense, both RD 661/2007 and RD 1614/2010 set out a fixed remuneration and not a
     percentage return based on a balance between incentives and consumer protection. The
     preamble of RD 661/2007 expressly confirmed that the remuneration offered to qualifying
     installations represented what Spain believed to be a reasonable return and would impose
     an assignment of those costs attributable to the electricity system that was also reasonable,
     therefore confirming there were no potential imbalances under the RD 661/2007 economic
     regime. 526 Even if the 2011-2020 Renewable Energy Plan provided the possibility that the
     Government might make changes to prevent compensation imbalances, and Spain was
     obviously at liberty to change the regime for new facilities, it had expressly promised it
     would not do so for existing ones. 527



521
      Claimants' Memorial, ,r 395; Claimants' Reply, ,r,r 291-292. Claimants cite Teemed v. Mexico (Award); Enron v.
      Argentina (Award), ,r,r 264-266; LG&E v. Argentina (Decision on Liability), ,r,r 130 and 133.
522
      Claimants' Reply, ,r 52.
523
      Claimants' Reply, ,r,r 187-188.
524
      Claimants' Reply, ,r 189.
525
      Claimants' Reply, ,r 53.
526
      Claimants' Reply, ,r,r 251-253.
527
      Claimants' Reply, ,r,r 254-256.


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390. Spain further contends that the principle of reasonable return (i) imposes a balance between
     the costs of the incentives and the return generated; (ii) has a dynamic character; (iii)
     represents a guarantee for the investor; (iv) has a referenced character; and (v) imposes on
     the regulator an obligation of result. However, these allegations do not support Spain's
     case, as follows. 528

391. First, the existence of a balance between costs and returns implies that (i) the Government
     has unfettered discretion to change the FIT whenever it considers that returns are
     unreasonable; (ii) returns can change over time; and (iii) the investor should take the blame
     for the Government not dealing with the Tariff Deficit. All of this is inconsistent with
     Spain's stability commitments and with the nature ofRE projects. 529

392. Second, Spain argues that the dynamic character of the principle of reasonable return
     entails that the Original Regime would be adjusted as investment costs are reduced. The
     Claimants recognize that costs have come down and therefore subsidies may legitimately
     be scaled back, but only for new facilities, since investments already made do not benefit
     from the decrease in costs. This is the approach the Claimants legitimately expected Spain
     to adopt, which makes economic sense and is consistent with the spirit of creating a "level
     playing field" for investments made in the energy sector, as referred to in the ECT. Spain
     argues that the Claimants ought to have known that the Special Regime was flexible, but
     the preamble to Law 24/2013 asserts that such law was introduced precisely because the
     remuneration system set forth in Law 54/1997 lacked the flexibility desired by Spain. 530

393. Third, Spain argues that the principle ofreasonable return operates as a guarantee for the
     investor, reducing the risk faced by him. However, Spain ignores the significant risks
     incurred by investors like Antin, which the Original Regime (not the principle of
     reasonable return) reduced to a minimum. 531

394. Fourth, Spain suggests that, under Law 54/1997, the reasonable return is necessarily
     referenced to the cost of money in the capital market. However, the cost of money is only
     one of the numerous factors to be taken into account in defining the remuneration of
     qualifying facilities. 532

395. And fifth, Spain argues that the principle ofreasonable return must be taken into account
     when putting in place a level of remuneration, therefore imposing an obligation of result.
     However, Spain turns this into an unfettered discretion to introduce retrospective changes

528
         Claimants'   Reply, ,r 194.
529
         Claimants'   Reply, ,r,r 195-196.
53
     °   Claimants'   Reply, ,r,r 197-203.
531
         Claimants'   Reply, ir,r 204-205.
532
         Claimants'   Reply, ,r 206.


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          without regard to the fact that expected returns are determined at the time the investments
          are made. 533

396. Additionally, Supreme Court decisions on the principle of reasonable return relied on by
     Spain to support its position, cannot reasonably have been understood to override the close
     and unambiguous statements made by Spain concerning the real meaning of RD 661/2007
     and RD 1614/2010, since they either do not concern the Original Regime, refer to a
     different sector or were rendered after Claimants' investments were made. 534 In any event,
     whether the Disputed Measures are legal as a matter of Spanish law is irrelevant, since
     domestic law is not a valid d~fence to international law claims. 535

397. Spain relies on three categories of Supreme Court judgements: judgements issued prior to
     the introduction of RD 661/2007,judgements issued on December 2009, andjudgements
     issued on 2012. 536 Firstly, the judgements issued prior to the introduction of RD 661/2007
     do not address the Original Regime at all and could not have been understood to derogate
     from the numerous express assurances given by Spain concerning the continued
     application of the Original Regime. Spain decided to make those stabilization
     commitments notwithstanding such previous judgements, intending to protect investors
     from the governmental regulatory discretion described in those judgements. In any event,
     those judgements did not address the issue of whethet a complete withdrawal of a
     regulatory regime, such as the one resulting from RDL 9/2013, is in conformity with
     Spanish law. 537

398. Secondly, the judgements issued on December 2009 pre-date RD 1614/2010, through
     which the Government introduced express and binding stabilization commitments
     notwithstanding previous Supreme Court decisions regarding the Government's discretion.
     Moreover, at the same time when those judgements were issued, Spain made a statement
     explicitly ensuring that future revisions of the RD 661/2007 tariffs would not affect
     existing installations. 538 Spain's position is based on the premise that the judgements issued
     on December 2009 are relevant because they dealt with detrimental changes introduced by
     RD 661/2007 to the RD 436/2004 regime. However, RD 661/2007 actually improved the
     conditions for CSP technology and most RE technologies, only marginally affecting the
     wind sector, which in any event benefitted from appropriate transitory provisions that
     contrast with the immediate effects of the Disputed Measures. 539 These were the changes

533
      Claimants'   Reply, 1207.
534
      Claimants'   Reply, 11208-209.
535
      Claimants'   Reply, 11212-213.
536
      Claimants'   Reply, 1215.
537
      Claimants'   Reply, 11216-222.
538
      Claimants'   Reply, 11224-228.
539
      Claimants'   Reply, 11223-236.


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         accepted by the Supreme Court, which are fundamentally different from the immediate and
         complete withdrawal of the RD 661/2007 economic regime carried out through RDL
         9/2013. 540

399. Thirdly, the judgements issued in 2012 are completely irrelevant to the CSP sector, since
     none of them dealt with the stabilization commitments of Article 4 of RD 1614/2010.
     Additionally, the outcome of these judgements is irrelevant for assessing the Claimants'
     expectations, since they were rendered after the investments were made. 541

400. Spain fu1ther alleges that the Claimants were aware that a reasonable return was provided
     only regarding funds used for the construction of facilities, and not for funds used for the
     acquisition of existing assets. 542 However, there is no indication in RD 661/2007 or
     RD 1614/2010 that the FIT would be limited in such way, and this distinction between
     investors does not make sense from a regulatory and economic point of view and is
     contrary to the position of the EC on the matter. 543

401. In the alternative, even if all the Claimants could reasonably expect was a "reasonable
     return", such return should not be lower than what Spain promised under the Original
     Regime. As expressly recognized by the CNE, the rate of return Spain considered at the
     time it approved RD 661/2007 was only indicative, and producers could obtain higher
     retums. 544

402. Further, Spain's argument that royal decrees are subject to change while laws are stable is
     irrelevant and false. The key issue is whether the subject-matter of the regulatory changes
     can be applied retroactively to pre-existing situations, when those changes are in breach of
     Spain's international obligations. The replacement of the Original Regime for the New
     Regime could perfectly have been done by royal decree, and there was no need for the
     Government to resort to a royal decree-law, such as RDL 9/2013. 545

                   (iii)   Spain's measures frustrated Antin's reasonable and legitimate expectations

403. Spain's measures frustrated Antin's reasonable and legitimate expectations dismantling the
     existing legal and business framework after its policy goals regarding investment in CSP
     facilities had been met.



54
  ° Claimants' Reply, ,r,r 237-238.
541
      Claimants'   Reply, ,r,r 239-240.
542
      Claimants'   Reply, ,r 242.
543
      Claimants'   Reply, ,r,r 246-249.
544
      Claimants'   Reply, ,r,r 258-259.
545
      Claimants'   Reply, ,r,r260-263.


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404. First, the withdrawal under Law 15/2012 of the FIT for electricity production using natural
     gas frustrated Antin's expectations that the Andasol Companies would be entitled to
     payment under the FIT for all the electricity produced. Moreover, through Ministerial
     Order IET/1882/2014, the Government capped the use of natural gas only for essential
     technical purposes, thus obliging CSP plants that used more natural gas than implied by
     the formula under said Ministerial Order to reimburse the associated financial incentives
     received between January and July 2013. 546

405. Contrary to Spain' s allegations, the fact that the cost of purchasing gas and the investment
     costs incurred in building installations capable of operating using natural gas are taken into
     account in the costs of a standard installation under the New Regime is not equivalent to
     saying that electricity produced using a limited percentage of gas will be subject to the FIT.
     Had the Claimants known that Spain was going to withdraw the economic incentives for
     electricity produced using natural gas, they would likely have not invested in the Andasol
     Plants at the same price. 547

406. Second, the introduction of the TVPEE constitutes a disguised and unjustified cut of the
      FIT, frustrating Antin's expectations on the level of FIT the Andasol Companies would be
      entitled to. 548 Spain argues that the impact of the TVPEE has been neutralized since this
      levy is one of the costs covered by the Special Payment under the New Regime. However,
      even if the TVPEE is subsumed within the overall damage caused by the New Regime, the
     ·Claimants have still suffered damages as a result of this measure. 549

407. Third, the elimination of the Premium through RDL 2/2013 frustrates Antin's expectations
     to choose between selling at a fixed tariff or at the market prices plus Premium. Spain's
     decision to eliminate the Premium was abrupt and unprecedented, which contrasts with the
     transitory adjustments introduced by RD 661/2007 to the Premium applicable to existing
     wind parks under RD 436/2004. 550

408. Fourth, the replacement of the CPI-linked updating mechanism for the FIT by a lower
     index, adopted by RDL 2/2013, frustrates Antin's expectations that the FIT would be
     updated to reflect variations ofCPI. 551 Contrary to Spain's allegations, there is no evidence
     that the Claimants are better-off under the new formula, under which the FIT would now
     be updated in accordance with a CPI at constant tax rates, excluding unprocessed foods
     and energy products, than under the CPI Formula. Moreover, the new formula only applies

546
         Claimants'   Memorial, ,i 414; Claimants' Reply, ,i,i 310-312.
547
         Claimants'   Reply, ,i,i 315-317.
548
         Claimants'   Memorial, ,i 414.
549
         Claimants'   Reply, ,i 307.
55
     °   Claimants'   Memorial, ,i 414; Claimants' Reply, ,i,i 319-323.
551
         Claimants'   Memorial, ,i 414.


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         to remuneration of the Andasol Plants between January and July 2013, not under-the New
         Regime, and therefore it is irrelevant that the adjusted CPI happened to be higher than the
         general CPI for some months in 2014 and 2015. It is also irrelevant whether the new
         formula is in line with price index calculation standards, since Spain's legislative
         commitment was to adjust the FIT in accordance with CPL Depriving the Claimants from
         a remuneration updated in accordance with the CPI Formula makes their investments
         subject to greater instability and unpredictability, since they now have to bear the inflation
         risk.552

409. And fifth, by eliminating the RD 661/2007 economic regime entirely through RDL 9/2013
     and introducing a substantially less favourable regime without FIT, Spain violated the basic
     foundations upon which Antin made its investments, namely stable and predictable
     revenue streams at levels that sufficed for servicing the debt acquired, providing a return
     on their investments and justifying the significant risks they incurred. 553

410. In the New Regime, the concept of reasonable return has also been changed and the
     framework provided under Article 30(4) of Law 54/1997 has been withdrawn. In fact,
     (i) the Special Payment under the New Regime is exceptional in nature, in contrast with
     the FIT under the Original Regime; (ii) Spain has used hindsight to set the Special Payment,
     set by reference to the investment costs of a standard installation, thus comparatively
     penalizing efficient investors; (iii) Article 30(4), as amended by RDL 9/2013, introduced
     a cap on the return of a standard facility based on what the Government considers
     "reasonable" for the regulatory life of the plant, thus taking into account the returns
     obtained by the facility during the time the Original Regime was in place and clawing back
     what investors earned then; (iv) the Special Payment is calculated based on ex post
     determinations of what investment and operation costs should have been; and (v) under
     RDL 9/2013, contrary to the Original Regime, the Government can revise every six years
     the reasonable rate of return that a plant is entitled to receive.554 The New Regime has been
     so controversial that Spain currently faces several domestic and international challenges
     against it, including 27 arbitrations under the ECT. 555

411. In this sense, the tribunal in Micula v. Romania confirmed that the termination of an FIT
     regime may result in a breach of the FET standard, 556 and such is the case at hand. Spain
     eviscerated all the key characteristics of the RD 661/2007 regime after having made



552
      Claimants' Reply, ,r,r 326-330.
553
      Claimants' Memorial, ,r 414; Claimants' Reply, ,r,r 331-333, 340.
554
      Claimants' Reply, ,r 338.
555
      Claimants' Reply, ,r 334.
556
      Micula v. Romania (Award), ,r 687.



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          specific compromises to the Claimants, thereby frustrating their legitimate expectations
          and breaching its obligation to provide FET. 557

412. Furthermore, even on Spain's case, the New Regime does not provide a reasonable return.
     Spain claims that the New Regime offers a mean annual benefit of 7.398% on the
     investment taken. However, there is no indication as to whether this rate of return will
     continue to apply in the future, and the concept of reasonable return is in itself subject to
     change under the New Regime. 558 Moreover, this is a pre-tax return, which is equivalent
     to an after-tax return of only 5.2%, significantly lower than the return to which producers
     were entitled under the Original Regime and only marginally above return on Government
     bonds. 559 Spain considers that efficient investors will achieve higher returns; however, the
     costs considered for such standard calculation are determined by reference to data compiled
     from 2011, thus being significantly lower than those originally faced by the Andasol
     Companies and hence unfavourable for investors such as the Claimants, who invested in
     plants with higher investment and operating costs in return for a higher production
     capacity. 560

413. Finally, contrary to Spain's allegations, retroactivity for the purposes of this arbitration
     means that changes in regulations affect installations already in operation, which is clearly
     the case for the Disputed Measures. This was the position evidenced in Spain's statements
     prior to the adoption of said measures. 561 Further, the Disputed Measures are also
     retroactive insofar as they claw back monies already paid by offsetting those revenues
     against future revenues. 562

                          b.      Spain has failed to provide a stable and predictable regulatory regime

                                                a
414. Spain's obligation to provide stable legal environment is an essential element of PET,
     particularly in the ECT context. However, stability cannot exist in a situation of continuous
     and endless change of the legal regime regulating an investment, and therefore such a
     situation will entail a breach of the PET standard. 563 In the case at hand, Spain, after having
     expressly committed to maintain the full RD 661/2007 regime in place in order to attract
     investors like Antin, wrongfully subje,cted the Claimants to constant and drastic changes




557
      Claimants'   Memorial, 'l!'l! 415-416.
558
      Claimants'   Reply, 'I!'\! 341,348,351.
559
      Claimants'   Reply, 'l!'l! 342-343.
56
  °   Claimants'   Reply, 'l!'l! 344-350.
561
      Claimants'   Reply, 'l!'l! 300-303.
562
      Claimants'   Reply, 'I! 304.
563
      Claimants'   Memorial, 'l!'l! 417-418.


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         in the applicable legal and regulatory framework. As stated by the Commission, 564 such
         changes alter the legitimate expectations of business and discourage investment, which
         cannot be considered conducive to the provision of a stable, transparent legal framework
         for foreign investments, as sought by the ECT. 565 Spain is permitted to change its regime
         under the ECT, but those changes must be predictable and in line with the investors'
         expectations. 566

415. In line with the above, the stabilization guarantees under Article 44(3) of RD 661/2007 and
     Article 4 of RD 1614/2010 have to be assessed in the light of Spain's stability obligations
     under the ECT. 567 Any changes made to the applicable regulation must be consistent with
     such guarantees, as well as with the specific promises and representations made by Spain
     that it would not change the Original Regime to the Claimants' detriment. Even on Spain's
     own case, Spain has not respected the stability and predictability of the legal framework
     by respecting the principle ofreasonable return. Moreover, the ongoing uncertainty means
     that the full scale of the negative impact of Spain's measures on the Claimants' investments
     is not yet apparent. 568

                       c.     Spain's conduct was not transparent

416. The FET standard requires States' conduct towards investors and the applicable legal
     environment to be transparent, i.e. free from ambiguity and uncertainty. 569 In the case at
     hand, Spain dismantled the RD 661/2007 regime in a manner that was not transparent.

417. First, RDL 9/2013 was followed by a transitory regime lasting more than 11 months,
     during which the Government gave no indication regarding the precise remuneration that
     any qualifying facilities, including the Andasol Plants, would be entitled to. This
     constituted a major departure from the stability and predictability provided by the previous
     regime. Although RDL 9/2013 provided that during this transitory period the Original
     Regime would continue to apply, the New Regime takes into account payments received




564
      Exhibit C-0220, European Commission's report to the European Parliament, the Council, the European Economic
      and Social Committee and the Committee of the Regions, Renewable energy progress report, COM (2013) 175
      final, 27 March 2013, p. 9
565
      Claimants' Memorial, ,r,r 419-420; Claimants' Reply, ,r,r 353-354.
566
      Claimants' Reply, ,r 356.
567
      Claimants' Memorial, ,r 421.
568
      Claimants' Memorial, ,r,r 421-422; Claimants' Reply, ,r,r 359-365.
569
      Claimants' Memorial, ,r,r 423-425. Claimants cite Teemed v. Mexico (Award), ,r 154; Electrabel v. Hungary
      (Decision on Jurisdiction, Applicable Law and Liability), ,r 7.79; Plama v. Bulgaria (Award), ,r 178.



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           during this period and deducts them from future amounts due under the New Regime,
           which produces greater uncertainty. 570 This uncertainty was even criticized by the EC. 571

418. Second, neither RD 413/2014 nor Ministerial Order IET/1045/2014 provided any
     transparent analysis explaining the underlying criteria behind the Special Payment or
     whether there will be any future updates. Particularly, the Government, despite being
     requested to do so, refused to disclose the reports prepared by Roland Berger and Boston
     Consulting Group for preparing the standard assumptions applicable to the New Regime,
     making clear that it had relied on its own calculations and analysis. Further, it appears that
     both companies were retained to give recommendations that were compliant with the thesis
     of the Government. 572

419. Third, the fact that the Special Payment is calculated by reference to a standard facility
     which parameters may be discretionally altered by the Government, every three or six
     years, creates further uncertainties. 573

420. Fourth, this is aggravated by the fact that the Government also retains the right to review
     the Special Payment in order to make sure that the prevailing yield on ten-year Spanish
     bonds plus a spread continues to apply, but has not established any methodology for such
     adjustments. 574

421. Finally, the New Regime does not provide any clear indication as to the timeframe during
     which the remuneration for installed capacity ( one of the two elements of the Special
     Regime, together with a remuneration per MWh of electricity produced) will apply. 575

422. Spain contends that a public consultation opened in February 2012 regarding the measures
     that would affect existing facilities, but this was unsatisfactory for investors like Antin
     which, given the size of their investment, should have had the opportunity to provide its
     views directly to the officials in charge of implementing the regulatory changes. 576
     Moreover, as acknowledged by the CNE, due to the urgency with which the consultation
     was made, the effective participation of the different players involved could not be
     guaranteed, and the CNE reports issued in February and March 2012 referred to by Spain



57
     ° Claimants' Reply, ,r,r 370-373.
571
       Claimants' Reply, ,r 374. Claimants cite Exhibit C-0242, European Commission, "Macroeconomic imbalances:
       Country Report - Spain 2015", European Economy Occasional Papers 216, June 2015, p. 63.
572
       Claimants' Reply, ,r,r 376-380.
573
       Claimants' Memorial, ,r 426.
574
       Claimants' Memorial, ,r 426.
575
       Claimants' Memorial, ,r 426.
576
       Claimants' Reply, ,r 367.



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            did not provide any visibility as to the scope of the changes that would be adopted and did
            not satisfy any transparency requirements. 577

                            d.      Spain's measures were unreasonable

423. For a State's conduct to be reasonable it must be related to a rational policy, and the State's
     acts of implementation of that policy must have been appropriately tailored to pursue such
     policy with due regard for the consequences imposed on investors. 578 Spain does not satisfy
     this test. Its justifications for the Disputed Measures were (i) the overcapacity of RE
     infrastructure; (ii) the Tariff Deficit; (iii) ensuring consumer protection; (iv) dealing with
     the economic crisis; and (v) complying with EU State aid rules. However, these are either
     problems resulting from Spain's own regulatory decisions, and the burden of fixing them
     cannot be attributed to foreign investors in violation of their legitimate expectations, or
     issues that do not justify dismantling the Original Regime. 579

424. Regarding the first alleged justification, such overcapacity is the consequence of Spain's
     own failure to locate sole central control over access to the economic benefits of RD
     661/2007. This control was instead granted to the Autonomous Communities which, in a
     context of crisis, were willing to accept all qualifying applications. Spain acknowledged
     this regulatory misjudgement when enacting RDL 6/2009. 580

425. Concerning the second alleged justification, which appears to be the primary purpose of
     the Disputed Measures, addressing the TariffDeficit is not a valid excuse for implementing
     such measures. First, the measures are not reasonably correlated to a rational policy goal.
     The Tariff Deficit existed long before the development of CSP in Spain due to the failure
     by Spain to raise regulated tariffs (network access tolls) to the level necessary to cover the
     costs of the system, despite being obliged to .do so by its own laws, particularly
     Law 54/1997, RDL 6/2009 and Supreme Court decisions. 581

426. Spain's own documents acknowledge that, as of 2011, the tolls had remained unchanged
     and would continue to be at those levels notwithstanding the costs of the regulated
     activities. The CNE warned the Government that the insufficiency offees was endangering
     the economic financial sustainability of the electrical system. 582 When Antin specifically
     inquired with the government and the CNE about the Tariff Deficit, concerned that this



577
         Claimants'   Reply, ,r,r 368, 383.
578
         Claimants'   Memorial, ,r 428. Claimants cite Micula v. Romania (Award), ,r 525.
579
         Claimants'   Memorial, ,r 429; Claimants' Reply, ,r 434.
58
     °   Claimants'   Memorial, ,r,r 430-432.
581
         Claimants'   Memorial, ,r,r 432-434; Claimants' Reply, ,r,r 435-436.
582
         Claimants'   Reply, ,r 401.


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          could entail retroactive changes to the economic regime applicable to CSP plants, it was
          expressly told that the issue was not a problem. 583

427. Moreover, Spain subsequently reduced the charges, one of the elements of the regulated
     system revenues, in breach of Law 24/2013 and contributing to broadening the Tariff
     Deficit. 584 The contribution of CSP to the Tariff Deficit is very limited, and there were
     other available measures that were less harmful for the Claimants' investments, such as
     introducing a tax on CO2 emissions or raising electricity tariffs. 585

428. Second, a unilateral withdrawal by the State of the undertakings and assurances given in
     good faith to the Claimants as an inducement for them to make an investment, including
     an entire repeal of the RD 661/2007 regime, is by definition unreasonable and a breach of
     the ECT.

429. Third, since the root cause for the Tariff Deficit was not the RD 661/2007 regime but
     Spain's failure to set regulated tariffs (network access tolls) at a level necessary for
     covering the costs, the removal of said regime is not a reasonable response to addressing
     the Tariff Deficit. In any event, since the contribution of CSP to the Tariff Deficit is very
     limited, the measures cannot be said to be reasonably correlated to addressing Spain's
     stated policy goal, or to have been enacted with due regard for the consequences imposed
     on foreign investors such as the Claimants. 586

430. Concerning the third alleged justification, Spain contends that it changed the regulatory
     regime applicable to CSP projects to protect consumers' interests by avoiding further rises
     in the cost of electricity and reducing the excessive burden they had to bear as a result of
     the incentives granted by the Original Regime. To this regard, Spain argues that the
     Claimants were receiving excessive or windfall profits. However, the Claimants were not
     enjoying any profits beyond the reasonable rewards provided by the Original Regime. 587
     Moreover, the stated object and purpose of the Disputed Measures was not to protect
     consumers but to address the Tariff Deficit, for which purpose a modest increase in the
     network access tolls would have sufficed. 588

431. Spain's claim is further not credible since it has imposed a high burden on consumers
     through taxation on the consumption of electricity which is used to increase the funds of



583
      Claimants'   Reply, ,r 402.
584
      Claimants'   Reply, ,r 404.
585
      Claimants'   Memorial, ,r,r 432-434; Claimants' Reply, ,r,r 385-399, 406.
586
      Claimants'   Memorial, ,r 435-437; Claimants' Reply, ,r 437.
587
      Claimants'   Reply, ,r,r 411-412.
588
      Claimants'   Reply, ,r 413.


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          the Spanish State. 589 In any event, Spain's desire to protect consumers by preventing a
          remuneration higher than the reasonable is not a valid justification under the ECT or
          international law. Spain intended to maintain artificially-low electricity costs by reneging
          on its commitments to RE investors, for political purposes. 590

432. Concerning the fourth alleged justification, Spain alleges that the disputed measures were
     justified due to the economic crisis scenario, without raising a state of necessity defence.
     However, Spain does not substantiate this claim nor explains precisely how any
     unspecified economic difficulties justify the disputed measures. Spain is unreasonably
     arguing that the Original Regime would only apply in times of economic prosperity, which
     is not indicated anywhere in the legislation and is not what the Claimants relied upon. 591

433 . Finally, concerning the fifth alleged justification, the disputed measures were neither
      adopted as a response to EU law nor required by it. First, EU law did not require Spain to
      withdraw the RD 661/2007 regime, particularly with respect to facilities that were already
      operating under that regime, since it is an established principle of European State aid law
      that beneficiaries of an existing support scheme should be allowed to continue to rely upon
      a stable legal framework. 592 Second, there is no indication whatsoever that the New Regime
      was being put in place for this purpose. 593 And third, Spain's failure to notify the Original
      Regime to the EC, as it did with the New Regime, suggests that it believed such regime to
      be in compliance with EU State aid rules. This is further supported by the fact that the
      European Commission never saw fit to investigate or even criticize the Original Regime
      for State aid, while criticizing Spain for the introduction of the Disputed Measures. 594

                           e.     Spain's measures were disproportionate

434. For a measure to be proportionate there must be a reasonable relationship between the
     burden imposed on the foreign investor and the aim sought by the measure. This te~t is not
     satisfied in the present case. 595

435. First, since the contribution of CSP to the Tariff Deficit is limited, eliminating the
     RD 661/2007 economic regime is not a suitable or proportionate solution to the problem.
     Given the harmful effect of the measures on Antin's investments, Spain's actions are
     entirely disproportionate. 596 Second, a State's measure is not proportionate unless it is

589
       Claimants' Reply, ,r,r 415-418.
59
     ° Claimants' Reply, ,r,r 420-422.
59 1
       Claimants'   Reply, ,r,r 407-410.
592
       Claimants'   Reply, ,r,r 423 -427.
593
       Claimants'   Reply, ,r 428.
594
       Claimants'   Reply, ,r,r 429-432.
595
       Claimants'   Memorial, ,r 438.
596
       Claimants'   Memorial, ,r,r 439-440.


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             necessary to achieve the goals pursued·, as upheld by the tribunal in AWG v. Argentina. 597
             Spain's own organs recognized there were many other alternatives available that were less
             harmful to investors. Therefore, Spain's measures are not proportionate and breach the
             FET standard. 598

436. Spain alleges that the disputed measures are reasonable and proportionate since they
     (i) guarantee a reasonable rate of return, and (ii) guarantee reimbursement for all the
     operational costs and that no losses are incurred. However, the Disputed Measures do not
     guarantee a reasonable rate ofreturn, as explained above and, due to the high risks incurred
     by the Claimants under the expectation that they would obtain reward, it is not enough for
     them to simply recover operational costs. 599

                      2.      Impairment of the Claimants' investments as a result of unreasonable
                              measures


437. Article 10(1) of the ECT prohibits Spain from impairing investments by unreasonable or
     discriminatory measures. As with FET, the standard of reasonableness requires Spain to
     show that its measures were taken in pursuance of a rational policy goal and were carefully
     tailored to achieve that goal. As explained above, the Disputed Measures do not fulfil these
     conditions. Moreover, they have caused damages to the Claimants' investments in the
     amount of EUR 148 million. Therefore, in addition to a violation of the FET standard under
     the ECT, Spain's actions violate the obligation under Article 10(1) of the ECT to refrain
     from impairing Antin's investments through unreasonable measures. 600

                      3.      Violation of the umbrella clause


438. Article 10(1) of the ECT establishes an umbrella clause by providing that "each
     Contracting Party shall observe any obligations it has entered into with an Investor or an
     Investment of an Investor of any other Contracting Party." The obligations encompassed
     under this broad provision may include contractual obligations, unilateral obligations,
     legislation and government acts, and any host State laws or regulations relating to the
     investor's investment, as provided in the decisions of several previous tribunals. 601 Even
     the legal authorities cited by Spain either confirm that umbrella clauses are not limited to

597
         Claimants cite AWG v. Argentina (Decision on Liability), ,i 235 .
598
         Claimants' Memorial, ,i,r 441-444; Claimants' Reply, ,r,r 438-439.
599
         Claimants' Reply, ,r 440.
60
     °   Claimants' Memorial, ,r,r 445-448; Claimants' Reply, ,r 442.
60 1
         Claimants' Memorial, ,r,r 449-456; Claimants' Reply, ,r,r 443-444. Claimants cite LG&E v. Argentina (Decision
         on Liability), ,r,i 165, 169, 175; Enron v. Argentina (Award), ,r,r 274-277; Sempra v. Argentina (Award), ,r,r 312-
         314.


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         contractual obligations or refer to different discussions, such as the distinction between
         contract claims and treaty claims, which is not relevant in the case at hand. 602

439. Spain expressly recognized the application of the FIT to the Andasol Companies for all the
     electricity produced by the Andasol Plants and for the entire operational lifetime of the
     installations pursuant to RD 661/2007 (particularly Article 44(3)) and RD 1614/2010
     (particularly Article 4), and further confirmed its regulatory undertakings in direct
     discussions with Antin. These clear and specific commitments are binding obligations on
     Spain towards the Claimants, which Spain must honour. However, Spain breached said
     obligations by introducing legislation departing from those commitments, and thus
     breached the umbrella clause in Article 10(1) of the ECT. 603

         B.     RESPONDENT'S POSITION



                  1.     Spain has respected the standard o(FET o(Article 10(1) o(the ECT

440. The Claimants' legitimate expectations under the ECT do not include the freezing or
     impossibility to modify the RD 661/2007 regime. There is no stabilization clause in this
     sense in Spanish law, and specifically in Article 44(3) of RD 661/2007. 604 As stated by the
     tribunal in Charanne v. Spain, 605 this provision contains no specific commitment to
     stability, and the registration of the Andasol Plants in the RAIPRE cannot create any
     expectations towards the stability of the Original Regime. 606 Article 4 of RP 1614/2010
     does not confirm the immutability of RD 661/2007, since its literal wording demonstrates
     that it simply extends the provisions of Article 44(3) of RD 661/2007 to plants not covered
     by the latter. 607 Further, RD 1614/2010 itself entailed a reduction of profitability of CSP
     plants in order to ensure the economic sustainability of the SES and the principle of
     reasonable return, and Spain adopted measures resulting in a reduction in the profitability
     of CSP facilities after the entry into force of RD 1614/2010 but before Claimants'
     investments. 608

441. The SES only guarantees the right to obtain a "reasonable rate of return" to certain
     electricity generation plants, and the Claimants themselves admitted from the beginning


602
      Claimants' Reply, ,r,r 445-447, 450-452.
603
      Claimants' Memorial, ,r,r 457-462; Claimants' Reply, ,r,r 449, 453-454.
604
      Respondent's Rejoinder, ,r 786.
605
      Respondent cites Charanne v. Spain (Final A ward), ,r,r 503, 5 I 0, 511.
606
      Respondent's Rejoinder, ,r,r 789-793. Respondent cites Plama v. Bulgaria (Award),   ,r   219; AES Summit v.
      Hungary (Award), ,r 9.3.34.
607
      Respondent's Rejoinder, ,r,r 542-544.
608
      Respondent's Rejoinder, ,r,r 545-549.



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         the possibility that the RD 661/2007 economic regime could be modified. 609 Spanish
         legislation has always maintained a clear support to Special Regime energy production,
         but what must be analysed under the FET standard is whether the "right to a reasonable
                                                                °
         return" principle has been respected, as it in fact has. 61 For this purpose, RD 661/2007 and
         RD 1614/2010 cannot be analysed, as Claimants intend, as an independent regulatory
         framework, but must rather be interpreted in the context of the entire regulatory framework
         of the SES, particularly the principle of economic sustainability, and in the light of
         Supreme Court precedent, which complements such framework. 611

442. Moreover, under Spanish law,          the
                                           principle of hierarchy of rules provides that regulations
     issued in development of a law cannot contradict the provisions of such law. Such is the
     case with the SES: RD 661/2007 and RD 1614/2010 cannot contradict or nullify the
     provisions of Law 54/1997, and therefore the provisions of this law must be taken into
     account when interpreting such two decrees. 612 Particularly, RD 661/2007 and
     RD 1614/2010 cannot be understood to be contrary to (i) the obligation to set out
     reasonable rates of return with reference to the cost of money on the capital market, and
     (ii) the principle of sustainability of the SES, set out in Law 54/1997. 613

                       a.    Object and purpose of the ECT

443. Article 10(1) of the ECT obliges States to grant investors only the minimum standard of
     protection guaranteed by international law. The maximum aspiration a foreign investor can
     thus have under the ECT is to. receive national treatment, in case that treatment is more
     favourable than said minimum standard of protection. This is so because the main objective
     of the ECT is to achieve non-discrimination. 614 However, there is no obligation under the
     ECT for States to grant national treatment to foreign investors regarding programs that
     provide grants or other financial assistance. 615

444. The fact that the ECT limits regulatory risks does not entail that the State's regulatory
     powers regarding macroeconomic control are blocked. 616 Moreover, contrary to the
     Claimants' position, the ECT does not establish that the way to achieve its objectives is
     requiring Contracting Parties to maintain a stable, predictable and transparent legal and
     regulatory framework for investments. It is not true that the latitude of regulatory action


609
      Respondent's Counter-Memorial,,, 642-650.
610
      Respondent's Counter-Memorial,,, 651-653.
611
      Respondent's Rejoinder,,, 261-266, 312.
612
      Respondent's Rejoinder,,, 282-288.
613
      Respondent's Rejoinder,, 292.
614
      Respondent's Rejoinder,,, 742-745.
615
      Respondent's Rejoinder,,, 747-749.
616
      Respondent's Rejoinder,,, 729-730.


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          accorded to the States under the ECT is extremely limited, and the ECT does not prevent
          the adoption by States of macroeconomic control measures, even if this entails loss of
          profits by investors. 617 The ECT sets no more limits on the regulatory power of States than
          the minimum standard of international law, and this standard has not been breached by
          Spain. 618

                         b.     No legitimate expectation of the Claimants has been violated.

445. To establish whether there has been a violation of the FET standard, the expectations the
     Claimants had at the moment of making their investments regarding the treatment of said
     investments must be considered. Such expectations must be reasonable and legitimate in
     light of the existing regulatory framework. In this sense, previous tribunals 619 have stated
     that, at the moment of undertaking an investment, an investor must know and understand
     the applicable existing regulatory framework, including the potential risks. In the case at
     hand, the Claimants had total knowledge of several issues that will be explained below. 620

446. Therefore, in order for legitimate expectations under the ECT to exist regarding the
     immutability of the regulatory framework, (i) specific commitments must have been made
     to an investor that the regulation in force is going to remain immutable; (ii) the investor's
     expectations must be reasonable and justified in relation to any changes in the laws of the
     host country; (iii) a comprehensive analysis of the applicable regulatory framework must
     have been completed; and (iv) the investor must consider the due diligence exercised and
     the circumstances surrounding its investment, and structure the investment so as to adapt
     to potential changes of the legal framework that may be anticipated. 621 For this purpose,
     contrary to the Claimants' allegations, Spanish law may not be ignored, since it is a
     fundamental fact in order to determine the creation and·scope of the rights invoked by the
     Claimants and the expectations that may have arisen after making their investment.
     Supreme Court case-law is highly relevant for this purpose.622

447. In addition to the Spanish regulatory framework, the circumstances surrounding the
     investment should also be considered to determine whether an investor could or should
     have reasonably anticipated that the applicable regulatory framework could change. 623



617
       Respondent's Rejoinder, ,i,i 753-760.
6 18
       Respondent's Rejoinder, ,i,i 761-763.
6 19
       Respondent cites MTD v. Chile (Decision on Annulment), ,i 67; Electrabel v. Hungary (Decision on Jurisdiction,
       Applicable Law and Liability), ,i,i 7.77-7.78.
620
       Respondent's Counter-Memorial, ,i,i 664-669.
62 1
       Respondent's Rejoinder, ,i 772.
622
       Respondent's Rejoinder, ,i,i 774-778. Respondent cites Charanne v. Spain (Final Award), ,i 504.
623
       Respondent's Rejoinder, ,i 783.



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448. As will be explained below, Spain has made no promises or specific commitments
     favouring the Claimants or any investors, and therefore the existing regulatory framework
     could not create a legitimate expectation for the Claimants on the future immutability of
     the remuneration system established under RD 661/2007. 624 This position has been adopted
     by several tribunals which have nuanced and corrected the strict position established by
     the tribunal in Teemed v. Mexico, recognizing the existence of certain circumstances that
     require States to justifiably adopt legislative measures. 625

                 (i)    Reasonable return is the cornerstone of the remuneration system for the
                        production of energy from renewable sources

449. As mentioned above, the applicable regulatory framework is not limited to RD 661/2007
     and RD 1614/2010. To the contrary, these regulations are only a part of the broader
     regulatory framework of the SES, which includes Law 54/1997, all regulations issued
     under this law and Supreme Court jurisprudence regarding thereto. To this regard, it must
     be taken into account that the SES is an interconnected legal, economic and technical
     system for the generation, transmission, distribution and sale of electricity, created to
     ensure that a power supply will be maintained under conditions that are affordable for
     consumers and that supply is sustainable in the long term. 626

450. The principle of economic sustainability of the SES involves the technical, environmental
     and financial viability of the SES. Pursuant to Law 54/1997, RE producers, as part of the
     SES, are also subject to this general principle, and the subsidies granted within the Special
     Regime are a cost of the SES. 627 Hence, these subsidies required detailed planning, which
     is developed through renewable energy plans where a reasonable level of profitability is
     determined based upon a specific scenario of foreseeable electricity demand.

451. RD 661/2007 was issued based upon the economic scenario set-forth in the 2005-2010
     Plan. Therefore, if-as happened in Spain between 2009 and 2013, a major alteration
     occurred regarding such economic scenario, no investor could have held the expectation
     that the subsidies established in RD 661/2007, which constituted costs of the SES, would
     remain petrified. 628 This was expressly recognized by the Supreme Court, which
     jurisprudence plays an essential role as precedent, complementing the Spanish legal system




624
      Respondent's Counter-Memorial, ,r,r 655-660.
625
      Respondent's Counter-Memorial, ,r,r 661-663. Respondent cites MTD v. Chile (Decision on Annulment),   ,r 67.
626
      Respondent's Rejoinder, ,r,r 293-294.
627
      Respondent' s Rejoinder, ,r,r 296-298.
628
      Respondent's Rejoinder, ,r,r 300-305 .


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          and therefore should be taken into account as a fact by the Tribunal in determining the
          existence of any legitimate expectations held by investors. 629

452. Considering the above, pursuant to Law 54/1997 and repeated Supreme Court
     jurisprudence, the only legitimate expectation the Claimants could have, was to obtain a
     reasonable return, since this principle is the cornerstone of the remuneration system for RE
     producers within the general framework of the SES. 630

453. This principle entails that (i) Special Regime producers have the right to obtain
     profitability, that is, recover the amounts invested and the operating costs and obtain an
     industrial profit; (ii) such industrial profit must be reasonable, i.e. not disproportionate or
     irrational; and (iii) reasonableness must be assessed with reference to the cost of monyy on
     the capital market. 631 Rather than establishing a specific figure as reasonable return,
     Law 54/1997 established two limits for Special Regime remuneration: (i) that receiving
     the market price plus a subsidy allowed producers to obtain a reasonable return, and (ii)
     that such subsidies were contingent upon the economic sustainability of the SES. 632

454. Due to its dynamic nature, reasonable return is an end that can be achieved in various ways.
     Therefore, the Special Regime does not guarantee a determined level of profits or revenues,
     nor the invariability of the formulas used to set the premiums. 633 The dynamic nature of
     the principle of reasonable return is imposed by the wording of Article 30(4) of
     Law 54/1997, which establishes the cost of money on the capital market as the benchmark
     for determining the reasonability of a determined profit level, 634 and it has been further
     confirmed by Supreme Court decisions and acknowledged by the tribunal in Charanne v.
     Spain.635

455. This is in line with the expectations of Spanish companies, and particularly Iberdrola
     which, contrary to the Claimants' assertions, understood that the only legitimate
     expectation of investors in the RE sector was to a reasonable return. 636 Such was also the
     case with Protermosolar, an association of the Spanish solar thermal industry, which knew
     and expressly invoked the principle ofreasonable return while RD 661/2007 was still in
     force. 637 Moreover, the reports issued by Poyry further informed the Claimants that the


629
       Respondents' Rejoinder, 'j['j[ 306, 312-317.
630
       Respondent's Counter-Memorial, 'if 357; Respondent's Rejoinder, 'j['j[ 322-323.
631
       Respondent' s Rejoinder, 'if 332.
632
       Respondent' s Counter-Memorial, 'if 367; Respondent' s Rejoinder, 'j['j[ 333-334.
63 3
       Respondent's Counter-Memorial, 'j['j[ 371-373; Respondent's Rejoinder, 'j['j[ 337-340, 348-349.
634
       Respondent's Counter Memorial, 'j['j[ 376-377; Respondent's Rejoinder, 'j['j[ 350-354.
63 5
       Respondent's Rejoinder, 'j['j[ 355-358. Respondent cites Charanne v. Spain (Final Award), 'if 507.
63 6
       Respondent's Rejoinder, 'j['j[ 359-363.
637
       Respondent's Rejoinder, 'j['j[ 366-370.



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          Government could potentially adopt regulatory amendments that could affect them in order
          to tackle the Tariff Deficit, and the Claimants themselves admitted that the reduction of
          Special Regime subsidies was one of the measures the Government could adopt in order
          to tackle the Tariff Deficit. 638

456. As explained above, the 2005-2010 Plan is essential to understanding the setting of the
     reasonable return established in RD 661/2007, as required by Law 54/1997 and further
     confirmed by the fact that RD 661/2007 itself links its content to the 2005-2010 Plan. 639
     The 2005-2010 Plan establishes a profitability target by reference to a standardized facility,
     established for CSP projects at approximately 7%, to which the premiums granted should
     be subject. This rate is set according to the standard costs of a standardized facility and its
     operating and maintenance costs, rather than based upon the individual costs of each
     investor. 640 It is in accordance with this system that the profitability target to which the
     subsidies deriving from RD 661/2007 aimed was set, therefore guaranteeing, contrary to
     the Claimants' allegations, a reasonable return on a fixed cost target rather than a particular
     FIT.641

                 (ii)   The Claimants knew that the legal principle of "reasonable return" admits
                        changes both in the way of setting support subsidies for renewable energies
                        and in the amounts of such subsidies

457. During their due diligence process, Claimants had been warned and were fully aware of
     the possibility of future regulatory changes affecting their investments, including the
     reduction of Special Regime subsidies. 642 The Claimants' Investment Committee itself
     classified the possibility of a regulatory change in Spain as "medium" during its June 2011
     meeting. 643 This assessment, however, was mitigated because of two circumstances: first,
     the belief that the permanence of ACS as a shareholder in the Andasol Companies would
     provide regulatory insurance due to its lobby power and, second, a wrong legal evaluation
     of the Spanish regulatory framework. 644

458. Regarding the first issue, the Claimants could not have any legitimate expectations that
     ACS's lobby power could help maintain an unbalanced situation caused by the generous
     subsidies granted to renewable energy producers in detriment of Spanish consumers, and



638
      Respondent's Rejoinder, ,i,i 377-382.
639
      Respondent's Rejoinder, ,i,i 383-386.
640
      Respondent's Rejoinder, ,i,i 393-395.
641
      Respondent's Rejoinder, ,i,i 397-403.
642
      Respondent's Counter-Memorial, ,i,i 670-673.
643
      Respondent's Counter-Memorial, ,i,i 674-675; Respondent's Rejoinder, ,i 503.
644
      Respondent's Counter-Memorial, ,i 676.


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         of the SES in general. In that sense, despite said lobby power, the Government adopted the
         measures it considered necessary to protect the SES and the Spanish consumers. 645

459. Concerning the second issue, the Claimants' legal evaluation of the Spanish regulatory
     framework came from two sources: the legal report prepared by Herbert Smith and certain
     ambiguous subjective conclusions obtained by representatives of the Claimants during
     infonnal meetings held at the Ministry. No expectations can be derived from these two
     sources. The Claimants allege that Herbert Smith's memorandum states, regarding Article
     4 of RD 1614/2010, that "[t]his is the first time that Spanish legislation on renewable
     energy has established a provision affording this level of protection." However, such
     statement is not justified in the memorandum and does not correspond to the truth, since
     every regulatory norm developing the principle of reasonable return enacted since 2004
     has introduced similar provisions. 646

460. Moreover, this statement does not correspond with the literal wording or with the purpose
     of Article 4 of RD 1614/2010, which simply extended the provisions of Article 44(3) of
     RD 661/2007 to plants not covered by it. 647 This, since RDL 6/2009 provided for a gradual
     initiation of operation of CSP plants until 2013, and a literal interpretation of Article 44(3)
     of RD 661/2007 led to the possibility that plants entering into operation after 1 January
     2011 could be affected by the revision of the applicable regime to take place in 2010.
     Therefore, the purpose of Article 4 of RD 1614/2010 was not to give broader protection to
     plants, but to correct unintended inefficiencies in the application of RDL 6/2009. 648

461. Additionally, the Claimants were aware of the jurisprudence of the Supreme Court
     regarding the scope and content of the principle of reasonable return, which clearly
     evidences the mistake committed by Herbert Smith's report when asserting "the
     untouchability of the regulated tariff and the caps and floors." 649 Supreme Court case-law
     is a key component of the RE regulatory framework and no investor in Spain can expect
     to have any expectations on an interpretation that disagrees with the one previously
     established by the Supreme Court in a consolidated manner. 650

462. The Claimants further rely on "specific guarantees given by Spanish public workers" to
     justify their legitimate expectations on the immutability of the RD 661/2007 regime.
     However, their only source for such expectations is an email with subjective conclusions
     proposed by an attendant to a meeting with a State attorney of the Ministry, from which no

645
      Respondent's Counter-Memorial, 11677-680.
646
      Respondent's Counter-Memorial, 11681-689; Respondent's Rejoinder, 11526-528.
647
      Respondent's Counter-Memorial, 1690.
648
      Respondent's Counter-Memorial, 11691-694.
649
      Respondent's Counter-Memorial, 1695.
650   Respondent's Rejoinder, 11314-317. Respondent cites Charanne v. Spain (Final Award), 11504, 507, and 508.


                                                       125
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           legitimate expectation can be derived. 651 The email's content is so ambiguous that
           extracting a conclusion from it would be nai've. Even if the statements of the public worker
           do correspond to the content of the email, such workers are not formal representatives of
           the Government and their opinions cannot be considered as guarantees made by the State.
           In any event, the public worker allegedly explained that the Government can modify the
           received remuneration as long as such change does not prevent the investor from obtaining
           a reasonable return on the investment. 652

463. A commitment to petrify the legal system in the sense alleged by the Claimants would
     require a review of the legal principle ofreasonable return, which could only be undertaken
     by means of a law. Since a legitimate expectation cannot be generated by individuals
     lacking the capacity to comply with their statements, 653 a State attorney cannot create
     legitimate expectations regarding the Ministry's goals or other regulatory functions
     corresponding to the Ministry, and specifically regarding the petrification of remuneration
     under RD 661/2007. 654 Moreover, statements contradicting the legal system of the State
     receiving the investment cannot be granted any value. Such is the case for statements that
     directly contradict the principle ofreasonable return and the jurisprudence of the Supreme
     Court.65s

                  (iii)   The Claimants knew that the principle ofreasonable return requires the
                          maintenance of a necessary balance between remunerations to be received by
                          producers and the sacrifice they imply to consumers

464. The Claimants were familiar with the functioning and objectives of the SES. Hence, they
     must have been aware that there must be a balance between the return they can expect,
     which must be reasonable, and the cost this entails for consumers, as set forth in the
     preambles of RD 436/2004 and RD 661/2007 and confirmed by the 2005-2010 Plan.
     Therefore, the Claimants should have foreseen that the Government could not shelter
     situations of economic imbalance in the system and would therefore maintain continued
     scrutiny over the applicable economic regime. 656

465. The Claimants were aware that the Government had already adopted measures to eliminate
     the imbalance created by other technologies, such as the PV sector, in order to ensure a
     reasonable return for the facilities. These measures were backed by the Supreme Court.
     Despite these warnings, the Claimants designed and undertook a speculative investment

65 1
       Respondent's Counter-Memorial, ,r,r 696-697. Respondent cites White Industries v. India (Final Award), ,r I 0.3.7.
652
       Respondent's Counter-Memorial, ,r,r 698-701.
653
       Respondent's Counter-Memorial, ,r,r 703-704; Respondent's Rejoinder, ,r,r 764-766. Respondent cites ECE v.
       Czech Republic (Award), ,r 4.771.
654
       Respondent's Counter-Memorial, ,r,r 705-706.
655
       Respondent's Counter-Memorial, ,r,r 707-708. Respondent cites Feldman v. Mexico (Award), ,r 149.
656
       Respondent's Counter-Memorial, ,r,r 709-715; Respondent's Rejoinder, ,r,r 341-34 7.



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         based exclusively on the generosity of the existing subsidies, as revealed by the return
         predictions set out by the Claimants. 657

466. Moreover, the Claimants were fully aware of the imbalance created by the subsidies and
     knew the regulator would act when this situation was discovered, but erroneously assumed
     they would be protected by the lobby power of certain companies in Spain. Therefore, the
     Claimants could not expect their purely speculative investment model to be perpetuated by
     a regulated system based on the principle of reasonable return. 658

467. In response to the existing imbalance in the solar thermal energy sector, Spain first adopted
     measures under the existing subvention model and then established a New Regime that
     solved the problem. The regulatory changes adopted by Spain regarding the Special
     Regime responded to either situations of over-remuneration that needed to be corrected or
     to strong alterations of the economic data that served as the basis for the initial
     determination of the amount of the Premium, in accordance with the 2005-2010 Plan, as
     explained above. 659 However, all measures respected the only legitimate expectation the
     Claimants could have: maintaining a reasonable rate ofretum on their investments. 660

468. On the one hand, two measures were first adopted under the existing subvention model.
     First, through RDL 2/2013, remunerations, fees and premiums from the electrical sector
     that were linked to the CPI were subsequently linked to the CPI at constant taxes without
     considering non-elaborated food or energy products. 661 As acknowledged by the Supreme
     Court, price indexes used in the regulation of the energy sector do not have to remain
     inalterable through time, and the use of consumer price indexes subjacent to constant taxes
     is widely accepted in the global economic doctrine. The methodological change introduced
     by RDL 2/2013 responds, in general, to the usual consumption price indexes calculation
     standards in the global economy, and its purpose is to avoid distortions in the consumption
     price index that are unrelated to the bases of the economy. Moreover, the measure has even
     been beneficial for plants in certain periods in which the adjusted CPI has surpassed the
     CPl.662

469. The adoption of adjusted CPI was further justified by the distortion caused to CPI as a
     consequence of the introduction of important tax increases through RDL 20/2012, 663 and



657
      Respondent's Counter-Memorial, 'l['I[ 716-724; Respondent's Rejoinder, 'l['I[ 499-502.
658
      Respondent's Counter-Memorial, 'l['I[ 725-726.
659
      Respondent's Rejoinder, 'I[ 780.
660
      Respondent's Counter-Memorial, 'l['I[ 729-730.
661
      Respondent's Counter-Memorial, 'l['I[ 731-734.
662
      Respondent's Counter-Memorial, 'l['I[ 735-739.
663
      Respondent's Counter-Memorial, 'l['I[ 744-745.


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          it had been previously proposed by the CNE. 664 Moreover, since only an insignificant part
          of the products included in the CPI are related with the costs of the electric sector, it makes
          no sense for the remaining products to determine tariffs in this sector. 665 The adoption of
          the adjusted CPI instead of the CPI is a predictable measure for any investor in the energy
          sector in Spain, and it is proportional to the goals it intends to achieve. 666

470. Second, by means ofRDL 2/2013, the sum of the premium available in the Premium option
     existing under the RD 661/2007 regime was reduced to a value of EUR 0. The object of
     this measure was to guarantee a reasonable rate of return for facilities and at the same time
     avoid an over remuneration that would revert on the rest of the system, taking into account
     the evolution of the economic scenario under which the Premium option had been
     introduced. The Premium option had already been criticized by the CNE in its report of 7
     March 2012, alleging it should be reduced. 667

4 71. The adoption of this measure did not affect the Claimants' expectations of obtaining a
      reasonable rate of return for their investment, since all of their financial studies were
      developed based on the option of the regulated tariff, rather than on the Premium option. 668
      Moreover, before RDL 2/2012 was enacted, not all renewable technologies had access to
      the Premium option, and RD 1614/2010 had temporarily suspended this option for solar
      thermal technology itself. 669

472. On the other hand, after the adoption in 2012 of the two partial measures described above,
     a new remuneration model had to be adopted to comply with European regulations,
     particularly with the prohibitio~ to grant State aid imposed by the TFEU. 670 Additionally,
     the new model had to be adapted to comply also with the internal Spanish legal system,
     and particularly with the principle of reasonable return. 671

473. In this sense, under the New Regime the receiving of a reasonable return is based, like in
     the previous model, in two remunerative elements: the income resulting from participation
     in the market and, if necessary, an additional subsidy covering the investments and
     operating costs that an efficient and well-managed company cannot recover in the
     market. 672


664
      Respondent's Counter-Memorial,, 747; Respondent's Rejoinder, ,, 441-444.
665
      Respondent's Counter-Memorial,,, 748-751.
666
      Respondent's Counter-Memorial,,, 752-753.
667
      Respondent's Counter-Memorial,,, 755-758.
668
      Respondent's Counter-Memorial,, 759.
669
      Respondent' s Counter-Memorial,, 760.
670
      Respondent's Rejoinder,,, 421-427.
671
      Respondent's Counter-Memorial,,, 761-764.
672
      Respondent's Counter-Memorial,, 765.


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474. This refonn was based on the criterion that had historically motivated the different
     regulatory changes in Spain: costs incurred by investors. However, its novelty is the
     limitation of the costs that will be recoverable through the subsidy, through the concept of
     an "efficient and well-managed company", to prevent consumers from paying the high
     costs borne by an inefficient company. 673 Since 83% of the Claimants' income would come
     from direct contributions from Spanish consumers, it is in accordance with any investor's
     expectations that efficiency and good management are required from him. With such
     purpose, the investment and operation costs of an efficient and well-managed company
     were determined, resulting in the assignment of a reasonable return at a rate of 7,398% on
     the totality of the project per facility type. The remuneration obtained will therefore depend
     on the efficiency of the investor. 674

475. Likewise, the plant's regulatory lifetime is established to avoid the granting of subventions
     for a period that exceeds the plant's useful life. This measure does not prevent the investor
     from recovering its investment and obtaining a return of 7.398% or higher during said
     regulatory lifetime. 675

476. In conclusion, the New Regime has not affected any expectations, since the provision of a
     reasonable return based on investment costs continues to be a fundamental element. The
     fact that the costs and investments on which the New Regime is based are those of an
     efficient and well-managed company cannot be deemed-to harm any expectation. 676

                (iv)    The Claimants knew that the "reasonable return" extends exclusively to the
                        investment undertaken in the plants

4 77. The Claimants knew that a reasonable return was granted exclusively to funds used in the
      construction of plants, while funds used for the acquisition of existing assets in the form of
      premiums have never been covered by said principle. 677 Such exclusions arise both from
      the regulatory framework and from the funding agreement concluded between Andasol-2
      Central Termosolar Dos, S.A. and certain credit entities from the year 2006. Therefore, the
      Claimants were aware that the "reasonable return" guaranteed did not extend to the
      premiums paid by them to the companies selling the plants, nor to the capital gains that
      Antin intended to obtain through the operation. 678




673
      Respondent's Counter-Memorial, ml 766-769.
674
      Respondent's Counter-Memorial, ,i,i 771-773 .
675
      Respondent's c dunter-Memorial, ml 774-776.
676
      Respondent's Counter-Memorial, ,i 777.
677
      Respondent's Counter-Memorial, ,i 778; Respondent's Rejoinder, ,i 408.
678
      Respondent's Counter-Memorial, ,i,i 779-782.



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 478. The decision to build the Andasol Plants was adopted before the entrance into force of RD
      661/2007 and their funding was obtained under the validity of RD 436/2004, which
      allowed for the recovery of the sums invested in the development of the project and of the
      operation costs of the plants, while also allowing the investor to obtain a reasonable return.
      However, RD 436/2004 did not allow for the recovery of premiums paid for the acquisition
      of already existing plants. The Claimants were aware of this, and they nevertheless require
      in this arbitration the reimbursement of 100% of the funding contribution paid to ACS and
      its subsidiaries for the acquisition of the assets. 679

                  (v)    The Claimants knew that there could be changes in the application of the
                         subsidized regime to energy production with gas

479. At the time of undertaking their investment, the Claimants knew that there could be
     changes in the application of the subsidized regime to energy produced with gas in solar
     thermal plants, as evidenced by several documents. 680 This assessment stems from a correct
     understanding of the legal regime applicable at the time. In fact, the use of gas in the
     production of renewable energy under the Special Regime, a possibility that was
     introduced by RD 436/2004, has always been limited to those cases meeting two
     circumstances: that it is necessary to compensate the lack of solar radiation and that the
     lack of gas usage might affect the foreseen energy delivery. Such limitations exist under
     the RD 661/2007 regime.681

480. This regulation was introduced at a time when the implementation of solar thermal
     technology facilities was beginning, and their promotion and development advised
     promoting the use of this technology in optimum conditions. 682 However, in 2012, in light
     of the need of a comprehensive reform to the energy sector, the CNE pointed out the
     problem of incentivizing the production of energy from fossil fuels under the protection of
     renewable energies, when the ultimate purpose was promoting energy supply security,
     reducing dependence from fossil fuels and guaranteeing the protection of the
     environment. 683 This purpose was enshrined in the preamble of Law 15/2012 and is
     consistent with EU guidelines on the issue, under which only the electricity produced from
     RE sources shall be taken into account for calculating the RE implementation targets
     created by EU law. The Claimants could not have any expectations to the contrary. 684




679
      Respondent's Counter-Memorial, '\I'll 783-789.
680
      Respondent's Counter-Memorial, ,r,r 790-793; Respondent's Rejoinder, '\I'll 617-620.
681
      Respondent's Counter-Memorial, '\I'll 794-799; Respondent's Rejoinder, '\I'll 613-614.
682
      Respondent' s Counter-Memorial, 'I[ 800.
683
      Respondent' s Counter-Memorial, '\I'll 802-803.
684
      Respondent's Counter-Memorial, '\I'll 804-806; Respondent's Rejoinder, '\I'll 267, 621-623.


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481. Law 24/2013 also followed this path. However, the lack of any premium remuneration of
     renewable energies produced with the use of gas does not mean that the use of this fuel in
     the process of energy generation does not receive any economic compensation. 685 Such use
     of gas has been considered in the estimation of costs of each facility type under the New
     Regime, as developed in Ministerial Order IET/1045/2014. Likewise, the larger investment
     costs incurred by an investor to allow the use of gas in a facility have been considered in
     establishing the investment cost of the corresponding facility type. 686

                        c.     Spain has complied with the commitment to establish a stable and
                               predictable regulatory regime

482. The Claimants confuse the stability of the economic regime with the unaltered maintenance
     of the specific tariffs set forth under the RD 661/2007 regime. However, the guarantee of
     stable conditions under the PET standard does not entail a right to the freezing of States'
     legislation nor is it equivalent to a stability clause, and regulatory amendments that are
     reasonable in light of the circumstances or respect the investment's economic balance,
     guaranteeing a reasonable rate of return, do not result in a violation of this standard.
     Previous tribunals have supported this position. 687

483. Contrary to the Claimants' allegations, the relevant regulatory framework cannot be
     limited to two specific regulations, and the assessment of the adopted measures must be
     made in accordance with the entire regulatory framework. This includes Law 54/1997,
     which stated the principle of reasonable return, and case law interpreting this principle. 688
     Therefore, any analysis regarding this issue must consider that, throughout Spanish
     regulatory history, the cornerstone of the system has been the principle of reasonable return
     on investments, which must be respected by the specific remuneration regimes established.
     Since all changes in the Spanish legal system have sought precisely to underpin and apply
     this same principle, no instability can be alleged. Consequently, the subvention regime to
     renewable energies has always kept its essence: guaranteeing the investor a reasonable
     return on investment costs. 689

484. Moreover, no retroactive measures have been adopted. For a regulation to be retroactive it
     must affect acquired rights, and the Claimants never had an acquired right regarding a
     future fixed and unchanging FIT that was not subject to potential macroeconomic control


685
      Respondent's Counter-Memorial,'\['\[ 807-809.
686
      Respondent's Counter-Memorial,'\['\[ 810-814.
687
      Respondent's Counter-Memorial, '\['\[ 813-820; Respondent's Rejoinder, '\['\[ 809-810. Respondent cites AES
      Summit v. Hungary (Award), 'If 9.3.29; Mamidoil v. Albania (Award),'\['\[ 617-618; EDF v. Romania (Award), 'If
      217; Toto Costruzioni v. Lebanon (Award),'\['\[ 159-160.
688
      Respondent's Rejoinder, 'If 815.
689
      Respondent's Counter-Memorial,'\['\[ 821-826; Respondent's Rejoinder,'\['\[ 816-819.



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          measures or reforms of the SES. 690 Rather than retroactively affecting rights already
          acquired, RDL 9/2013 applies only to future events, and hence it cannot be considered a
          retroactive measure. 691 Both intemational 692 and Spanish precedent confirm this view. 693

                        d      The conduct ofSpain has been transparent

485. The Claimants allege that Spain has not acted in a transparent manner since (i) it dismantled
     the RD 661/2007 regime in a manner that was not transparent, and (ii) it has not offered
     any guidelines on many key aspects of the New Regime and has denied access to the reports
     issued by Roland Berger and Boston Consulting Group regarding remuneration
     parameters. This is false. The need for a reform to the Spanish electrical sector was
     announced and publicly explained several years before its implementation, as have been
     the announcements of a new law for such purpose and the general features of said reform,
     basically intended to correct and eliminate the Tariff Deficit and its causes. 694

486. The development oflegal regulations has also been transparent. Even if the enactment of
     RD 413/2014 and. Ministerial Order IET/1045/2014 has extended in time due to
     requirements set forth in Spanish law, this process has been transparent and open to
     opinions from all interested parties. 695 Drafts were circulated before their enactment, and
     the Claimants were already familiar with them four months after the publication of RDL
     9/2013. 696

487. Regarding the reports issued by Boston Consulting Group and Roland Berger, the first one
     was never received given that the corresponding contract was terminated by Spain due to
     performance failures, and the second one was received by the Government after the
     enactment of both RD 413/2014 and Ministerial Order IET/1045/2014. Thus, it was not
     requested before the development of the parameters included in Ministerial Order
     IET/1045/2014. 697

488. The Claimants claim that the New Regime is unstable due to the existence of different
     regulatory periods. However, since these periods are perfectly delimited, they constitute an
     element of security for the investor, especially given that Law 24/2013 establishes that
     neither the investment value nor the regulatory useful life of a plant can be modified. Such

690
      Respondent' s Rejoinder, ,r 822.
691
      Respondent's Rejoinder, ,r,r 825-828 .
692
      Respondent cites Nations Energy v. Panama (Award), ,r,r 642, 644, 646; Charanne v. Spain (Final Award),   ,r,r
      546 and 548.
693
      Respondent's Rejoinder, ,r,r 831-835 .
694
      Respondent's Counter-Memorial, ,r,r 827-830; Respondent' s Rejoinder, ,r,r 839-841.
695
      Respondent's Counter-Memorial, ,r,r 831-832.
696
      Respondent's Rejoinder, ,r,r 837-838.
697
      Respondent's Counter-Memorial, ,r,r 834-835.


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          periods include updating parameters to maintain a reasonable return for investors and they
          do not necessarily entail a decrease in the parameters currently set. Contrary to the
          Claimants' allegations, both Law 24/2013 and RD 413/2014 include specific and concrete
          measures determining the methodology used for determining the applicable parameters. 698
          The remuneration period system guarantees the attainment of a reasonable return for
          investors, and the standards included therein enable determining when such reasonable
          return has been obtained. 699

489. Finally, the Claimants argue that there has been uncertainty regarding the reception of
     income during the time elapsed before the approval of the applicable regulation, namely
     RD 413/2014 and Ministerial Order IET 1045/2014. However, the system has never
     stopped fulfilling its obligations, and RDL 9/2013 clearly established remuneration
     regulations. Afterwards, the Government has progressively paid the sums corresponding
     to facilities benefitted by the New Regime, and those who received funds in excess have
     returned such excess. The Claimants have not proven any damages suffered due to this
     procedure nor claimed any sums regarding remuneration received for energy produced
     prior to 14 July 2013. 700

                        e.      The measures ofSpain have been reasonable

490. Spain has complied with the international standards set forth by the Claimants, since the
     disputed measures respond to a public policy rationale and are proportionate. 701

491. First, Spain complied with the test set forth in EDF v. Romania702 regarding the
     arbitrariness or discriminatory nature of its actions, since (i) the measures served a
     legitimate purpose, since they intended to prevent Spanish consumers from paying
     unjustified charges corresponding to an investor return higher than the "reasonable" one
     guaranteed by law; (ii) the reform has fully respected existing legal regulations and the
     jurisprudence of the Supreme Court, underpinning the principle of reasonable return, and
     is not discriminatory regarding any investors; (iii) the reasons for the adoption of the reform
     were clearly exposed by the President since 2011; and (iv) Spain has fully complied with
     the formally applicable procedures. 703 This test is especially relevant since the main




698
       Respondent's Counter-Memorial, ,i,i 836-840.
699    Respondent's Counter-Memorial, ,i,i 841-842.
700    Respondent's Counter-Memorial, ,i,i 843-846.
70 1   Respondent's Counter-Memorial, ,i,i 847-850.
702
       EDF v. Romania (Award), ,i 303.
703
       Respondent's Counter-Memorial, ,i,i 851-857.



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          objective of the ECT 1s to ensure the principle of national treatment or non-
          discrimination. 704

492. Second, Spain complied with the test set forth in AES SUMMIT v. Hungary 705 for
     determining whether a measure is reasonable and in compliance with the FET standard set
     forth in the ECT. According to this test, for a measure to be reasonable (i) it must respond
     to a rational policy, i.e., it must have been adopted with the aim of addressing a public
     interest matter, and (ii) it must be reasonable, which means there must be an appropriate
     correlation between the State's public policy objective and the measure adopted to achieve
     it.706

493. Regarding the first element, Spain intended to correct the imbalance that existed due to an
     excessive remuneration of investors which, besides creating an excessive charge for
     Spanish consumers, was contributing to the generation of Tariff Deficit, in the context of
     an acute economic crisis that affected the economy as a whole. 707 This is a valid rational
     public policy according to the criteria established in AES Summit v. Hungary. 708 Absent a
     regulatory reform, the increase in costs for the SES arising from the CSP sector would have
     been exponential in 2014. This increase was the one the disputed measures intended to
     prevent, and therefore the Claimants' figures regarding 2012 costs, when the CSP sector
     had phased its entry into operation, are not relevant. 709 Moreover, the existence of an
     economic crisis and the difficulty of obtaining international financing also forced Spain to
     adopt several macroeconomic control measures in different sectors, including energy. 710

494. In this context, the rational policy was to amend the regulatory framework to protect
     consumers, rather than raising rates for consumers, which would have led to less energy
     consumption and further aggravation of the Tariff Deficit. Likewise, raising taxes on fuels
     as proposed by the Claimants is a measure that has no support and would not be feasible
     in the circurnstances. 711

495. Regarding the second element, the reform had an impact on all persons integrating the SES,
     seeking to raise income and reduce SES costs to cope with the Tariff Deficit. From the
     perspective of producers, the measures are equally proportionate, since they can still obtain


704
      Respondent's Rejoinder, ,r,r 845-846.
705
      AES Summit v. Hungary (Award), ,r,r 10.3.7-10.3.9.
706
      Respondent's Counter-Memorial, ,r 860.
707
      Respondent's Counter-Memorial, ,r,r 861 -863 .
708
      Respondent' s Counter-Memorial, ,r,r 864-866. Respondent cites AES Summit v. Hungary (Award), ,r,r 10.3.31 and
      10.3.34; AES Summit v. Hungary (Decision on Annulment), ,r 78.
709
      Respondent's Rejoinder, ,r,r 850-851.
710
      Respondent's Rejoinder, ,r,r 852-853.
711
      Respondent' s Rejoinder, ,r,r 855-858.


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          a reasonable return of 7.398% on their investment while the existing imbalance 1s
          corrected. 712

496. Third, Spain complied with the test established in Total v. Argentina713 regarding respect
     towards the economic balance of the investment. The tribunal in that case established that,
     for sectors requiring long-term investments that involve large sums of capital, any
     modification by the State to the corresponding legal framework must be done in a way that
     allows the investor to recover its operational costs, amortize its investment and obtain a
     reasonable rate ofretum during such period oftime. 714 The tribunal in this test ruled on the
     basis of the minimum standard of protection guaranteed by international law, the same one
     granted by the ECT, and therefore this case is relevant for the present analysis. 715

497. The New Regime allows for investors to recover their operation costs, amortize their
     investments and obtain a reasonable return over time. The costs necessary for the electrical
     generation activity to be performed in an efficient and well-managed manner, which are
     listed (in a non-exhaustive manner) in the preamble of Ministerial Order IET/1045/2014,
     are remunerated; in case revenue from energy sales does not cover operation costs, these
     are complemented with a compensation to the operation, so that the result of income minus
     expenses is at least equal to zero every year. This guarantees remuneration to the
     investment that allows recovering such investment during the regulatory useful lifetime of
     the plant:716

498. Additionally, this system also guarantees a reasonable return of7.398% on the undertaken
     investment from the commissioning of the facility and until the end of its regulatory useful
     lifetime. This return rate is reasonable, determined objectively and not modifiable until six
     years after the coming into force ofRDL 9/2013. 717

499. Because of the above, the disputed measures do not breach the PET standard established
     in the ECT.

                   2.      Inexistence of an umbrella clause

500. The Claimants misinterpret the content and purpose of the last subparagraph of Article
     10(1) of the ECT. This subparagraph refers to obligations that the State has "entered into"
     with an investor or an investment, which clearly refer to concrete, specific, bilateral

712
       Respondent's Counter-Memorial, ,i 867; Respondent's Rejoinder, ,i,i 860-861 .
713
       Total v. Argentina (Decision on Liability), ,i 122.
714
       Respondent's Counter-Memorial, ,i 869.
715
       Respondent's Rejoinder, ,i 864.
716
       Respondent's Counter-Memorial, ,i,i 871-878; Respondent's Rejoinder, ,i,i 862-878.
7 17
       Respondent's Counter-Memorial, ,i,i 879-890.


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           obligations assumed by the State regarding an investor through an express, concluding,
           unequivocal and individualized commitment that cannot normally be thought of except by
           signing a contract. This leaves outside the scope of said subparagraph cases in which States
           assume binding obligations through unilateral acts. 718 This interpretation is further
           confirmed by the Reader's Guide of the ECT, 719 which in explaining the last subparagraph
           of Article 10( 1) of the ECT refers specifically to "contracts". 720

 501. However,the Claimants interpret the words "any obligation" as including within its scope
      not only contractual obligations, but also legislative or regulatory commitments. Thus, the
      Claimants intend to include the erga omnes provisions of a Royal Decree as specific
      commitments adopted towards them. 721 This interpretation ignores the essence of the
      umbrella clause itself and would mean that States would renounce to their legislative
      powers, which was not the intention of the ECT signatory States.722

502. In all the LG&E v. Argentina, Enron v. Argentina and Sempra v. Argentina cases quoted
     by the Claimants there was a previous contractual link between the claimants and the State,
     and therefore the State's obligations arose from such contracts rather than from the law.
     Regulatory changes were only analysed in those cases to determine the extent to which
     previously assumed contracted obligations had been breached by the State. 723

503. Therefore, for a claimant to invoke the application of an umbrella clause, it must
     demonstrate the essential prerequisite for the application of such clauses: a consensual
     relationship through which the State has assumed a specific obligation, which it must
     legally respect, regarding that specific investor. Regulations, due to their nature, do not
     create such vis-a-vis relationships. 724 Neither does the press release of the Government
     dated 2 July 2010 nor the conversations held by Antin with the representatives of the
     Ministry and the CNE. 725 Therefore, the Claimants cannot validly invoke the umbrella
     clause on their behalf.

504. Additionally, umbrella clauses do not alter the nature or the content of the invoked
     obligation. Therefore, demonstrating the existence of a legal obligation is not enough to
     invoke such a clause; it is also necessary to demonstrate which is the applicable domestic


718
       Respondent's Counter-Memorial, ,i,i 884-887, 889-892. Respondent cites Noble Ventures v. Romania (Award), ,i
       51; S.G.S. v. Pakistan (Decision on Objections to Jurisdiction), ,i 166; CMS v. Argentina (Annulment), ,i 95.
71 9
       Legal Authority RL-0018, The Energy Charter Treaty: A Reader's Guide, June 2002, p. 26.
720
       Respondent's Counter-Memorial, ,i 894.
721
       Respondent's Counter-Memorial, ,i 888.
722
       Respondent's Counter-Memorial, ,i,i 895-897.
723
       Respondent's Counter-Memorial, ,i,i 901-904.
724
       Respondent's Counter-Memorial, ,i,i 907-908.
725
       Respondent's Counter-Memorial, ,i 909.


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         law and, additionally, whether there has been any failure to comply with such an obligation
         that is attributable to the State according to such national law. However, the Claimants do
         not make any allegations regarding these issues. 726

505. To this regard, the Supreme Court has stated that no statutory provision can establish the
     intangibility of a certain level of specific benefits nor the indefinite permanence of the
     formulas used for such purpose. Therefore, the obligation that the Claimants want to raise
     to the international field by virtue of the umbrella clause does not even exist in Spanish
     law. 727

506. In arguendo, even in the event Spain had assumed any specific compromises with the
     Andasol Plants, that commitment would be limited to applying the existing legal regime in
     its entirety rather than applying two single articles of two specific regulations. In this
     regard, the only obligation Spanish law has created in favour of RE producers is to obtain
     a reasonable return for their investment at all times, and this is guaranteed by the New
     Regime. 728 Therefore, an umbrella clause in Article 10(1) of the ECT would still have been
     respected by Spain. 729

507. Finally, not any breach of any obligation entails a violation of an umbrella clause. A breach
     of a contractual obligation would only entail a violation of an investment treaty if such a
     breach implied a violation of the substantive standards of the treaty. In the case at hand,
     the FET standard has been fully respected by Spain, and therefore an umbrella clause has
     not been breached. 730

         C.    TRIBUNAL'S ANALYSIS


508. The Claimants assert that the FET standard in the ECT is an independent and autonomous
     standard, whose specific legal meaning must be ascertained in accordance with Articles 31
     and 32 of the VCLT. 731 In interpreting the FET standard in the light of the object and
     purpose of the ECT, the Tribunal should-according to the Claimants- consider whether
     Spain's conduct was conducive to the provision of a stable, transparent legal framework
     for foreign investments in the energy sector. 732 This is particularly important in the RE


726
      Respondent's Counter-Memorial, 11911-912.
727
      Respondent's Counter-Memorial, 11913-916.
728
      Respondent's Rejoinder, 11 906-910.
729
      Respondent's Rejoinder, 1912.
730
      Respondent's Counter-Memorial. 11 918-919. The Respondent cites Joy Mining v. Egypt (Decision on
      Jurisdiction), 181.
731
      Claimants' Memorial, 11383-385.
732
      Claimants' Memorial, 1388.


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             sector where a substantial amount of capital is typically committed at the outset in order to
             produce a long-term return. 733

 509. The Claimants claim that they invested in Spain in reliance of the regulatory framework
      set forth under RD 661/2007 -as reinforced by RD 1614/2010-, which was purposely
      designed to attract foreign investment in Spain's RE sector. 734 Specifically, the Claimants
      expected that because the Andasol Plants complied with all the registration requirements,
      they would be subject to the FIT regime for their entire operational life. 735 Relying on
      Article 44(3) of RD 661/2007, the Claimants further expected that any future changes to
      RD 661/2007 would apply only to new installations, while existing installations -such as
      the Andasol Plants-would remain unaffected. 736

510. The Claimants further claim that their expectations regarding the stability of the
     RD 661/2007 economic regime -and specifically of the FIT- were legitimate, as they
     were based on an offer made by the Spanish Government under a "royal decree"
     (RD 661/2007) which sought to encourage investments in the capital-intensive RE sector
     by providing the necessary incentives to attract investors. 737 The Claimants' own due
     diligence process, Respondent's campaign to promote investments in the Spanish RE
     sector, the adoption of RD 1614/2010 implementing the July 2010 Agreement and specific
     assurances made by Spain's public officials that the RD 661/2007 would not be materially
     altered, all confirm that the Claimants' expectations were legitimate. 738

511. It is the Claimants' case that notwithstanding these specific compromises, Respondent
     eviscerated all the key features of the RD 661/2007 regime thereby frustrating the
     Claimants' legitimate expectations and breaching its obligation to provide FET under the
     ECT. 739 In particular, Spain (i) withdrew the FIT for electricity production using natural
     gas under Law 15/2012 and then capped the use of natural gas for essential technical
     purposes though Ministerial Order IET/1882/2014; 740 (ii) introduced the TVPEE which
     constitutes a disguised and unjustified cut of the FIT; 741 (iii) eliminated the Premium
     through RDL 2/2013; 742 (iv) replaced the CPI-linked updating mechanism for the FIT by
     a lower index also through RDL 2/2013; 743 and finally, (v) eliminated the RD 661/2007
733
         Claimants' Memorial, ,r 401.
734
         See Claimants' Memorial, ,r,r 22-25 and 32-33.
735
         Claimants' Memorial, ,r 405.
736
         Claimants' Memorial, ,r,r 406-407.
737
         Claimants' Memorial, ,r 412.
738
         Claimants' Memorial, ,r 412.
739
         Claimants' Memorial, ,r,r 415-416.
74
     °   Claimants' Memorial, ,r 414; Claimants' Reply, ,r,r 310-312.
741
         Claimants' Memorial, ,r 414.
742
         Claimants' Memorial, ,r 414; Claimants' Reply, ifif 319-323.
743
         Claimants' Memorial, ,r 414.


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         economic regime in its entirety through RDL 9/2013 and introduced a substantially less
         favourable regime without FIT. 744

512. The Respondent contends that it has not breached the FET standard under Article 10(1) of
     the ECT. While agreeing that the ECT must be interpreted in accordance with Article 31
     of the VCLT 745 and recognizing that it provides a level of protection that limits the
     regulatory power of the signatory States, 746 the Respondent submits that the ECT neither
     cancels nor extremely curtails the State's regulatory power. 747 According to Spain, the ECT
     sets no more limits on the regulatory power of States than the minimum standard of
     international law; and this standard has not been breached by Spain. 748

513. Regarding the Claimants' allegation that Spain frustrated their legitimate expectations, the
     Respondent submits that the Claimants' expectations were neither legitimate nor protected
     by the ECT. The Respondent argues that the Claimants could not reasonably expect that
     the RD 661/2007 regime remained frozen or unmodified. There is no stabilisation clause
     in this sense in Spanish law, and specifically in Article 44(3) of RD 661/2007, 749 and Spain
     did not make any promises or commitments to the Claimants as to the immutability of the
     regime. 750

514. Moreover, the Respondent asserts that when the Claimants made their investment in Spain,
     they were fully aware of the possibility of future regulatory changes affecting their
     investments. 751 It also states that the Claimants could not derive any expectations from the
     HS Report, which was superficial and flawed, 752 or from unverifiable representations
     allegedly made by public officials lacking authority to bind Spain. 753

515. According to the Respondent, the Claimants were only entitled to a reasonable return.
     Thus, what must be analysed under the FET standard is whether the "right to a reasonable
     return" principle has been respected. 754 The Respondent affirms that the New Regime does




744
      Claimants' Memorial, 1414; Claimants' Reply, 11331-333, 340.
745
      Respondent's Rejoinder, 11729-730.
746
      Respondent's Rejoinder, 1737.
747
      Respondent's Rejoinder, 11730 and 737.
748
      Respondent's Rejoinder, 11761-763.
749
      Respondent's Rejoinder, 1786.
750
      Respondent's Counter-Memorial, 11655-660.
751
      Respondent's Counter-Memorial, 11670-673.
752
      See Respondent's Counter-Memorial, 11681-689; Respondent's Rejoinder, 1, 526-528.
753
      Respondent's Counter-Memorial, 1, 696-701.
754
      Respondent's Counter-Memorial, ,, 651-653 .


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          not breach any legitimate expectations, as it "keeps having [the] reasonable return as a
          main piece." 755

516. The issues before this Tribunal concern the alleged breach of Article 10(1) of the ECT. In
     its relevant part, this provision reads as follows:

                     "Each Contracting Party shall, in accordance with the provisions of
                     this Treaty, encourage and create stable, equitable, favourable and
                     transparent conditions for Investors of other Contracting Parties to
                     make Investments in its Area. Such conditions shall include a
                     commitment to accord at all times to Investments of Investors of
                     other Contracting Parties fair and equitable treatment. [ ... ]"

517. The Parties agree that Article 10(1) of the ECT must be interpreted in accordance with
     Article 31 of the VCLT, which contains the general rule of customary international law for
     the interpretation of treaties. The Tribunal has already set the criteria for the application of
     Article 31 of the VCLT in paragraph 207 supra.

518. The ordinary meaning of the words "fair" and "equitable" is commonly found in the
     dictionary. According to the Oxford English Dictionary "fair" means 'just, unbiased,
     equitable, impartial, legitimate." 756 In turn, "equitable" is defined as "characterised by
     equity or fairness", where "equity" means "fairness; impartiality; even-handed dealing." 757
     In Spanish, another official language of the ECT and the language of the Respondent, the
     dictionary of the Spanish language of the Real Academia Espanola defines "fair" as "in
     accordance with justice and reason" 758 and "equitable" as "having equity", i.e., "equality
     of disposition", and, more specifically, "disposition that moves to give each one what he
     deserves." 759 These terms, however, cannot be interpreted in separation from the treaty's
     context, object and purpose.

519.       Pursuant to Article 2 of the ECT, the purpose of the Treaty is to:

                     "[establish] a legal framework in order to promote long-term co-
                     operation in the energy field, based on complementarities and mutual

755
      Respondent's Counter-Memorial, ,r 777.
756
      Legal Authority CL-0088, Oxford Dictionaries, Oxford English Dictionary (6th ed, Oxford University Press,
      2007), p. 920.
757
      Legal Authority CL-0088, Oxford Dictionaries, Oxford English Dictionary (6th ed, Oxford University Press,
      2007), p. 856.
758
      Meaning of the word ')usto", Real Academia Espafiola, Dictionary of the Spanish language, electronic version
      (twenty-third edition October 2014), available at: http://dle.rae.es/?id=Mf065xY ("Justo : arreglado ajusticia y
      razon".)
759
      Meaning of the word "equitativo", Real Academia Espanola, Dictionary of the Spanish language electronic
      version (twenty-third edition October 2014), available at: http ://dle.rae.es/?w=eguitativo ("Equitativo: que tiene
      equidad''. "Equidad; 1. igualdad de animo. [...] 5. Disposicion de! animo que mueve a dar a cada uno lo que
      merece.")


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                   benefits, in accordance with the objectives and principles of the
                   [European Energy] Charter."

520. As noted by the tribunal in Eiser v. Spain, the ECT's stated purpose emphasises the
     Treaty's role in providing a legal framework that promotes long-term cooperation,
     suggesting that the ECT is conceived as enhancing the stability required for such
     cooperation. 760

521. This is further confirmed by the objectives and principles of the European Energy Charter
     (the "Charter"), a political declaration that formed the basis of the ECT and to which
     Article 2 of the ECT expressly refers.

522. Title I of the Charter, labelled "objectives", provides that the signatories will engage, inter
     alia, in cooperation in the energy field, which entails the "formulation of stable and
     transparent legal frameworks creating conditions for the development of energy
     resources." 761 Similarly, Title II.4 of the Charter, which specifically deals with the
     implementation of the Charter's objectives regarding the promotion and protection of
     investments, provides as follows:

                   "In order to promote the international flow of investments, the
                   signatories will at national level provide for a stable, transparent legal
                   framework for foreign investments, in conformity with the relevant
                   international laws and rules on investment and trade.

                   They affirm that it is important for the signatory States to negotiate
                   and ratify legally binding agreements on promotion and protection of
                   investments which ensure a high level of legal security and enable
                   the use of investment risk guarantee schemes." 762

523. These provisions of the Charter thus confirm that the legal framework referred to in
     Article 2 of the ECT is one that is stable, transparent, and compliant with international
     legal standards. The Tribunal shall therefore observe the objectives of legal stability and
     transparency in interpreting the FET standard under the ECT.

524. The stability of the legal regime is reinforced in the first sentence of Article 10(1) of the
     ECT which requires that the Contracting Parties "encourage and create stable, equitable,


760
      Eiser v. Spain (Award), ,r 378.
761
      Exhibit C-0001, Energy Charter Secretariat, "The Energy Charter Treaty and Related Documents: A Legal
      Framework for International Energy Cooperation", September 2004, Concluding Document of The Hague
      Conference on the European Energy Charter, Title I (Objectives), p. 215.
762
      Exhibit C-0001, Energy Charter Secretariat, ,;The Energy Charter Treaty and Related Documents: A Legal
      Framework for International Energy Cooperation", September 2004, Concluding Document of the Hague
      Conference on the European Energy Charter, Title II.4 (Promotion and Protection of investments), p. 218.


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          favourable and transparent conditions for Investors of other Contracting Parties to make
          Investments in its Area."

525. The Tribunal notes that the language of Article 10(1) of the ECT is not merely a suggestion
     or a recommendation for the Contracting Parties. It provides that each Contracting Party
     "shall, in accordance with the provisions of this Treaty, encourage and create stable,
     equitable, favourable and transparent conditions for Investors of other Contracting Parties
     to make Investments in its Area" (emphasis added). The modal verb "shall" expresses an
     instruction, command or obligation763 and therefore, compliance with the ECT requires
     that each Contracting State shall not only encourage but also create stable, equitable,
     favourable and transparent conditions for Investors of other Contracting Parties to make
     Investments in its Area.

526. The Tribunal further notes that, as mentioned in the preceding paragraphs, the stability of
     the conditions for Investors of other Contracting Parties to make Investments in another
     Contracting Party's Area is a leitmotiv in the text of the ECT and is clearly reinforced in
     the Charter.

527. The Parties disagree as to the scope and extent of the obligation contained in the ECT to
     encourage and create stable conditions. The Claimants suggest that stability implies that
     the regime contained in RD 661/2007 should have been maintained for the entire life of
     operation of those plants that were already registered. The Respondent holds that stability
     does not mean freezing the legal regime and that even though the ECT limits the regulatory
     power of the signatory States, it neither cancels nor extremely curtails the State's regulatory
     power. 764 According to the Respondent, if it maintains a "reasonable rate of return", the
     obligation of stability is complied with.

528. As already indicated, and as the Parties agree, the ECT must be interpreted in accordance
     with Article 31 of the VCLT. As regards the text, the term "stable" means "[n]ot likely to
     change or fail; firmly established." 765 In Spanish, "stable" is "something that is maintained
     with no peril of changing, falling or disappearing. " 766 Stable, therefore, neither means
     something close to immutable or something unlikely to change at any time.


763
      Oxford University Press, Oxford Dictionaries, Oxford English Dictionary, electronic version, available at:
      https://en.oxforddictionaries.com/definition/shall. For Spanish, see: Meaning of the word "deber", Real Academia
      Espanola, Dictionary of the Spanish language, electronic version (twenty-third edition October 2014), available
      at: http://dJe.rae.es/?id=Bu2rLyz
764
      Respondent's Rejoinder,~~ 730 and 737.
765
      Oxford University Press, Oxford Dictionaries, Oxford English Dictionary, electronic version, available at::
      https://en.oxforddictionaries.com/definition/stable.
766
      Meaning of the word "estable", Real Academia Espanola, Dictionary of the Spanish language electronic version
      (twenty-third edition October 2014), available at: http://dle.rae.es/?id=GikXRGw ("Estable: Que se mantiene sin
      peligro de cambiar, caer o desaparecer".)



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529. Referring to the context, other arbitral tribunals interpreting Article 10(1) of the ECT have
     concluded that stability is part of or is related to the FET standard under the Treaty. For
     instance, the tribunal in Plama v. Bulgaria observed that "stable and equitable conditions
     are clearly part of the fair and equitable treatment standard under the ECT." 767 Similarly,
     the tribunal in Electrabel v. Hungary asserted that "[f]air and equitable treatment is
     connected in the ECT to the encouragement to provide stable, equitable, favourable and
     transparent conditions for investors." 768 Recent decisions in investment arbitration cases
     under the ECT involving Spain endorse the same conclusion. 769

530. Based on the text and context of the ECT, the Tribunal agrees with the Respondent in that
     the ECT limits the regulatory power of the signatory States, but does not cancel or
     "extremely limit" the State's regulatory power. 770 However, the Tribunal does not agree
     with Spain in that the ECT sets no more limits on the regulatory power of States than the
     minimum standard of international law. The ECT provides for specific obligations to the
     Contracting States regarding stability, and the FET standard of the ECT, as in the quote
     provided by Respondent:

                    "requires a balancing process'. Investment treaties as international
                    law disciplines interfere in domestic regulatory and administrative
                    sovereignty; that is their very purpose. They are meant to do so in
                    order to upgrade the quality of governance. But they must also not be
                    operated irt order to become an excessively interventionist
                    instrument."771

531. As anticipated by the tribunal in Charanne v. Spain and reaffirmed by the tribunal in Eiser
     v. Spain, the specific obligation of stability of the conditions for investors under the ECT
     does not eliminate or strictly limit the regulatory powers of States nor does it prevent
     Contracting States from amending existing regulations, provided that the given State does
     not "suddenly and unexpectedly- eliminate the essential features of the regulatory
     framework in place." 772

532. In sum, considering the context, object and purpose of the ECT, the Tribunal concludes
     that the obligation under Article 10(1) of the ECT to provide FET to protected investments
     comprises an obligation to afford fundamental stability in the essential characteristics of



767
      Plama v. Bulgaria (Award), lj[ 173.
768
      Electrabel v. Hungary (Decision on Jurisdiction, Applicable Law and Liability), lj[ 7.73.
769
      Jsolux v. Spain (Award), lj[ 765; Eiser v. Spain (Award), lj[lj[ 381-382.
770
      Respondent's Rejoinder, lj[lj[ 730 and 737.
771
      Respondent's Rejoinder, lj[lj[ 758 citing T W Walde, "Arbitration in the Oil, Gas and Energy Field: Emerging
      Energy Charter Treaty Practice" (2004) 1 Transnational Dispute Management 2, Legal Authority RL-0057.
772
      Charanne v. Spain (Final Award), lj[lj[ 513-514; 517.



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          the legal regime relied upon by the investors in making long-term investments. 773 This does
          not mean that the legal framework cannot evolve or that a State Party to the ECT is
          precluded from exercising its regulatory powers to adapt the regime to the changing
          circumstances in the public interest. 774 It rather means that a regulatory regime specifically
          created to induce investments in the energy sector cannot be radically altered -i.e.,
          stripped of its key features- as applied to existing investments in ways that affect investors
          who invested in reliance on those regimes.

533. The Tribunal deems it important to emphasize that the content and scope of the FET
     standard must be assessed within the context of the Treaty in which it is found. Reference
     to decisions on the stability of a regime based on treaties whose text is substantially
     different and where no specific obligation of stability is contained may be of no assistance
     in the interpretation of this specific feature of the ECT. Not only does the ECT expressly
     state that its purpose is to provide a legal framework to promote long-term cooperation in
     the energy field in accordance with the objectives and principles of the Charter -which
     stresses the need for a stable and transparent legal framework,- it also contains a specific
     obligation -as opposed to a mere declaration in the preamble, and with language that
     suggests and imperative and not merely a recommendation- to encourage and create
     stable conditions for investments. Regardless of how the relationship between stability of
     the legal framework and the obligation to accord FET is conceived, it seems clear that, in
     the context of the ECT, the concepts are associated in a manner that merits their joined
     assessment. 775 In fact, it seems undisputed that the ECT's FET standard includes the
     obligation to provide a stable and predictable legal framework for investments. 776

534. In the present case, the Claimants argue that the Respondent breached the FET standard
     under the ECT, inter alia, because it adopted measures that frustrated their legitimate

773   See Eiser v. Spain (Award),, 382; Charanne v. Spain (Final Award),, 517.
714
      See Electrabel v. Hungary (Decision on Jurisdiction, Applicable Law and Liability),, 7.77. ("While the investor
      is promised protection against unfair changes, it is well established that the host State is entitled to maintain a
      reasonable degree of regulatory flexibility to respond to changing circumstances in the public interest.
      Consequently, the requirement of fairness must not be understood as the immutability of the legal framework, but
      as implying that subsequent changes should be made fairly, consistently and predictably, taking into account the
      circumstances of the investment.")
775
      Several tribunals interpreting the ECT have referred to the relationship between stability of the legal framework
      and the FET standard under the Treaty. See Plama v. Bulgaria (Award), , 173 ("In addition, the conditions are
      dependent on their accordance with the other standards. For instance, stable and equitable conditions are clearly
      part of the fair and equitable treatment standard under the ECT."); Electrabel v. Hungary (Decision on
      Jurisdiction, Applicable Law and Liability), ,7.73 ("The first part of Article 10(1) ECT refers to the
      encouragement and creation of 'stable, equitable, favourable and transparent conditions for investors', which is
      said to include a commitment to accord at all times fair and equitable treatment to investments. Fair and equitable
      treatment is connected in the ECT to the encouragement to provide stable, equitable, favourable and transparent
      conditions for investors.") Charanne v. Spain (Final Award),, 477 ("From Article 10(1) it can be inferred that
      the duty to provide fair and equitable treatment is included within the broader obligation to create stable, equitable,
      favourable and transparent conditions.")
716
      See Claimants' Reply, , 355 .


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         expectations as to the continued application of the Original Regime. 777 The Claimants'
         allegations in this regard are thus closely related to their claims about the stability of the
         legal framework.

535. The Parties concur that the protection of the legitimate expectations held by an investor
     forms part of the FET standard under the ECT. However, they disagree over the content of
     the Claimants' expectations and whether those expectations were breached in the present
     case. The Parties have invoked various decisions from international arbitration tribunals in
     support of their respective positions. The Tribunal agrees with some of these decisions to
     the extent explained below.

536. First, the expectations of the investor cannot be analysed in the abstract nor can they be
     based on the investor's subjective beliefs. On the contrary, the finding that there has been
     a violation of the investor's legitimate expectations must be based on an objective standard,
     which must be assessed on a case-by-case basis. 778

537. Second, the investor's expectations must be assessed at the time of the investment's
     making. 779 Accordingly, the Tribunal must consider when the investment was made, what
     the circumstances were at that time and the information that the investor had or should
     reasonably have had, had it acted with the requisite degree of diligence ( considering its
     expertise). In carrying out this assessment, tribunals must attempt to place themselves at
     the time of the investment and consider the information and conditions available at such
     time, and to refrain from appraising ·the investor's expectations with the benefit of
     hindsight.

538. Third, the expectations of the investor need to originate from some affirmative action of
     the State, either in the form of specific commitments made by the host State to the investor
     -as several international investment tribunals have recognized-780 or in the form of
     representations made by the host State, for example, with respect to certain features of a
     regulation aimed at encouraging investments in a specific sector. In other words, legitimate
                                                                      "
     expectations cannot arise from subjective considerations of the investor absent an
     affirmative action of the State which, objectively determined, evidences that the State
     intended to describe a particular treatment or regime on which the investor could rely when
     making its investment.

539. Accordingly, the Tribunal will assess the legitimacy of the Claimants' expectations against
     the existing conditions at the time of the investment, the background of information that


777
      See Claimants' Reply, ,r 299.
778
      See Charanne v. Spain (Final Award), ,r 495.
779
      See EDFv. Romania (Award), ,r 219.
780
      See AES Summit v. Hungary (Award), ,r 9.3.31



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          the Claimants had or should reasonably have had at the time of the investment and of
          Spain's conduct prior to, and at the time of, the investment. This examination is based on
          the facts of this case, as pleaded by the Parties and evidenced in the record of this
          arbitration.

540. It is undisputed that investments in the capital-intensive RE sector-including CSP power-
     generation projects- require economic incentives from the State because such
     technologies at least initially cost more than conventional power generating facilities. 781
     The purpose of subsidization in this context is to allow the technologies to be developed in
     the hope that over time the costs associated therewith will decline, thus making RE
     technologies more competitive. It is undisputed in the present case that through the
     compensation system offered in RD 661/2007, Spain sought to encourage further
     investments in its RE sector to meet the targeted growth in certain technologies, including
     CSP systems. 782 Over all, the Respondent emphasized the stability of the legal and
     economic regime established in RD 661/2007 in order to attract investment in the sector.

541. The CNE report No. 3/2007 of 14 February 2007 -issued a couple of months before
     RD 661/2007 was approved- reads:

                     "5.3. On the criteria that inform regulation of the special regime.

                     [... ]

                     (b) Minimise regulatory uncertainty. The [CNE] understands that
                     transparency and predictability in the future of economic incentives
                     reduces regulatory uncertainty, incentivising investments in new
                     capacity and minimizing the cost of financing projects, thus reducing
                     the final cost to the consumer. The regulation must offer sufficient
                     guarantees to ensure that the economic incentives are stable and
                     predictable throughout the service life of the facility ...".783
                     [Emphasis added].

542. Similarly, a press release from the Ministry dated 25 May 2007 stressed that the recently
     approved RD 661/2007 was "aimed at establishing a stable subsidy system that guarantees
     attractive profitability for electricity production under the special scheme [ ... ]." 784




781
      Claimants' Memorial, 114; Respondent's Counter-Memorial, 1366.
782
      See Exhibit C-0020, RD 661 /2007, Preamble.
783
      Exhibit BRR-0006, CNE, "NEC Report 3/2007 regarding the proposed Royal Decree regulating electricity
      generation in the Special Regime and specific technological facilities equivalent to the Ordinary Regime", 14
      February 2007, pp. 15-16.
784
      Exhibit C-0171 , Press Release announcing RD 661 /2007, "The Government prioritises profitability and stability
      in new Royal Decree-Law on renewables and combined heat and power", 25 May 2007, p. 1.


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543. Beyond Spain's statements regarding the need for regulatory stability and predictability in
     reports, press releases and presentations, the Tribunal observes that the Respondent
     expressly referred to these principles in royal decrees concerning the RE sector.

544. For instance, the preamble of RD 661/2007 states that:

                    "[ ... ] [I]n order to safeguard the security and quality of the supply of
                    electricity in the system, and in order to minimise the restrictions on
                    production in those technologies which are today considered not
                    manageable, certain reference installed power targets are established
                    which coincide with the targets of the Renewable Energy Plan 2005-
                    2010 and the Strategy for Energy Saving and Efficiency in Spain
                    (E4), for which the compensation system set out in this Royal Decree
                    shall be applicable."785

545. The 2005-2010 Plan analysed barriers to the development of CSP capacity in Spain and
     provided recommendations for increasing investment in the Spanish RE sector that had
     been thus far insufficient. Notably, the 2005-2010 Plan recognized that investments in RE
     installations require large sums of upfront capital which are typically obtained through
     third-party financing. To encourage investments in the Spanish RE sector, the 2005-2010
     Plan recommended, inter a.lia, that regulated remuneration for RE installations be
     retained. 786 The 2005-2010 Plan thus recognised that, to meet its policy goals regarding the
     CSP sector, Spain needed to provide incentives that would ensure long-term and stable
     cash flows. It is undisputed by the Parties that the incentives provided for in RD 661/2007
     fulfilled those requirements.

546. Similarly, the preamble of RD 1614/2010, recognizes that:

                    "This growth [in electricity from renewable sources] has arisen
                    thanks to the existence of a solid, stable and predictable economic
                    and legal support regime, and the contribution of all players involved
                    therein: Public Administration Bodies, the system's technical and
                    economic operators and companies.

                    Worth special mention is the growth in wind, solar thermoelectric
                    and photovoltaic technologies, the objectives for 2010 for installed
                    power having been equalled and indeed exceeded.

                    Therefore the support regime, as set forth in the formulation thereof,
                    must adapt, while ensuring the legal security of investments and the
                    principle of fair return, to the dynamic reality of the learning curves
                    of the different technologies and to the technical constraints that arise

785
      Exhibit C-0020, RD 661/2007, Preamble.
786
      Exhibit C-0039, 2005-2010 Plan, August 2005 , pp. 144-145.



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                  due to the increased penetration of such technologies in the
                  generation "mix", to thus maintain a necessary and adequate support
                  that is consistent with market conditions and with the strategic
                  objectives in the area of energy and to contribute to the transfer to
                  society of the profit from the suitable development of these
                  technologies."787 [Emphasis added]

54 7. The preamble of RD 1614/2010 thus recognises that the stability and predictability of the
      regime were key to attaining Spain's policy goals regarding RE technologies and further
      provides that any changes to the regime must ensure the legal security of the investments.
      From its preamble, RD 1614/2010 iterates Spain's representations regarding the stability
      and predictability of the regulatory regime applicable to RE installations.

548. The requirement that acts of the State be reasoned is common to most legal systems and,
     in any event, exists under Spanish law. The reasoning of an administrative act -as
     reflected in its preamble- exposes the motives for the State's actions. In the present case,
     the preamble of the royal decrees enacted by the Spanish Government -specifically
     RD 661/2007 and RD 1614/2010- reflect the Respondent's intention to provide for and
     guarantee the stability of the legal and economic regime applicable to RE projects. Previous
     and subsequent acts by State entities, including reports from the CNE, press releases from
     the Ministry and advertising material prepared together with InvestlnSpain, all emphasise
     the stability of the regulatory regime set forth under RD 661/2207. 788 The stability of the
     regulatory regime for investments in the RE sector was thus the leitmotiv of Spain's acts at
     the time of the Claimants' investment.

549. In addition to the above-noted statements, Article 44(3) of RD 661/2007 provided that:

                  "The revisions to the regulated tariff and the upper and lower limits
                  indicated in this paragraph shall not affect facilities for which the
                  deed of commissioning shall have been granted prior to 1 January of
                  the second year following the year in which the revision shall have
                  been performed." 789

550. In connection therewith, Article 4 of RD 1614/2Q10 specified that:



787
      Exhibit C-0023, RDL 1614/2010, Preamble.
788
      See Exhibit C-0171, Press Release announcing RD 661/2007, "The Government prioritises profitability and
      stability in the new Royal Decree on renewable energy and combined heat and power", 25 May 2007; Exhibit
      C-0174, InvestlnSpain PowerPoint presentation, "Opportunities in Renewable Energy in Spain", 16 November
    . 2007; Exhibit C-0178, CNE presentation, "Legal and Regulatory Framework for the Renewable Energy Sector",
      29 October 2008; Exhibit C-0022, M. Garcia, "Opportunities in Renewable Energy in Spain", PowerPoint
      Presentation published by the Spanish Ministry for Industry, Tourism and Commerce & lnvestlnSpain, November
      2008.
789
      Exhibit C-0020, RD 661/2007, Article 44(3).


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                     "For solar thermoelectric technology facilities that fall under Royal
                     Decree 661/2007 of25 May, revisions of tariffs, premiums and upper
                     and lower limits referred to in article 44.3 of the aforementioned
                     Royal Decree, shall not affect facilities registered definitively in the
                     Administrative Registry of production facilities entitled to the special
                     regime that is maintained by the Directorate-General for Energy and
                     Mining Policy as of 7 May 2009, nor those,that were to have been
                     registered in the Remuneration Pre-assignment Registry under the
                     fourth transitional provision of Royal Decree-Law 6/2009 of 30
                     April, and that meet the obligation envisaged in its article 4.8,
                     extended until 31 December 2013 for those facilities associated to
                     phase 4 envisaged in the Agreement of the Council of Ministers of
                     13 November 2009." 790

551. The Claimants claim that Article 44(3) of RD 661/2007 and Article 4 of RD 1614/2010
     clearly guarantee that any future changes to the FIT regime would not affect existing
     installations that had satisfied the registration requirements referred to therein. 791 Invoking
     the award in Charanne v. Spain, the Respondent contends that "registration in the RAIPRE
     was simply an administrative requirement to be able to sell energy, and did not imply that
     the facilities registered had an acquired right to a particular remuneration." 792

,552. The Tribunal is not persuaded that registration in the RAIPRE is simply an administrative
      requirement to sell energy without any further legal consequences. The Respondent's
      explanation is not only inconsistent with the wording of the provisions reproduced above,
      but it is also at odds with Spain's contemporary representations that "[f]uture tariff
      revisions shall not be applied to already functioning facilities" 793 Given the precision and
      detail exhibited in the royal decrees, particularly the contemplation that the treatment
      would be accorded for a defined period of time, the Tribunal has no difficulty in concluding
      that this falls squarely into the type of State conduct that was intended to, and did, give rise
      to legitimate expectations of the Claimants.

553. In the Tribunal's view, even if Articles 44(3) of RD 661/2007 and 4 of RD 1614/2010, per
     se, could not give rise to a legitimate expectation that compensation applicable to the

790
      Exhibit C-0023, RD 1614/2010, 8 December 2010, Article 4.
791
      Claimants' Memorial, 118.
792
      Respondent's Rejoinder, 1792, citing Charanne v. Spain (Final Award), 1510.
793
      Exhibit C-0171, Press Release announcing RD 661/2007, "The Government prioritises profitability and stability
      in new Royal Decree-Law on renewables and combined heat and power", 25 May 2007. See also Exhibit C-0190,
      CNE, "Report on the proposed RD regulating and modifying certain aspects of the Special Regime", 14 September
      2010, p. 24. ("Art. 44.3 should not be amended where it includes one of the most important criteria of the current
      regulations of the special regime in relation to legal certainty and stability of the economic system."); Exhibit C-
      0192, Ministry oflndustry Commerce and Tourism, "Report on the Draft RD 1614/2010", 26 October 2010, pp.
      I 0-11 ("[ ... ] Article 4 of the draft also guarantees to thermoelectric facilities under Royal Decree 661/2007 that
      future quadrennial reviews of tariffs, premiums, and upper and lower limits for this technology, provided under
      Article 44.3 thereof, shall not be applicable to them. [ ... ]").



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          Andasol Plants would remain completely unchanged, said provisions did reflect Spain's
          commitment to ensuring the stability and predictability of the existing economic regime.

554. To summarize, the Tribunal finds that at the time of the Claimants' investment in the
     Andasol Plants, Spain (i) recognised that RE projects required high upfront capital
     investments; (ii) understood that to foster investments in that sector, in line with its policy
     goals, it needed to create more appropriate incentives; (iii) issued RD 661/2007 providing
     incentives to encourage investments in certain RE technologies, including CSP projects,
     and (iv) represented, through its acts and regulations, that the economic regime applicable
     to RE projects would remain stable and predictable.

555. Relying on Charanne v. Spain, the Respondent argues that the Claimants could not have
     had the legitimate expectation that the regulatory framework established by RD 661/2007
     would remain unchanged throughout the useful life of its plants, as admitting the existence
     of such an expectation would amount to the freezing of the regulatory framework. 794 The
     Tribunal agrees with this contention. The requirement of stability under the Treaty does
     not equate to the immutability of the legal framework. The State is certainly entitled to.
     exercise its sovereign power to amend its regulations to respond to changing circumstances
     in the public interest. 795 However, any such changes must be consistent with the assurances
     on stability of the regulatory framework provided by the State and required by the ECT.

556. The Tribunal's opinion regarding the legitimate expectations of the investor is consistent
     with Charanne v. Spain in that such expectations may be defeated if the host State
     eliminates the essential features of the regulatory framework relied upon by the investor in
     making a long-term investment. In this regard, the tribunal in Charanne v. Spain reasoned
     as follows:

                    "In their Memorial on the Merits, the Claimants submit in this regard
                    that 'the investor's legitimate expectations [... ] are defeated, even in
                    the absence of specific commitments, when the host State carries out
                    actions that are incompatible with a criterion of economic
                    reasonableness, with the public interest, or with the proportionality
                    principle.'

                    As a matter of principle, the Arbitration Tribunal accepts this
                    approach. Indeed, an investor has the legitimate expectation that,
                    when the State modifies the regulation under which the investor



794
      Respondent's Rejoinder, 1 532, quoting Charanne v. Spain (Final Award), 1 503. Respondent itself recognizes
      that Claimants do not claim that the regulatory framework should remain unchanged or "frozen". (See
      Respondent's Rejoinder, footnote 324, referring to Claimants' Reply, 11282 and 358).
795
      See Electrabel v. Hungary (Decision on Jurisdiction, Applicable Law and Liability), 17.77.


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                    made the investment, it will not do so unreasonably, contrary to the
                    public interest, or in a disproportionate manner.

                     [... ]

                    The Arbitration Tribunal considers that the proportionality
                    requirement is fulfilled as long as the modifications are not random
                    or unnecessary, and that they · do not suddenly and unexpectedly
                    eliminate the essential features of the regulatory framework in
                    place."796 (Emphasis added)

557. The tribunal in Charanne v. Spain concluded that the claimants in the said arbitration had
     not proved that the Respondent violated its obligation to grant FET due to the modifications
     to the regulatory regime undertaken in 2010. In summarizing its findings, the tribunal
     observed:

                    "In sum, the Tribunal considers that the 2010 regulations cannot be
                    considered to be in violation of the ECT. Indeed, said rules introduce
                    modifications that are restricted to the regulatory framework
                    applicable at the time of the investment, without eliminating its
                    essential features, and in particular, the existence of a tariff
                    guaranteed during the entire lifespan of the facilities. The Claimants
                    have not proved that the 2010 regulations defeated their legitimate
                    expectations under the ECT due to being unreasonable, arbitrary,
                    contrary to the public interest or disproportionate. Neither is there
                    any proof whatsoever that such provisions were unfair or
                    inconsistent. Finally, the Claimants have not proved that the 2010
                    regulations were adopted in violation of the due process requirements
                    under Spanish law." 797 (Emphasis added)

558. It warrants noting that the Charanne tribunal's analysis was restricted to the 2010
     regulations and did not extend to RDL 9/2013, or any other provision issued in 2013 or
     afterwards. 798 Within such limited scope, the tribunal found that it "[could not] draw the
     conclusion that Spain breached its obligation to provide regulatory stability." 799 By
     contrast, the disputed measures in the present case include RDL 9/2013, Law 24/2013 and
     Ministerial Order IET/1045/2014. 800 Therefore, the Tribunal must determine whether the

796
      Charanne v. Spain (Final Award), ml 513-514; 517 [Emphasis added].
797
      Charanne v. Spain (Final Award), ,r 539 [Footnotes omitted].
798
      See Charanne v. Spain (Final Award), ,r 481. ("However, the Arbitration Tribunal cannot, without exceeding its
      powers, examine whether the 2013 provisions have helped to create a lack of stability or clarity in the regulatory
      framework that could be considered to be contrary to the ECT. Indeed, the Claimants themselves have excluded
      from the scope of this arbitration the 2013 regulations. In this regard, the Claimants submit, in a very
      straightforward manner, that 'they do not request the Tribunal tci decide on RDL 9/2013 and its implementing
      provisions."') [Footnotes omitted]
799
      Charanne v. Spain (Final Award), ,r 484.
800
      See Claimants' Memorial, ,r 377.



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                                                                                        f

          amendments to the regulatory regime applicable at the time of the investment introduced
          by Spain through the Disputed Measures eliminated the essential features of such regime,
          thus defeating the Claimants' legitimate expectations regarding the stability of the
          regulatory framework.

559. Pursuant to RD 661/2007, energy producers under the Special Regime had a right to obtain
     a fixed tariff or a premium over market price, at their choice, for their electricity
     production. 801 This royal decree specified the amounts of both the fixed tariff and the
     premium in euros per kilowatt hour that would be payable in respect of each hour of
     production, subject to a cap and a floor. RD 661/2007 further provided qualifying
     installations with priority of access and priority of dispatch to the transmission and
     distribution networks.

560. According to the tribunal in Charanne v. Spain, the essential features of the regime set
     forth under RD 661/2007 were the offering of a guaranteed tariff and the granting of
     privileged access to the electricity transmission and distribution grid. 802 In this case, it is
     undisputed that through RDL 9/2013 and Law 24/2013, Spain (a) replaced the FIT system
     by a remuneration system that allowed certain RE installations to obtain a special payment
     by reference to a standard installation 803 and (b) withdrew the right of priority of grid access
     and priority of dispatch for RE installations.-804 Moreover, RDL 9/2013, Law 24/2013 and
     Ministerial Order IET/1045/2014 dismantled all the regime and therefore all the features
     of the regime provided for under RD 661/2007. Thus, whether the Tribunal were to adopt
     the opinion of the Charanne tribunal regarding the essential features of the RD 661/2007
     regime, or whether it was to consider that only the FIT system was the key feature of the
     regime, it would necessarily conclude that Spain breached its obligations under Article
     10(1) of the ECT by eliminating those features through RDL 9/2013 and Law 24/2013.

561. However, the Respondent contends that, as a matter of Spanish law, 805 the Claimants were
     only entitled to a reasonable return on their investment and could not reasonably have held
     other expectations. 806 The Parties disagree on whether the New Regime complies with the
     principle of reasonable return. 807




801
      Exhibit C-0020, RD 661/2007, Article 17(c) and Article 24.1.
802
      Charanne v. Spain (Final Award), ,r 518 and ,r 539.
803
      Exhibit C-0029, Royal Decree 9/2013 , 13 July 2013.
804
      Exhibit C-0031 , RD 413/2014, 10 June 2014.
805   According to Spain, the principle of "reasonable return" is "the core principle on which the legal regime of
      remuneration to the Claimants is built". (Respondent's Counter-Memorial, ,r 20).
806
      Respondent's Counter-Memorial, ,r 730.
807
      See Claimants' Reply,§ II. 2.5, Respondent's Rejoinder, ,r,r 689-696.


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562. In the Tribunal's view, considering the Parties' respective contentions and the terms of the
     ECT as explained above, 808 the issue at hand is not whether the New Regime provides a
     "reasonable return", but rather how such "reasonable return" is determined. To comply
     with the stability and predictability requirements under the ECT, the methodology for
     determining the payment due to CSP installations must be based on identifiable criteria.

563. Based on the Parties' submissions and the evidence submitted in this arbitration, the
     Tribunal is not persuaded that the methodology for determining the "reasonable return"
     under the New Regime complies with the requirements of the ECT and is sufficiently
     aligned to the representations previously made by Spain regarding the stability of the legal
     and economic regime applicable to RE projects in order to induce investments in the CSP
     sector.

564. First, the New Regime fixes the "applicable rate for reasonable return" at 7.398% before
     taxes. Such rate is based on the average yield in the secondary market of 10-year Spanish
     government bonds, plus a differential of 3%. 809 The evidence in the record does not point
     to an identifiable basis for determining such adjustment. On the contrary, during cross-
     examination, Mr. Montoya -manager of the solar department at IDAE- conveyed that
     the 3% adjustment is simply what he considered to be an appropriate spread. 810

565. Second, the Special Payment is calculated considering the costs of a standard installation.
     According to Mr. Montoya, "each standard installation represents a group of installations
     that share the same technical characteristics and that share the same year of
     commissioning." 811 The determination of whether the plants are sufficiently similar was
     undertaken by the IDAE, according to their calculations. 812 Mr. Montoya claims that his
     calculation "covers practically all installations that have been put into service, including
     operating costs and other costs." 813 However, the Respondent has offered no further
     evidence in this arbitration to show the parameters used by the IDAE to determine the .
     features of a standard installation. There is no evidence on the record as to which
     parameters were considered in determining what is a standard installation. Other than the
     testimony of Mr. Montoya, the Respondent provided no evidence as to which studies -

808
      See ,r,r 517-533 supra.
809
      Exhibit C-0029, Royal Decree 9/2013, 12 July 2013, Article 1(2).
810
      Hearing, Day 3, Tr. 36:14-37:2. ("Q. What was the basis, Mr Montoy~, for determining the adjustment of 300
      basis points? A. Well, I was calculating for the standard installations and the remuneration. So those data are
      scenarios for me. On a regulated market, normally the spread is 200 basi points. So if you get 50% more in the
      spread, it is taking into account the risks, which may be higher in this kind of operation. So I think it is the standard
      spread that is used for that kind of regulated activity. Q. So you decided that that was the appropriate spread to
      apply in order to determine the reasonable return in this case? A. Yes.")
811
      Hearing, Day 3, Tr. 24:25-25:3.
812
      Hearing, Day 3, Tr. 25:6-12.
813
      Hearing, Day 3, Tr. 25:9-l l.



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        technical, financial or otherwise- were made or considered to determine the criteria for
        grouping the installations and to determine which installations shared the same technical
        characteristics and the same year of commissioning.

566. Third, the "reasonable rate of return" is subject to a mandatory revision every three years
     and a possible revision every six years. 814 At the three-year point, the forecast of the market
     price is adjusted to the actual market price, which could go up or down. 815 After six years,
     Spain could revise the figure for the "reasonable return" and apply a different
     adjustment. 816 When asked about these possible revisions, Mr. Montoya acknowledged that
     the Government was entitled to either increase or decrease the spread, but failed to explain
     the criteria under which an adjustment would be made. 817 There is thus no evidence in the
     record that shows that the Government has established an identifiable set of criteria for the
     revision of the remuneration for RE installations.

567. Fourth, determination of the special payment under the New Regime is subject to the
     7.398% rate. 818 As explained by Mr. Montoya, the Government considers the revenues
     obtained by a group of installations under the same standard installation and, on that basis,
     it estimates "how many subsidies they need to achieve a reasonable rate of return, which
     is 7.398%." 819 As a result, the already reduced "reasonable rate return" may be lowered
     considering previous payments to the relevant installation. Moreover, if the revenues
     obtained by a group of installations under the same standard installation exceeds the
     7.398% rate of return, future compensation under the New Regime will be reduced
     accordingly so that the rate ofreturn does not exceed the aforesaid 7.398%. 820 This means
     that the rate of return under the New Regime may apply to periods preceding the
     establishment of the New Regime.

568. Based on the evidence on the record of this arbitration, the Tribunal concludes that the
     methodology for determining the "reasonable rate ofreturn" under the New Regime is not
     based on any identifiable criteria. On the contrary, what Spain labels a "reasonable rate of
     return" seemingly depends on governmental discretion. This is in plain contrast with the
     relative precision of the Original Regime -in force when the Claimants made their
     investment- which provided for objective and identifiable criteria for determining the

814
    Hearing, Day 3, Tr. 37:13-18; 47:12-22.
815
    See Hearing, Day 3, Tr. 34:2-20.
816
    See Hearing, Day 3, Tr. 48:17-23.
817
    Hearing, Day 3, Tr. 48:17-23 ("Q. That spread then, ifin today's scenario, 1.1% of the Spanish bond yield over
    ten years, would it be possible for the govenunent, considering the circumstances, to increase that to 600 basis
    points? A. Yes, of course. That is an option. As I said earlier, it could go one way. it could go the other. That is a
    possibility.) [Emphasis added]
818
    Hearing, Day 3, Tr. 25:20-26:14.
819
    Hearing, Day 3, Tr. 26:12-14.
s2o See Hearing, Day 3, 27:7-23 .



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         remuneration due to CSP plants, which were expressly specified in the regulation and were
         dependent on the market. 821

569. Finally, Spain contends that the disputed measures were adopted to address the Tariff
     Deficit and preserve the sustainability of the electricity system. 822 Indeed, the record
     indicates that the main purpose of these measures was to address the said deficit. 823

570. It is undisputed that the Tariff Deficit poses a legitimate public policy problem for Spain.
     However, the experts of both Parties agree that the Tariff Deficit originated before Spain
     had any significant RE capacity. 824 The Respondent's suggestion that the incentives offered
     under the Original Regime caused the deficit is therefore unattainable.

571. Moreover, Brattle showed that, "Spain provided cumulative financial support of €0.6
     billion to CSP from 2000 to 2011, which was less than 0.6% of €118 billion in cumulative
     costs of regulated activities other than generation." 825 Accordingly, the Tribunal is not
     persuaded that the FIT for CSP plants played a significant role in the accumulation of the
     Tariff Deficit.

572. Under these circumstances, the Tribunal cannot agree that the Tariff Deficit justified the
     elimination of the key features of the RD 661/2007 regime and its replacement by a wholly
     new regime, not based on any identifiable criteria.

573. For the reasons stated above and based on the facts credited in the record of this arbitration,
     the Tribunal cannot conclude that Spain complied with its obligation under Article 10(1)
     of the ECT.

IX.      REPARATION

         A.      CLAIMANTS' POSITION



                   1.     Spain 's international responsibility for violations o(the ECT


574. Since Spain has breached its obligations under Article 10 of the ECT, the Claimants are
     entitled to full reparation in accordance with principles of customary international law, as

821
      See, e.g., '1!'1! 559 et seq. supra.
822
      Respondent's Counter-Memorial, 'll'll 442 and 443.
823
      See Exhibit R-0081, Copy of the letter from the Secretary of State for Energy, Ministry of Industry, Energy and
      Tourism, to the President of the National Energy Commission of 27 January 2012.
824
      Brattle Regulatory Report I, 'I! 14; and Brattle Regulatory Report II, 'I! 37; BDO Regulatory Report I, 'I! 121;
      Hearing, Day 5, 81:2-7.
825
      Brattle Regulatory Report I, 'I( 84.


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             codified in the International Law Commission's Articles on the Responsibility of States
             for Internationally Wrongful Acts ("ILC Articles"). 826 Thus, Spain is under an obligation
             to make restitution to or, alternatively, compensate the Claimants for its internationally
             wrongful acts. Accordingly, Spain must, as far as possible, put the Claimants in the position
             they WO\lld have been in but for Spain's wrongdoing. 827

575. Spain is obliged to effect restitution by withdrawing all the harmful laws and regulations
     disputed by the Claimants (namely the relevant articles of Law 15/2012, RDL 2/2013, RDL
     9/2013, Law 24/2013, Order IET/1045/2014 and Order IET/1882/2014), while also
     compensating the Claimants for all losses suffered prior to the reinstatement of the original
     regulatory regime. In the alternative, if the Tribunal were to believe that restitution is either
     materially impossible or wholly disproportionate, the Respondent must pay the Claimants
     compensation for any financially assessable damage including loss of profits insofar as this
     is caused by the Disputed Measures. 828

576. The ECT does not provide for a measure of damages for a breach of Article 10. Thus, the
     standard of damages applicable to a breach of Article 10 is the fair market value standard,
     specifically the difference in the fair market value of the investments with and without the
     Disputed Measures. 829 The fair market value is the standard applicable under Article 13 of
     the ECT in the event of a lawful expropriation and has been held by previous tribunals as
     the appropriate standard for compensation for a breach of the FET clause in the Argentina-
     U.S. BIT which, like the ECT, has no standard of compensation applicable to the FET
     clause but establishes that lawful expropriations must be compensated through the fair
     market value standard. 830 Likewise, the tribunal in Anatolie Statie v. Kazakhstan 831 held
     that the standard of damages for a breach of Article l 0(1) of the ECT should not be lower
     than the fair market value standard prescribed by Article 13 of the ECT. 832

                     2.      Valuation methodology and valuation date


577. The removal of the FIT has significantly affected the Claimants' investments. It threatened
     the Claimants' ability to operate the Andasol Plants in accordance with their loan
     obligations and exposes Andasol-2 SA to a possibility of default on its debt. The Disputed
     Measures have also created significant regulatory risk in the Spanish RE market, which

826
         Claimants' Memorial, ,i,i 465-466.
827
         Claimants' Memorial, ,i,i 467-469.
828
         Claimants' Memorial, ,i,i 470-471.
829
         Claimants' Memorial, ,i,i 472-473.                                    .
83
     °   Claimants' Memorial, ,i,i 474-475. Claimants cite CMS v. Argentina (Award), ,i,i 409-410; Enron v. Argentina
         (Award), ,i,i 361-363; Sempra v. Argentina (Award), ,i,i 403-404; Azurix v. Argentina (Award), ,i 424.
831
         Stati et al. v. Kazakhstan (Decision), ,i,i 1460-1461.
832
         Claimants' Memorial, ,i 476.


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         has had a negative impact on Antin's investments, and thus Spain must compensate the
         Claimants for the lost fair market value of their investments, comprised of lost historical
         and future cash flows. 833

578. Brattle values the fair market value of Antin's investments in the Andasol Plants using a
     discounted cash flow ("DCF") analysis. Brattle compares two scenarios: the "But For"
     scenario, in which the Disputed Measures were never implemented, and the "Actual"
     scenario, which takes into account the full effect of the Disputed Measures. This comprises
     lost cash flows, both historical and future. The amount of damages due to the Claimants is
     the difference in the net present value between the Claimants' cash flows with and without
     the Disputed Measures. 834

579. A DCF approach, which involves looking forward from the valuation date and projecting
     the most likely revenues and expenses of the going concern, is the approach that most
     accurately captures the Claimants' lost future cash flows, since it recognises that future
     cash flows have less value than current cash flows due to market risk and the time value of
     money. The DCF method is considered to be theoretically the strongest of the valuation
     methods frequently chosen by tribunals. 835

580. In the present case, a DCF analysis is appropriate since (i) it can be used to explore the
     impact of different scenarios on the Claimants' cash flows and enables regulatory risk to
     be properly accounted for; (ii) it is particularly appropriate for the valuation of power
     stations and has come to dominate such valuations, and (iii) CSP projects have a relatively
     simple business model whose demand and long-run value can be analysed and modelled
     in detail based on readily available data. 836

581. As a general principle, damages resulting from a breach are valued as at the date ofhann.
     In cases of breach of an FET clause where the State has implemented multiple measures,
     tribunals have drawn on the test applied in cases of indirect expropriation. In such cases,
     there is growing recognition that the appropriate date for determining liability and valuing
     damages should be the date of culmination of all the events, i.e., the point of irreversible
     deprivation of the property, rather than the date of the first event. 837

582. This test has been adapted for breaches other than expropriation, including the obligation
     to provide FET. 838 In the case at hand, the Tribunal should thus consider when the

833
      Claimants' Memorial,, 477.
834
      Claimants' Memorial, ,, 478-480.
835
      Claimants' Memorial,,, 486-487.
836
      Claimants' Memorial,, 488.
837
      Claimants' Memorial,,, 490-493.
838
      Claimants cite Azurix v. Argentina (Award),,, 417-418; Enron v. Argentina (Award),, 405.


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          Claimants suffered harm by reference to the irreversible deprivation test, taking into
          account when the most serious damage was caused to the Claimants. For such purpose, the
          relevant date is 20 June 2014, on which Ministerial Order IET/1045/2014, the final act of
          the Spanish measures, was published. 839

 583.. To this regard, there are seven potential dates for valuation, corresponding to the different
       dates on which the Disputed Measures were adopted. Two of these dates may be considered
       to be the relevant date for valuation purposes. First, 12 July 2013, date on which Spain
       introduced RDL 9/2013, which was a complete overhaul of the RD 661/2007 economic
       regime. And second, 20 June 2014, date on which the Government published Ministerial
       Order IET/1045/2014, which set out the precise parameters for calculating the Special
       Payment under the New Regime. It is 20 June 2014 the date that is the most appropriate
       valuation date since (i) it was only then that Spain defined the parameters of the New
       Regime, confirming the total departure from the RD 661/2007 regime and thus, prior to
       that date, irreversible deprivation had not taken place; (ii) taking a valuation prior to 20
       June 2014 is artificial and would require using hindsight, since from 12 July 2013 until that
       date the Claimants were unable to assess the extent of the impact of the New Regime and
       could not value their investments and (iii) 20 June 2014 represents the ultimate act of a
       two-year legislative backlash against RE, and on that date over 71 % of the value of the
       Claimants' investments was wiped out. 840

584. By applying certain assumptions, Brattle calculated the difference in the total lost historical
     cash flows in the Andasol Plants to be EUR 25 million. Pursuant to its percentage
     shareholding in the Andasol Companies, Claimants' portion of those lost cash flows is
     EUR 11 million. 841

585. Regarding the lost future cash flows, Brattle calculates the Base Net Present Value ("Base
     NPV") of the reasonably-expected cash flows of the Andasol Plants. In the But For
     scenario, the Base NPV of the two CSP projects is EUR 935 million, while in the Actual
     scenario the Base NPV is EUR 498 million. Thus, the Disputed Measures have decreased
     the Base NPV of the CSP projects by EUR 437 million, which represents the lost net
     present value of the equity held in the CSP projects. Brattle then adjusts the Base NPV in
     both scenarios to take into account the positive "financing side-effects" of holding debt
     ("Adjusted NPV"). In the But For scenario, these effects amount to EUR 34 million and
     the Adjusted NPV is EUR 970 million, while in the Actual scenario they amount to EUR




839
      Claimants' Memorial,,, 494-498.
84
     ° Claimants' Memorial,,, 499-502.
841
      Claimants' Memorial,,, 504-506.


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         43 million, corresponding to an Adjusted NPV of EUR 541 million. Thus, the impact of
         the Disputed Measures is reduced by EUR 8 million to EUR 429 million. 842

586. Brattle then subtracts from each scenario the net present value of the debt held by the
     Andasol Companies, obtaining the "Final Equity Value". In the But For scenario, the net
     present value of the debt is EUR 376 million, resulting in a Final Equity Value of EUR 593
     million, while in the Actual scenario the present value of the debt is EUR 366 million,
     resulting in a Final Equity Value of EUR 17 5 million. Hence, the Disputed Measures have
     reduced the Final Equity Value by EUR 419 million. Brattle then assigns a percentage of
     the Final Equity Value to the Claimants, in proportion to the Claimants' 45% shareholding
     in the Andasol Companies, and subsequently applies an illiquidity discount of 18%, since
     the Claimants' CSP assets are difficult to trade. This results in lost future cash flows to the
     Claimants, as of 20 June 2014, amounting to EUR 155 million. 843 Together with the lost
     historical cash flows, Antin's damages amount to EUR 166 million, excluding interest and
     tax gross-up. After taking into account scheduled maintenance at the Andasol Plants and
     the lifetime of the storage and non-storage components of the plants, the Claimants' lost
     cash flows amount to EUR 148 million. 844

587. The Claimants request that the Tribunal award both pre-award and post-award interest on
     the amounts due. In this regard, Article 13 of the ECT provides that interest will be
     calculated at a commercial rate established on a market basis from the date of expropriation
     until the date of payment. Although this article is only applicable to expropriation, this is
     also the appropriate benchmark for the assessment of damages arising out of breaches of
     the ECT other than expropriation. 845 ·

588. Interest intends to achieve full reparation, as required by Article 38 of the ILC Articles,
     and to re-establish the situation that would have existed if the illegal acts had not been
     committed. Thus, interest is an integral part of any award of compensation. 846 Since pre-
     award and post-award interests serve different purposes, the Tribunal may and should
     adopt different rates for each. 847

589. As regards to pre-award interest, a rate that affords full reparation and is a commercial rate
     established on a market basis within the meaning of the ECT, is Spain's borrowing rate
     (based on the yield on Spanish 10-year bonds) which for the relevant period is 2.07%,
     compounded monthly. Awarding compound interest reflects the commercial reality of the

842
      Claimants'   Memorial, ,r 507.
843
      Claimants'   Memorial, ,r,r 507-508.
844
      Claimants'   Reply, ,r,r 727, 749-750.
845
      Claimants'   Memorial, ,r 528.
846
      Claimants'   Memorial, ,r 530.
847
      Claimants'   Memorial, ,r 531.


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             situation and is consistent with the most recent practice of investment treaty tribunals. 848
             Concerning post-award interest, they serve the dual purpose of ensuring prompt
             compliance and preventing unjust enrichment. The Tribunal should order post-award
             interest at a rate higher than 2.07%, also compounded on a monthly basis. 849

 590. Finally, to achieve full reparation, damages should be subject to a tax gross-up, since they
      are calculated to place the Claimants in the same position they would have been in, net of
      tax. Any amounts received by the Claimants will be subject to a corporate tax at a rate of
      29.22%, the Luxembourg corporate tax rate, and the Tribunal should therefore order a
      compensation including a tax gross-up of29.22%. 850

591. Contrary to the Respondent's allegations, the Brattle Quantum Reports do not lack
     transparency. They provided the underlying detail for all of the adopted assumptions, and
     thus BDO had all the information it needed to construct its own model of damages or,
     alternatively, if it disagreed with Brattle's assumptions, to adopt its own and devise a
     different damages calculation. 851

                      3.         The Respondent's criticisms to the damages calculations submitted by the
                                 Claimants

                            a.       The Claimants' damages are not speculative

592. Even if the Tribunal were to find, as requested by the Respondent, that the Claimants'
     legitimate expectations were limited to obtaining a "reasonable return" (which is denied)
     the Claimants have not received and will not receive a reasonable return under the New
     Regime. The New Regime has reduced the rate ofreturn that was implicit in RD 661/2007
     and thus Spain still incurs liability and the Claimants have suffered losses for which they
     must be compensated. 852

593. Moreover, Spain assumes that a decision of the Spanish Supreme Court which allegedly
     takes issue with the DCF method is relevant to this arbitration. However, the internal law
     of the host State has limited relevance to the wrongfulness of an act attributable to that
     State under an international instrument such as the ECT. Thus, the appropriate method for


848
         Claimants' Memorial, ,r,r 532-534. Claimants cite Santa Elena v. Costa Rica (Award), ,r 106; Maffezini v. Spain
         (Award), ,r 96; Wena Hotels v. Egypt (Award), ,r,r 128-130; Micula v. Romania (Award), ,r,r 1266-1267;
         Occidental v. Ecuador (II) (Award), ,r 848; El Paso v. Argentina (Award), ,r 746; Lemire v. Ukraine (Award), ,r,r
         360-361.
849
         Claimants' Memorial, ,r 535.
85
     °   Claimants' Memorial, ,r 536.
851
         Claimants' Reply, ,r,r 735-738
852
         Claimants' Reply, ,r 742.



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         reparation is a question to be determined solely by reference to public international law
         and the ECT standard of fair market value. 853

                        b.     The DCF method is appropriate

594. Spain asserts that the DCF method should be rejected in this case. However, Spain has
     itself adopted the DCF method in this same context in order to (i) develop cash flow
     forecasts for attracting investors in its RE sector in 2005, (ii) design the tariff regime
     applicable under RD 661/2007, and (iii) design the New Regime. 854 Moreover, whether or
     not a DCF method is appropriate reduces to the single consideration of the certainty of
     future cash flows, and hence issues of duration (of both the existing track record and the
     projection) and financial viability, to the extent they are relevant at all, all go to the question
     of whether the future cash flows determined by the expert are likely to eventuate. 855

595. The DCF method is almost universally used and accepted by both the business and
     academic community in valuing income-producing assets, and it has been confirmed by
     numerous tribunals to be the standard approach for calculating the fair market value of an
     investment for purposes of compensation of breaches of international law. 856 Tribunals
     adopting the DCF approach expressly acknowledge that projecting future cash flows
     requires a degree of conjecture, but minimize speculative elements by carefully analysing
     the underlying assumptions and parameters. Moreover, DCF discounts more distant cash
     flows more severely than near-term cash flows, assigning distant cash flows lower value
     to reflect the way that uncertainty compounds o·ver time. 857

596. Even though there are certain circumstances in which the DCF method is not appropriate
     due to uncertainties regarding future cash flows, that is clearly not the case at hand. 858 As
     of the valuation date, the Andasol Plants were well-established and had been operating and
     producing electricity for the national grid since 2009. In addition, the projects were fully
     financed and, without the Disputed Measures in place, the Andasol Companies would not
     have had trouble servicing their loans. Moreover, the DCF method has come to dominate
     the valuation of power stations, and it was used by all the relevant parties who have valued
     the Spanish CSP assets, including the Claimants, the lenders providing project finance and
     Spain itself. 859


853
      Claimants' Reply, ,r 745.
854
      Claimants' Reply, ,r 752.
855
      ciaimants' Reply, ,r 755.
856
      Claimants' Reply, ,r 757. Claimants cite Occidental v. Ecuador (II) (Award), ,r 708; Enron v. Argentina (Award),
      ,r 385; CMS v. Argentina (Award), ,r 416; Sempra v. Argentina (Award), ,r 416.
857
      Claimants' Reply, ,r,r 758-760.
858
      Claimants' Reply, ,r,r 761-762. Claimants cite Khan Resources v. Mongolia (Award on the Merits), ,r 390.
859
      Claimants' Reply, ,r,r 763-765.


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597. Spain argues that there is too much uncertainty regarding the future cash flows due to the
     Claimants and that the DCF method is therefore umeliable. This is contradictory with
     Spain's own argument that under the New Regime investors are still obtaining a reasonable
     return of approximately 7.4% pre-tax, implying that their investments are at low risk. In
     any event, the future cash flows have been estimated with sufficient certainty by Brattle to
     warrant the use of a DCF calculation. 860

598. First, concerning the standard of proof for the certainty of cash flows, the general tendency
     in investment-treaty jurisprudence has been to assess said standard as being akin to the
     balance of probabilities, that is, the claimant only needs to provide a basis upon which the
     tribunal can, with reasonable confidence, estimate the extent of the loss. 861 A smaller
     number of tribunals, to the contrary, consider that a claimant must meet a rather high
     standard when demonstrating that projected cash flows are likely to be realized. Whatever
     the standard adopted by the Tribunal, the Claimants easily meet their burden of proof, since
     Brattle's DCF calculation is based on mostly objective data. That is the case, firstly, for
     the Base NPV, which is based on predominantly objective inputs, including data regarding
     production, electricity prices, natural gas prices, inflation, financial support, operations and
     maintenance costs, lifetime of the plants, the regulatory risk and the discount rate used. 862

599. As concerns Adjusted NPV, Brattle's accounting for financing side-effects, including the
     discount rate applied, is based on objective or actual data. Likewise, the Final Equity Value
     of the debt is calculated based on objective third-party data. 863

600. Second, contrary to Spain's allegations, the Andasol Companies have sufficient operating
     history to warrant the adoption of a DCF methodology. Even though certain tribunals have
     considered the duration ofan investment's operating history in this context, not all tribunals
     adopt that approach. Some do not consider operational history to be a particularly
     persuasive factor, and others award damages with regards to assets with a very short or no
     operational history. 864 Even those tribunals that have ultimately rejected the DCF method
     on the facts of the case have expressly recognized the possibility of adopting such method
     notwithstanding a short operating history. 865 This is so given that even without any history
     of performance, future cash flows can be estimated using other evidence such as business



86
     ° Claimants' Reply, ,r,r 766-768.
861
      Claimants' Reply, ,r 770. Claimants cite Lemire v. Ukraine (Award), ,r 246.
862
      Claimants' Reply, ,r,r 773-780.
863
      Claimants' Reply, ,r,r 782-783.
864
      Claimants' Reply, ,r,r 784-78.8. Claimants cite Enron v. Argentina (Award), ,r 369; Amco v. Indonesia (Award), ,r
      274; Sapphire International Petroleum Ltd. v. National Iranian Oil Co. (Award), p. 189.
865
      Claimants' Reply, ,r,r 789-790. Claimants cite Vivendi v. Argentina (Award), ,r 8.3.4; Al-Bahloul v. Tajikistan
      (Final Award), ,r 74.



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            plans, feasibility studies or analyst reports that contain analyses of projected costs and
            revenues, validated with market indicators and industry forecasts. 866

601. The relevance of a history of operational performance will depend on other factors, such
     as the volatility of cash flows; in circumstances where the revenues are stable, such as the
     case at hand, the duration of such history is less important. 867 However, even if the Tribunal
     were to consider the length of operating history as a relevant factor, there is sufficient
     historical evidence to support a DCF method: the Claimants acquired their stake in the
     Andasol Plants in August 2011 and thus Brattle had almost four years of data on which to
     base its future estimated cash flows. 868

602. Third, Spain argues the lack of financial viability of the Andasol Companies, allegedly a
     consequence of their own financial choices, in order to suggest that a DCF method is
     inappropriate. However, this is not true: if the Andasol Companies, particularly Andasol-
     2 SA, suffer any financial difficulties, it is due to the reduction of cash flows stemming
     from the Disputed Measures. In fact, the Andasol Companies had conservative debt: equity
     ratios as compared to other similar projects in the RE sector. In this regard, Spain
     acknowledged that a large percentage of RE investment would require leverage.
     Additionally, the Andasol Companies were making windfall profits, which suggests their
     viability is not in question. 869

603. In any event, very few tribunals have considered the financial state of a claimant as being
      relevant to assessing the future prospect of the investment. Where this has been an issue, it
    · is because such financial state has undermined the ability for the investment to be profitable
      in the future. 870

604. Fourth, Spain argues that the volatility of pool prices renders the use of the DCF method
     inappropriate due to its uncertainty. However, such volatility is precisely one of the reasons
     for implementing a FIT regime, and thus under RD 661/2007 the pool price has only
     minimal impact on the remuneration received by CSP facilities, further limited by the
     established caps and floors. 871

605 . Fifth, Spain objects to how the long-term predictions are forecasted, to 37 years. However,
      standard practice is to forecast cash flows far out into the future. Moreover, contrary to


866
         Claimants'.Reply, 'if 786.
867
         Claimants' Reply, 'if 791.
868
         Claimants' Reply, 'if 792.
869
         Claimants' Reply, 'i['i[ 793-796.
87
     °   Claimants' Reply, 'i['i[ 797-800. Claimants cite Wena Hotels v. Egypt (Award), 'if 124; CMS v. Argentina (Award),
         'i['i[ 413,417, 424-427.
871
         Claimants' Reply, 'i['i[ 803-804.



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          Spain's allegations, the useful lifetime assumptions of the Andasol Plants made by Brattle
          are reasonable. 872

606. Sixth, Spain argues that the DCF approach is inappropriate since the solar thermal industry
     is in evolutionary phase and lacks the necessary maturity. However, the uncertainty
     surrounding investments in RE in Spain are of the Respondent's own doing. Likewise, any
     technology risks that may have existed at the time the Claimants invested have since largely
     been resolved and do not affect Brattle's ability to forecast future cash flows. Power
     stations have a relatively simple business, and future revenues and cash flows for CSP
     power stations are well-defined. 873

607. Finally, Brattle's assumptions are not inherently subjective nor produce speculative
     damages, as alleged by Spain. To the contrary, Brattle's DCF calculation is conservative
     and consistent with recent market transactions. 874

608. In addition to the above, the argument raised by Spain that there is a disparity between the
     amount that Antin invested and the amount it claims in damages is irrelevant. However, in
     neither of the cases ( Wena Hotels v. Egypt and Teemed v. Mexico) cited by the authors in
     which Spain bases its allegations was the "disparity" factor a relevant consideration for
     rejecting the DCF method. In those cases, the tribunal's primary concern was the certainty
     of future cash flows, which is not in doubt in the case at hand. Moreover, the disparity
     between the amount claimed and the amount invested in both cases was significant and
     much greater than the difference in the present case, although it was not in itself a sufficient
     reason for rejecting the DCF method. 875

                          c.      The investment-based method is inappropriate

609. Spain alleges that Antin should only be entitled to the recovery of its investment costs (the
     "regulatory asset base" or "RAB") together with a reasonable return on those costs.
     However, contrary to Spain's allegations, the investment-based approach is inappropriate.
     First, it is not less speculative and easier than an income-based approach like the DCF
     method, since the assumptions underlying Brattle's calculation are mostly objective and
     simplicity cannot be assessed when BDO has not calculated the Claimants' damages based
     on the investment-based method. 876 Second, the investments were not acquired near the
     valuation date, but nearly three years before, and in any event Spain cites no authority for
     how the temporal proximity of an investment with the valuation supports the adoption of

872
      Claimants'   Reply, ,r,r 806-809.
873
      Claimants'   Reply, ,r,r 810-813.
874
      Claimants'   Reply, ,r,r 814-817.
875
      Claimants'   Reply, ,r,r 818-826.
876
      Claimants'   Reply, ,r,r 833-835.


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            the investment-based method. And third, Spain alleges that the Claimants' investments are
            a capital-intensive business with an important asset base, with no intangible assets to
            assess; however, it is unclear what the basis of this assertion i~, and thus it may not be
            addressed in detail. 877

610. In addition to the above, the Claimants are not aware of a single ECT award where the
     tribunal has opted for an investment-based method to assess the fair market value under
     Article 10 or Article 13. Moreover, the specific kind of investment-based method
     suggested by BDO, the RAB method, is not an appropriate measure of fair market value in
     the circumstances. First, BDO's reliance on this approach is highly unusual and without
     support from investment-treaty jurisprudence. In fact, the RAB is not used to value the fair
     market value of assets, the value of a company can differ from its RAB and this method is
     only used in the context of distribution monopolies. 878 Second, the RAB is not a bona fide
     alternative to assessing the fair market value of the Claimants' investments since it does
     not account for the regime change that took place, but simply assumes that a different
     regime was in place at the time Antin made its investment. 879

611. The Respondent further argues that the Andasol Plants will obtain a better return than the
     corresponding standard facility. This argument is irrelevant to the Claimants' damages and
     it appears to be a further manifestation of Spain's submissions concerning the reasonable
     return, questioning its liability. In any event, BDO has used the wrong capital expenditure
     figures for the Andasol Plants, understating the actual cost outlay incurred, and it has
     overlooked production at the Andasol Plants, which is approximately 10% lower than
     production assumed for the comparable standard installation, which leads to a lower
     operating incentive. Thus, it is incorrect to conclude that the Andasol Plants would earn
     more than the reasonable return set by the New Regime. 880

                             d.    Spain's prejudicial allegations

612. First, Spain alleges inconsistencies regarding asset impairments. As Brattle explains, there
     is no such inconsistency, and, on any view, asset impairments are irrelevant to damages
     since they are based on fundamentally different considerations. 881

613. Second, BDO opines that the Claimants were speculators. Such commentary does not fall
     within the scope of an expert report on damages and, in any event, it does not withstand
     scrutiny. Firstly, the price the Claimants' paid for their investment, their contemplated exit

877
         Claimants'    Reply,,, 836-837.
878
         Claimants'    Reply,,, 839-842.
879
         Claimants '   Reply,,, 843-844.
88
     °   Claimants'    Reply,,, 846-850.
881
         Claimants'    Reply,,, 853-859.


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          in 2017 and the construction costs incurred in tl.te Andasol Plants have no bearing on the
          fair market value of the Claimants' investment with and without the Disputed Measures.
          Secondly, BDO's speculation claim comparing the price paid by the Claimants to the price
          of ACS Cobra's equity investment is flawed. Thirdly, BDO fails to address the relevance
          of the Claimants' cash flow expectations or its possible exit at a higher price than it
          originally invested; in any event, the Claimants' expectations were not unreasonable or
          consistent with a speculative investment. Fourthly, BDO's interpretation of the medium
          risk of regulatory change does not assist BDO's argument regarding speculation and, in
          any event, regulatory risk has been taken into account by Brattle in its report. Finally,
          BDO 's assertion that the Claimants are speculators is contrary to the evidence on the record
          in this arbitration, including the Fund's investment strategy and its decision-making
          process. 882

                   4.      The Claimants' alternative damages calculation


614. Even if the Tribunal were to find that the Claimants' legitimate expectations were limited
     by a reasonable return, the Claimants have still suffered damages. In this alternative
     hypothetical scenario, the Claimants would only be entitled to earn the reasonable return
     that was implicit in the FIT originally offered by the Original Regime. Three principles
     underpin this alternative scenario. First, the retroactivity of the New Regime is removed.
     For such purpose, Brattle assumes that (i) the Andasol Plants were entitled to earn what
     Spain considered reasonable at the time (9.5% after-tax for the premium option under RD
     661/2007); (ii) all CSP plants would be entitled to the same levels of financial support
     regardless of their past gains; and (iii) Spain is prevented from retroactively imposing
     lower cost and efficiency targets on plants that turned out to be cheaper and/or perform
     better. 883

615. Second, the reasonable return that allegedly underpinned RD 661/2007 was not expressly
     identified at the time. Based upon contemporaneous documents, Brattle has determined
     that a 9 .5% after-tax return is a reasonable target. And third, Spain never published the cost
     target underpinning RD 661/2007. Brattle has used the marginal plant concept and assessed
     the Claimants damages under three possible interpretations of the marginal plant,
     highlighting that in the most logical scenario levelised costs are EUR 500/MWh with a
     9.5% after-tax return, in contrast to approximately EUR 350/MWh with a 7.4% pre-tax
     return, representing a loss of EUR 150 for each MWh ofproduction. 884



882
      Claimants' Reply, ,r,r 860-866.
883
      Claimants' Reply, ,r,r 867-872.
884
      Claimants' Reply, ,r,r 873-882.


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616. With these principles in mind, Brattle adopts the DCF method to assess the Claimants'
     damages under the alternative scenario, taking the difference between the fair market value
     of the Claimants' investments under the But For and Actual scenarios as at June 2014 to
     estimate the Claimants' damages. Brattle applies a series of assumptions to each of the
     three levelised cost targets identified and calculates the Claimants' damages as follows:
     (i) in scenario 1, which considers the most expensive tower system as the marginal plant,
     the Claimants' damages are EUR 196 million; (ii) in scenario 2, which considers the most
     expensive parabolic trough scenario as the marginal plant, the Claimants' losses amount to
     EUR 105 million; (iii) in scenario 3, which computes the Claimants' damages by reference
     to the actual construction costs at the Andasol Plants, the Claimants' damages amount to
     EUR 100 million, all such amounts net of interest and tax. 885

         B.     RESPONDENT'S POSITION


617. The Claimants have no right to compensation, since (i) the legal regime has always, since
     1997, granted a reasonable return, and thus the Claimants have not suffered any deprivation
     or damages, and (ii) Spain has not violated any ECT provisions. Notwithstanding the
     above, in an ancillary manner, (i) the alleged damages are totally and absolutely
     speculative, (ii) the DCF method is inappropriate in light of the circumstances, (iii) the
     standard established for the Andasol Plants in Order IET/1045/2014 covers the investment
     costs undertaken, and (iv) the Brattle Report has serious flaws. 886

                  1.     The alleged damages are totally and absolutely speculative


618. The distinction made by Brattle between historical cash flows and future cash flows must
     be rejected since it ignores the concept of useful regulatory life, as well as the joint
     consideration of past flows and future flows, which are relevant in order to guarantee the
     reasonable return of investments undertaken. The parameters used by the Claimants in their
     Actual and But For scenarios, including the time frame used and the assumption that the
     actual retribution system will remain petrified in the next decades, are hypothetical .and
     illusory and ignore the fact that the guiding principle of the system is the guarantee of a
     reasonable return, which is a dynamic concept. Such a reasoning has been repeatedly
     rejected by the Spanish Supreme Court in decisions regarding modifications to the
     remuneration regime applicable to RE, where it has established that forecasts for long
     periods into the future, such as the one used by Brattle, lack rigor and security. Thus, the




885
      Claimants' Reply, ,r,r 883-890.
886
      Respondent's Counter-Memorial, ,r,r 927-933.


                                                     167
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         calculation of damages undertaken is speculative and such damages have not even been
         minimally proven. 887

                     2.     The DCF method is inappropriate in light of the circumstances, in
                            accordance with the doctrine

619.       Arbitral doctrine and case law are clear in banning the application of the DCF method
           when its application is excessively speculative. In such cases, greater credibility has been
           granted to more reliable methods, such as those based on assets. 888 DCF will oftentimes
           result in an overvaluation of the impacts suffered by the Claimants, and in the case at
           hand it is unfair and impossible to apply such method since (i) there is not sufficient
           financial record sustaining a minimally solid future forecast on cash flows; (ii) almost all
           of the costs are investment costs in tangible infrastructures recently completed, and there
           are no significant intangible assets to be assessed; (iii) the solar thermal industry is in an
           evolutionary phase, and lacks the necessary maturity; (iv) there is a high dependence on
           cash flows stemming from volatile and unpredictable exogenous sources, such as pool
           prices; (v) the agreed project finance structures are financially weak and the plants are
           excessively leveraged, compromising and conditioning their viability; (vi) the long term
           predictions are calculated up to 37 years; (vii) there is a contradiction between such time
           horizon and the Andasol Plants' official useful life, as registered in their official
           accountability, i.e., between 15 and 20 years; (viii) there is an evident disproportion
           between the historical track record (less than five years) and the forecast time frame (3 7
           years); and (ix) there is a disproportion between the alleged investment (and the alleged
           assumed risk) and the sum claimed. 889

620. In particular, it must be underscored that the useful life of the Andasol Plants would be, as
     a maximum, 25 years, and not 40 years as considered by Brattle. In fact, Claimants never
     expected the Andasol Plants to have a useful life exceeding 25 years. As mentioned before,
     the official useful life, as registered in the official accountability of the Andasol
     Companies, varied between 15 and 20 years. Likewise, both the Draft Law Report for
     RD 661/2007 and the 2005-2010 Plan estimated a useful life of 25 years. This conclusion
     has been supported by both the expert report prepared by Dr. Thomas R. Mancini (the
     "Mancini Report") and the expert report prepared by Dr. Jorge Servert (the "Servert
     Report), which show that the Andasol Plants will have a useful life of 25 years or less. 890



887
      Respondent's   Counter-Memorial, ,r,r 934-941; Respondent's Rejoinder, ,r,r 921-924.
888
      Respondent's   Counter-Memorial, ,r,r 945-946.
889
      Respondent's   Counter-Memorial, ,r,r 948-950.
890
      Respondent's   Rejoinder, ,r,r 935-943.


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621. Moreover, the calculations made by the Claimants have not taken into account the
     necessary renovations that, according to said reports, will have to be made, nor did they
     consider that the storage system will probably be inoperative before 25 years, leading to a
     substantial reduction in the number of operating hours. This could entail that the Disputed
     Measures actually had a favourable impact on the Andasol Plants. Moreover, Brattle has
     not considered that a substantial modification of the components of the Andasol Plants
     would entail a new date of entrance into service under Article 4.3 of RD 661/2007, which
     would in turn cause RD 661/2007 to be inapplicable. 891

622. In this sense, the DCF method has been rejected by tribunals on several grounds, including
     lack of sufficiently long performance record, failure to establish future profitability of the
     investment, lack of sufficient funds to complete and operate the investment and large
     disparity between the amount actually invested and the amount claimed. Hence, due to the
     unfairness of DCF, tribunals have often used methods based on the costs of assets in order
     to assess damages, analysing whether such assets have been recovered and whether a
     reasonable return has been obtained on them. These methods are less speculative and easier
     to apply and are particularly appropriate when the date of acquisition of the assets is close
     to the date of valuation, since on that date the price paid for the asset normally represents
     its market value. A valuation based on DCF should thus be discarded in the present case. 892

                  3.      The standard established for the Andasol Plants in Ministerial Order
                         IET/1045/2014 covers the investment costs undertaken


623. The standard established for the Andasol Plants in Ministerial Order IET/1045/2014 covers
     the investment costs undertaken by the Claimants. In fact, said Order established a standard
     investment cost applicable to facilities with the characteristics of the Andasol Plants that
     is between 12% and 14% greater than the investment actually declared by the Andasol
     Companies. Hence, the specific return received by the Andasol Plants pursuant to
     Ministerial Order IET/1045/2014 will be much higher than the reference return set forth
     therein. 893




891
      Respondent's Rejoinder, ,i,i 944-947.
892
      Respondent's Counter-Memorial, ,i,i 950-955; Respondent's Rejoinder, ,i,i 926-933.
893
      Respondent's Counter-Memorial, ,i,i 957-958.


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                   4.     Serious flaws of the Brattle Quantum Report

624. The Brattle Quantum Report has serious flaws that totally and absolutely invalidate its
     conclusions. Particularly, the report is opaque and does not provide the information used,
     and hence it cannot be checked or verified. 894

                   5.     Subsidiary calculations using DCF render positive financial impacts for the
                          Claimants

625. In the alternative, BDO has calculated the financial impact of the Disputed Measures in
     accordance with the DCF method, adopting two different alternatives for the But-For
     scenario: first, by a But-For scenario calculated by reference to the provisions of
     RD 36/2004, which was in force at the time the greenfield investment was made in the
     Andasol Plants; and second, a But-For scenario calculated in accordance with
     RD 661/2007. Under the first scenario, the Disputed Measures, as compared with
     RD 436/2004, render a positive financial impact of EUR 11 million for the Claimants.
     Under the second scenario, BDO calculates a negative impact of only EUR 18 million for
     the Claimants, 88% less than the impact calculated by Brattle. 895

626. Such a difference arises from the different DCF models used and the different parameters
     considered: BDO, contrary to Brattle, has considered a useful life of the plants of25 years,
     and it has taken into account that the conditions of the But-For scenario would entail a
     greater risk and greater uncertainty than those existing under the Actual scenario.
     Moreover, BDO carried out a sensitivity analysis of the financial impacts before the
     changes in the level of indebtedness or leverage, considering that the decision on the degree
     of indebtedness of a company is an individual decision freely adopted by each economic
     agent. Such analysis shows that the financial impact is very sensitive to the degree of
     leverage: even in the second scenario, reducing the debt ratio to 50% reduces the financial
     impact to less than half, and further reducing it to 25% would eliminate the negative
     financial impact of the measures. 896

627. Moreover, all of these calculations were made by applying the models used by Brattle,
     which were flawed since they did not take into account different issues related to the useful
     life of the technical components of the Andasol Plants. Considering such issues would
     affect the cash flows and further reduce the impact claimed by the Claimants. Likewise,
     any pre-award interest to be granted between the valuation date and the date of the Award


894
      Respondent's Counter-Memorial, ,r,r 959-961.
895
      Respondent's Rejoinder, ,r,r 951-957.
896
      Respondent's Rejoinder, ,r,r 958-962.


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         should not be calculated based on the interest rate adopted by Brattle (10-year bond), but
         on a rate that has a temporal correlation with the time gap between the valuation date and
         the estimated date of the award (2-year bond). Thus, even when using the speculative DCF
         method proposed by the Claimants, the hypothetical financial impact of the Disputed
         Measures is either positive or quantitatively negligible in relative terms. 897

                 6.        The inappropriateness of the tax gross-up proposed by the Claimants


628. The Claimants request the Tribunal to include within the amount granted as compensation
     a tax gross-up, in order to compensate the hypothetical tax payable by the Claimants in
     Luxembourg over such amount. However, this request is inadmissible. First, the tax gross-
     up proposed by the Claimants is vetoed by Article 21 of the ECT which establishes a tax
     gross-up carve out, by providing that nothing in the ECT shall create rights or impose
     obligations with respect to taxation measures of the Contracting Parties to the ECT. This
     carve out applies to taxation measures adopted by both the host country and the home
     country, since both are Contracting Parties. Moreover, the second sentence of Article 21
     provides that said article will prevail in the event of any inconsistency with any other
     provisions of the ECT, including Articles 10, 13 or 26. Thus, under the ECT no taxation
     measures of the State of Luxembourg could create any obligations for Spain. 898

629. Second, any hypothetical compensation granted in the Award would be exempt from
     taxation in Luxembourg, under both the domestic fiscal regulation of Luxembourg and the
     international tax regulation applicable. 899 And third, even if this were not the case, there
     are certain circumstances that would qualify the claim for a tax gross-up due to tax
     regulations in the home country as inappropriate, since it is essentially speculative,
     contingent and uncertain. Such was the rationale exposed by the tribunal in Mobil v.
     Venezuela, when it dismissed as speculative and uncertain a claim for the recognition of
     further damages that could arise from other jurisdictions imposing taxes on the sum
     awarded. 900

         C.    TRIBUNAL'S ANALYSIS


630. The Tribunal has found that the Respondent breached its obligation under Article 10(1) of
     the ECT to accord the Claimants FET. Accordingly, the Tribunal must consider the
     appropriate standard of reparation.


897
      Respondent's   Rejoinder, ,i,i 963-965.
898
      Respondent's   Rejoinder, ,i,i 972-980.
899
      Respondent's   Rejoinder, ,i,i 982-986.
900
      Respondent's   Rejoinder, ,i,i 987-991. Respondent cites Mobil v. Venezuela (Award), ,i 388.



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631. In their prayer for relief, the Claimants requested that the Tribunal enter an award ordering
     the Respondent to:

                     "(i) provide full restitution to the Claimants by re-establishing the
                     situation which existed prior to Spain's breaches of the ECT, together
                     with compensation for all losses suffered before restitution; or

                     "(ii) pay the Claimants compensation for all losses suffered as a
                     result of Spain's breaches of the ECT;" 901

632. Regarding their request under (i) above, the Claimants assert that "Spain is obliged to effect
     restitution by withdrawing all the harmful laws and regulations complained of in this
     Memorial (namely the relevant articles of Law 12/2012, RDL 2/2013, RDL 9/2013, Law
     24/2013, RD 413/2014 and the June 2014 Order) and placing Claimants under the same
     legal and regulatory framework that existed at the time they made the investments." 902

633. In response to the Claimants' request for reparation, the Respondent contends that "the
     legal and regulating regime, since 1997 until today, has always granted the same, a
     reasonable return. Therefore, there is no reason to claim what we have never been deprived
     from, not to talk about any type of damage." 903

634. The Tribunal observes that neither Party engaged with the Claimants' rather summary
     request that the Respondent provide reparation in the form of restitution of the legal and
     regulatory regime in force when the Claimants made their investment in Spain. While the
     Claimants merely devoted two paragraphs of their Memorial to their claim · for
     restitution, 904 the Respondent did not offer a response to such claim beyond the statement
     from its Counter-Memorial quoted above. Neither was this claim fully discussed in the
     Parties' subsequent pleadings or in the Hearing.

635. However, to the extent that the Claimants maintained such request for restitution in their
     prayer for relief, the Tribunal must render a decision on the matter. In the present case and
     based on the Parties' pleadings and in consistency with the Tribunal's own findings, the
     Tribunal will not grant the Claimants' request that the Respondent be ordered to "[re-




901
      Claimants' Memorial, 1537(b). See Claimants' Reply, 1891.
902
      Claimants' Memorial, 1 470.
903
      Respondent's Counter-Memorial, 1928.
904
      See Claimants' Memorial, 1470-471. Claimants cite the decision in Factory at Chorz6w for the proposition that
      restitution is the primary remedy for a State's wrongful act under international law. Additionally, they invoke
      Commentary (7) to the ILC Articles in support of their assertion that the Tribunal must order compensation for
      any financial assessable damage if "[it] were to believe that restitution is either materially impossible or wholly
      disproportionate."


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         establish] the situation which existed prior to Spain's breaches of the ECT" 905 in the tenns
         set forth in their Memorial.

636. Based on Article 35 of the ILC Articles, the Claimants submit that the Tribunal shall order
     restitution, unless it "believe[s] that restitution is either materially impossible or wholly
     disproportionate." 906 In the circumstances of this case, the Tribunal deems the order sought
     by the Claimants disproportional to its interference with the sovereignty of the State
     compared to monetary compensation.

637. As previously mentioned, the Respondent is entitled to exercise its sovereign power to
     amend its regulations to respond to changing circumstances in the public interest to the
     extent that any such amendments are consistent with the assurances on the stability of the
     regulatory framework provided by the State and required by the ECT. 907 Failure to adhere
     to these commitments triggers the Respondent's obligation under the ECT to pay
     compensation for damages ensued. The Tribunal's finding in this regard is consistent with
     the decision in Eiser v. Spain. 908

638. In view of the above, the Tribunal turns to the Claimants' alternative claim that the Tribunal
     order Spain to pay monetary damages resulting from its breaches of the ECT.

639. Having found that the Respondent breached its obligation under Article 10(1) of the ECT
     to accord the Claimants FET, the Tribunal must now decide (i) the appropriate standard
     for determining any compensation due for that breach; (ii) whether the Claimants suffered
     damages and are entitled to compensation as a result of the aforesaid violation, and (iii) if
     so, the amount of any such compensation.

640. At the time of the Hearing, the Claimants retained a shareholding interest in two solar
     power generation plants (Andasol I and Andasol II). 909 The Claimants contend that even
905
      Claimants' Memorial, ,r 537(b)(i).
906
      Claimants' Memorial, ,r 468(d) and 471. See Legal Authority CL-0086, ILC Articles, Article 35 ("A State
      responsible for an internationally wrongful act is under an obligation to make restitution, that is, to re-establish
      the situation which existed before the wrongful act was committed, provided and to the extent that restitution: (a)
      Is not materially impossible; (b) Does not involve a burden out of all proportion to the benefit deriving from
      restitution instead of compensation.")
907
      See ,r 532 supra.
908
      The tribunal in Eiser v. Spain reasoned as follows: "In their Memorial and Reply, Claimants sought 'restitution
      of the legal and regulatory regime under which they made their investments or, in the alternative, damages.' The
      Tribunal does not regard restitution in the form of restoring the RD 661/2007 regulatory regime as an appropriate
      remedy in this situation. As indicated earlier, the Tribunal does not question Respondent's sovereign right to take
      appropriate regulatory measures to meet public needs, potentially including revision of the RD 661/2007 regime.
      However, it must do so within the international legal framework it accepted when it adhered to the ECT, including
      the obligation to provide compensation for any breach of its commitments under the Treaty." Eiser v. Spain
      (Award), ,r 425 [footnotes omitted]).
909
      A 45% shareholding in Andasol , and a 45% shareholding in Andasol IL Antin holds both its Andasol I and II
      shareholdings via a 100% owned subsidiary Guadisol B.V.



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           though the plants continue producing cash flows, it is far less than what they expected on
           the basis of the regime contemplated under RD 661/2007. The Claimants have calculated
           their damages based on the reduction in past and future cash flows said to result from the
           Disputed Measures. The Claimants claim the amount of EUR 148 million for lost and
           future cash flows resulting from the comparison between the But For and Actual scenarios,
           i.e. the comparison between the cash flows that the Claimants would have obtained absent
           the Disputed Measures and the ones they would obtain under the New Regime (excluding
           interest and a tax gross-up ). 910

 641. Brattle, the Claimants' valuation experts, start from the premise that alleged violations
      commenced on 27 December 2012, when Law 15/2012 withdrew support for the MWh
      generated by natural gas and imposed a 7% levy on electricity production by CSP, wind
      and other types of power stations, 911 that RDL 9/2013 and Law 24/2013 fundamentally
      changed the regulatory regime for CSP, and that Spain left several parameters of the new
      regime unspecified until June 2014 when it issued RD 413/2014 and Ministerial Order
      IET/1045/2014. 912

642. Based on the above premises, Brattle calculates, as a first step, the so-called "historical
     cash flows" corresponding to the difference between the actual cash flows from December
     2012 up until June 2014 and the estimated during this same period had the RD 661/2007
     regime remained fully in force. 913 The second step in Brattle's valuation is to estimate the
     fair market value of the Claimants' investments. In doing so, Brattle forecasts the
     reasonably expected cash flows of the Andasol Plants under the But For and Actual
     scenarios. 914 In this second step the But For scenario assumes the continued application of
     the RD 661/2007 regime and the Actual scenario reflects the cash flows resulting from the
     introduction ofRDL 9/2013, RD 413/2014 and Ministerial Order IET/1045/2014. 915

643. For purposes of the forecast mentioned in paragraph 642 above, the Claimants' expert
     valuators forecast production levels with reference to historical performance and
     contemporaneous forecasts prepared by the Claimants; assume that annual average pool
     prices grow with inflation over the long-run from a base of EUR 48 per MWh in 2015/16,
     and assume that Spanish gas prices move similarly. Brattle forecasts inflation with
     reference to the traded prices of Spanish inflation swaps and projects future O&M costs by



91
     ° Claimants' Reply, ,r 727.
9 11
       Brattle Quantum Report I, ,r 9.
912
       Brattle Quantum Report I, ,r 10.
913
       Brattle Quantum Report I, ,r 14.
914
       Brattle Quantum Report I, ,r 16.
915
       Brattle Quantum Report I, ,r 16.



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         reference to the contractual arrangements with O&M suppliers existing on the date of
         Brattle's Quantum Report I. 916

644. Brattle applies a DCF approach that discounts the projection of future cash flows in the
     But For and Actual scenarios. In such approach, Brattle discounts the future cash flows to
     reflect risk and for purposes thereof considers "discount rates and techniques for the
     relatively low-risk But For scenario, as compared to the higher risk Actual scenario." 917

645. To assess the risk for purposes of the calculation, Brattle examines a sample of publicly
     traded renewables companies to estimate a discount rate reflecting market risk and adds a
     further discount to reflect the presence of regulatory risk in Spain. Brattle quantifies the
     regulatory risk by reference to the performance of securitised debt linked to the Spanish
     Tariff Deficit. Brattle considers that the performance of these securities provides the basis
     for additional regulatory risk discounts in both the But For and Actual scenarios. 918 The
     June 2014 valuations performed by Brattle also consider the financial structure of the
     Claimants' investments, and particularly the fact that the Claimants hold shares and
     shareholder loans in the Andasol Companies which themselves have borrowed substantial
     sums. 919 Brattle first estimates the value of the relevant Andasol Companies as a whole,
     and then deduces the value of the outstanding liabilities of the Andasol Companies to
     derive the value of the Claimants' investments interests. Finally, Brattle reduces the value
     of the Claimants' investment interests. "by a further 18% to account for their relatively
     illiquid nature." 920

646. As a third and last step, Brattle calculates the amount of pre-award interest and the tax
     gross-up resulting from the requirement to pay Dutch income tax on any damages awarded
     by the Tribunal. 921

647. The Respondent denied its liability for violation of the ECT and in its Counter-Memorial
     alleged that the damages claimed by the Claimants are "totally and absolutely speculative";
     that the DCF method is inappropriate in the light of the circumstances; that the standard
     established for the Andasol Plants in Ministerial Order IET/1045/2014 covers the
     investment costs undertaken; and "other serious defects of the Brattle Report." 922




916
      Brattle Quantum Report I, 1 17.
917
      Brattle Quantum Report I, 118.
918
      Brattle Quantum Report I, 119.
919
      Brattle Quantum Report I, 120.
920
      Brattle Quantum Report I, 120.
921
      Brattle Quantum Report I, 122.
922
      Respondent's Counter-Memorial, 1933.


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648. Even though Spain submitted with its Counter-Memorial expert reports prepared by BDO,
     in BDO Quantum Report I, the Respondent's experts did not respond to the calculations
     made by Brattle, and it was only in their second report that the Respondent's experts
     addressed all the calculations made by Brattle and proposed an alternative calculation
     method.

649. In their second quantum report, BDO expanded upon their prior objections and presented
     their own calculations of the value of the Claimants' investment. Even though, considering
     the timing of the presentation of these new valuations, the Claimants did not have an
     opportunity to respond in the written phase, at the Hearing and in their post-Hearing briefs
     the Parties debated their respective valuations.

650. The Respondent's objections to the calculation of damages presented by the Claimants are,
     therefore, fundamentally the same submitted by BDO particularly in BDO Quantum
     Report IL

651. The Respondent claims that the distinction between historical and future cash flows should
     be rejected, on the one hand because the date of 20 June 2014 is a date arbitrarily chosen
     by the Claimants, and on the other because it ignores "the essential concept of regulatory
     useful life as well as the joint consideration of past flows and future flows, in order to
     guarantee the reasonable return of investments undertaken". 923

652. The Respondent also takes issue with the DCF method used by Brattle. First, because in
     Spain's view generally the use of the DCF method is speculative and, in addition, even if
     acceptable generally, it has been banned by case law and the doctrine in circumstances
     such as the ones prevailing in this arbitration. 924

653. Specifically, the Respondent considers that the DCF method cannot be applied in the
     calculation of the alleged damages suffered by the Claimants because:

          (a)    The lack of sufficient financial record (less than five years) sustaining a minimally
                 solid future forecast on cash flows and the evident time disproportion between the
                 said financial track record and the predictions (37 years).

         (b)     The long-tenn predictions in the forecast (37 years) and the contradiction of such
                 time horizon and the plants' official useful life declared in the official accountability
                 of the plants (between 15 and 20 years).




923
      Respondent's Counter-Memorial, ,r,r 935-936.
924
      Respondent's Counter-Memorial, ,r,r 942-948.


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         (c)   The fact that it is a capital-intensive business, with an important asset base. Almost
               all its costs are investment costs in tangible infrastructure performed recently (plants
               finished in 2008-2009). There are no significant intangibles to be assessed.

         (d)   The nature of the thermosolar industry itself: it is in an evolutionary phase, lacks the
               necessary maturity and has a high dependence on cash flows of volatile and
               unpredictable exogenous elements, such as the pool prices, amongst others.

         (e)   The financial weakness of agreed project finance structures without recourse, which
               excessively leveraged thermosolar plants, compromising and conditioning their
               viability.

         (f)   The disproportion between the alleged investment (and the pretended assumed risk)
               and the claimed sum. 925

654. The Respondent concludes that the appropriate method applicable in this case, according
     to the case law and the doctrine, is the asset-based method and that the DCF method should
     be discarded by th~ Tribunal. 926

655. The Respondent also argues that the standard provided for under Ministerial Order
     IET/1045/2014 results in a return that is higher than the one provided under the Original
     Regime and that Brattle Quantum Report I is opaque, as it does not reveal nor provide the
     information used and therefore it cannot be checked or verified. Quoting the BDO
     Quantum Report II, the Respondent asserts that Brattle has not provided with their financial
     impact report a breakdown of the calculations used and this has made it extremely difficult
     to analyse the report, and to determine whether the data are arithmetically accurate or not,
     and whether it is consistent with the assumptions on which it is based. 927

656. The Tribunal further notes that BDO in both quantum reports submits that the investment
     made by the Claimants is speculative. Particularly in BDO Quantum Report II, the experts
     argue that the speculative nature of the purchase made by Antin Termosolar results from
     the striking scenario where it paid almost 3 times the investment made by the initial
     investor and provided for a hypothetical sale of its stake six years after its acquisition for
     2.02 times the amount paid. 928 This argument was not developed by Spain in its Counter-
     Memorial.




925
      Respondent's Counter-Memorial, 1949.
926
      Respondent's Counter-Memorial, 1951.
927
      Respondent's Counter-Memorial, 11959-961.
928
      BDO Quantum Report I, 1141, 140, 155; BDO Quantum Report II, 11219-225


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 657. Finally, the Tribunal notes that in paragraphs 634 and following of its Counter-Memorial
      and in paragraphs 421 and following of its Rejoinder, the Respondent briefly addressed the
      limitations on the granting of State aid and the alleged illegality of the remuneration
      provided for under the Disputed Measures in light of EU regulations. The Respondent
      asserted that it was "obliged, under the provisions of Articles 107 and 108 TFEU, to notify
      the European Commission of the existence of support measures for renewable energy and
      cogeneration in Spain, through Order IET/1045/2014. To this effect, the Commission has
      opened proceedings No. SA.40348 2014/N." 929

658. In principle, the issue of whether an investor in an EU Member State that provides state
     aid to RE investors should, when making the investment, consider that the State's RE
     subsidy programme is governed not only by the applicable national regime, but also by EU
     state aid rules which are legally binding on Member States under EU law, could be relevant
     to determine the legitimate expectations of the investor. In the instant case, however, the
     Respondent did not analyse the impact, if any, of the alleged illegality of the Disputed
     Measures on the legitimate expectations of the investor at the time of the investment; nor
     the impact of such alleged illegality under EU law in the protection granted by the ECT;
     nor did it explain the effects of the alleged illegality under EU law of measures that Spain
     considered legal at the time of issuance; nor did it seek to estimate the impact of an alleged
     illegality resulting from EU state aid rules on any potential award of damages.

                   1.     The applicable standard for compensation


659. Article 10 of the ECT does not provide for a standard of compensation for breaches of its
     obligations. No other provision of the ECT establishes a standard for compensation in case
     of violation of the obligation to provide FET.

660. As regards expropriation, Article 13 of the ECT provides that State Parties may not
     expropriate except, inter alia, when expropriation is accompanied by prompt, adequate and
     effective compensation reflecting the fair market value of the expropriated property.

661. It is undisputed that, as a general rule, the violation of a treaty obligation causing damage
     grants the injured party the right to receive compensation for the damage sustained.

662. The Tribunal agrees with the Claimants in that the appropriate standard for compensation
     should be based on international law. In the well-known decision in the Chorz6w Case, the
     Permanent Court of International Justice indicated that




929
      Respondent's Rejoinder, ,r 425.


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                    "The essential principle contained in the actual notion of an illegal
                   act [ ... ] is that reparation must, as far as possible, wipe out all the
                   consequences of the illegal act and reestablish the situation which
                   would, in all probability, have existed if that act had not been
                   committed. Restitution in kind, or, if this is not possible, payment of
                   a sum corresponding to the value which a restitution in kind would
                   bear; the award, if need be, of damages for loss sustained which
                   would not be covered by restitution in kind or payment in place of it
                   - such are the principles which should serve to determine the amount
                   of compensation due for an act contrary to international law." 930

663. In turn, Article 31 of the ILC Articles provides that in case of a treaty breach or other
     internationally wrongful act (a) the responsible State is under an obligation to make full
     reparation for the injury caused by the internationally wrongful act, and (b) injury includes
     any damage, whether material or moral, caused by the internationally wrongful act of a
     State. 931

664. The Tribunal considers the above as reflecting the international law rules that are to be
     applied here and therefore, the Claimants under international law are entitled to full
     reparation for damages caused by the breach by the Respondent of its obligation to accord
     FET under ECT Article 10(1), so as to remove the consequences of the wrongful act.

665. Before addressing the valuation submitted by the Claimants' experts and the criticisms
     presented by the Respondent and its experts, the Tribunal will address two issues submitted
     by Spain that have an impact on the damages valuation: the so-called historical damages
     and the tax gross-up.

                  2.     The historical damages


666. As discussed in paragraph 642 supra, the historic losses claimed by the Claimants
     correspond to the difference between the actual cash flows from December 2012 up until
     June 2014 and the estimated cash flows during this same period had the RD 661/2007
     regime remained fully in force.

667. The Tribunal has already decided that the Respondent's violation of the ECT results from
     the entire elimination and replacement of the Original Regime and not from the elimination
     or modification of certain features of the Original Regime. Given that the violation




930
      Legal Authority CL-0010, Factory at Chorz6w, p. 47.
931
      Legal Authority CL-0086, ILC Articles, Article 31.




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          occurred when the Original Regime was eliminated in June 2014, Claimants' damages for
          the so called "historic losses" occurring prior to June 2014 must fail.

668. Considering that the historical losses are not included in the calculation of damages, the
     issue of whether the Tribunal has jurisdiction regarding the claims involving the tax on
     energy production as regards this portion of the claim becomes moot, as it does not affect
     the calculation of the Claimants' damages.

                   3.     The tax gross-up claim


669. The Claimants consider that to achieve full reparation, the damages should be subject to a
     tax gross-up since damages are calculated to place the Claimants in the same position they
     would have been net of tax. Considering that any amounts received by the Claimants will
     be subject to corporate tax at a rate of 29.22%, the Tribunal should include in the
     compensation a tax gross-up of 29.22%, reflecting the income tax rate in Luxembourg
     (assuming all damages are paid to Antin Luxembourg). The Claimants add that if they
     obtain an award for compensation (including interest due) in October 2016, the tax gross-
     up amounts to around EUR 72 million, reflecting the Luxembourg corporate tax rate. 932

670. In its Counter-Memorial, Spain indicated that it reserved its rights to challenge the tax
     gross-up, but did not indicate on which basis nor discussed the merits of such claim. 933

671. In the Rejoinder, Spain engaged with the analysis of the tax gross-up and submitted two
     expert opinions, attached as exhibits to BDO Quantum Report II, to question the viability
     of the Claimants' claim in this regard. The Respondent's objection to the tax gross-up is
     threefold. First, the tax gross-up is impermissible given Article 21 of the ECT. This
     provision applies both to the taxation measures of the host country and to the taxation
     measures of the investor's home country, since both are Contracting Parties of the ECT.
     Moreover, no taxation measure of Luxembourg could create any obligation for Spain based
     on the ECT. 934 Second, the compensation would include an income that is exempt from
     taxation in Luxembourg. The compensation for income that was not received would fall
     within what is known as the "participation exemption" in the scope of the EU, established
     by Community Directive. The participation exemption provides for the exemption of the
     "profit distributions" between parent companies and subsidiaries of different Member
     States of the EU and aims to eliminate double taxation. This is clear from the analysis of
     both the "Luxembourg Income Tax Law", as well as the so-called Parent-Subsidiary


932
      Claimants' Memorial, 'If 536.
933
      Respondent's Counter-Memorial, 'If 932.
934
      Respondent's Rejoinder, 'l['I[ 972-981.


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         Directive. 935 Third, any claim for tax gross-up is speculative, contingent and uncertain. The
         Respondent contends that there are several issues that have not been discussed or put
         forward by the Claimants and that would affect taxation to the Claimants such as whether
         the Claimants benefit from a tax ruling in Luxembourg, or whether the Claimants would
         neutralise the compensation with other negative income that they may have now or in the
         future in Luxembourg; or whether the Claimants benefit from any special tax regime. 936

672. At the Hearing, the Claimants' counsel briefly referred to the matter in the opening
     statement, 937 as did the Respondent's counsel. 938 During his cross-examination,
     Mr. Caldwell, the Claimants' expert, admitted that he was not an expert in international
     taxation nor in Luxembourg taxes and that the corresponding figures had been included
     based on the opinion of the Claimants' counsel. 939 In tum, Mr. Perez, the Respondent's
     expert, indicated that the tax gross-up calculated by Brattle was not properly supported or
     evidenced.940

673. The Tribunal considers that it is for the Claimants to prove whether or in what amount any
     tax on compensation determined by a future award may be due. There is no evidence on
     the record to prove the type and amount of tax that may be due on an award of
     compensation and whether such tax would be affected by the regime to which the
     Claimants as taxpayers are subjected in the given jurisdiction(s). Under these
     circumstances, the Tribunal is not in a position to determine whether there would be a
     specific tax impact that requires a tax gross-up like the one claimed by the Claimants.
     Therefore, this portion of the Claimants' damages claim must fail.

                  4.     Damages for loss o[future cash flows


674. The Tribunal will now deal with the claim that constitutes the most representative amount
     of the claim for damages submitted by the Claimants, namely the loss of cash flows
     resulting from the Disputed Measures and the resulting reduction of the fair market value
     of the Claimants' investment. For the reasons already discussed in paragraph 667 supra,
     the Tribunal will not consider the so-called historic cash flows but only the cash flows that
     were allegedly lost after June 2014.




935
      Respondent's Rejoinder, ,r,r 982-986.
936
      Respondent's Counter-Memorial, ,r,r 987-991.
937
      HearingTr.,Day 1,217:20-218:22.
938
      Hearing Tr., Day 2, 103:12-106:22.
939
      Hearing Tr., Day 4, 107:4-108:24.
940
      Hearing Tr., Day 4, 211:12-18.


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675. The Tribunal concurs with the Claimants in that the proper approach for determining the
     amount of reparation in this case is to assess the reduction of the fair market value of the
     Claimants' investment by determining the present value of cash flows claimed to have been
     lost as a result of the Disputed Measures.

676. As discussed in paragraph 653 supra, the Respondent and its experts disputed the
     calculation of damages submitted by the Claimants and its experts. The Tribunal will now
     refer to each of the issues submitted by the Respondent and disputed between the Parties.

                 5.      The DCF method

677. The Respondent takes issue with the DCF method used by Brattle in general, as it considers
     such method to be speculative and not applicable in the circumstances of this case. 941
     Specifically, and as a first circumstance that bans the application of this method, the
     Respondent considers that the Andasol Plants lack a sufficient financial record (less than
     five years) to allow for a solid future forecast on cash flows. 942

678. BDO, the Respondent's valuation expe1t, considers that valuation methods, in addition to
     the information used in any valuation, should be appropriate to the circumstances and
     context of the valuation and that the valuation should consider aspects such as the reasons
     for the valuation, the nature of the company, the business or asset to be valued, the
     environmental characteristics, the company's specific situation, the expectations of
     management or shareholders, the financial infonnation available and the management
     information available. BDO adds that there are no right or wrong valuation methods, but
     methods of varying appropriateness, depending on the specific circumstances. 943

679. BDO admits that the DCF method is, along with others, one of the most commonly used
     to value businesses and companies, but with certain qualifications including the fact that,
     in BDO's opinion, the main weaknesses of the DCF method are the high level of
     uncertainty and subjectivity of the assumptions and parameters on which the method relies,
     which assumptions and parameters can be unreliable and hard to verify, in many cases.
     This is due to the fact that the assumptions and parameters on which the analysis is based
     refer to expectations of a business' future, which are generally uncertain and volatile in
     nature and subject to a high level of subjectivity. 944




941
    Respondent's Rejoinder, ,r,r 919-923 .
942
    Respondent's Rejoinder, ,r,r 919-923.
943
    BDO Quantum Report I, ,r,r 251-252.
944
    BDO Quantum Report I, ,r,r 253-255 .


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680. BDO considers that the Brattle Quantum Report is based on assumptions that are highly
     subjective and that forecasts for periods exceeding 5-7 years involve a high degree of
     uncertainty and subjectivity and, therefore, mean that the reliability of the DCF method is
     limited. BDO adds that the approach adopted by Brattle of DCF in its Adjusted Present
     Value form, presents significant inaccuracies and inconsistencies, such as the failure to
     include bankruptcy costs in the valuation, and the lack of consistency in the cost of capital
     adopted in the actual scenario, wherein the cost of debt is greater than the cost of equity. 945

681. In the opinion ofDDO, given that the: Spanish Statt: guarantees a reasonable rate ofretum
     which will be revised and updated periodically, methods based on the cost of an efficient
     investment would be better suited than the DCF method. 946

682. BDO proposed as the most suitable method for damage valuation, in the circumstances of
     this case, the asset-based method and particularly the Regulatory Asset Base ("RAB") and
     listed the advantages that such method would have in the valuation in this particular case. 947

683. In BDO Quantum Report II, the Respondent's experts assert that

                     "[ ... ]there is no sense in projecting the variables which comprise the
                     cash flows for far-off periods, as the results would be less accurate.
                     Instead, we consider it more logical to perform forecasts for the
                     stated variables for up to a maximum of 5-7 years and for the
                     remainder of the useful lives of the plants, to annually increase the
                     resulting cash flows on the basis of growth and profit assumptions
                     taking into account the fact that as the useful life of the plants
                     progresses, the desired yield of the assets should approach the yield
                     required by the market (reflected in the discount rate), in accordance
                     with the foreseeable growth of the long-term yield (due to the loss of
                     competitive advantage) especially in regulated sectors. " 948

684. During his opening presentation at the Hearing, Mr. Eduardo Perez of BDO disputed again
     the DCF method as highly speculative and indicated that:

                     "The scenario is conceived in market circumstances which are not
                     regulated. It is a very complex situation, a very difficult situation, in
                     an economy which is having a very severe crisis and in a sector where
                     there is over-remuneration. So, in such circumstances, the DCF




945
      BDO Quantum Report I, 'il'il 257-261.
946
      BDO Quantum Report I, 'ii 262.
947
      BDO Quantum Report I, 'il'il 263-272 and 'il'il 280-285.
948
      BDO Quantum Report II, 'ii 13 1.



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                      method is very difficult to apply, and there are some specific
                      difficulties to apply it. " 949

685. Also, in his opening presentation, Mr. Perez stressed regarding the proper methodology:
     "Let's see now the valuation methods used by us, by BOO. First of all, what is our basic
     approach? And second, some theoretical calculations. First of all, as I have said already,
     the valuation is made in a specific context and circumstances, and the investor knows it.
     They know it beforehand. And of course the main principle is reasonable return". 950

686. Mr. Perez added that "the basis of the regime is reasonable return. Before and after the
     disputed measures, the value depends on the value of the investment: it could be a bit
     higher, much higher or less higher; it depends on the efficiency of the performance, it
     depends on the performance. But values are similar, and so there is no impact." 951

687. When cross-examined in the Hearing by the Claimants' counsel, Mr. Perez admitted that
     for purposes of the calculation of damages his first assumption was that the Claimants were
     not entitled to a fixed FIT, but they should expect the plants' remuneration to vary with
     reasonable return. He also admitted that the assumptions that BDO made in its RAB
     analysis did not actually answer the Claimants' case, and finally that if the Tribunal were
     to disagree with Spain and accept the Claimants' claim that there had been a change in the
     regulatory regime, there was no analysis in BDO's reports on the impact that the change
     would have on the RAB multiples. 952

688. The Tribunal agrees with the Respondent's expert in that there are no right or wrong
     valuation methods, but different methods that are appropriate depending on the specific
     circumstances of the case. The Tribunal also agrees that the DCF method is one of the most
     commonly used methods to value bus.inesses and companies. However, the Tribunal is not
     persuaded by the objections to the use of the DCF method submitted by the Respondent
     and based on BDO's expert reports.

689. First, it is true that the DFC method may be inappropriate for the valuation of business
     concerns that are not in operation or at very early stages of operation and therefore lack a
     suitable track record of their performance. It may also be inappropriate for business
     concerns having a short performance record and subject to several variables that are
     difficult to forecast. However, this is not the case here. It is undisputed that the Andasol
     Plants have five years of operation and that they are not complex businesses. As stated in
     Brattle Quantum Report I-a point that the Tribunal finds convincing- "[p]ower stations

949
       Hearing Tr., Day 4, 202:1-8.
950
       Hearing Tr., Day 4, 207:19-25 .
95 1
       Hearing Tr., Day 4, 208:14-20.
952
       Hearing Tr., Day 5, 91:12-25; 92:1-25; 93:1-10.



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         (both conventional and renewables) have a relatively simple business, producing
         electricity, whose demand and long-run value can be analysed and modelled in detail based
         on readily available data." 953

690. Second, it is also true that the DCF forecast, as with any other forecast, has many variables
     and some of them (for example inflation or interest rates) may be difficult to predict for a
     long term. However, in this particular case, the alleged unpredictability of the DCF method
     submitted by BDO is fundamentally tied, on the one hand, to the unpredictability of the
     changes in the Spanish legal regime, and on the other, on the theory lhal all lhal lhe
     Respondent needs to guarantee is a reasonable return. Therefore, if the Tribunal were to
     find, as it did, that the Claimants are not only entitled to a reasonable return, and that the
     Original Regime could not be wiped out without violating the ECT, then BDO's case on
     damages, specifically as to the inapplicability of the DFC method, would fail. As admitted
     by BDO's Mr. Perez, if the Tribunal were to find in favour of the Claimants, the RAB
     analysis would not be appropriate. In other words, the BDO analysis on the DCF method
     was substantially based on, and highly dependent on, the Claimants' merits case failing.
     Since the Claimants succeeded in establishing liability on the basis of an expectation as to
     the continued operation of the RD 661/2007 regime, BDO's analysis on the inapplicability
     of the DCF method fails.

691. Therefore, the Tribunal considers the DCF approach adopted by the Claimants and their
     experts to be appropriate and considers that a track record of five years in this particular
     business does not prevent calculations for periods of time exceeding the five or seven years
     alleged by BDO. A different issue, which the Tribunal will proceed to analyse, is whether
     the calculation should be made based on an assumed operational life of the plants of 25
     years or less, as claimed by the Respondent, or 40 years, as submitted by the Claimants.

                   6.      Operational life of the Andasol Plants

692. Based on the testimony of Mr. Mark Crosbie, the Brattle Quantum Report assumes that
     "Antin's CSP plants could continue operating for 40 years without the need for significant
     investment."954 Brattle also clarifies that "Antin's original analysis conservatively
     projected that the plants would operate for 30 years. Antin now believes that an operational
     lifetime of 40 years is likely. We assume that Andasol I and II would continue operating
     until 2049."955




953
      Brattle Quantum Report I, ,i 38.
954
      Brattle Quantum Report I, ,i 65.
955
       Brattle Quantum Report I, ,i 65, footnote 53.



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693. In his first witness testimony, Mr. Crosbie indicated that "[w]e also looked into the main
     performance criteria for the Andasol Plants taking into consideration that they had a
     projected operational life of at least thirty years (and possibly up to forty years we believe
     today), and would be able to supplement production using natural gas, while attracting the
     same pool price plus Premiums." 956 He further clarified that thirty years was a conservative
     assessment at the time, but that some of the CSP plants in the United States of America
     have now been in operation for about thirty years and are still operating. 957

694. Along with their Memorial, the Claimants submitted a due diligence report dated 7 July
     2011 prepared by Altermia ("Altermia Report") which reviewed the Andasol Plants prior
     to the investment. 958 According to such report, the average useful life of the plants is 30
     years, provided that adequate criteria are considered for the preventive, predictive and
     corrective maintenance according to good engineering practices and the recommendations
     of the contractors and the suppliers of the equipment. 959

695. Also with their Memorial, the Claimants submitted the report prepared by Alatec dated 15
     March 2011 (the "Alatec Report"). Like the Altermia Report, the Alatec Report was
     prepared for the due diligence conducted prior to the investment's acquisition. The main
     conclusion of the Alatec Report-partially disputed by Dr. Servert- is that the equipment
     can be divided into two groups according to its useful life: 20 to 25 years for less expensive
     equipment and approximately 35 years for core equipment, such as the turbine, mirrors,
     and receptor tubes. 960

696. The Alatec Report adds that thermoelectric plants using parabolic trough collectors have
     an estimated useful life of30 to 35 years, depending on the durability of the more expensive
     equipment, and after 35 years, if a significant decrease in efficiency is observed,
     maintaining the plant in operation would require a replacement of core equipment and a
     partial replacement of secondary equipment if it is in its second cycle. 961

697. The Claimants also submitted the Mancini Report, an expert report prepared by
     Dr. Thomas R. Mancini, who evaluated the expected lifetime of the Andasol Plants and
     concluded that "[i]t is reasonable to assume that, excluding the thermal energy storage


956
    Crosbie WS I, ,r 46.
957
    Crosbie WS I, ,r 46, footnote 28.
958
    See Exhibit C-0036, Altermia Asesores Tecnicos, S.L., "Independent Technical Consultancy - Technical Due
    Diligence Report on Three (3) Solar Thermal Energy Plant Projects", 7 July 2011 ("Altermia Report").
959
    Exhibit C-0036, Altermia Report, p. 7.
960
    Exhibit C-0035, Alatec Ingenieros Consultores y Arquitectos, "Technical Evaluation of the Solar Thermal Plants
    with Parabolic Trough Collectors, Property of ACS/Cobra in Spain", 15 March 2011 ("Alatec Report"), pp. 14-
    15.
961
    Exhibit C-0035, Alatec Report, p. 15.



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         system, the Andasol projects, Andasol 1 and Andasol 2, will each have an operational
         lifetime of 40 years. " 962

698. The Respondent disputes the lifetime of the Andasol Plants, as submitted by the Claimants
     and their experts and witnesses on several grounds.

699. First, according to Spain, the Claimants never had an estimated life expectancy of the
     Andasol Plants of more than 25 years. The useful life declared in official accounts of the
     holding companies of the Andasol Plants is 15 years in the annual accounts for the financial
     years 2009 and 2010, and 20 years in the annual accounts for the financial years 2011 to
     2013. 963 Second, the base bank case for project finance of the Andasol Plants considered
     cash flows during a maximum of 25 years. 964 Third and last, both the draft law report of
     RD 661/2007, as well as the 2005-2010 Plan, estimated a useful life of 25 years. 965
     Therefore, the higher lifetime expectancy of the plants should be 25 years. 966

700. Together with its Rejoinder, the Respondent submitted the Severt Report, an expert report
     prepared by Dr. Jorge Servert on the lifetime of the Andasol Plants. In his report, Dr.
     Servert concluded that

                   "[ ... ] if properly operated, Andasol 1 and Andasol 2 CSP power
                   plants will have in the best case an operational live of 25 years. For
                   molten salt hot tank might be shorter as stated by Dr. Mancini, thus,
                   further analysis is needed. If the hot tank has corrosion problems as
                   Dr. Mancini states, this will be a major hazard that has to be solved,
                   leading to the CSP plant to work without heat storage way before 25
                   years." 967

701. In response to Dr. Mancini's report, Dr. Servert presents a chart with a summary of his
     analysis of the lifetime of the different components of the Andasol Plants. 968 According to
     such chart, the expected lifetime of the overall plant is 20-25 years and an expected lifetime
     ofless than 25 years applies to the following components of the Andasol Plants: condenser;
     cooling tower; thermal receiver; steam generator; salt hot tank and system; and molten
     salt/HTF heat exchangers. 969



962
      Expert Report of Dr. Thomas R. Mancini of TR Mancini Solar Consulting, dated 17 December 2015 ("Mancini
      Report"), ,r 14 and p. 30.
963
      Respondent's Rejoinder, ,r 936; Documents BQR-54, BQR-55 and BFR-5.
964
      Respondent's Rejoinder, ,r 938; Documents BQR-63 and BQR-64.
965
      Respondent's Rejoinder, ,r 939.
966
      Respondent's Rejoinder, ,r 940.
967
      Servert Report, p. 21.
968
      Servert Report, pp. 21 and 22.
969
      Servert Report, pp. 21 and 22.



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 702. According to the Respondent, Brattle's calculations on the lifetime of the plants did not
      consider the necessary renovations that, in view of the reports from the engineers, should
      be performed; 970 that the storage system (SAT) will probably be inoperative before 25
      years; 971 and that "a substantial modification of the components of the Plant would
      provoke, even according to RD 661/2007, a 'new date to put into service' for the purposes
      of not applying the subsidy of RD 661/2007." 972

 703: During cross examination, Dr. Mancini admitted that the Andasol Plants are the first to
      have thermal energy storage973 and acknowledged that lack of performance data at
      medium- or long-term are potential risks for any commercial plants using this type of
      technology for the first time, but clarified that this conclusion only applies to thermal
      energy storage. 974 Dr. Mancini also declared that his analysis was limited to the likely
      lifetime of the plant, and did not consider the reinvestment costs necessary to keep the plant
      operational. 975

704. A key issue in the cross-examination related to the comparison between coal and CSP
     plants, which, according to Dr. Servert, are not comparable. Dr. Mancini accepted that one
     of the main differences between them is that the former work more than twice the number
     of hours per year than CSP plants, and that CSP plants start and stop continuously 976 and
     this is likely to have an impact on the design of a turbine for CSP plants. 977 Dr. Mancini
     conveyed that, in his opinion, it is more technically accurate to refer to coal power plant
     data from the United States of America than to the Altermia and Alatec reports. 978

705. In response to a question from the Respondent's counsel, Dr. Mancini indicated that he
     estimated the lifetime of the cold part of the. storage system to be 25 years 979 and asserted
     that if the cold part fails, the whole circuit would stop functioning. 980 Dr. Mancini further
     admitted that he had not seen that the duration of the O&M contracts was 19 years. 981

706. Finally, in their post-Hearing brief, the Claimants stressed that Article 36 of RD 661/2007,
     which refers to the applicable tariffs, contemplated a differential between the first 25 years

970
       Respondent's Rejoinder,~ 944.
97 1
       Respondent's Rejoinder,~ 945.
972
       Respondent's Rejoinder~ 946.
973
       Hearing Tr., Day 3, 66:8-9.
974
       Hearing Tr., Day 3, 67:23-68:2.
975
       Hearing Tr., Day 3, 68:13-18.
976
       Hearing Tr., Day 3, 69:24-70:4.
977
       See Hearing Tr., Day 3, 69:8-23.
978
       Hearing Tr., Day 3, 73:9-20.
979
       Hearing Tr., Day 3, 83:18-23 .
980
       Hearing Tr., Day 3, 83:24-84:3.
98 1
       Hearing Tr., Day 3, 90:4-12.


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         of operation and thereafter which, in the Claimants' opinion, confirms that Spain
         contemplated a lifetime exceeding 25 years. 982

707. The Tribunal considers that it is for the Claimants to prove the facts that support their case
     on damages and in this specific case, that Brattle's assumption of a 40-year lifetime for the
     plants is correct. In the Tribunal's view, the balance of the evidence in the record does not
     support the Claimants' case.

708. First, the documentary evidence in the record is inconsistent. The Altermia Report
     contemplates a useful life of 30 years, subject to proper maintenance. The Alatec Report
     considers that the useful life is 20 to 25 years for less expensive equipment and
     approximately 3 5 years for core equipment. The Claimants' own documentation suggests
     that for purpose of the annual accounts for the financial years 2009 to 2013, as well as for
     the financing, they estimated a useful life between 20 and 25 years. The Claimants'
     witness, Mr. Crosbie, admitted that the Claimants had projected an operational life of 30
     years, but that today they.believed it could possibly be 40 years.

709. Second, the record in this arbitration does not contain contemporaneous design
     specifications or contracts that could shed light on the estimated duration of the plants and
     there are no witnesses with direct and first-hand knowledge of these issues.

710. Third, the testimony presented by the Claimants' expert, Dr. Mancini, is not conclusive.
     Based on several hypotheses, including the submission that coal and CSP plants are
     comparable -which submission he attenuated during cross-examination- Dr. Mancini
     proposes a mere reasonable assumption that the useful life of the plants is 40 years.
     Moreover, during cross-examination, Dr. Mancini admitted that certain elements of the
     plants might fail after 25 years and be subject to full repair, and that such failure may affect
     the entire operation of the plant.

711. The conclusions of Dr. Servert, both in his expert report and in cross-examination, are not
     only categorical, as opposed to reasonable assumptions, but coincide with the lifetime that
     the Claimants had estimated in their own contemporaneous financial documents.

712. Finally, even though the Claimants are correct in that RD 661/2007 (Article 36) provides
     for timelines exceeding 25 years, the Parties' experts coincide in that substantial repairs to
     the plants must be made after 25 years, and according to Article 4.3 of the RD 661/2007
     substantial modifications would affect the subsidy provided for thereunder.




982
      Claimants' post-Hearing brief, ,i I 78.



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 713. Considering the above, on balance, including the lack of contemporaneous documents or
      other contemporaneous evidence showing that the plants were designed to have a 40-year
      service life, this portion of the Claimants' damages claim fails.

714. Based on the evidence on the record, the Tribunal deems that, for purposes of the
     calculation of damages, the useful life of the Andasol Plants is 25 years.

                   7.     The claim for lost future cash flows


715. The Tribunal has already decided that the DCF method is the appropriate method to
     calculate the Claimants' compensation, that the Claimants are not entitled to the so-called
     historical losses, and that the useful life of the Andasol Plants for purposes of the
     calculation of damages is of 25 years. On these bases, the Tribunal will now proceed to
     decide the largest portion of the Claimants' claim corresponding to lost future cash flows
     for the period after June 2014.

716. In BDO Quantum Report II, the Respondents experts submitted an alternative calculation
     based on the DCF method. 983 The Tribunal finds such alternative calculation unpersuasive.

717. The calculation proposes two alternatives for the But For scenario (i.e., prior to the
     Disputed Measures): the first alternative is to apply the tariff and aspects set out in
     RD 436/2004, in force at the time of the developers' investment and construction of the
     Andasol Plants. The second alternative is to consider a But For scenario, taking into
     account the specifications of RD 661 /2007, in force at the time of the investment by the
     Claimants.

718. The claim before this Tribunal refers to the effects of the Disputed Measures on the
     Claimants' investment, not the developers' investment and therefore only the second
     alternative would apply. However, the second alternative presents fundamental problems
     that make it unreliable.

719. First, BDO chose a discount rate of 7.43% in the Actual scenario (i.e., the scenario after
     the Disputed Measures) and 11.3% in the But For scenario 984 decreasing the claim by
     approximately EUR 41 million. BDO describes the But For scenario under RD 661/2007
     as a fictitious high-risk scenario characterized by a context of high tariff deficit and a
     significant financial imbalance of the electricity system. 985 When cross-examined on the
     point during the Hearing, Mr. Perez admitted that BDO' s argument is that the Actual


983
      BDO Quantum Report II, § 5, ,r 240 et seq.
984
      BDO Quantum Report II, ,r 288.
985
      BDO Quantum Report II, ,r 285 .



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         scenario has a lower risk than the But For scenario because the Disputed Measures made
         the system sustainable, and under the But For scenario the risks would have been high
         because the system was unsustainable. 986

720. Also in cross-examination, Mr. Perez admitted that BDO was, on the one hand, attributing
     the Eurozone crisis to the But For scenario and, on the other, considering that the But For
     scenario was an unbalanced and over-remunerated system that could not be compared to a
     properly regulated sector. 987 In his view, the country risk of Spain prior to the Disputed
     Measures was reflecting a situation of serious financial unbalance, while after the Disputed
     Measures Spain had a more normalised situation. 988

721. The Tribunal did not find this to be convincing and his explanation at the Hearing would
     mean that by wiping out the Original Regime, the Respondent became less risky and
     therefore a discount rate reflecting such situation would have to apply to the Claimants'
     damage calculation. The result of this conclusion would be that the discount rate that BDO
     applies to the Claimants is a discount rate resulting from a violation of the ECT.
     Considering the findings of the Tribunal in this Award, this result is untenable.

722. Second, the Claimants are correct in that the treatment of leverage in BDO's DCF
     alternative model is inappropriate. 989 During his presentation (direct testimony)
     Mr. Caldwell ofBrattle convincingly explained that BDO is mistaken in building its DCF
     model assuming a constant debt/equity ratio for project finance, where it is clear that this
     ratio changes constantly as project finance is repaid. 990 His explanation was not questioned
     or disputed. The result of this approach proposed by BDO would be to reduce the
     Claimants' claim in approximately EUR 30 million.

723. In sum, even though BDO objected to the use of the DCF method for purposes of the
     valuation, BDO's quantum reports are more focused on building Spain's case based on
     Spain's legal theories presented in this arbitration than in responding directly to the DCF
     valuation presented by the Claimants. For the reasons explained elsewhere in this Award,
     the RAB valuation method proposed by BDO as well as the alternative analysis proposed
     by the Claimants and its response by Spain, as well as the DCF analysis submitted by the
     Respondent have basically the same fundamental problem: they are based on the
     Respondent's legal theory and therefore cannot stand, given the Tribunal's determination



986
      Hearing Tr., Day 5, 112:5-19.
987
      Hearing Tr., Day 5, 113:6-18.
988
      Hearing Tr., Day 5, 112:1-25; 113:1-25; 114:1-4.
989
      Claimants' post-Hearing brief, ,r 176.
990
      Hearing Tr., Day 4, 26:15-27:5.



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          on the violation of ECT Article 10. Therefore, the Tribunal was not presented by a
          convincing critique ofBrattle's valuation of lost future cash flows.

724. On the other hand, Brattle's quantum reports and their explanation by Brattle's experts
     during direct and cross-examination on future cash flows were sound, solid and
     convincing, and the Respondent and its experts did not question the concrete assumptions
     and calculations contained in Brattle's reports in a concrete and persuasive manner, to
     question then or create doubts in the Tribunal on the fundamental conclusions reached. The
     Tribunal considers therefore that Brattle's reports provide a well-reasoned and convincing
     calculation of the losses incurred by the Claimants, which has not been effectively
     questioned by BDO.

725. The value of the future cash flows presented by the Claimants is EUR 148 million to which
     the Tribunal must deduct the amount of EUR 36 million corresponding to the difference
     between the estimate of 35 to 40-year service of the plants, which the Tribunal considered
     unsupported, and the 25-year lifetime that the Tribunal considered acceptable. 991 This
     results in a balance of EUR 112 million that the Tribunal finds to be a fair measure of the
     Claimants' damages. Therefore, the Claimants are entitled to an award of compensation in
     the amount of EUR 112 million.

                  8.      Other ob;ections fi·om the Respondent on the methodology presented by the
                          Claimants


726. The Respondent and BDO complained that Brattle's quantum reports were not transparent,
     were unclear and lacked sufficient explanation. 992 The Tribunal also finds this contention
     unconvincing. Brattle's quantum reports explain the assumptions and the sources of data
     clearly and in detail. As to BDO's complaint that they did not have access to the resulting
     calculations, BDO accepted that it did not ask Brattle to provide its calculations, as
     frequently occurs in relations between valuation experts appointed by parties in adversarial
     proceedings.

727. The Respondent's experts also complain about an alleged financial weakness of project
      finance structures and a supposedly excessive leverage that condition the viability of the
    · plants, but again this reasoning seems more destined to support Spain's legal theory on
      reasonable return and BDO's argument on the advantages of the RAB methodology than
      to question the DCF model presented by the Claimants.



991
      Brattle Quantum Report II, XII, Appendix A, Table 14.
992
      See BDO Quantum Report I, 1244.


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728. BDO also considers that there is a disproportion between the alleged investment (and the
     supposedly assumed risk) and the claimed sum. 993 Moreover, BDO claims that the
     investment is speculative because of the price paid and the plans to sale the investment in
     2017 (which sale effectively took place). 994 However, these arguments were not developed
     by the Respondent and, particularly, there is no support as to why the structure is
     speculative and what is the impact of such a structure in the nature of the investment and
     on the rights of the investor and the protection of the investment under the ECT.

729. The Tribunal finds the above-referenced contentions unpersuasive and unsupported and
     therefore concludes that they do not lead the Tribunal to adjust its decision on quantum.

                 9.    Interest


730. The Claimants request that the Tribunal award both pre-award and post-award interest on
     the amounts due. 995 The Claimants argue that the Tribunal may, in its discretion, and indeed
     should in the circumstances, adopt different rates for pre-award and post-award interest
     since they serve different purposes. According to the Claimants, this distinction arises for
     public policy reasons. While pre-award interest is solely concerned with achieving full
     reparation, post-award interest is generally awarded to achieve wider policy-based goals. 996

731. According to the Claimants, in the present case, pre-award interest should follow the
     concept of full reparation and a rate that affords full reparation and that is a "commercial
     rate established on a market basis" within the meaning of the ECT is Spain's borrowing
     rate (based on the yield on Spanish 10-year bonds), which for the relevant period is 2.07%,
     compounded monthly. 997 For post-award interest, the Claimants consider that since it
     serves the dual purpose of ensuring prompt compliance and preventing unjust emichment,
     the Tribunal should order post-award interest at a rate higher than 2.07%, which should
     also be compounded on a monthly basis. 998

732. In BDO's Quantum Report II, the Respondent's experts agree that the interest rate on
     Spanish government bonds is the rate that should be used to calculate interest prior to the
     Award. 999 However, BDO considers that it is not appropriate to use the yield of 10-year
     Spanish government bonds (2.07%)to calculate the aforementioned interest rate, given the


993
      Respondent's Counter-Memorial,, 949.
994
      See BDO Quantum Report I,,, 136-155.
995
      Claimants' Memorial,, 528.
996
      Claimants' Memorial,, 531.
997
      Claimants' Memorial,, 534.
998
      Claimants' Memorial,, 535.
999
      BDO Quantum Report II, ,,304-305.


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        estimated day for the decision, but a rate equal to the 2-year yield on Spanish bonds should
        be used, which as of 20 June 2014 was 0.60%. 1000

733. Taking account of the positions of the Parties, the Tribunal agrees with the Claimants that
     a "commercial rate established on a market basis" within the meaning of the ECT is Spain's
     borrowing rate (based on the yield on Spanish 10-year bonds), which for the relevant period
     is 2.07%, compounded monthly. However, the Tribunal does not agree that it should order
     post-award interest at a rate higher than 2.07% in the present case. The Respondent has an
     international obligation to comply with this Award in a timely manner. Imposing a higher
     post-award interest rate to ensure prompt compliance with the Award would imply that
     there are reasons to believe that the State will not fulfil its international obligation to
     comply promptly. In the absence of such reasons, the Tribunal believes that a higher post-
     award interest rate is not justified.

734. The Tribunal therefore awards interest from 20 June 2014 to the date of this Award at the
     rate of 2.07%, compounded monthly and considers that the same rate of 2.07%
     compounded monthly should be sufficient to incentivise payment of the Award in the
     present case. Therefore, the Tribunal awards interest from the date of the Award to the date
     of payment at the rate of2.07%, compounded monthly.

X.      COSTS

        A.     CLAIMANTS' POSITION


735. The Claimants request that the Tribunal order the Respondent to bear the costs of this
     arbitration, as well as the Claimants' cost for legal representation, in the amount of
     GBP 4.364.062,46. 1001 Further, the Claimants argue that they should not be liable for any
     of the Respondent's arbitration or representation costs. 1002

736. The Claimants submit that the Tribunal has broad discretion with respect to the allocation
     of costs and that it should exercise such discretion to make an award on costs in their
     favour, considering that (i) the Respondent committed several breaches of its obligations
     under the ECT in relation to the Claimants' investment, and (ii) the Respondent's
     jurisdictional challenges lacked merit. 1003




1000
     BDO Quantum Report II, ,r,r 306-307.
1001
     Claimants' Statement of Costs, ,r 24.
1002
     Claimants' Statement of Costs, ,r 25.
1003
     Claimants' Statement of Costs, ,r,r 20-23.


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737. Accordingly, the Claimants claim that, if they ultimately prevail in this arbitration, they
     are entitled to their costs on a full indemnity basis, as such compensation is necessary to
     reinstate the Claimants to the position they would have been in but for the Respondent's
     breaches of the ECT. 1004

738. The Claimants seek to recover the following costs that, in their opinion, were reasonably
     incurred considering the circumstances of the case and the arbitration's procedural
     history: 1005


                                                                                   3,569,077.50
             Ex ert fees and related disbursements                                   498,011.07
             Other disbursements incurred b the Claimants                             11,259.11
                                                                                     285,714.78
             Total                                                                 4,364,062.46

       B.     RESPONDENT'S POSITION


73 9. The Respondent requests that the Tribunal "[ o]rder the Claimant[ s] to pay all the costs and
      expenses that arise from the present arbitration, including the administrative expenses
      incurred by ICSID, the fees of the arbitrators and the fees of the legal representation of the
      Kingdom of Spain, their experts and advisors, as well as any other cost or expense incurred,
      all that including a reasonable interest rate from the date on which said cost were incurred
      until the date of its effective payment" 1006 for the following costs incurred by the
      Respondent because of this arbitration:


                                                                                      438,279.03
                                                                                      560,773.13
             Translations                                                              22,683.69
             Editin Services                                                            6,569.85
                                                                                        4,668.45
                               enses                                                   46,749.85
                                                                                    1,321,700.00
             Other costs                                                               26,142.21
             Total                                                                  2,427,566.21




1004
    Claimants' Statement of Costs, ,i 23.
1005 Claimants' Statement of Costs, Appendix I. The Claimants' Statement of Costs covers costs up to and including
    20 January 2017.
1006 Respondent's Statement of Costs, ,i 10. See Respondent's Counter-Memorial, ,i 962(d) and Respondent's

    Rejoinder, ,i 992(d).


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      C.    TRIBUNAL'S ANALYSIS


740. Article 61(2) ofthe ICSID Convention provides as follows:

                "In the case of arbitration proceedings the Tribunal shall, except as
                the parties otherwise agree, assess the expenses incurred by the
                parties in connection with the proceedings, and shall decide how and
                by whom those expenses, the fees and expenses of the members of
                the Tribunal and the charges for the use of the facilities of the Centre
                shall be paid. Such decision shall form part of the award."

741. The Tribunal considers -and the Parties do not seem to dispute- that this provision gives
     the Tribunal discretion to allocate all costs of the arbitration, including attorney's fees and
     other costs, between the Parties as it deems appropriate. These costs include (i) the costs
     of the proceedings (fees and expenses of the Tribunal, and the Centre's administrative fees
     and direct expenses); and (ii) the legal representation costs and other expenses incurred by
     the Parties in connection with the arbitration.

742. The costs of the proceedings, including fees and expenses of the Tribunal, ICSID's
     administrative fees and direct expenses, amount to USD 1,059,052.84, disaggregated as
     follows:
                                     --


                               CONCEPT                             AMOUNT IN   USO
            Fees and expenses of the Tribunal                              703,362.51
            ICSID's administrative fees                                       138,000
            Direct expenses                                                217,690.33
            Total                                                         1,059,052.84

743. The above costs have been paid out of the advances made by the Parties in equal parts.

744. In exercising the discretion described in paragraph 741 above, the Tribunal considers that
     the distribution of costs should be made considering the relative success of the claims and
     defences of each of the Parties, together with the circumstances of the case and the conduct
     of the Parties in the proceedings.

745. The Respondent submitted four jurisdictional objections, three of which were rejected by
     the Tribunal. Accordingly, the Claimants largely prevailed on jurisdiction. Similarly, the
     Claimants established a breach of the FET standard under the ECT and proved that they
     had suffered damages as a result thereof. However, the Tribunal did not accept all elements
     of the Claimants' claims and awarded a lesser amount in compensation than that claimed.




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746. The Tribunal deems that the costs incurred by the Parties in connection with the arbitration
     were reasonable considering the circumstances of the case and the features of the
     proceedings.

747. In view of the above, the Tribunal concludes that the Respondent shall bear its own legal
     representation costs and expenses. The Respondent shall also pay 60% of the costs of the
     proceedings (that is, USD 635,431.70 out ofUSD 1,059,052.84) and 60% of the Claimants'
     legal representation costs and expenses, which include the Claimants' legal costs and
     related disbuserments; the Claimants' expert fees and related disbursements, and other
     disbursements incurred by the Claimants (that is, GBP 2,447,008.61 out of
     GBP 4,078,347.68). 1007

XI.       DECISION

748. For the reasons set forth in this Award, the Tribunal unanimously decides as follows:

          (a)    The Tribunal has jurisdiction under the ECT and the ICSID Convention over the
                 Claimants' claims, except with respect to the alleged violations of the ECT arising
                 from the TVPEE;

          (b)    The Respondent has breached Article 10( 1) of the ECT by failing to accord fair and
                 equitable treatment to the Claimants' investments;

          (c)    On account of the Respondent's breach of the ECT, the Claimants are awarded, and
                 the Respondent shall pay, EUR 112 million as compensation;

          (d)    The Respondent shall pay interest on the sum awarded in (c) above from 20 June
                 2014 to the date of this Award at the rate of 2.07%, compounded monthly, and
                 interest from the date of the Award to the date of payment at the rate of 2.07%,
                 compounded monthly.

          (e)    The Respondent shall pay the Claimants USD 635,431.70 as a contribution to the
                 payment of their share of the costs of the proceedings and GBP 2,447,008.61 as a
                 contribution to the payment of their legal representation costs and expenses.

          (f)    Any claim, request or defence of the Parties that has not been expressly accepted in
                 this Section XI, is hereby rejected.




1007
       See ,i 738 supra. The Claimants' legal representation costs and expenses were expressed in GBP in Claimants'
       Statement of Costs, and are therefore expressed in such currency in this Award.



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           _ a_s_Q_C_ _
                                                    Mr. Francisco Orrego Vicuna
            Arbitrator                                      Arbitrator

    Date:      z,NAY2018                        Date:
                                                               i NAY     20,a




                                Dr. Eduardo Zuleta
                             President of the Tribunal

                         Date:




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